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          League of Women Voters of Florida, Inc.

                                     vs.

                                Laurel Lee



                             Deposition of:

                              Sharon Austin



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  · · · · · · UNITED STATES DISTRICT COURT
  · · · · · · NORTHERN DISTRICT OF FLORIDA
  · · · · · · · · TALLAHASSEE DIVISION


  LEAGUE OF WOMEN VOTERS OF· · · |
  FLORIDA, INC., et al.,· · · · ·|
  · · · · · · · · · · · · · · · ·|
  · · · · · · · ·Plaintiffs,· · ·|Case No.:
  vs.· · · · · · · · · · · · · · |
  4:21-cv-186-MW-MAF· · · · · · ·|
  LAUREL M. LEE, in her official |· · 4:21-cv-187
  capacity as Secretary of State |· · 4:21-cv-201
  of Florida, et al.,· · · · · · |· · 4:21-cv-242
  · · · · · · · · · · · · · · · ·|
  · · · · · · · ·Defendants,· · ·|
  and· · · · · · · · · · · · · · |
  NATIONAL REPUBLICAN SENATORIAL |
  COMMITTEE, et al.,· · · · · · ·|
  · · · · ·Intervenor-Defendants.|
  ________________________________/

  · · · · · · ·WEB CONFERENCE DEPOSITION

  · · · · · · · · · · · · ·OF

  · · · · · · · · ·SHARON AUSTIN, PhD



  · · · · · ·Wednesday, October 27th, 2021
  · · · · · · · ·10:04 a.m. - 4:16 p.m.


  · · · · · ·Location:· Via web conference



  · · · Stenographically Reported Via Web By:
  · · · · · ·MaryKay Horvath, RMR, CRR, FPR
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  ·1· ·APPEARANCES: (all appearing via web conference)

  ·2

  ·3· ·On behalf of Plaintiffs Florida Rising:

  ·4·   ·   ·   ·   ARNOLD AND PORTER KAYE SCHOLER, LLP
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  ·5·   ·   ·   ·   Five Palo Alto Square
  · ·   ·   ·   ·   Suite 500
  ·6·   ·   ·   ·   Palo Alto, California 94306
  · ·   ·   ·   ·   (650)319-4500
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  · ·   ·   ·   ·   523 West Colonial Drive
  12·   ·   ·   ·   Orlando, Florida 32804
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  16·   ·   ·   ·   HOLTZMAN VOGEL
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  17·   ·   ·   ·   Haymarket, Virginia 20169
  · ·   ·   ·   ·   (540)341-8809
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  22·   ·   ·   ·   PL-01 The Capitol
  · ·   ·   ·   ·   Tallahassee, Florida 32399
  23·   ·   ·   ·   (850)414-3300
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  ·1· ·APPEARANCES (Continued):

  ·2
  · ·   ·On behalf of Okaloosa Supervisor of Elections:
  ·3
  · ·   ·   ·   ·   NABORS, GIBLIN & NICKERSON, P.A.
  ·4·   ·   ·   ·   1500 Mahan Drive
  · ·   ·   ·   ·   Suite 200
  ·5·   ·   ·   ·   Tallahassee, Florida 32308
  · ·   ·   ·   ·   (850)224-4070
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  · ·   ·   ·   ·   kmood@ngnlaw.com
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  ·9· ·On behalf of Defendants Citrus and Brevard, DeSoto,
  · · ·Flagler, Gilchrist, Gulf, Highlands, Jefferson, and
  10· ·Madison Counties Supervisors of Elections:

  11·   ·   ·   ·   BELL & ROPER, P.A.
  · ·   ·   ·   ·   2707 East Jefferson Street
  12·   ·   ·   ·   Orlando, Florida 32803
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  16· ·On behalf of Defendant Alachua County:

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  · ·   ·   ·   ·   12 Southeast 1st Street
  18·   ·   ·   ·   Gainesville, Florida 32601
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  19·   ·   ·   ·   BY:· DIANA M. JOHNSON, ESQ.
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  ·1· ·APPEARANCES (Continued):

  ·2

  ·3· ·On behalf of Intervenor-Defendant Republican
  · · ·National Committee/National Republican Senatorial
  ·4· ·Committee:

  ·5·   ·   ·   ·   SHUTTS & BOWEN, LLP
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  ·6·   ·   ·   ·   Suite 804
  · ·   ·   ·   ·   Tallahassee, Florida 32301
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  10· ·On Behalf of Defendants Glades, Hardee, Hendry,
  · · ·Holmes, Levy and Okeechobee Counties Supervisors of
  11· ·Elections:

  12·   ·   ·   ·   HENDERSON, FRANKLIN, STARNES & HOLT, P.A.
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  16· · · · to voting in Florida

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  20

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  22·   ·   ·   ·   · · ·(Stenographer's Note:· exhibits sent to
  · ·   ·   ·   ·   stenographer electronically.· A digital exhibit
  23·   ·   ·   ·   sticker was placed on the documents which were
  · ·   ·   ·   ·   marked during the proceeding and retained by
  24·   ·   ·   ·   stenographer.)

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  ·1· ·The following proceedings began at 10:04 a.m.:
  ·2· · · · · · ·THE STENOGRAPHER:· Would you raise your
  ·3· · · · right hand?
  ·4· · · · · · ·Do you swear or affirm that the testimony
  ·5· · · · you're about to give will be true and accurate
  ·6· · · · to the best of your ability?
  ·7· · · · · · ·THE WITNESS:· Yes.
  ·8· · · · · · ·THE STENOGRAPHER:· Thank you.
  ·9· ·Thereupon:
  10· · · · · · · · · · SHARON AUSTIN, PhD
  11· ·having been first duly sworn, was examined and
  12· ·testified as follows:
  13· · · · · · · · · · DIRECT EXAMINATION
  14· ·BY MR. HOLT:
  15· · · · Q.· ·Okay.· Good morning, Dr. Austin.
  16· · · · A.· ·Good morning.
  17· · · · Q.· ·My name is Dallin Holt.· How are you
  18· ·doing?
  19· · · · A.· ·I'm fine.
  20· · · · Q.· ·Excellent.· My name is Dallin Holt, and
  21· ·I'm an attorney from Holtzman Vogel.· And I
  22· ·represent the defendant -- one of the defendants in
  23· ·the case, the Secretary of State, and I appreciate
  24· ·you for joining us today.· I'm glad we were able to
  25· ·get together from rescheduling from last week.


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  ·1· ·Hopefully everything's okay.
  ·2· · · · · · ·And we'll try to keep this short as
  ·3· ·possible, as far as the timing.· It's kind of hard
  ·4· ·to exactly know how long these will go.· I'll
  ·5· ·imagine I'd like to try for around three or four
  ·6· ·hours here, but we'll just kind of see where we're
  ·7· ·at.
  ·8· · · · · · ·My plan is to start off with some general
  ·9· ·questions regarding yourself, your experience, and
  10· ·then we'll dig into some specifics, some more
  11· ·general matters under your expert report, and then
  12· ·some specifics regarding SB 90 as we work through
  13· ·this.
  14· · · · · · ·Would you please state and spell your full
  15· ·name for the record.
  16· · · · A.· ·Sharon Wright Austin, S-H-A-R-O-N,
  17· ·W-R-I-G-H-T, A-U-S-T-I-N.
  18· · · · Q.· ·Awesome, thank you.
  19· · · · · · ·And can everyone hear me?· I'm using some
  20· ·headphones that sometimes have problems so if
  21· ·anything goes out, please let me know.· Or if I'm
  22· ·otherwise mumbly.
  23· · · · · · ·How many times have you been deposed
  24· ·before, Dr. Austin?
  25· · · · A.· ·This is my first time.


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  ·1· · · · Q.· ·Okay.· Well, I'm going to go through a few
  ·2· ·ground rules, then, just to kind of make sure we're
  ·3· ·all on the same page here.
  ·4· · · · · · ·First off, I know we have a stenographer
  ·5· ·here, but is there anyone on this call that is
  ·6· ·recording these proceedings?· Okay.· I will assume
  ·7· ·that is a no.
  ·8· · · · · · ·And, Dr. Austin, I know that Zoom has a
  ·9· ·mute function, but as we go through this today, I
  10· ·would just ask that you do not use it unless we're
  11· ·on break.· Is that okay?
  12· · · · A.· ·That's fine.
  13· · · · Q.· ·Okay.· And is there anyone else in the
  14· ·room with you, who is not on camera?
  15· · · · A.· ·No.
  16· · · · Q.· ·Okay.· And will you let me know if someone
  17· ·else does come in the room throughout this
  18· ·deposition?
  19· · · · A.· ·I will.
  20· · · · Q.· ·Awesome.
  21· · · · · · ·And do you have any applications open on
  22· ·your computer that someone could communicate with
  23· ·you during your deposition?
  24· · · · A.· ·No, I don't.
  25· · · · Q.· ·Do you have a phone close by where someone


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   ·1· ·can send you text messages or otherwise communicate
   ·2· ·with you?
   ·3· · · · A.· ·I have a phone.
   ·4· · · · Q.· ·Would you be able to disable the messaging
   ·5· ·function while we communicate?
   ·6· · · · A.· ·Or I can just turn -- I can even just turn
   ·7· ·it off.· I just had it here.
   ·8· · · · Q.· ·Yeah.· Whatever works best for you.
   ·9· · · · A.· ·Okay.
   10· · · · Q.· ·And since we're on Zoom, I would just ask
   11· ·that -- and I'll try to do the same, it's easier
   12· ·said than done -- that we take extra care not to
   13· ·speak over one another.· I'll try to wait a few
   14· ·seconds, you try to wait a few seconds, that way we
   15· ·can have a clear record of who's speaking; is that
   16· ·okay?
   17· · · · A.· ·That's fine.
   18· · · · Q.· ·And while I know we're on video here, if
   19· ·you could give me audible answers as we go through,
   20· ·there will be a lot of yes or no, do you agree type
   21· ·questions.· If you could audibly say yes or no as
   22· ·opposed to shaking or nodding, that would be great.
   23· · · · · · ·Is that something you can do?
   24· · · · A.· ·Yes, that's fine.
   25· · · · Q.· ·Awesome.


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   ·1· · · · · · ·And do you understand that you are under
   ·2· ·oath today?
   ·3· · · · A.· ·I do.
   ·4· · · · Q.· ·The same as if you were sitting in a
   ·5· ·courtroom testifying before a judge?
   ·6· · · · A.· ·I understand.
   ·7· · · · Q.· ·Okay.· Now, if any of my questions are
   ·8· ·unclear as we proceed today, I would just ask that
   ·9· ·you ask me to rephrase, ask it in a different way so
   10· ·it all makes sense.· Does that work?
   11· · · · A.· ·That's fine.
   12· · · · Q.· ·And if you answer a question, I'm going to
   13· ·assume that you understood what I was asking.
   14· · · · A.· ·That's fine.
   15· · · · Q.· ·Does that make sense?
   16· · · · A.· ·Yes, that makes sense.
   17· · · · Q.· ·I want to make sure everything is clear to
   18· ·you, that I'm not asking you to answer anything that
   19· ·you don't understand.
   20· · · · · · ·Now, your attorney will likely object to
   21· ·some things that I ask today.· Those typically come
   22· ·in the form of what's called a form objection.
   23· ·He'll say, objection, form.· There's a local rule in
   24· ·this court that only permits form objections or
   25· ·privileged objections.


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   ·1· · · · · · ·And so there won't be what's called --
   ·2· ·what you typically see in, you know, courtrooms or
   ·3· ·in the movies where there's long arguments over the
   ·4· ·objections.· Your attorney will simply say,
   ·5· ·objection, form, and then you can proceed and answer
   ·6· ·the question.· Those objections are for later
   ·7· ·proceedings.
   ·8· · · · · · ·Does that make sense?
   ·9· · · · A.· ·Yes, that makes sense.
   10· · · · Q.· ·Now, in the instance your attorney
   11· ·instructs you not to answer due to something that's
   12· ·privileged, then you can certainly follow your
   13· ·attorney's advice.· I don't anticipate we're going
   14· ·to have a lot of privileged objections, being as
   15· ·we'll be discussing your expert report and your
   16· ·opinions in this case, so...
   17· · · · · · ·Now, if there's any time, as we're getting
   18· ·into this, that you need to take a break, please let
   19· ·me know.· I'm more than happy to break for bathroom,
   20· ·drinks, food, anything that comes up that you need
   21· ·to break for, please let me know.· I want to make
   22· ·sure you're fully able to answer the questions to
   23· ·the best of your ability.· Is that okay?
   24· · · · A.· ·That's fine.
   25· · · · Q.· ·And then as far as breaking for lunch, I


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   ·1· ·guess my plan is let's proceed for the next few
   ·2· ·hours and kind of see where we're at, and then you,
   ·3· ·with your counsel, can make a decision of if you
   ·4· ·want a lunch break and how long that would be.· Does
   ·5· ·that work, if we go for the next couple hours and
   ·6· ·then make that decision then?
   ·7· · · · A.· ·That will be fine.
   ·8· · · · Q.· ·Okay.· All right.· And finally, are you on
   ·9· ·any type of medication today that would affect your
   10· ·ability to answer questions fully and truthfully and
   11· ·understand what we're talking about?
   12· · · · A.· ·No.
   13· · · · Q.· ·Okay.· And is there any other reason or
   14· ·things that I should be aware of that would affect
   15· ·you from being able to truthfully and fully
   16· ·understand and answer questions today?
   17· · · · A.· ·No.
   18· · · · Q.· ·Okay.· Awesome.
   19· · · · · · ·Now, other than conversations with your
   20· ·attorneys in this case -- your attorney and
   21· ·attorneys that hired you in this case, what did you
   22· ·do to prepare for today's deposition?
   23· · · · A.· ·I read over my report, and also my
   24· ·responses.
   25· · · · Q.· ·Okay.· Did you review any of the reports


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   ·1· ·that you referenced that you relied on in forming
   ·2· ·your opinion?
   ·3· · · · A.· ·Can you explain -- do you mean the sources
   ·4· ·that I used?
   ·5· · · · Q.· ·Yes.· You attached an exhibit to your
   ·6· ·report with a lengthy list of sources that you
   ·7· ·relied on and reviewed.· Did you review any of those
   ·8· ·specifically?
   ·9· · · · A.· ·I mostly looked at the report, and I
   10· ·didn't really have a lot of time to look at the
   11· ·sources.· But I'm familiar with all of them.
   12· · · · Q.· ·Okay.· Did you review any other documents
   13· ·aside from your report, then?
   14· · · · A.· ·I just looked at my report and the -- the
   15· ·response that I wrote to the other professors.
   16· · · · Q.· ·Okay.· Awesome.
   17· · · · · · ·And have you spoken to anyone besides your
   18· ·attorneys to prepare for today?
   19· · · · A.· ·Can you explain what you mean?· You mean
   20· ·my -- can you explain what you mean.
   21· · · · Q.· ·Did you consult with any of your
   22· ·colleagues, any of -- anyone else about how today
   23· ·would go, about how you should answer questions?
   24· ·Aside from the plaintiffs' attorneys or your
   25· ·attorney in this case.


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   ·1· · · · A.· ·No.
   ·2· · · · Q.· ·Okay.· Now, I've reviewed your CV that you
   ·3· ·provided.· I appreciate you providing that, so
   ·4· ·there's no need to go through in excruciating
   ·5· ·detail, but if you wouldn't mind, if you could just
   ·6· ·walk me through your educational background, kind of
   ·7· ·how you arrived at where you're at today, that would
   ·8· ·be great.
   ·9· · · · A.· ·Well, I guess you mean from high school?
   10· ·I graduated from high school, valedictorian of my
   11· ·high school.· And I then graduated from Christian
   12· ·Brothers University with a bachelor's degree in
   13· ·history, a minor in political science.
   14· · · · · · ·And I then graduated from Memphis State --
   15· ·well, it's University of Memphis now but it was
   16· ·Memphis State when I was there.· I earned a master's
   17· ·in political science and a minor in education.· And
   18· ·I then graduated from the University of Tennessee,
   19· ·Knoxville with a doctorate in political science.
   20· · · · Q.· ·Okay.· Awesome.
   21· · · · · · ·And following your graduation with your
   22· ·doctorate in political science, what was your first
   23· ·faculty position and kind of where has your
   24· ·professional career taken you to where you're at
   25· ·today in the University of Florida?


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   ·1· · · · A.· ·My first faculty position -- actually I
   ·2· ·started with what's called ABD, all but
   ·3· ·dissertation, when I was finishing -- I finished my
   ·4· ·coursework and been admitted to candidacy and
   ·5· ·finished my exams, and I started at the University
   ·6· ·of Louisville in the fall of 1992.
   ·7· · · · · · ·I earned my doctorate in August of 1993
   ·8· ·and remained at Louisville.· So I began my career
   ·9· ·there and stayed there for three years, and then
   10· ·after I left the University of Louisville I was in
   11· ·the Department of Pan African studies and my
   12· ·emphasis was there.· And then after that, I went to
   13· ·the University of Missouri, Columbia.· After there,
   14· ·I went to the University of Michigan.· And then I
   15· ·came here to the University of Florida.
   16· · · · Q.· ·Okay.· And has your focus in each of those
   17· ·stops been the same type of political science
   18· ·instruction?· What kind of classes have you taught
   19· ·in those different locations?
   20· · · · A.· ·I taught a variety of classes that are
   21· ·listed on my CV at the different schools, mostly in
   22· ·American politics with an emphasis on minority
   23· ·politics, African American, Latino, and Asian
   24· ·American.· So that's mostly been my specialty.
   25· · · · Q.· ·And do you focus primarily on upper-level


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   ·1· ·students at those universities, graduate level, or
   ·2· ·are you teaching introductory courses, or just kind
   ·3· ·of a cross mix of all of them?
   ·4· · · · A.· ·It's a cross mix.
   ·5· · · · Q.· ·Okay.· Did you do a senior thesis -- not a
   ·6· ·senior thesis -- what was your PhD dissertation on?
   ·7· · · · A.· ·It was entitled Aftermath of the Voting
   ·8· ·Rights Act.· And it looked at Memphis mayor
   ·9· ·elections from 1967 until 1991, from -- it focused
   10· ·on African American mayors, from the first Black
   11· ·mayor running in 1967 until the first Black mayor
   12· ·was elected in 1991.
   13· · · · Q.· ·Okay.· Any specific findings that you
   14· ·arrived at in your conclusion?· I'm just curious.
   15· · · · A.· ·It looked at -- it was a combination of
   16· ·history and political science dissertation, and it
   17· ·looked at just the history of politics in the South,
   18· ·especially with a focus on Memphis and political
   19· ·machines.· And it -- it found that there were a
   20· ·number of factors that prohibited Black mayors from
   21· ·being able to win.
   22· · · · Q.· ·And what was it that allowed the first
   23· ·Black mayor to be elected in the '90s?
   24· · · · A.· ·The fact that there wasn't a split Black
   25· ·vote.· The fact that turnout was a record-high


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   ·1· ·turnout among African American voters.· And so those
   ·2· ·were primarily the main two things.
   ·3· · · · Q.· ·Okay.· Awesome.· Thank you.
   ·4· · · · · · ·Now, you had mentioned this is your first
   ·5· ·deposition; is that correct?
   ·6· · · · A.· ·Yes.
   ·7· · · · Q.· ·Have you ever been retained to provide an
   ·8· ·expert report in cases, or is this your first expert
   ·9· ·report as well?
   10· · · · A.· ·This is my first expert report.
   11· · · · Q.· ·Okay.· Now, have you had any experience
   12· ·working for any political campaigns or nonprofits?
   13· · · · A.· ·No, just as a volunteer.· But, no.
   14· · · · Q.· ·What campaigns and nonprofits have you
   15· ·volunteered for?
   16· · · · · · ·MR. MILLER:· Objection, form.
   17· ·BY MR. HOLT:
   18· · · · Q.· ·You can answer.
   19· · · · A.· ·I didn't hear you.· I didn't hear you.
   20· · · · Q.· ·I said --
   21· · · · · · ·THE WITNESS:· I know -- did you say
   22· · · · something?· I thought Jeffrey said something.
   23· · · · · · ·MR. HOLT:· He objected.
   24· · · · · · ·MR. MILLER:· I just said object to form.
   25


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·So you can answer the question.· He's
   ·3· ·going to object from time to time to questions that
   ·4· ·I asked -- that I ask.
   ·5· · · · A.· ·Okay.
   ·6· · · · Q.· ·And unless he instructs you otherwise,
   ·7· ·you're still able to proceed and answer the
   ·8· ·question.
   ·9· · · · · · ·So I had asked you what campaigns and
   10· ·nonprofit organizations had you -- you said you
   11· ·volunteered for some of those in the past.· I asked
   12· ·you which ones.
   13· · · · · · ·MR. MILLER:· Same objection.
   14· · · · A.· ·As far as nonprofit organizations, I've
   15· ·not volunteered for any.· As far as campaigns, it's
   16· ·mostly my former students who run for office.· Do
   17· ·you want me to name the specific ones?
   18· ·BY MR. HOLT:
   19· · · · Q.· ·Yeah, any that come to mind, specific
   20· ·campaigns, the races they were involved in.
   21· · · · A.· ·Okay.· One of my former students recently
   22· ·was elected as -- on the city council in the city in
   23· ·Maryland that he lives in.· Another of my students
   24· ·is running for a school board position in suburban
   25· ·Boston.· I also volunteered for the Obama campaign.


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   ·1· · · · · · ·And so those are the only ones I
   ·2· ·volunteered for.
   ·3· · · · Q.· ·And when you volunteer, let's talk about,
   ·4· ·first, your -- for your students, your former
   ·5· ·students.· I think that's great that you work with
   ·6· ·your former students.· What type of things do you do
   ·7· ·for their campaigns?
   ·8· · · · A.· ·Well, I provide emotional support to them.
   ·9· ·I talk to them occasionally.· And with -- it's,
   10· ·like, mostly door-to-door canvassing, internet/phone
   11· ·banking during the pandemic.· And so when you say
   12· ·what campaigns, are you talking about donations as
   13· ·well -- oh, okay.
   14· · · · · · ·As far as working for campaigns, it's
   15· ·mostly just providing support to them, just talking
   16· ·to them.· Giving them encouragement through social
   17· ·media, and just doing, you know, mostly online work
   18· ·because of the pandemic.
   19· · · · Q.· ·Okay.· And I'm sorry, I broke my own rule
   20· ·there by shaking my head "no."· So in response to --
   21· ·I apologize for that.
   22· · · · · · ·So in response to your question, I was not
   23· ·asking who you donated to.
   24· · · · A.· ·Okay.
   25· · · · Q.· ·I was simply asking what campaigns you


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   ·1· ·volunteered your time for.
   ·2· · · · A.· ·Okay.
   ·3· · · · Q.· ·Now, in regards to the Obama campaign, was
   ·4· ·it his first run in 2008 and his reelection?
   ·5· · · · A.· ·Right.· It was both.
   ·6· · · · Q.· ·It was both of -- and what did you do when
   ·7· ·you volunteered, the same type of phone banking-type
   ·8· ·activities?
   ·9· · · · A.· ·Phone banking and door-to-door canvassing.
   10· ·Registering voters.
   11· · · · Q.· ·Okay.· Now, that kind of segues into the
   12· ·next kind of questions I want to ask, regarding your
   13· ·experience -- any experience you might have in
   14· ·administering elections.
   15· · · · · · ·So for the Obama campaign, how many
   16· ·applications to vote via absentee ballot would you
   17· ·say you helped process?· By process, I mean, did you
   18· ·solicit?
   19· · · · A.· ·Can you repeat that question again?
   20· · · · Q.· ·For the Obama campaigns, if you had to put
   21· ·a rough number on how many requests -- first off,
   22· ·let me backtrack here.
   23· · · · · · ·Were you canvassing, requesting people
   24· ·fill out absentee ballot applications, or register
   25· ·to vote applications, or both?· What type of


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   ·1· ·applications were you seeking to get filled out?
   ·2· · · · · · ·MR. MILLER:· Objection, form.
   ·3· · · · A.· ·Just trying to get people to register --
   ·4· ·to fill out voter registration applications.
   ·5· ·BY MR. HOLT:
   ·6· · · · Q.· ·Okay.· Were you dealing with vote-by-mail
   ·7· ·applications?
   ·8· · · · A.· ·No.
   ·9· · · · Q.· ·Okay.· Have you ever dealt with absentee
   10· ·or vote-by-mail applications, either in requesting
   11· ·them or processing them?
   12· · · · A.· ·Do you mean for myself or for others?
   13· · · · Q.· ·Let's say aside from yourself.
   14· · · · A.· ·Aside from myself, have I ever tried to
   15· ·process absentee or vote-by-mail ballots; is that
   16· ·what you're asking?
   17· · · · Q.· ·Yes.
   18· · · · A.· ·No.
   19· · · · Q.· ·Okay.· Have you ever participated in the
   20· ·canvassing or opening of absentee ballots?
   21· · · · A.· ·No.
   22· · · · · · ·MR. MILLER:· Objection to form.
   23· ·BY MR. HOLT:
   24· · · · Q.· ·Have you ever assisted in helping to
   25· ·confirm the identity of voters who voted absentee?


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   ·1· · · · A.· ·No.
   ·2· · · · Q.· ·Have you ever assisted in placing drop
   ·3· ·boxes?
   ·4· · · · A.· ·No.
   ·5· · · · Q.· ·Have you ever assisted in securing drop
   ·6· ·boxes?
   ·7· · · · A.· ·No.
   ·8· · · · Q.· ·Have you ever assisted in maintaining the
   ·9· ·order, security, and efficiency of a busy polling
   10· ·location, such as acting as a poll worker?
   11· · · · · · ·MR. MILLER:· Objection, form.
   12· · · · A.· ·No.
   13· ·BY MR. HOLT:
   14· · · · Q.· ·And would you agree, in talking about
   15· ·SB 90 generally, that that is a bill that pertains
   16· ·to the administration of elections?
   17· · · · A.· ·Repeat that again.
   18· · · · Q.· ·You would agree that SB 90 is a bill that
   19· ·pertains to the administration of elections,
   20· ·correct?
   21· · · · · · ·MR. MILLER:· Objection, form.
   22· · · · A.· ·Yes.
   23· ·BY MR. HOLT:
   24· · · · Q.· ·Okay.· So when you make statements in your
   25· ·report -- and I'm quoting one here -- that SB 90 is


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   ·1· ·best understood as a backlash to Black and Hispanic
   ·2· ·turnout in 2020, you make those types of statements
   ·3· ·purely as an academic and not someone who has actual
   ·4· ·first-hand experience administering elections,
   ·5· ·correct?
   ·6· · · · A.· ·What page -- what page are you reading
   ·7· ·from?
   ·8· · · · Q.· ·It was from your summary of your findings
   ·9· ·at the beginning.
   10· · · · A.· ·Okay.
   11· · · · Q.· ·Do you have a copy --
   12· · · · A.· ·Do you have --
   13· · · · Q.· ·Do you have a --
   14· · · · A.· ·Yeah, I have it right here.
   15· · · · Q.· ·Okay.· Yeah, I'm quoting that from -- I
   16· ·wrote down page numbers on every other quote except
   17· ·this one.· Sorry.· I think it's at the end of your
   18· ·report, actually.
   19· · · · A.· ·Okay.
   20· · · · Q.· ·It's the last sentence of your report, to
   21· ·be exact.
   22· · · · A.· ·Oh, okay.
   23· · · · Q.· ·On page 64.
   24· · · · A.· ·Okay.· And can you read the quote again?
   25· · · · Q.· ·Yeah, you said SB 90 is best understood as


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   ·1· ·a backlash to Black and Hispanic turnout in 2020.
   ·2· · · · · · ·And I was just asking you to confirm --
   ·3· ·you reached these types of conclusions based on your
   ·4· ·academic experience and not any type of first-hand
   ·5· ·practical experience with the administration of
   ·6· ·elections; is that correct?
   ·7· · · · A.· ·I've never administered elections, but
   ·8· ·when I say in this sentence SB 90 is best understood
   ·9· ·as a backlash to Black and Hispanic turnout, I'm
   10· ·focusing on this part, best understood, from my
   11· ·understanding of the history of suffrage in Florida,
   12· ·that that's the way I interpret it to be, as a
   13· ·person who has studied this for many years.
   14· · · · Q.· ·Okay.· And your understanding is based on
   15· ·your academic experience, correct?
   16· · · · A.· ·It's based on my academic experience, and
   17· ·it's also based on my extensive knowledge of voting,
   18· ·and also of Florida politics and voting.· It's based
   19· ·on those things.
   20· · · · Q.· ·Okay.· But you mentioned before you didn't
   21· ·have any first-hand experience administering
   22· ·elections; is that correct?
   23· · · · A.· ·No, I don't have experience in
   24· ·administering elections.
   25· · · · Q.· ·So your opinions in this are not based on


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   ·1· ·any first-hand experience you have administering
   ·2· ·elections?· In "this," I mean this report.
   ·3· · · · A.· ·In this report, my experience is based on
   ·4· ·my knowledge as a professor.
   ·5· · · · Q.· ·Okay.
   ·6· · · · A.· ·And the research that I've done.
   ·7· · · · Q.· ·Okay.· Now, when you use the word
   ·8· ·"Hispanic" throughout your report, are you referring
   ·9· ·to Hispanic as a race?
   10· · · · A.· ·Hispanic is considered to be an ethnicity.
   11· ·Like Hispanic/Latino/Latina.
   12· · · · Q.· ·And do you use it as an ethnicity or as a
   13· ·race?
   14· · · · A.· ·Well, based on what I teach in my Latino
   15· ·politics class, it -- people that refer to
   16· ·themselves as Hispanic Latino think of themselves in
   17· ·terms of their ethnicity.· Although society thinks
   18· ·of their race.
   19· · · · Q.· ·Okay.· So when you use terms in your
   20· ·report such as "Black and Hispanic voters," you
   21· ·would agree that Black is referred as to a race,
   22· ·correct?
   23· · · · A.· ·Right.
   24· · · · Q.· ·And Hispanic is an ethnicity?
   25· · · · A.· ·Right.


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   ·1· · · · Q.· ·And there can be crossover between those
   ·2· ·two, correct?· You can have a Black Hispanic
   ·3· ·individual, correct?
   ·4· · · · A.· ·Yes.
   ·5· · · · Q.· ·Okay.· Now, and you -- you are aware that
   ·6· ·the Census Bureau, as you stated, views race and
   ·7· ·ethnic heritage as different things?
   ·8· · · · A.· ·Are you asking a question?
   ·9· · · · Q.· ·Yes.· You're aware that the Census Bureau,
   10· ·in taking the census and gathering data, views race
   11· ·and ethnic heritage as different things?
   12· · · · A.· ·Yes.
   13· · · · Q.· ·And you would agree that the primary
   14· ·source for data that yourself and other voting
   15· ·experts rely on is gathered from the census, from
   16· ·data gathered during the census, correct?
   17· · · · A.· ·You're saying that -- can you say that
   18· ·again?
   19· · · · Q.· ·The primary source for data that you rely
   20· ·on in your report, and other experts, the reports
   21· ·that you relied on, is the United States Census?
   22· · · · A.· ·Yes, a lot of it is.
   23· · · · Q.· ·Okay.· Now, in regards -- are you aware --
   24· ·the two ethnic questions that the Census Bureau asks
   25· ·are Hispanic or Latino or not Hispanic or Latino; is


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   ·1· ·that correct?
   ·2· · · · A.· ·Repeat that again.
   ·3· · · · Q.· ·Would you agree that the two ethnic
   ·4· ·categories or questions that are gathered in the
   ·5· ·census are, one:· Are you Hispanic or Latino or not
   ·6· ·Hispanic or Latino?· You would agree that that is a
   ·7· ·correct assessment of how the census determines
   ·8· ·Hispanic ethnicity?
   ·9· · · · A.· ·Well, that's not really -- I mean, I just
   10· ·wonder, how does that retain to -- how does that
   11· ·relate to my report?· Because it's not really
   12· ·something that I looked at, as far as how --
   13· · · · Q.· ·I'm just trying --
   14· · · · A.· ·-- the census classes people.
   15· · · · Q.· ·You use the terms "Hispanic" and "Latino"
   16· ·globally.· I'm just trying to understand what you
   17· ·meant by use of those terms.· That's all.
   18· · · · A.· ·Okay.· I see.
   19· · · · Q.· ·And so you would agree that that's -- in
   20· ·gathering ethnic information, the census asks are
   21· ·you Hispanic or Latino or are you not Hispanic or
   22· ·Latino; do you agree with that?
   23· · · · A.· ·Well, I agree with that to some extent.
   24· ·Because the census also refers to some people as
   25· ·white Hispanic, white non-Hispanic.· So I guess if


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   ·1· ·that would be the case, then I can't really give you
   ·2· ·a yes-or-no answer to your question.
   ·3· · · · Q.· ·I'm asking about ethnicity here, not race.
   ·4· · · · A.· ·Okay.
   ·5· · · · Q.· ·I understand those are different
   ·6· ·categories.
   ·7· · · · A.· ·Okay.
   ·8· · · · Q.· ·Now, in looking at Hispanics in Florida,
   ·9· ·you agree that Hispanics or Latinos can come from a
   10· ·variety of backgrounds and countries, correct?
   11· · · · A.· ·Yes.
   12· · · · Q.· ·Based on your understanding of Florida,
   13· ·and the demographics there, what different
   14· ·nationalities make up the Hispanic or Latino
   15· ·population of Florida?
   16· · · · A.· ·There really are several.· There are
   17· ·people who are Cuban, and then also with those
   18· ·ethnicities, sometimes people refer to themselves as
   19· ·white Cubans versus Afro-Cubans.· There are people
   20· ·who are Puerto Rican.· There are people who are
   21· ·Mexican.· There's a large variety.· There are people
   22· ·who are Colombian.
   23· · · · · · ·So those are just some of the categories
   24· ·that fall under the broad label Hispanic.
   25· · · · Q.· ·Okay.· So as we previously discussed, you


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   ·1· ·would agree that, for example, someone could also be
   ·2· ·Black, per their race, for the census data, and also
   ·3· ·be Hispanic, correct?
   ·4· · · · A.· ·Yes.
   ·5· · · · Q.· ·Now, in your report, when you use the term
   ·6· ·Black or African American, are you including only
   ·7· ·non-Hispanic Blacks or any part Black?
   ·8· · · · A.· ·I'm including just all people who refer to
   ·9· ·themselves as -- as being -- or society classifies
   10· ·as being Black.
   11· · · · Q.· ·The census has a specific way of
   12· ·classifying, so that's kind of what I want to focus
   13· ·on, as you relied on reports that use census data.
   14· · · · · · ·There's multiple ways to look at these
   15· ·things.· Again, sometimes you look at only
   16· ·non-Hispanic Black, or any part Black, which would
   17· ·include Hispanic Black.· Are you -- did you attempt
   18· ·to differentiate from those two groups when you
   19· ·performed -- when you organized your expert report
   20· ·in this case?
   21· · · · A.· ·No, I didn't.
   22· · · · Q.· ·Now -- and you agree that there can be
   23· ·significant overlap in people who are Hispanic or
   24· ·Latino and might -- that might also be Black,
   25· ·correct?


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   ·1· · · · A.· ·It is possible.
   ·2· · · · Q.· ·I mean, you would agree it's more than
   ·3· ·possible, it's probable it's -- you know, that that
   ·4· ·occurs, correct?
   ·5· · · · A.· ·You mean that I know that that occurs,
   ·6· ·that there are some people who are biracial who are
   ·7· ·both Black and Hispanic?
   ·8· · · · Q.· ·Correct.
   ·9· · · · A.· ·Yes.
   10· · · · Q.· ·Okay.·
                  Okay.· Now, when you are referring, in
   11· ·your report, to statistics and studies that refer to
   12· ·Hispanics and Latinos as compared to Black, are you
   13· ·double counting individuals within those two
   14· ·subgroups?
   15· · · · A.· ·I don't really know if I did or not.                     I
   16· ·just looked at the data that I had available to me
   17· ·in the way that the studies classified people on the
   18· ·basis of race or ethnicity.
   19· · · · Q.· ·That's not something you considered, then?
   20· · · · A.· ·What's not something I considered?
   21· · · · Q.· ·Whether or not you were double counting
   22· ·individuals when you referred to Hispanic and
   23· ·Latinos and Blacks, and compared the two groups.
   24· · · · A.· ·No, it's not something that I considered.
   25· ·But there is a -- probably a relatively small


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   ·1· ·population of people who are both Black and
   ·2· ·Hispanic.· But it's not something I consider.
   ·3· · · · Q.· ·Okay.· And you cite studies from the ACLU
   ·4· ·and The Sentencing Project in your report, correct?
   ·5· · · · A.· ·Yes.
   ·6· · · · Q.· ·Are you aware of how those organizations
   ·7· ·classified race and ethnicity in their studies and
   ·8· ·reports?
   ·9· · · · A.· ·No, I didn't look into it.
   10· · · · Q.· ·So you don't know if they are referring to
   11· ·non-Hispanic Blacks, any part Blacks, if they are
   12· ·double counting?
   13· · · · A.· ·No.
   14· · · · Q.· ·So it's possible that you viewed race in a
   15· ·different way than, for example, the ACLU viewed
   16· ·race, correct?
   17· · · · A.· ·It's possible.
   18· · · · Q.· ·And that's not something that you checked
   19· ·at all, correct?
   20· · · · A.· ·Whether or not I was --
   21· · · · Q.· ·You --
   22· · · · A.· ·Can you say it again?
   23· · · · Q.· ·You did not confirm that -- in the ACLU
   24· ·report that you reference in your expert report, you
   25· ·did not confirm that they classified race the same


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   ·1· ·way you did, such as, any part Black, non-Hispanic
   ·2· ·Black, correct?
   ·3· · · · A.· ·Okay.· Now, which report specifically are
   ·4· ·you talking about?· I need it to just refresh my
   ·5· ·memory about the title of the report.
   ·6· · · · Q.· ·Yes, the ACLU report, you reference data
   ·7· ·throughout your report.
   ·8· · · · A.· ·Okay.
   ·9· · · · Q.· ·Expert report.· I'm looking at a chart on
   10· ·page 53, for example, where you look at vote-by-mail
   11· ·rejection rates.
   12· · · · A.· ·Okay.
   13· · · · Q.· ·Based on race.
   14· · · · A.· ·Okay.
   15· · · · Q.· ·For example, when it says Black voters,
   16· ·you don't know if that number includes any part
   17· ·Black or non-Hispanic Black?
   18· · · · A.· ·Right.
   19· · · · Q.· ·And when it says Hispanic voters, you
   20· ·don't know if that also includes Black Hispanic
   21· ·voters?
   22· · · · A.· ·Right.
   23· · · · Q.· ·So you don't know if -- if the ACLU is
   24· ·double counting voters in the report, correct?
   25· · · · A.· ·No.


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   ·1· · · · Q.· ·Okay.· Do you think that's important when
   ·2· ·comparing data sets from different reports, that you
   ·3· ·know what data sets those reports are using?
   ·4· · · · A.· ·It is important to know that, and I -- but
   ·5· ·I know that the ACLU, for years, has a long
   ·6· ·tradition of having really quality reports.· So I
   ·7· ·really have a lot of confidence in their findings.
   ·8· · · · Q.· ·I'm not questioning the quality of their
   ·9· ·findings here.· I'm simply -- when we're comparing
   10· ·racial subsets across different reports, you would
   11· ·agree that it's important to know that you're
   12· ·comparing apples to apples, correct?
   13· · · · A.· ·Okay.· So what do you mean by apples to
   14· ·apples?
   15· · · · Q.· ·For example, if you say -- if you're
   16· ·looking at the 2020 election results, or some type
   17· ·of demographic make-up, and you made the statement
   18· ·of Black voters in this county, X, Y, Z, and you
   19· ·compared that to the ACLU report discussing
   20· ·rejection rates, they might be classifying a Black
   21· ·voter as something different than you are
   22· ·classifying a Black voter.
   23· · · · A.· ·It's possible, but I think it's unlikely.
   24· · · · Q.· ·But you would agree that it's important to
   25· ·confirm, if you're comparing data sets, that you are


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   ·1· ·defining those data sets in the same way, correct?
   ·2· · · · A.· ·I'm still kind of unclear as to what
   ·3· ·you're asking.· Like, you're saying defining them in
   ·4· ·the same way.· I'm kind of unclear about exactly
   ·5· ·what you're asking.
   ·6· · · · Q.· ·Okay.· Let me rephrase it one more time.
   ·7· · · · A.· ·Okay.
   ·8· · · · Q.· ·So you used generally the term Black
   ·9· ·voters throughout your report, correct?
   10· · · · A.· ·Yes.
   11· · · · Q.· ·And you said you did not clarify whether
   12· ·or not you meant any part Black or non-Hispanic
   13· ·Black, correct?
   14· · · · A.· ·Right.
   15· · · · Q.· ·And in your report, you cite, for example,
   16· ·that ACLU report that we just referenced, correct?
   17· · · · A.· ·Yes.
   18· · · · Q.· ·And the ACLU quantifies what they believe
   19· ·are categories associated with Black voters,
   20· ·correct?
   21· · · · A.· ·Yes.
   22· · · · Q.· ·So when you are comparing your analysis of
   23· ·Black voters with that of the ACLU, their conclusion
   24· ·of Black voters, you don't know if you're both
   25· ·referring to the same definition of what a Black


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   ·1· ·voter is?
   ·2· · · · A.· ·I -- I really wouldn't say that.· And the
   ·3· ·reason is because the ACLU, I think, based on my
   ·4· ·knowledge of them and my reading of the report, they
   ·5· ·define Black voters in the same way that I do.· And
   ·6· ·so I would say that my assumption is that they
   ·7· ·have -- that they've defined Black voters in the
   ·8· ·same way that I do.
   ·9· · · · Q.· ·And how do you define a Black voter?
   10· · · · A.· ·A person of African descent.
   11· · · · Q.· ·And you know that's how the ACLU defines
   12· ·it as well?
   13· · · · A.· ·Based on my reading of them, and my
   14· ·knowledge of the organization, I would say so.
   15· · · · Q.· ·And you agree that you can have a person
   16· ·of African descent who is also Hispanic, correct?
   17· · · · A.· ·Yes.
   18· · · · Q.· ·So what I'm trying to get at here, as you
   19· ·compare Black and Hispanic data, is whether or not
   20· ·you are double counting voters in your analysis of
   21· ·Black and Hispanic voters, and it sounds like you
   22· ·are; is that correct?
   23· · · · · · ·MR. MILLER:· Objection, form.
   24· · · · A.· ·I would say no.· And --
   25


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·Why is that?
   ·3· · · · A.· ·Well, I would say because if you know
   ·4· ·the -- the conception of race in this country, and
   ·5· ·especially when it comes to people who are,
   ·6· ·quote/unquote Black, they are considered to be
   ·7· ·people of African descent.· And even if someone is
   ·8· ·Black and Hispanic, that person, in this country, in
   ·9· ·most situations, is nevertheless considered to be
   10· ·Black.
   11· · · · · · ·And the reason for that is because of
   12· ·something we call the one-drop rule, which says --
   13· ·which unfortunately says, if you were born in this
   14· ·country -- well, in regards to where you were
   15· ·born -- if you're born in this country, if you have
   16· ·one drop of Black blood, you're Black.
   17· · · · · · ·So because of that, I don't think there's
   18· ·a large chance that I overcounted because people who
   19· ·are Black and Hispanic, in this country, are
   20· ·classified as Black.
   21· · · · Q.· ·And I'm not disputing the one-drop rule or
   22· ·asking for you to opine on the one-drop rule.
   23· · · · · · ·You said previous -- what you just stated
   24· ·was people who are Hispanic view themselves as
   25· ·Black.· Is that what you just said?


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   ·1· · · · A.· ·No, I said people who are both Black and
   ·2· ·Hispanic, in this country, typically are classified
   ·3· ·as Black.
   ·4· · · · Q.· ·By whom?· Who classifies them as Black?
   ·5· · · · A.· ·By just societal definitions, they're
   ·6· ·considered to be Black, because of the one-drop rule
   ·7· ·that I mentioned, which is also the hypodescent
   ·8· ·rule.
   ·9· · · · Q.· ·Okay.· I'm interested in how the census
   10· ·views race and ethnicity, not how society views race
   11· ·and ethnicity.
   12· · · · A.· ·Okay.
   13· · · · Q.· ·And you agreed that the census is the
   14· ·primary data source that you relied on, correct?
   15· · · · A.· ·Yes.
   16· · · · Q.· ·So do you not think it would be important
   17· ·to -- being as the census differentiates between
   18· ·non-Hispanic Black and any part Black, to also
   19· ·understand in your data whether you are referring to
   20· ·non-Hispanic Black or any part Black?
   21· · · · A.· ·Is that a yes-or-no question?
   22· · · · Q.· ·Yes.· Do you think that's important to
   23· ·understand those differences when relying on census
   24· ·data?
   25· · · · A.· ·Yes.· And I do understand those


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   ·1· ·differences.
   ·2· · · · Q.· ·But you stated earlier you did not take
   ·3· ·them into account in forming your opinions in this
   ·4· ·case and relying on the data, correct?
   ·5· · · · A.· ·That doesn't mean I don't understand them.
   ·6· ·You just asked me do I understand those differences,
   ·7· ·and I do.
   ·8· · · · Q.· ·Forgive my question.
   ·9· · · · A.· ·Okay.
   10· · · · Q.· ·Do you feel that it's important to take
   11· ·into account those differences and the different
   12· ·data subsets to know what you're looking at?
   13· · · · A.· ·Well, it's hard to answer that with just a
   14· ·yes-or-no answer.· Because the obvious answer is
   15· ·yes.· But it's also important to know, when relying
   16· ·on the reports and data that I relied on, is how
   17· ·people classified themselves.
   18· · · · · · ·And according to the census, you have to
   19· ·check a box in which you define your race or
   20· ·ethnicity, and so if someone checked the box Black,
   21· ·then they're classified as Black.· And in the
   22· ·reports that -- and data that I looked at, that --
   23· ·those are the people that I'm referring to.
   24· · · · · · ·And so there are people who refer to
   25· ·themselves as Black.· Other people refer to


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   ·1· ·themselves as Hispanic.· And so those are the
   ·2· ·classifications that I looked at in just -- and in
   ·3· ·referring to people by their race, it was based on
   ·4· ·the way they identified themselves.
   ·5· · · · Q.· ·So, for example, in that ACLU report that
   ·6· ·we looked at, that table that you included in your
   ·7· ·report, they have a column for Black voters and they
   ·8· ·have a column for Hispanic voters.
   ·9· · · · A.· ·Which table are you talking about?
   10· · · · Q.· ·It was the one we just barely referenced.
   11· · · · A.· ·Okay.
   12· · · · Q.· ·Previously.· Page 53 of your report.
   13· · · · A.· ·Okay.
   14· · · · Q.· ·And I'm sorry to go so long on this.
   15· · · · A.· ·No problem.
   16· · · · Q.· ·I'm just trying to understand --
   17· · · · A.· ·Page 53.
   18· · · · Q.· ·I'm just trying to understand when the
   19· ·ACLU uses the term Black voters in one column and
   20· ·Hispanic voters in another column.
   21· · · · A.· ·Okay.
   22· · · · Q.· ·And you agreed that you can have crossover
   23· ·between the two -- for example, a Black Hispanic
   24· ·voter -- do you know which category the ACLU
   25· ·included that voter in?


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   ·1· · · · A.· ·Whatever that person identified himself or
   ·2· ·herself as.· If a person -- if that person was Black
   ·3· ·and Hispanic, and they checked the box Black, then
   ·4· ·they're considered to be Black.· If they checked the
   ·5· ·box Hispanic, then they're considered to be
   ·6· ·Hispanic.· Depending on how that person identified
   ·7· ·himself or herself.
   ·8· · · · Q.· ·Well, we just talked about that you viewed
   ·9· ·Hispanic as an ethnicity, correct?
   10· · · · A.· ·Yes.
   11· · · · Q.· ·And so race and ethnicity are different
   12· ·things, correct?
   13· · · · A.· ·Yes.
   14· · · · Q.· ·And so if I'm a Black Hispanic, I'm going
   15· ·to check the box Black, and I'm also going to check
   16· ·the box Hispanic under the ethnicity question, which
   17· ·is different than the racial question where I would
   18· ·check Black, correct?
   19· · · · A.· ·Repeat that again.
   20· · · · Q.· ·There are different questions on the
   21· ·census regarding race, where I would check the Black
   22· ·box, correct, and ethnicity, where I would check the
   23· ·Hispanic box, correct?
   24· · · · A.· ·There are different boxes for -- say that
   25· ·one more time.· I'm sorry.


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   ·1· · · · Q.· ·There's a question on the census for race.
   ·2· · · · A.· ·Uh-huh.
   ·3· · · · Q.· ·Where a voter -- or a citizen would check
   ·4· ·the box saying they are Black.· They consider
   ·5· ·themselves to be Black, correct?
   ·6· · · · A.· ·Yes.
   ·7· · · · Q.· ·And then there's a separate question that
   ·8· ·asks for their ethnicity, that if they are Hispanic,
   ·9· ·correct?
   10· · · · A.· ·Well, based on my understanding of the
   11· ·census, because when I looked at the reports --
   12· ·well, based on my understanding of the census,
   13· ·there's a category that says race ethnicity, and you
   14· ·have pretty much the main categories are white,
   15· ·Black, Hispanic, Asian, and then also other, and
   16· ·sometimes you have non-Hispanic white.· And
   17· ·typically, a person checks one box.
   18· · · · · · ·So if a person is Black and Hispanic, that
   19· ·person could either check Black or Hispanic or
   20· ·other, and then write Black and Hispanic.· So I hope
   21· ·that answers your question.· I think, based on my
   22· ·recollection and understanding of census, there's
   23· ·just that one question about ethnicity and you just
   24· ·checked the one box.
   25· · · · Q.· ·Give me just a minute here.· I'm going to


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   ·1· ·pull something up and share with you.
   ·2· · · · A.· ·Okay.
   ·3· · · · Q.· ·I just want to ask you a little bit more
   ·4· ·here, okay?
   ·5· · · · A.· ·Okay.
   ·6· · · · Q.· ·So I just dragged in a document called
   ·7· ·Census Race FAQs into the chat box there.· Can you
   ·8· ·see that?
   ·9· · · · A.· ·Okay.· I see it.
   10· · · · Q.· ·Okay.· I pulled this down from the census'
   11· ·website, and I want you to take a look at
   12· ·specifically the -- you see where it says
   13· ·"definition" right in the middle of that?
   14· · · · A.· ·Okay.· I'm having trouble downloading it.
   15· ·Would it be possible for you to share your screen?
   16· · · · Q.· ·I can try to do that.
   17· · · · · · ·MR. HOLT:· Is everyone else able to open
   18· · · · that document?
   19· · · · · · ·MR. CHORBA:· Nothing came through.· This
   20· · · · is William Chorba.
   21· · · · · · ·MR. HOLT:· Okay.· I'll just share my
   22· · · · screen, then.
   23· ·BY MR. HOLT:
   24· · · · Q.· ·Okay.· Do you see that there?
   25· · · · A.· ·I do.


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   ·1· · · · Q.· ·Okay.· So I'm going to scroll to the top
   ·2· ·here.· You'll see this is pulled down from the
   ·3· ·census -- census.gov; do you see that?
   ·4· · · · A.· ·I do.
   ·5· · · · Q.· ·Can you read for me that sentence right
   ·6· ·there, right above the word "definition"?
   ·7· · · · A.· ·Okay.· The concept of race is separate
   ·8· ·from the concept of Hispanic origin.
   ·9· · · · Q.· ·Okay.· And then under "definition," could
   10· ·you read just the different bolded categories that
   11· ·they have for race?
   12· · · · A.· ·Do you mean the entire definition, or just
   13· ·the term, the different categories?
   14· · · · Q.· ·Just the different categories that they
   15· ·have to define race.
   16· · · · A.· ·Okay.· White; Black or African American;
   17· ·American Indian and Alaska Native; Asian; Native
   18· ·Hawaiian and Other Pacific Islander.
   19· · · · Q.· ·Do you see the term "Hispanic" anywhere
   20· ·under the race terms?
   21· · · · A.· ·And then at the bottom, you have two or
   22· ·more races at the bottom.
   23· · · · Q.· ·Yes.· And so that's -- if you were two or
   24· ·more of those five above that you checked, you would
   25· ·check that box; is that how you understand that?


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   ·1· · · · A.· ·Yes.
   ·2· · · · Q.· ·Take your time to read whatever you would
   ·3· ·like.
   ·4· · · · A.· ·Okay.· Yes, I did.
   ·5· · · · Q.· ·Okay.· Do you see Hispanic anywhere as an
   ·6· ·option to choose for your race?
   ·7· · · · A.· ·No.
   ·8· · · · Q.· ·And so read one more time that bolded
   ·9· ·statement right above the word "definition" there.
   10· ·And that's the bold from the Census Bureau's
   11· ·website.· I didn't place that emphasis there.
   12· · · · A.· ·The concept of race is separate from the
   13· ·concept of Hispanic origin.
   14· · · · Q.· ·Okay.· So I'm going to stop sharing my
   15· ·screen, that okay?· Or do you want to look at
   16· ·anything else here?
   17· · · · A.· ·I'm fine.
   18· · · · Q.· ·Okay.
   19· · · · · · ·MR. HOLT:· And, Mary, did you get that
   20· · · · exhibit?
   21· · · · · · ·THE STENOGRAPHER:· I'm sorry, is that
   22· · · · going to be No. 1?
   23· · · · · · ·MR. HOLT:· Yes.
   24· · · · · · ·THE STENOGRAPHER:· Okay.· Thanks.
   25


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   ·1· · · · · · ·(Marked for Identification is Exhibit 1.)
   ·2· ·BY MR. HOLT:
   ·3· · · · Q.· ·Now, Dr. Austin, do you understand better
   ·4· ·what I'm getting at when I ask which category --
   ·5· ·when looking at the ACLU table on page 53 of your
   ·6· ·report, when it has a Black voter and a Hispanic
   ·7· ·voter, and separate columns, if someone both
   ·8· ·identifies as a Black race and a Hispanic ethnicity,
   ·9· ·which category would that voter be in?
   10· · · · A.· ·Do you mean the table on page 53 that you
   11· ·just referred to?
   12· · · · Q.· ·Yes.· I'm using that as an example here.
   13· · · · A.· ·Okay.· Repeat your question one more time.
   14· · · · Q.· ·If you have someone who is a Black
   15· ·Hispanic, that checked the box "Black" under race,
   16· ·and then checked the box "Hispanic" under ethnicity,
   17· ·which are two separate questions, which category
   18· ·would that individual fall under in this data table
   19· ·here on page 53?
   20· · · · A.· ·Based on my understanding, that person
   21· ·would fall under whatever category he or she listed.
   22· ·I think that if that person --
   23· · · · Q.· ·Okay.· Let's --
   24· · · · A.· ·Go ahead.
   25· · · · Q.· ·Sorry.· Excuse me.· Excuse me.· Finish


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   ·1· ·your answer.· My bad.
   ·2· · · · A.· ·Okay.· If that person considers himself or
   ·3· ·herself to be Black, then they would put that, and
   ·4· ·that would be their race.· If that person considers
   ·5· ·himself to be a Hispanic, that would be their
   ·6· ·ethnicity.
   ·7· · · · Q.· ·But you understand my question, that that
   ·8· ·person has considered themself to be both of those
   ·9· ·things?
   10· · · · A.· ·That person would consider himself or
   11· ·herself to be both of those things, but that person,
   12· ·when in all likelihood, just checked one box for one
   13· ·category.
   14· · · · Q.· ·I'll reference you back to Exhibit 1 that
   15· ·we just looked at, that made very clear that
   16· ·ethnicity is a different question than race,
   17· ·correct?
   18· · · · · · ·MR. MILLER:· Objection, form.
   19· · · · A.· ·Yes.
   20· ·BY MR. HOLT:
   21· · · · Q.· ·Is that correct?
   22· · · · · · ·So that person, the Black Hispanic person,
   23· ·would check both boxes, they would have checked the
   24· ·Black box, and they would check the Hispanic box,
   25· ·because their ethnicity is Hispanic; their race is


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   ·1· ·Black, correct?
   ·2· · · · · · ·MR. MILLER:· Objection, form.
   ·3· · · · A.· ·I would say not really.· Because that
   ·4· ·person -- just -- can you say that one more time?
   ·5· ·I'm sorry.
   ·6· ·BY MR. HOLT:
   ·7· · · · Q.· ·So when you have a citizen who is Black as
   ·8· ·a race.
   ·9· · · · A.· ·Uh-huh.
   10· · · · Q.· ·But Hispanic as an ethnicity.
   11· · · · A.· ·Okay.
   12· · · · Q.· ·They would check both the "Black" box for
   13· ·race and the "Hispanic" box for ethnicity; it would
   14· ·not be one or the other?
   15· · · · A.· ·Well, I can't really say one way or the
   16· ·other what that person would check.· Because I can't
   17· ·speak for that person.· I mean, in some cases, that
   18· ·person might consider himself or herself to be both.
   19· ·In some cases, that person might just choose to
   20· ·check one box.· So I really couldn't say one way or
   21· ·the other.
   22· · · · Q.· ·I'm talking about the person that chose to
   23· ·select both boxes.
   24· · · · A.· ·Okay.
   25· · · · Q.· ·Do you know which category that person


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   ·1· ·would be in, Black voters, Hispanic voters, or would
   ·2· ·they be double counted?
   ·3· · · · · · ·MR. MILLER:· Objection, form.
   ·4· · · · A.· ·Again, I can't say what category that
   ·5· ·person -- it all depends on what the person sees
   ·6· ·himself or herself as.
   ·7· · · · · · ·For example, in some cases, you have
   ·8· ·people who are Afro-Cubans, and they might consider
   ·9· ·themselves to be both and check both boxes.· But in
   10· ·some cases, they might consider themselves to be
   11· ·Black.· There are a lot of factors at play that
   12· ·would just, I guess, determine what they see
   13· ·themselves as.· And in some cases, they might
   14· ·consider themselves to be Hispanic.· It just all
   15· ·depends on the person.
   16· · · · · · ·I can't say one way or the other if they
   17· ·would have to check both boxes and therefore be
   18· ·double counted.
   19· ·BY MR. HOLT:
   20· · · · Q.· ·I'm primarily concerned here with the
   21· ·academic who performed the analysis and created this
   22· ·table of how they viewed an individual who checked
   23· ·both Black and Hispanic on the census form.
   24· · · · A.· ·Uh-huh.
   25· · · · Q.· ·Under which category would they have


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   ·1· ·included that individual:· Black, Hispanic, or would
   ·2· ·they double count them in both?
   ·3· · · · A.· ·Again, it just depends on what the
   ·4· ·person -- which box the person checked.
   ·5· · · · Q.· ·So it's safe to say you don't know?· Would
   ·6· ·that be a safe answer?
   ·7· · · · A.· ·It would be safe to say that I can't speak
   ·8· ·for people who are Black and Hispanic because I'm
   ·9· ·not Black and Hispanic and I don't know what box
   10· ·they would check.
   11· · · · Q.· ·I'm not asking you to speak for anyone
   12· ·who's Black or Hispanic.· I'm simply asking you for
   13· ·the person who is both Black and Hispanic, that
   14· ·checked both the boxes, has yourself or another
   15· ·academic who's viewing that, do you view that person
   16· ·as Black, Hispanic, or both, in terms of which
   17· ·category you place them in in your data sets?
   18· · · · A.· ·I can't answer that, because I would just
   19· ·say, again, I feel like I'm repeating myself over
   20· ·and over.· It just all depends on -- I would
   21· ·classify that person based on what that person told
   22· ·me to classify himself or herself as.
   23· · · · Q.· ·Okay.· And you don't know if the
   24· ·Sentencing Project, if the ACLU, viewed that the
   25· ·same way you do, correct?


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   ·1· · · · A.· ·Correct.
   ·2· · · · Q.· ·Okay.· Thank you.· Sorry to belabor that
   ·3· ·point.· I was just trying to --
   ·4· · · · A.· ·No problem.
   ·5· · · · Q.· ·To better understand.
   ·6· · · · · · ·How are you doing?· Do you need a break or
   ·7· ·anything?
   ·8· · · · A.· ·Well, it's been about an hour.· So I think
   ·9· ·I could take a break.
   10· · · · Q.· ·Okay.
   11· · · · · · ·MR. HOLT:· Why don't we take five minutes.
   12· · · · · · ·THE WITNESS:· Okay.
   13· · · · · · ·MR. HOLT:· Does that work for everyone?
   14· · · · · · ·MR. MILLER:· Sure.
   15· · · · · · ·MR. HOLT:· Okay.· Sounds good.
   16· · · · · · ·THE WITNESS:· Thank you.
   17· · · · · · ·(Recess from 11:02 a.m. to 11:11 a.m.)
   18· ·BY MR. HOLT:
   19· · · · Q.· ·Now, Dr. Austin, I wanted to talk about
   20· ·Florida's political history, generally.· You spend a
   21· ·great deal of your expert report discussing
   22· ·postreconstruction, disenfranchisement of Black and
   23· ·Hispanic Florida voters; is that correct?
   24· · · · A.· ·I've -- yeah, I discuss it in the report.
   25· · · · Q.· ·And you -- you discuss laws that you refer


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   ·1· ·to as laws that essentially disenfranchised all
   ·2· ·Black voters.· That's in paragraph 23 on page 9 of
   ·3· ·your expert report.· And you refer to these laws as
   ·4· ·Jim Crow laws; is that correct?
   ·5· · · · A.· ·Which sentence are you talking about?
   ·6· · · · Q.· ·In paragraph 23 on page 9, in referring to
   ·7· ·Jim Crow laws, you said that they essentially
   ·8· ·disenfranchised all Black voters; is that correct?
   ·9· · · · A.· ·Yes.
   10· · · · Q.· ·Can you tell me about those Jim Crow laws,
   11· ·what they did, the effect they had?
   12· · · · A.· ·Well, for many years, the Jim Crow laws
   13· ·had various requirements there that disfranchised
   14· ·Black voters.· The overwhelming majority of Black
   15· ·voters.· And then also there were ways in which
   16· ·rules were applied differently for Blacks and
   17· ·whites, that made it impossible, practically, for
   18· ·Blacks to be able to vote.· And there were Jim Crow
   19· ·laws, and then there also was an environment of
   20· ·terror.
   21· · · · Q.· ·What are some examples of those --
   22· · · · A.· ·I didn't hear that last one.
   23· · · · Q.· ·Wait a minute.· I'm getting some really
   24· ·bad feedback here.
   25· · · · · · ·MR. MILLER:· Yeah, I -- there was, like,


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   ·1· · · · echoing or something.
   ·2· · · · · · ·MR. HOLT:· Are people still hearing that?
   ·3· · · · · · ·MR. MILLER:· It's gone now.
   ·4· · · · · · ·THE WITNESS:· I can hear you fine.
   ·5· · · · · · ·MR. HOLT:· All right.· Awesome.· Sorry
   ·6· · · · about that.
   ·7· ·BY MR. HOLT:
   ·8· · · · Q.· ·Can you please tell me about some of those
   ·9· ·administrative laws that effectively disenfranchised
   10· ·Black voters?· For instance, I think you referenced
   11· ·white-only primaries, for example?
   12· · · · A.· ·Well, there are several that I referenced:
   13· ·Poll taxes, literacy tests, grandfather clauses for
   14· ·many years.· I mention the white primary which at
   15· ·the time was the white Democratic primary, movement
   16· ·mostly.· And so those are the ones, the primary ones
   17· ·that I mention in the report.
   18· · · · Q.· ·How did a literacy test work?· What would
   19· ·happen in order to establish to perform that test?
   20· · · · A.· ·Okay.· I explain that on page 10 in
   21· ·No. 24.· But the way it worked, it had a companion
   22· ·grandfather clause, and so according to -- you
   23· ·didn't have to take the literacy test if you had a
   24· ·relative who could vote before a certain date, and
   25· ·that date was usually on or before January 1st,


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   ·1· ·1967.
   ·2· · · · · · ·So if you had a relative that could vote
   ·3· ·before that date, you didn't have to take the
   ·4· ·literacy test.· And so that it disfranchised Black
   ·5· ·people, of course, because before that date, Black
   ·6· ·people were mostly -- were slaves, and so that meant
   ·7· ·that, you know, white people who didn't have to take
   ·8· ·the literacy test but Black people did.
   ·9· · · · · · ·And then even in cases in which, you know,
   10· ·Black people took the test and there was, first of
   11· ·all, a high illiteracy rate at the time, but even
   12· ·with Blacks who were able to take the test, they
   13· ·were sometimes asked questions that were very
   14· ·technical questions, that it was almost impossible
   15· ·to answer, and so that was the way that it worked.
   16· · · · Q.· ·So if a Black voter showed up to vote, and
   17· ·assuming they did not have a grandfather who voted,
   18· ·what other options did that Black voter have to cast
   19· ·a ballot in that election?
   20· · · · A.· ·So if they couldn't -- repeat the question
   21· ·again.
   22· · · · Q.· ·When the literacy tests were in effect, if
   23· ·someone could not pass that literacy test, a Black
   24· ·voter could not pass a literacy test, and did not
   25· ·have a grandfather who could vote, what other


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   ·1· ·options does that voter have to vote, if any?
   ·2· · · · A.· ·That was pretty much it.· You were told
   ·3· ·that you couldn't vote.
   ·4· · · · Q.· ·Now, many have referred to SB 90 as,
   ·5· ·quote, Jim Crow 2.0 or the New Jim Crow.· Do you
   ·6· ·agree with that comparison?
   ·7· · · · A.· ·I don't remember using that -- did I use
   ·8· ·that term in my report, Jim Crow 2.0?
   ·9· · · · Q.· ·You did not use that.· You referred to a
   10· ·predecessor of SB 90 and quoted an anonymous
   11· ·voter --
   12· · · · A.· ·Uh-huh.
   13· · · · Q.· ·-- who referred to that law as the New
   14· ·Jim Crow.· And that was on page 54 of your report.
   15· · · · A.· ·Okay.
   16· · · · Q.· ·I'm just curious if that is a
   17· ·characterization that you would agree with.
   18· · · · A.· ·Page 54, I would say that that's the way
   19· ·some people would perceive it, as being the New
   20· ·Jim Crow.· And I would say that I would agree with
   21· ·that.
   22· · · · Q.· ·Why would you agree with that?
   23· · · · A.· ·Because during the Jim Crow society,
   24· ·efforts were put in place to keep people of color
   25· ·from voting.· And -- and to make it difficult, if


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   ·1· ·not impossible, for them to vote.· SB 90 is putting
   ·2· ·obstacles there to disfranchise people and to make
   ·3· ·it difficult for them to vote.
   ·4· · · · Q.· ·Okay.· Let's use that same hypothetical.
   ·5· ·If a Black voter who cannot read shows up to the
   ·6· ·polls today, what options does that voter have to
   ·7· ·cast a ballot?
   ·8· · · · · · ·MR. MILLER:· Objection, form.
   ·9· · · · A.· ·If that person can't read, that person can
   10· ·still cast a vote.· I'm sure the person could ask
   11· ·for some kind of assistance from a poll worker.· But
   12· ·I think --
   13· ·BY MR. HOLT:
   14· · · · Q.· ·So --
   15· · · · A.· ·So you're saying that if that person shows
   16· ·up at the polls, or if this person just wants to
   17· ·vote in any kind of way?
   18· · · · Q.· ·Just wants to vote.
   19· · · · A.· ·Okay.
   20· · · · Q.· ·Let's go that route.· What options are
   21· ·available to that person to vote?
   22· · · · A.· ·If that person is illiterate and can't
   23· ·read, I guess, that person -- if that person chooses
   24· ·to vote by mail, can get someone in his or her
   25· ·family to help, and if that person shows up at the


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   ·1· ·polls, then that person can get the assistance of
   ·2· ·someone working there.
   ·3· · · · Q.· ·And they can vote early, they can vote on
   ·4· ·Election Day, correct?
   ·5· · · · A.· ·They could.
   ·6· · · · Q.· ·Even after SB 90 passed, correct?
   ·7· · · · A.· ·They could vote early, and they could
   ·8· ·still vote on Election Day.· But SB 90 places --
   ·9· ·makes it harder for them to vote.
   10· · · · Q.· ·But they can still cast a ballot.· They
   11· ·have that opportunity, correct?
   12· · · · A.· ·Do you want a yes-or-no answer for that?
   13· · · · Q.· ·Yes.
   14· · · · A.· ·They would still be able to vote, yes.
   15· · · · Q.· ·And you still stand by your answer, that
   16· ·this is Jim Crow 2.0 or the New Jim Crow?
   17· · · · A.· ·Yes.
   18· · · · Q.· ·So even when someone was completely
   19· ·disenfranchised, with no opportunity to vote, you're
   20· ·saying that's the same as someone who has -- can
   21· ·vote by mail, that can vote early, that can vote on
   22· ·Election Day, under the exact same circumstances,
   23· ·you're saying that's the same thing?
   24· · · · A.· ·I'm saying the two are similar, and that's
   25· ·why it's called the New Jim Crow.


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   ·1· · · · · · ·Under the old Jim Crow system, you just
   ·2· ·couldn't vote.· Because of the things that I
   ·3· ·mentioned, but also because there was an environment
   ·4· ·of terror if you even tried to vote in some
   ·5· ·communities.· In today's society, there's the New
   ·6· ·Jim Crow, in the sense that you can -- yes, you can
   ·7· ·vote, but there are obstacles there that make it
   ·8· ·more difficult, and those obstacles are directed at
   ·9· ·Black and Hispanic voters.
   10· · · · Q.· ·Now, courts these days -- first off, let
   11· ·me -- you are not a lawyer, correct?
   12· · · · A.· ·No.
   13· · · · Q.· ·But yet, in your expert report, you cite,
   14· ·I don't know, roughly a dozen cases for different
   15· ·portions of your report, court cases, correct?
   16· · · · A.· ·Yes.
   17· · · · Q.· ·And so when I ask you this, I'm not asking
   18· ·for a legal opinion, I'm asking for your opinion
   19· ·using the same level of analysis you used in
   20· ·reviewing these reports for your expert report.
   21· · · · · · ·So the Supreme Court and other courts
   22· ·routinely use the term "the ordinary burdens of
   23· ·voting."· Does that mean anything to you?
   24· · · · A.· ·I don't have that in my report, so can you
   25· ·go into more detail and define exactly what that


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   ·1· ·means?
   ·2· · · · Q.· ·An ordinary burden of voting, depending on
   ·3· ·the situation, would be something along the lines of
   ·4· ·you're going to have to travel to a polling site.
   ·5· ·You're going to have to exert some type of effort to
   ·6· ·request a ballot or to register to vote.· And for
   ·7· ·different people, that might be harder, or it might
   ·8· ·be easier.· But there's -- they refer to those
   ·9· ·things as the ordinary burdens of voting.
   10· · · · · · ·Does that make sense to you?
   11· · · · A.· ·Yes.
   12· · · · · · ·MR. MILLER:· Objection to form.
   13· · · · A.· ·The definition you gave me makes sense.
   14· ·BY MR. HOLT:
   15·
     · · · · Q.· ·Okay.· Now, what do you view as ordinary
   16· ·burdens of voting that would not be racially
   17· ·discriminatory on individuals, that everyone,
   18· ·regardless of race, has to take part in, in order to
   19· ·vote?
   20· · · · A.· ·I would say just the ordinary burdens of
   21· ·everyone, regardless of race or ethnicity, I would
   22· ·say -- did you say something?
   23· · · · Q.· ·I was just agreeing with you, yes.
   24· · · · A.· ·Okay.
   25· · · · · · ·I would say that you have to request a


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   ·1· ·ballot.· If you choose to vote at the polls, you
   ·2· ·have to travel, find transportation there.· To and
   ·3· ·from home.· You have to be able to know that if you
   ·4· ·try to vote, that you won't be intimidated or
   ·5· ·punished.
   ·6· · · · · · ·You -- I would say in -- I don't know if
   ·7· ·this would be a burden, but an ordinary
   ·8· ·understanding of voting would be that you -- every
   ·9· ·person, regardless of race, ethnicity, gender,
   10· ·religion, color, creed, sexual orientation,
   11· ·et cetera, should be able to vote and have just an
   12· ·uninhibited right to vote.
   13· · · · · · ·And if you put any type of obstacle there,
   14· ·it's not an ordinary burden.· It's just an unfair
   15· ·and it might just -- even be a discriminatory
   16· ·barrier.· So I hope that answers your question.
   17· · · · Q.· ·What if I live half a mile away further to
   18· ·the polling location than my neighbor does.· Am I
   19· ·being discriminated against by having to travel
   20· ·longer to that polling location?
   21· · · · A.· ·In the example that you just described, if
   22· ·you -- if it's at -- if it's only that short of
   23· ·distance, then, no, simply because you live a
   24· ·shorter distance away.· It wouldn't be.
   25· · · · Q.· ·What if I have a job that pays less than


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   ·1· ·my neighbor, so therefore, the cost of postage is
   ·2· ·more to me than my neighbor, to send in my absentee
   ·3· ·ballot, am I being discriminated against because of
   ·4· ·that?
   ·5· · · · A.· ·Are you being discriminated against -- no.
   ·6· ·I would say that you're not being.
   ·7· · · · Q.· ·So in the context of SB 90 -- and we'll go
   ·8· ·through in great detail all the provisions before
   ·9· ·today is over -- but in the context of SB 90, help
   10· ·me understand what provisions are outside of the
   11· ·ordinary burdens of voting that are discriminatory
   12· ·towards minorities and why.
   13· · · · A.· ·Okay.
   14· · · · Q.· ·And how they're different from the
   15· ·examples I just used.
   16· · · · A.· ·Okay.· I can refer to the ones that I --
   17· ·the provisions that I mentioned.· I think this is
   18· ·beginning on page 62.
   19· · · · · · ·But the key provisions that I looked at --
   20· ·and so you're asking me out of these provisions that
   21· ·I listed, in No. 95 in -- beginning on No. 95 on
   22· ·page 62, which of those are discriminatory?
   23· · · · Q.· ·Which of those --
   24· · · · A.· ·Which are burdensome.
   25· · · · Q.· ·Which of those are outside of the ordinary


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   ·1· ·burdens of voting.· It's implied that there's going
   ·2· ·to be some burden to vote.
   ·3· · · · A.· ·Uh-huh.
   ·4· · · · Q.· ·To register to vote.
   ·5· · · · A.· ·Okay.
   ·6· · · · Q.· ·Which of those requirements exit that
   ·7· ·understanding?
   ·8· · · · A.· ·I would say -- I would say that my main --
   ·9· ·well, to look at these provisions that I have here,
   10· ·I would say with as far as the first one, where you
   11· ·now -- you have to provide a license number, a state
   12· ·ID number, last four digits of a Social Security
   13· ·number to request a vote-by-mail ballot, and before
   14· ·you didn't have to have this information.· My
   15· ·understanding is that if you wanted to request a
   16· ·mail -- a vote-by-mail ballot, you could just
   17· ·request it.· And so now you have to identify
   18· ·yourself.
   19· · · · · · ·I have a concern about that because even
   20· ·though we live in 2021, versus the way it used to be
   21· ·under the old Jim Crow system, I have a problem with
   22· ·you having to provide -- you should be able to just
   23· ·get a vote-by-mail ballot.· I don't think you should
   24· ·have to provide any identification in order to get
   25· ·it.


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   ·1· · · · · · ·As far as casting the ballot, you know,
   ·2· ·you'll have your signature, and that will be
   ·3· ·verified.· And if there's any chance that there's
   ·4· ·something fraudulent going on, then it will be
   ·5· ·discovered.· So I don't think that it's necessary
   ·6· ·for you to have to provide any type of number to
   ·7· ·identify yourself.
   ·8· · · · Q.· ·Let me ask you this:· Is that requirement,
   ·9· ·to provide some type of identification -- and let's
   10· ·make this clear -- they allow you to do the last
   11· ·four digits of your Social Security number, your
   12· ·driver's license, or a State ID if you don't have a
   13· ·driver's license.
   14· · · · A.· ·Uh-huh.
   15· · · · Q.· ·Is that requirement applied equally to all
   16· ·races and all citizens of Florida?
   17· · · · A.· ·The requirement is applied equally, so I
   18· ·would say yes.
   19· · · · Q.· ·So how is that any different than living
   20· ·half a mile further from a polling place or having
   21· ·to pay a little more comparatively for a postage
   22· ·stamp, how are those not discriminatory, but this
   23· ·is?· Help me understand that.
   24· · · · A.· ·Okay.· I think with the examples that you
   25· ·just gave me, those are just things that people have


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   ·1· ·to deal with.· People have to travel different
   ·2· ·distances.· Different people have to -- make
   ·3· ·different incomes.· And that means that purchasing
   ·4· ·stamps and things is probably a little bit more
   ·5· ·burdensome for a person with lower incomes.
   ·6· · · · · · ·This is, I think, something that's
   ·7· ·completely different from those examples because
   ·8· ·now, you're talking about the fact that if you
   ·9· ·want -- that in our -- really, I'm saying in our
   10· ·society, we have always encouraged people to vote.
   11· ·And we had no-excuse voting.
   12· · · · · · ·And now, all of a sudden, you have to
   13· ·provide identification on your -- to get a mail
   14· ·ballot, and I just don't see that that's necessary.
   15· ·And I think that that is something that is applied
   16· ·equally, but it also can lead to -- I just don't
   17· ·think that it's necessary.· And I think it can lead
   18· ·to discriminatory outcomes.
   19· · · · Q.· ·So if I understand correctly, you don't
   20· ·believe that it's discriminatory currently, you
   21· ·believe it's just unnecessary, correct?
   22· · · · · · ·MR. MILLER:· Objection.
   23· · · · A.· ·I think that --
   24· · · · · · ·THE WITNESS:· Say that again.
   25· · · · · · ·MR. MILLER:· I just made a form objection.


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   ·1· · · · A.· ·Okay.· Say that -- read your question
   ·2· ·again.
   ·3· ·BY MR. HOLT:
   ·4· · · · Q.· ·You had just said -- and I'm
   ·5· ·summarizing -- that you did not believe that SB 90,
   ·6· ·the provision regarding IDs or some type of
   ·7· ·identifying number, was discriminatory.· You said it
   ·8· ·was just unnecessary.
   ·9· · · · · · ·But it might --
   10· · · · A.· ·Well --
   11· · · · Q.· ·-- lead to discriminatory actions later
   12· ·on.· Is that correct?· Am I understanding you
   13· ·correctly?
   14· · · · A.· ·I think what I'm saying is that it's
   15· ·just -- it's not necessary.· And also, it's -- I
   16· ·hope this answering your question, but it's
   17· ·hypocrisy in the sense that we have always
   18· ·encouraged people to vote, and we've always talked
   19· ·about American democracy and how people can vote in
   20· ·this country.
   21· · · · · · ·And to require someone to have to identify
   22· ·themselves just to get a mail ballot, that in itself
   23· ·is unnecessary, and also, it can lead to a
   24· ·discriminatory outcome.
   25· · · · Q.· ·Okay.· Do you believe it's fair to request


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   ·1· ·ID for someone to purchase alcohol?
   ·2· · · · A.· ·Yes.
   ·3· · · · Q.· ·For someone to be able to drive, do I need
   ·4· ·to have a driver's license?
   ·5· · · · A.· ·To do -- that they have to -- in order to
   ·6· ·be able to drive, that they have to have a driver's
   ·7· ·license, is that what you're asking?
   ·8· · · · Q.· ·Uh-huh.· Yes.
   ·9· · · · A.· ·Yes.
   10· · · · Q.· ·And if I want to get on an airplane, do I
   11· ·have to have some type of photo identification?
   12· · · · A.· ·Yes.
   13· · · · Q.· ·But you don't believe that in order to
   14· ·cast a ballot, I should have to confirm my identity
   15· ·to the State?
   16· · · · A.· ·I think in order to -- here, this
   17· ·provision is saying in order to request a
   18· ·vote-by-mail ballot.· I don't think that that is
   19· ·necessary.· Because once you send the ballot in,
   20· ·your identity will be confirmed.· So why do you need
   21· ·to produce this information just to even get access
   22· ·to a ballot?· That's what I'm saying.
   23· · · · Q.· ·Okay.· So you disagree with the policy
   24· ·reasons behind that decision, correct?
   25· · · · A.· ·I disagree with the policy reasons, and


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   ·1· ·also I think the motivation behind it.
   ·2· · · · Q.· ·Do you have any evidence that there was
   ·3· ·negative or racial motivations behind that
   ·4· ·provision?
   ·5· · · · A.· ·Well, I have the evidence that I produced
   ·6· ·in the entire report of a history of efforts to try
   ·7· ·to disenfranchise Black and Hispanic voters, and I
   ·8· ·use that as my basis for viewing this with
   ·9· ·suspicion.
   10·
    0· · · · Q.· ·Okay.· But you have no information
   11· ·regarding any current legislator that was involved
   12· ·in the passage of this, that they did so for racial
   13· ·motivations?
   14· · · · A.· ·Well, let me --
   15· · · · · · ·MR. MILLER:· Objection to form.
   16· · · · A.· ·Can I -- I think, in looking at this, I
   17· ·need to just look at something.· Because it was
   18· ·introduced -- and correct me if I'm wrong, there's
   19· ·so much information in this report, I don't want to
   20· ·give the wrong information -- but it was introduced
   21· ·by I think Dennis Braxley.· I believe that's the
   22· ·case.
   23· · · · · · ·And he was also the person who introduced
   24· ·a bill in 2011, HB 1355, which reduced the early
   25· ·voting period from 14 days to eight days, and it has


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   ·1· ·some
        some other provisions.· And then he produced this.
   ·2· ·And I don't know what his motivation is behind
   ·3· ·introducing SB 90, but he did try to restrict voting
   ·4· ·ten years ago, and now he's trying to restrict
   ·5· ·voting again, I think, through this.
   ·6· · · · · · ·So to answer your question, I can't say
   ·7· ·what the motivation is behind this, but I do view
   ·8· ·this with suspicion that the same person who tried
   ·9· ·to restrict voting ten years ago has introduced this
   10· ·bill.
   11· ·BY MR. HOLT:
   12· · · · Q.· ·Okay.· Like I said, we'll get into the
   13· ·specifics of the other provisions here shortly.
   14· · · · A.· ·Okay.
   15· · · · Q.· ·What I want to see, if we can just agree
   16· ·to this, that you would agree that the provisions --
   17· ·the voting provisions today in the state of Florida
   18· ·are -- have the effect to allow more people to vote,
   19· ·especially minority voters, than they did in the
   20· ·early 1900s, correct?
   21· · · · A.· ·So you're saying that the provisions that
   22· ·are here today.
   23· · · · Q.· ·Uh-huh.
   24· · · · A.· ·Are making it easier for people to vote in
   25· ·2021 than at the turn of the century?


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   ·1· · · · Q.· ·Yes.· The Jim Crow era.
   ·2· · · · A.· ·I don't think these provisions are -- I
   ·3· ·don't think you should say that it's making it
   ·4· ·easier for people to vote.· I don't think they're as
   ·5· ·restrictive, of course, as the barriers that were
   ·6· ·there in 1900.· But I would say that they're making
   ·7· ·it easier.
   ·8· · · · Q.· ·More minorities have the opportunity to
   ·9· ·cast a ballot today than they did during the
   10· ·Jim Crow era, correct?
   11· · · · A.· ·Yes.· After a constant battle to
   12· ·continuously keep fighting for it, yes.
   13· · · · Q.· ·Okay.· Now, let me just look at my notes
   14· ·real fast here.
   15· · · · · · ·Can you tell me how many speakers of the
   16· ·Florida House have been Hispanic?
   17· · · · A.· ·Let's see.· Off the top of my head, I
   18· ·don't remember if I put that in the report.· Let me
   19· ·look at my report.
   20· · · · Q.· ·We can agree that there have been several,
   21· ·correct?
   22· · · · A.· ·Right.· There have been more than one.
   23· ·I'm almost sure it's -- I thought it was 13, but let
   24· ·me -- I can check and see.· I don't know the exact
   25· ·number, but, you know, I know that there has been


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   ·1· ·more than one.
   ·2· · · · Q.· ·And do you know how many there will be
   ·3· ·within the next four years?
   ·4· · · · A.· ·Off the top of my head, no.
   ·5· · · · Q.· ·Do you know how Florida chooses Speakers
   ·6· ·of the House?
   ·7· · · · A.· ·Based on my knowledge of the legislature,
   ·8· ·I -- I mean, I think, and correct me if I'm wrong,
   ·9· ·but I think that the person has to be nominated.
   10· ·And then the entire House, if it's -- you know, the
   11· ·House -- the Speaker -- the entire House then votes.
   12· ·I think that's the way it works.
   13· · · · Q.· ·Okay.· Would it surprise you to know that
   14· ·there will be one more Hispanic Speaker within the
   15· ·next four years?
   16· · · · A.· ·No, it wouldn't.
   17· · · · Q.· ·How many state Supreme Court justices are
   18· ·Hispanic?
   19· · · · A.· ·I didn't include that in my report, so I
   20· ·don't -- I don't really remember.
   21· · · · Q.· ·If I told you there were three, would that
   22· ·surprise you?
   23· · · · A.· ·Would that surprise me?· I don't know if I
   24· ·would say it would surprise me or not, but I think
   25· ·that's -- that's a good thing.


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   ·1· · · · Q.· ·Okay.· Now, throughout your report, in
   ·2· ·multiple locations, you discuss the State's stated
   ·3· ·rationale for passing SB 90.· And you addressed that
   ·4· ·with great suspicion.
   ·5· · · · · · ·For example, on page 5, you say that
   ·6· ·SB 90, and in quotes, you say, couched as a reform,
   ·7· ·and then reform was in quotes, that supposedly
   ·8· ·addresses voter fraud.· On page 6, you state you
   ·9· ·refer to purported fraud.
   10· · · · A.· ·Uh-huh.
   11· · · · Q.· ·And later on page 6, you refer to fraud.
   12· · · · A.· ·Uh-huh.
   13· · · · Q.· ·In quotation marks.
   14· · · · A.· ·Okay.
   15· · · · Q.· ·Do you agree that the State's stated
   16· ·purpose for passing SB 90 was to prevent voter
   17· ·fraud?· Not asking what you think about it.· I'm
   18· ·just asking:· You agree that that's the stated
   19· ·purpose of -- that the State has given primarily for
   20· ·passing SB 90, was to prevent voter fraud?
   21· · · · A.· ·Was that the stated purpose, is what
   22· ·you're asking me?
   23· · · · Q.· ·Primarily, yes.
   24· · · · A.· ·Yes.· That's what they said the purpose
   25· ·was.


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   ·1· · · · Q.· ·And based on the statements that I just
   ·2· ·read from pages 5 and 6, it's safe to say you
   ·3· ·disagree with that?
   ·4· · · · A.· ·Yes.
   ·5· · · · Q.· ·Why do you disagree with that?
   ·6· · · · A.· ·Because of all of the reasons that I state
   ·7· ·in the report, because of the history of backlash
   ·8· ·that has occurred toward Black and Hispanic voters,
   ·9· ·and in particular, because my emphasis is on African
   10· ·Americans, and African American politics, especially
   11· ·toward African American voters, I think that that --
   12· ·there's a documented extensive history of backlash.
   13· ·Whenever Blacks and Hispanics make progress,
   14· ·usually, some type of legislation is put there to
   15· ·make it more difficult for them to vote.
   16· · · · Q.· ·Do you believe that a State's desire to
   17· ·prevent voter fraud is a valid interest, a valid
   18· ·state interest?
   19· · · · A.· ·If they're telling the truth.· If that's
   20· ·what the real intention is.
   21· · · · Q.· ·And how do you tell the difference between
   22· ·what is a legitimate fraud prevention statute and an
   23· ·illegitimate fraud prevention statute, in your
   24· ·opinion?
   25· · · · A.· ·In my opinion, you first would have to


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   ·1· ·show that there is evidence of widespread statewide
   ·2· ·fraud.· And I didn't see any evidence of that before
   ·3· ·SB 90.
   ·4· · · · · · ·As a matter of fact, at the -- if you look
   ·5· ·at the 2020 election, several state elected
   ·6· ·officials praised the efficiency of the process in
   ·7· ·2020.· And so I don't see that they produced any
   ·8· ·evidence of any extensive widespread fraud in the
   ·9· ·state of Florida that would justify SB 90.
   10· · · · Q.· ·Okay.· Do you believe that a State should
   11· ·have to wait for voter fraud to occur in order to
   12· ·take steps to prevent it?
   13· · · · A.· ·I think that a state would have to produce
   14· ·evidence of there being some type of fraud there.
   15· · · · Q.· ·Okay.· How much evidence is -- if there's
   16· ·only one ballot that was fraudulent, is that enough
   17· ·to try to prevent that?
   18· · · · A.· ·No.
   19· · · · Q.· ·How would you weigh that?
   20· · · · A.· ·Again, I said widespread fraud.· I would
   21· ·think that you would have to show evidence that
   22· ·there was widespread statewide fraud in elections.
   23· ·And -- and would I say that that would be a
   24· ·justification for coming up with something, that you
   25· ·would have to show some type of evidence that there


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   ·1· ·has been some type of fraudulent activity there.
   ·2· · · · Q.· ·Do you know if voter fraud has ever
   ·3· ·happened in Florida?
   ·4· · · · A.· ·It has.
   ·5· · · · Q.· ·When has that happened?
   ·6· · · · A.· ·Well, there have been experiences in south
   ·7· ·Florida with the -- hope I'm not mispronouncing
   ·8· ·this, but the Boleteros or some Hispanic Latino
   ·9· ·election workers who were trying to get people to
   10· ·vote by absentee ballot and they found evidence of
   11· ·fraud in some of the elections there.
   12· · · · · · ·And so -- but I think in the past, when
   13· ·there has been fraudulent activity, the people who
   14· ·have been guilty of it have been caught and have
   15· ·been punished.· And so -- but to answer your
   16· ·question, yes, there has been evidence of fraud.                      I
   17· ·mean, there's evidence of fraud in every election.
   18· ·I mean, there are always -- is going to be some
   19· ·fraud there.
   20· · · · Q.· ·If the State had a desire to prevent voter
   21· ·fraud, what type of provisions would you view as
   22· ·valid and appropriate in order to achieve the
   23· ·State's interest to prevent fraud?
   24· · · · A.· ·I would say that a provision that lays out
   25· ·strict punishments for people who are found to be


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   ·1· ·guilty of it.· That would be of something that would
   ·2· ·prevent it.· If people know that if they prevent
   ·3· ·fraud, that it will mean that they'll face a
   ·4· ·possibility of jail time or significant fine.                  I
   ·5· ·would say that that would be the biggest deterrent.
   ·6· · · · Q.· ·And you're aware in all the instances
   ·7· ·where fraud has occurred in Florida, that type of
   ·8· ·strict punishment was already in existence, but yet,
   ·9· ·it did not deter the fraud from occurring, correct?
   10· · · · A.· ·And the people who committed the fraud
   11· ·were punished.· They were caught and they were
   12· ·punished.
   13· · · · Q.· ·Okay.· I want to discuss -- are you
   14· ·familiar with the 1993 Hialeah mayoral election?
   15· · · · A.· ·I'm somewhat familiar with it.
   16· · · · Q.· ·Now, in this case, the judge ordered a new
   17· ·election due to the forging of hundreds of absentee
   18· ·ballots.· Various people went to jail for committing
   19· ·voter fraud.· Does that sound to be roughly what you
   20· ·believe happened there?
   21· · · · A.· ·I didn't include that in my report, but I
   22· ·did read about what happened there.
   23· · · · Q.· ·And I'm stating those facts accurately,
   24· ·correct?
   25· · · · A.· ·I haven't -- I didn't include it in my


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   ·1· ·report.· So I -- I'm assuming that you are.
   ·2· · · · Q.· ·Well, you stated that -- you put fraud in
   ·3· ·quotes.· You use the term purported fraud.· So I'm
   ·4· ·trying -- in order to reach those conclusions, I'm
   ·5· ·assuming you analyzed and determined whether or not
   ·6· ·there actually were instances of fraud in Florida,
   ·7· ·correct?
   ·8· · · · A.· ·Yes.
   ·9· · · · Q.· ·But yet, you chose to put fraud in
   10· ·quotation marks as opposed to actually address
   11· ·actual instances of fraud.· Why did you do that?
   12· · · · A.· ·Because, again, I think in instances
   13· ·where -- that you just described with the mayoral
   14· ·election in Hialeah, again, when fraud takes place,
   15· ·the people are caught and the people are punished
   16· ·and a fair resolution is found, which is what
   17· ·happened there.
   18· · · · · · ·And so the way that I refer to fraud in my
   19· ·report is to view it with suspicion, because if you
   20· ·look at that one election, that's one municipality
   21· ·in the Miami area, but we're talking about SB 90
   22· ·which affects the entire state.· And that one
   23· ·election and those few incidents of fraud do not
   24· ·justify SB 90.
   25· · · · · · ·There was not evidence of enough fraud for


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   ·1· ·this law to be put in place.
   ·2· · · · Q.· ·So in this case, there were hundreds of
   ·3· ·ballots that were fraudulently cast.· Do we need
   ·4· ·thousands of ballots fraudulently cast to justify
   ·5· ·SB 90?· Give me a number in your opinion that you
   ·6· ·need to see in order to feel that it's justified.
   ·7· · · · A.· ·I would say in order for it to be
   ·8· ·justified, I don't think we should just look at one
   ·9· ·election and that one unfortunate situation in that
   10· ·one election in a small municipality.
   11· · · · · · ·In order for it to be justified, there
   12· ·would have to be some type of evidence of widespread
   13· ·fraud.· And I have not seen that in the state of
   14· ·Florida recently.
   15· · · · Q.· ·Okay.· So that was in 1993.· Are you
   16· ·familiar with the 1997 Miami mayoral election?
   17· · · · A.· ·Somewhat.
   18· · · · Q.· ·Based on your understanding, what happened
   19· ·there?
   20· · · · A.· ·I didn't include that in my report, but I
   21· ·do study in Miami and I wrote a recent book that has
   22· ·a chapter on Miami.· So -- but I'm not as familiar
   23· ·with that election.· So can you tell me what
   24· ·happened?
   25· · · · Q.· ·Well, let me know if you think this is off


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   ·1· ·base from your understanding.· But a grand jury
   ·2· ·found that voting in Miami that year was plagued by
   ·3· ·widespread ballot fraud.· Ballot collectors filled
   ·4· ·out absentee ballots and cast those ballots even in
   ·5· ·the name of voters who were dead.· In all, 54 ballot
   ·6· ·collectors had findings of guilt entered against
   ·7· ·them by courts of law for voter fraud.
   ·8· · · · · · ·Does that sound about right?
   ·9· · · · A.· ·Can you say that last part again?
   10· · · · Q.· ·Fifty-four ballot collectors had findings
   11· ·of guilt entered against them for voting fraud.· Do
   12· ·you disagree with that summary of those facts?
   13· · · · A.· ·Well, because, again, I didn't include it
   14· ·in my report, so do you know how many ballots there
   15· ·were that would cast -- that were said to be cast
   16· ·fraudulently.
   17· · · · Q.· ·It was enough to flip the election.                  I
   18· ·don't know the exact number, but the Court flipped
   19· ·the election to the other candidate who was declared
   20· ·a loser without the fraud.
   21· · · · A.· ·Okay.· So your question is?
   22· · · · Q.· ·Do those facts match up with your
   23· ·understanding generally of what happened in the 1997
   24· ·Miami mayoral election?
   25· · · · A.· ·Okay.· I didn't include it in my report,


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   ·1· ·so I didn't study is extensively, so I can't comment
   ·2· ·on it.
   ·3· · · · Q.· ·You did include statements in your report,
   ·4· ·though, that fraud was nonexistent, that fraud was
   ·5· ·purported, that fraud, you put in quotes.· So I
   ·6· ·would assume --
   ·7· · · · A.· ·Uh-huh.
   ·8· · · · Q.· ·-- that you did examine -- that you did
   ·9· ·examine actual instances of fraud to arrive at those
   10· ·conclusions, correct?
   11· · · · A.· ·Well, I examined just the fact that when I
   12· ·talk about fraud, again, I didn't see the widespread
   13· ·comprehensive fraud taking place for a sustained
   14· ·period of time throughout the state of Florida.· And
   15· ·I think that that would be necessary for a law of
   16· ·this kind.
   17· · · · Q.· ·Okay.· So we have two elections, 1993 and
   18· ·in 1997, in one of the most populous counties of
   19· ·Florida, where widespread fraud occurred, correct.
   20· · · · A.· ·1993 and 1997, that happened, according to
   21· ·what you're saying.· And again, I did not put that
   22· ·in my report.
   23· · · · · · ·But this is 2021, and several laws have
   24· ·been put in place over the years to address fraud.
   25· ·So as a result of those incidents occurring many


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   ·1· ·years ago, the laws that already were in place
   ·2· ·should have been -- should have already taken care
   ·3· ·of that problem, and SB 90 as a result isn't
   ·4· ·necessary.
   ·5· · · · Q.· ·What were those laws that you felt were
   ·6· ·necessary, that helped prevent voter fraud?
   ·7· · · · · · ·MR. MILLER:· Objection, form.
   ·8· · · · A.· ·Well, I will say that there were laws put
   ·9· ·in place and they had -- they were problematic but,
   10· ·I mean, there were some benefits.· I guess in every
   11· ·law there's a benefit but there's also a
   12· ·disadvantage.
   13· · · · · · ·But there were laws over the years in the
   14· ·state of Florida that I refer to in the report, that
   15· ·were put in place, and they also were challenged
   16· ·because in many ways, they were discriminatory as
   17· ·well.· But the argument with those laws were that it
   18· ·was -- they were supposed to address fraud and also
   19· ·make things more efficient and correct problems that
   20· ·had existed.
   21· · · · · · ·So with the examples that you just
   22· ·referred to from those two elections, I would think
   23· ·that previous -- previously passed laws would have
   24· ·corrected those problems.
   25


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·And do you agree that those laws were
   ·3· ·constitutional?· That they were fair?
   ·4· · · · A.· ·Well, in my report, the ones that I refer
   ·5· ·to in some ways had some good qualities but in other
   ·6· ·ways, they show, as I argue, a pattern of
   ·7· ·discrimination.· They were designed to correct
   ·8· ·problems, and in some cases, they did.· But,
   ·9· ·nevertheless, they tended to have a tendency to put
   10· ·Black and Hispanic voters at a disadvantage and make
   11· ·it for difficult for them to vote.
   12· · · · · · ·And so I would argue that if a law is in
   13· ·any way discriminatory, I would say that it's not a
   14· ·good law because as a legislator, you are supposed
   15· ·to come up with a way to enact a law to make the
   16· ·process easier and fairer for everyone, and not to
   17· ·make it more difficult for people to vote.
   18· · · · Q.· ·For the 1997 mayoral election, was it fair
   19· ·that a candidate was declared a loser because of
   20· ·voter fraud?
   21· · · · A.· ·No.· And the people who were found guilty
   22· ·of causing that were punished and a fair result
   23· ·eventually happened.
   24· · · · Q.· ·Should not the State then be able to take
   25· ·steps to stop that type of behavior from occurring


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   ·1·
    1· ·in the future?
   ·2· · · · A.· ·If there is recent evidence of any type of
   ·3· ·fraudulent activity, then, yes, recent widespread
   ·4· ·statewide evidence.
   ·5· · · · Q.· ·So they have to wait for elections across
   ·6· ·the entire State to be overturned because of voter
   ·7· ·fraud before they can act; is that what you're
   ·8· ·saying?
   ·9· · · · A.· ·I wouldn't say across the entire state.                      I
   10· ·would just say that they would need more than just a
   11· ·few examples from -- from many years ago.· 1997,
   12· ·this is 2021, that was how long ago?· That was -- I
   13· ·don't remember.· But that was quite a while ago.
   14· ·They would have to have some recent evidence of
   15· ·something like that happening.
   16· · · · Q.· ·Let's --
   17· · · · A.· ·And it couldn't just be in one small -- in
   18· ·one county or one area, it would have to be
   19· ·something that was really significant statewide.
   20· · · · Q.· ·Okay.· Let's fast forward to May of 2013.
   21· · · · A.· ·Okay.
   22· · · · Q.· ·Okay?· In the 26th Congressional District
   23· ·of Florida, are you familiar with that election?· It
   24· ·was the 2012 election.
   25· · · · A.· ·I didn't include it in my report, so, no.


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   ·1· · · · Q.· ·Did you study it in arriving at your
   ·2· ·conclusion that there was not widespread fraud in
   ·3· ·Florida?
   ·4· · · · A.· ·No, I didn't study it.
   ·5· · · · Q.· ·Okay.· If I told you that Congressman
   ·6· ·Joe Garcia's chief of staff went to jail after being
   ·7· ·implicated in a voter fraud scheme by submitting
   ·8· ·more than 2,500 fraudulently absentee ballot
   ·9· ·requests, would that surprise you?
   10· · · · A.· ·Yeah, it would -- well, on one hand it
   11· ·would surprise me that he would do something like
   12· ·that.· But on another hand, it would not surprise me
   13· ·that he went to jail.· Because, again, that
   14· ·reinforces my point, that when someone is guilty of
   15· ·fraud, they're punished for it.
   16· · · · Q.· ·Okay.· You would agree that these examples
   17· ·that I provided are actual voter fraud, correct?
   18· · · · A.· ·I would say yes.
   19· · · · Q.· ·It's not purported or hypothetical?
   20· · · · A.· ·Again, I didn't put it in my report, but
   21· ·I'll take your word for it.
   22· · · · Q.· ·I'm not asking for you to take my word for
   23· ·it.· You reached conclusions in your report that the
   24· ·allegations of fraud in Florida were purported and
   25· ·hypothetical.· But yet, I just cited three actual


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   ·1· ·circumstances of fraud that occurred.
   ·2· · · · · · ·You would agree, then, that all instances
   ·3· ·of fraud in Florida are not hypothetical or
   ·4· ·purported, correct?
   ·5· · · · A.· ·I think with the way that I -- that I
   ·6· ·wrote about purported fraud in my report, I was
   ·7· ·talking about just in recent years, for example, as
   ·8· ·recently as the 2020 election which was praised for
   ·9· ·its efficiency, and I didn't see any evidence of
   10· ·fraud in that particular election here in Florida.
   11· · · · · · ·And so that's why I viewed SB 90 with
   12· ·suspicion, because you were pointing to examples of
   13· ·things that have happened but has it -- has there
   14· ·been something that has happened in 2020 over the
   15· ·last year or so that would justify SB 90?· And I
   16· ·didn't see any fraud from that period of time.
   17· · · · Q.· ·So you cited in your report an unnamed
   18· ·voter who discussed the fraud prevention measures
   19· ·prior to SB 90 as being the New Jim Crow.· And you
   20· ·agreed with that assessment, correct?
   21· · · · A.· ·Yes.
   22· · · · Q.· ·So being the fact that we, according to
   23· ·you, have not had any widespread cases of fraud,
   24· ·would that not serve as evidence that the fraud
   25· ·prevention measures established by the state of


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   ·1· ·Florida were effective in actually preventing fraud?
   ·2· · · · · · ·MR. MILLER:· Objection, form.
   ·3· · · · A.· ·Right.· I would say that the measures that
   ·4· ·were in place prevented widespread fraud from
   ·5· ·continuing and that's why SB 90 isn't necessary.
   ·6· ·BY MR. HOLT:
   ·7· · · · Q.· ·But you refer to those laws as the New
   ·8· ·Jim Crow.· How do you explain that?
   ·9· · · · A.· ·I mean, I refer to those laws as the New
   10· ·Jim Crow because, despite the positive aspects of
   11· ·them, and the fact that they might have been
   12· ·somewhat effective in preventing fraud, they still,
   13· ·I think, were designed with a discriminatory intent.
   14· ·Which was to make it harder for Black voters
   15· ·especially but for Hispanic voters as well to vote
   16· ·and elect their preferred representatives.
   17· · · · Q.· ·So in your opinion, you would have to have
   18· ·a statewide election for -- let's say for a
   19· ·governor, for attorney general, and find widespread
   20· ·statewide fraud in that case, in order to justify
   21· ·the passage of SB 90?
   22· · · · A.· ·Well, I think that would be one thing that
   23· ·would justify the passage.· But just -- it would
   24· ·have to be proven that it's actually necessary.· Is
   25· ·it necessary to do those things the provisions


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   ·1· ·listed in SB 90?· Is it really necessary to have
   ·2· ·those things?· And I don't think that it is.
   ·3· · · · Q.· ·Okay.· How many elections would need to be
   ·4· ·overturned in order for it to be necessary due to
   ·5· ·voter fraud?
   ·6· · · · A.· ·I can't place a number on it.· But there
   ·7· ·would have to be some evidence of fraud --
   ·8· ·widespread fraud.· And in recent years, I just have
   ·9· ·not seen it.
   10· · · · Q.· ·Okay.· Now, generally speaking, what
   11· ·opinion were you hired to give here?· What were
   12· ·your -- what were you hired to opine on in your
   13· ·expert report?
   14· · · · A.· ·I was hired to look at just the history
   15· ·of -- of just voting, especially for African
   16· ·Americans and Latinos in the state of Florida, and
   17· ·just to look at different laws and the impact that
   18· ·they had on Black and Hispanic voters as a group.
   19· · · · Q.· ·Okay.· And in arriving at your opinion,
   20· ·did you review the text of SB 90?
   21· · · · A.· ·Yes.
   22· · · · Q.· ·Based on your understanding, what does
   23· ·SB 90 do that is discriminatory?
   24· · · · A.· ·Based on my understanding, it just makes
   25· ·it more difficult for Black and Hispanic voters to


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   ·1· ·vote.· And it's a continuous -- it's a part of a
   ·2· ·continuous pattern of that happening.
   ·3· · · · · · ·Whenever African Americans take advantage
   ·4· ·of something that's in place in Florida, to try to
   ·5· ·help people to vote, usually something happens and
   ·6· ·there's some type of backlash on the part of the
   ·7· ·Legislature in which they change laws.· Because it's
   ·8· ·almost as if once African Americans and Latinos
   ·9· ·start taking advantage of something that was put in
   10· ·place, and they use that to increase their voter
   11· ·turnout, there's a new law that comes up.· And the
   12· ·excuse that usually is given is that -- a reform or
   13· ·reforming from fraud and that type of thing, but the
   14· ·real intention is to make it harder for them to
   15· ·vote.
   16· · · · Q.· ·And what proof do you have or evidence
   17· ·that you have that that was the Legislature's
   18· ·intention in passing SB 90?
   19· · · · A.· ·Well, the things that I have cited in the
   20· ·report, after each of the laws that have been
   21· ·passed, when -- and this goes way back even to the
   22· ·1800s, I just think the tactics nowadays are more
   23· ·subtle.
   24· · · · · · ·In fact, then, the tactics were more
   25· ·blatant, but even back to the Reconstruction period,


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   ·1· ·dating way back to then, after Reconstruction,
   ·2· ·passage of the 15th Amendment, African American men
   ·3· ·started to vote.· And then, all of a sudden,
   ·4· ·different things were put in place, Black codes and
   ·5· ·other things, you know, you can read the report on
   ·6· ·your own.
   ·7· · · · · · ·But even in recent years when African
   ·8· ·American and Latino voters took advantage, as I
   ·9· ·point out in the report, of things like mail
   10· ·ballots, now, it's more difficult to request a mail
   11· ·ballot, and there are other provisions about the --
   12· ·the time that the mail ballot lasts -- it used to be
   13· ·that it lasted through -- for a longer period of
   14· ·time, through two general elections, and now it's
   15· ·only for two years and, you know, the next general
   16· ·election.
   17· · · · · · ·So it's those types of things that make it
   18· ·more difficult.· These are more subtle tactics that
   19· ·are used to make it more difficult for people to
   20· ·take advantage of something that they took advantage
   21· ·of in 2020.· So that's my argument.
   22· · · · Q.· ·You would agree that all of those
   23· ·provisions yous just discussed apply equally to all
   24· ·races, correct?
   25· · · · A.· ·It's a law that applies equally to


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   ·1· ·everyone.
   ·2· · · · Q.· ·So if I'm a white person, I've still got
   ·3· ·to provide some type of identifying information to
   ·4· ·request a ballot?
   ·5· · · · A.· ·Right.· But it has a disparate impact.                      I
   ·6· ·mean, even though it's applied equally, the impact
   ·7· ·on African American and Latino voters, I think, is
   ·8· ·different, and I think is designed to make it harder
   ·9· ·for them to vote and to take advantage -- continue
   10· ·to take advantage of things that they took advantage
   11· ·of in the last election.
   12· · · · · · ·Like drop boxes, you know, it makes it
   13· ·more difficult for them to -- vote by mail and those
   14· ·things.
   15· · · · Q.· ·But you would agree that the opportunity
   16· ·applies equally to all voters, regardless of race,
   17· ·correct?
   18· · · · A.· ·Does -- well, I think -- it sounds like
   19· ·maybe that's two different questions, because even
   20· ·though provisions are applied equally to everyone, I
   21· ·wouldn't say that the opportunity is the same.
   22· · · · · · ·Because if you're putting these types of
   23· ·restrictions there, on vote by mail and drop boxes,
   24· ·then you're not really -- you're removing an
   25· ·opportunity from people to continue to take


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   ·1· ·advantage of something that clearly they took
   ·2· ·advantage of in the last election.
   ·3· · · · Q.· ·So you believe a state should be unable to
   ·4· ·adjust their voter laws from what they previously
   ·5· ·were?· Is that what I'm hearing?
   ·6· · · · · · ·MR. MILLER:· Objection, form.
   ·7· · · · A.· ·No.· No, I'm not saying that.· I think
   ·8· ·that states should adjust the laws when it is
   ·9· ·necessary to adjust them.
   10· ·BY MR. HOLT:
   11· · · · Q.· ·And who determines when it's necessary?
   12· · · · A.· ·I think the -- all of the people that are
   13· ·in that state determine when it's necessary.· You
   14· ·have to look at the outcomes and see if they're --
   15· ·after the 2020 election, you would have had to see
   16· ·just what incidence of fraud were there.
   17· · · · · · ·Was it really necessary to reform the
   18· ·election when people praised the election for its
   19· ·efficiency.· So you would have to look at just the
   20· ·perceptions of people within that state to see
   21· ·whether there was any actual fraud and whether there
   22· ·was any evidence that these reforms were actually
   23· ·necessary.
   24· · · · Q.· ·So I'm just -- I'm confused here in that
   25· ·you continually refer to the praise that the state


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   ·1· ·of Florida got after the -- for the administration
   ·2· ·of the 2020 election, yet those -- that
   ·3· ·administration was premised upon laws which you
   ·4· ·refer to as, quote, the New Jim Crow.· So how can
   ·5· ·you praise the running of an election?
   ·6· · · · A.· ·Uh-huh.
   ·7· · · · Q.· ·And use that as evidence that SB 90 was
   ·8· ·not needed while at the same time saying that the
   ·9· ·laws that led to that smooth election are the New
   10· ·Jim Crow and racially discriminatory?· How can you
   11· ·use both of those arguments at the same time?
   12· · · · A.· ·Well, I would -- I didn't say that I
   13· ·praised the election.· I'm saying that state
   14· ·officials, elected officials, praise it, as I
   15· ·pointed out in the report.· They praised the
   16· ·election and talked about its efficiency.· But then
   17· ·later, SB 90 was put in place.
   18· · · · · · ·So I'm saying that I didn't necessarily
   19· ·praise it, praise the -- I think I praised it -- I
   20· ·liked the fact that people took advantage of vote by
   21· ·mail, and of the different things that were put in
   22· ·place.· But state elected officials praised the
   23· ·system and then later came up with SB 90, saying
   24· ·that it needed to be reformed.
   25· · · · · · ·So how can you on one hand praise


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   ·1· ·something and say it's efficient, but then in the
   ·2· ·next sentence you say that it needs to be reformed?
   ·3· ·If it's efficient, then why is there a need for a
   ·4· ·reform?
   ·5· · · · Q.· ·Okay.· You state in your report and go
   ·6· ·through the analysis that Florida's election laws
   ·7· ·have evolved from election to election, correct?
   ·8· · · · A.· ·Yes.
   ·9· · · · Q.· ·Would you consider it a valid opinion that
   10· ·Florida's elections are run efficiently because they
   11· ·make adjustments following each election to make the
   12· ·next election run smoother?
   13· · · · A.· ·Well, based on my reading of recent
   14· ·election laws, I guess since 2000, those reforms
   15· ·were put in place because there was proven evidence
   16· ·that there was a problem.· And then also, those
   17· ·reforms, I think, as I argue in the report, were put
   18· ·in place as a way to discourage, again, Black and
   19· ·Hispanic voters from voting.
   20· · · · · · ·But the argument was that there was
   21· ·documented evidence that there were problems there.
   22· ·And in some cases, for example, with the 2000
   23· ·election, we know that there were problems.· But
   24· ·despite the fact that there was a law that was
   25· ·passed, SB 1118 in 2001, I mean, it was designed to


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   ·1· ·correct the problems associated with punch cards and
   ·2· ·paper ballots and those types of things.· But there
   ·3· ·were also some things there that were very
   ·4· ·objectionable.
   ·5· · · · · · ·So it's not that I'm saying that all these
   ·6· ·laws had no good qualities, because some of them
   ·7· ·actually had some good aspects to them, but in the
   ·8· ·end, there was always some type of discrimination,
   ·9· ·and it always ended up being a result that
   10· ·African American and Latino voters were -- as groups
   11· ·were placed at a disadvantage.· And so that kind of
   12· ·makes me argue as I do in the report that this was,
   13· ·in my opinion, purposeful discrimination.
   14· · · · Q.· ·Okay.· In a recent Supreme Court case,
   15· ·Brnovich v. the DNC, are you familiar with that
   16· ·case?
   17· · · · A.· ·No, I don't remember mentioning that one
   18· ·in the report, but...
   19· · · · Q.· ·It's a Section 2 Voting Rights case
   20· ·regarding some Arizona laws.· And again, I'm not
   21· ·asking you to opine on anything from that opinion.
   22· · · · A.· ·Uh-huh.
   23· · · · Q.· ·But the Court, in discussing arguments
   24· ·similar to the ones you just made, they made the
   25· ·statement in reference to the Legislature's motives,


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   ·1· ·and they said "partisan motives are not the same as
   ·2· ·racial motives."· Okay?· "Partisan motives are not
   ·3· ·the same as racial motives."· That's at page 785 of
   ·4· ·the Brnovich opinion.
   ·5· · · · · · ·What does that mean to you?
   ·6· · · · A.· ·That means that --
   ·7· · · · · · ·MR. MILLER:· Objection, form.
   ·8· · · · A.· ·What does it mean to me?· I -- first of
   ·9· ·all, I don't know if I even agree with -- well, I
   10· ·mean, partisan motivations aren't the same as racial
   11· ·motivations which means that -- I don't know if I
   12· ·even agree with that.· Because race and partisanship
   13· ·are closely connected together.· Because whether we
   14· ·want to realize it or not, the overwhelming majority
   15· ·of African Americans are Democrats, but in my
   16· ·report, I didn't really talk about focus on
   17· ·partisanship.· I talked about I guess the race
   18· ·issue.
   19· · · · · · ·But
                  But I guess to answer your question,
   20· ·partisanship means that you're trying to place
   21· ·someone at a disadvantage and harder for them --
   22· ·make it harder for them to elect people from their
   23· ·political party.· Racial motivations means that
   24· ·you're trying to prevent someone of a certain race
   25· ·from voting and electing people, their preferred


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   ·1· ·representative.·
        representative.· So to me, that's the distinction
   ·2· ·between the two.
   ·3· ·BY MR. HOLT:
   ·4· · · · Q.· ·Okay.· And you would agree that elections
   ·5· ·have partisan consequences, correct?
   ·6· · · · · · ·MR. MILLER:· Objection, form.
   ·7· · · · A.· ·I don't know what you mean when you say
   ·8· ·"partisan consequences."
   ·9· ·BY MR. HOLT:
   10· · · · Q.· ·For example, the State House of Florida
   11· ·has a majority Republican members.· You would agree
   12· ·that will have an outcome on the type of things the
   13· ·Legislature addresses during that session, where the
   14· ·Republicans have a majority, correct?
   15· · · · A.· ·In most cases I would say probably yes.
   16· · · · Q.· ·And on the swing side, if there was a
   17· ·Democratic majority in a State house, you would
   18· ·agree they would consider different things that are
   19· ·important to the members of their party, correct?
   20· · · · A.· ·Well, I don't know if I would say
   21· ·different things, because one of the things that I
   22· ·talk about in my government class, that in many
   23· ·cases, you know, you hear so much about different
   24· ·partisans, but in many ways, Democrats and
   25· ·Republicans, they govern in the same way.


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   ·1· · · · · · ·And they almost have, like, similar
   ·2· ·priorities based on the needs and the interests of
   ·3· ·their constituents.· So I wouldn't -- I don't know
   ·4· ·if I would even say that -- if -- I guess the
   ·5· ·logical inference is that if there's a majority
   ·6· ·Democratic legislature, their priorities would be
   ·7· ·different from those of Republicans.· I think that's
   ·8· ·probably the inference that people would just assume
   ·9· ·that to be the case, but sometimes, really, it isn't
   10· ·the case.
   11· · · · Q.· ·Let's use our current Congress.· Okay?
   12· ·That we have a Democratic president, a Democratic
   13· ·House.· Their priority and their agenda is going to
   14· ·be different than if we had a Republican president
   15· ·and a Republican House, correct?· I'm not trying to
   16· ·trip you up here.
   17· · · · · · ·MR. MILLER:· Objection to form.
   18· · · · A.· ·Okay.
   19· ·BY MR. HOLT:
   20· · · · Q.· ·I mean, what type of things would a
   21· ·Democratic House consider that a Republican House
   22· ·would not?
   23· · · · A.· ·Are you talking about Congress, or are we
   24· ·talking about Florida?
   25· · · · Q.· ·Either.· Just a legislative body that is


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   ·1· ·controlled by Democrats.
   ·2· · · · A.· ·Okay.
   ·3· · · · Q.· ·Versus Republicans, what are some things
   ·4· ·that they might argue for and seek to establish,
   ·5· ·that Republicans would object to?
   ·6· · · · A.· ·I would say that they -- their priorities
   ·7· ·would be pretty similar.· Because mostly -- as we
   ·8· ·talk about in one of my classes, mostly, the focus
   ·9· ·is on economic issues.
   10· · · · · · ·Because that's what people are concerned
   11· ·about, is the economy and jobs, so I would say
   12· ·regardless of whether you have majority Republican
   13· ·or majority Democrat, Democratic -- if we're talking
   14· ·about Florida legislature, I would say the priority
   15· ·would still be on economic development because
   16· ·that's what the citizens want.
   17· · · · Q.· ·Okay.· What about social issues.· Are they
   18· ·going to focus on different social issues?
   19· · · · A.· ·Are they going to focus on different
   20· ·issues?· Probably not.· Are they going to take
   21· ·different perspectives?· Probably so.
   22· · · · Q.· ·For example, the recent heartbeat abortion
   23· ·law that passed in Texas that's currently before the
   24· ·Supreme Court, would that law pass in, let's say,
   25· ·New York, where they have a Democratic-controlled


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   ·1· ·State House?
   ·2· · · · A.· ·Probably not.
   ·3· · · · Q.· ·Can you think of a scenario where it would
   ·4· ·in New York?
   ·5· · · · A.· ·Well, it would if the citizens in New York
   ·6· ·said that they were in favor of it.· Which probably
   ·7· ·wouldn't happen, in a place like New York.
   ·8· · · · Q.· ·I guess what I'm trying to get at here,
   ·9· ·you would agree that in our representative
   10· ·democracy, citizens elect people who will further
   11· ·their interests, correct?
   12· · · · A.· ·Yes.
   13· · · · Q.· ·And when a majority of those people
   14· ·control the State House, it's those interests that
   15· ·will be furthered, correct?
   16· · · · A.· ·Yes.
   17· · · · Q.· ·So in the case of SB 90, the majority of
   18· ·Republican voters feel that voter fraud is an
   19· ·important issue to them.
   20· · · · · · ·MR. MILLER:· Objection to form.
   21· ·BY MR. HOLT:
   22· · · · Q.· ·You'd agree with that statement, correct?
   23· · · · · · ·MR. MILLER:· Objection to form.
   24· · · · A.· ·Can you repeat that again.
   25


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·The majority of Republican voters feel
   ·3· ·that preventing voter fraud is an important issue to
   ·4· ·them.
   ·5· · · · · · ·MR. MILLER:· Objection, form.
   ·6· · · · A.· ·I haven't read that --
   ·7· · · · · · ·MR. MILLER:· That's not a question.
   ·8· ·BY MR. HOLT:
   ·9· · · · Q.· ·I just said would you agree that the
   10· ·majority of Republican voters in the state of
   11· ·Florida believe that voter fraud prevention is a
   12· ·good thing?
   13· · · · · · ·MR. MILLER:· Objection, form.
   14· · · · A.· ·I haven't read -- studied that, so I
   15· ·really don't know how people along partisan lines
   16· ·feel about voter fraud.· That's not something I
   17· ·addressed in the report.
   18· ·BY MR. HOLT:
   19· · · · Q.· ·Okay.· So let's hypothetically assume that
   20· ·Republican voters believe that addressing voter
   21· ·fraud is a priority.· Would it not, therefore,
   22· ·assume that the Republican legislature, that was
   23· ·elected by those Republican voters, would therefore
   24· ·pass laws pertaining to voter fraud?· Is that not
   25· ·how a democracy works?


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   ·1· · · · · · ·MR. MILLER:· Objection to form.
   ·2· · · · A.· ·I guess I'm -- I'm just confused about,
   ·3· ·you know, what you're asking me about Republicans
   ·4· ·versus Democrat, because my report didn't really
   ·5· ·focus on partisanship.
   ·6· · · · · · ·This is, to me, an issue of voter --
   ·7· ·voting rights, for people of color, and so I didn't
   ·8· ·really look at it, at Republican versus Democrat
   ·9· ·because if you look at the report, throughout the
   10· ·entire report, I talk about various periods in
   11· ·American history, and at one time, Florida was a
   12· ·part of the Solid South.
   13· · · · · · ·And, you know, you had your conservative
   14· ·Southern Democrats, and they were people who didn't
   15· ·want Black and Hispanic people to vote either.· And
   16· ·so I didn't necessarily target Republicans or say
   17· ·that this is anything to do necessarily -- I did
   18· ·mention maybe some things, but that's not the
   19· ·purpose of my report.
   20· · · · · · ·My report just talked about voting rights,
   21· ·and the fact that it's important for people who are
   22· ·Black and Hispanic -- for all people, but for people
   23· ·who are Black and Hispanic -- to have an uninhibited
   24· ·right to vote.· So that was the focus of my report.
   25


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·And I appreciate that.· My rationale for
   ·3· ·asking these questions is in your report, you took
   ·4· ·the position that voter fraud was hypothetical or
   ·5· ·purported or nonexistent, okay?· That's a position
   ·6· ·that you took in your report, correct?
   ·7· · · · A.· ·It is.
   ·8· · · · Q.· ·So what I'm trying to get at is, would you
   ·9· ·not agree that there are other -- there are other
   10· ·interests besides trying to discriminate against
   11· ·minority voters as to why SB 90 was passed?
   12· · · · · · ·MR. MILLER:· Objection, form.
   13· · · · A.· ·Were there other interests?· Were there --
   14· ·BY MR. HOLT:
   15· · · · Q.· ·For example --
   16· · · · A.· ·Go ahead.
   17· · · · Q.· ·I was going to say, for example, the fact,
   18· ·hypothetically speaking here, Republican voters felt
   19· ·that preventing voter fraud was important to them.
   20· · · · · · ·MR. MILLER:· Objection, form.
   21· · · · A.· ·Well, I haven't had -- I haven't gotten --
   22· ·read any survey data or polls that show that
   23· ·Republican voters said that they wanted voter fraud
   24· ·to be addressed here in Florida.
   25


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·When do you tell the difference between
   ·3· ·something that's motivated by race versus
   ·4· ·partisanship when they're so closely aligned, as you
   ·5· ·just said?
   ·6· · · · A.· ·I think you have to look at just the
   ·7· ·history of Florida, which is what I've done in my
   ·8· ·report, and just look at the fact that as a southern
   ·9· ·state, Florida has a history of -- the Legislature
   10· ·has a history of enacting legislation that has
   11· ·discriminated against and disenfranchised Black and
   12· ·Hispanic voters.
   13· · · · Q.· ·But I'm looking at the current make-up of
   14· ·the legislature and what their intent was.                I
   15· ·understand that Florida has a history of racial
   16· ·Jim Crow laws and whatnot, and I'm not asking about
   17· ·those.· I'm asking about the intent of the current
   18· ·legislature.
   19· · · · · · ·You would agree that there are other
   20· ·interests outside of racial interests that could
   21· ·have led the Florida Legislature to pass SB 90,
   22· ·correct?
   23· · · · · · ·MR. MILLER:· Objection, form.
   24· · · · A.· ·I really don't know what their interests
   25· ·are.· But I would say that my only interest with


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   ·1· ·this
        this is looking at the race issue.· So it is
   ·2· ·possible that maybe there was some partisan
   ·3· ·motivation, but I'm just looking at -- I just saw
   ·4· ·the racial issue.
   ·5· ·BY MR. HOLT:
   ·6· · · · Q.· ·What about the desire to stop voter fraud,
   ·7· ·is that not a valid interest of the legislature that
   ·8· ·they could have considered?
   ·9· · · · A.· ·They could have.· But the question is did
   10· ·they consider it?· Is that the real motivation for
   11· ·this?
   12· · · · Q.· ·Do you have any evidence that they didn't?
   13· · · · · · ·MR. MILLER:· Didn't what?· Objection,
   14· · · · form.
   15· · · · A.· ·I don't have any evidence that they did
   16· ·either.
   17· ·BY MR. HOLT:
   18· · · · Q.· ·Okay.
   19· · · · · · ·MR. HOLT:· How's everyone doing right now,
   20· · · · in terms of lunch?· I probably got two or three
   21· · · · more hours.
   22· · · · · · ·MR. MILLER:· Why don't you -- let's go
   23· · · · offline, and Sharon and I can talk.· Why don't
   24· · · · we take five minutes and we can get back -- we
   25· · · · can report back as to what she's thinking


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   ·1· · · · about.
   ·2· · · · · · ·MR. HOLT:· Sounds good.
   ·3· · · · · · ·MR. MILLER:· All right.
   ·4· · · · · · ·(Recess from 12:22 p.m. to 1:03 p.m.)
   ·5· · · · · · ·MR. HOLT:· Go back on the record here.
   ·6· · · · · · ·MR. MILLER:· Is the court reporter here?
   ·7· · · · · · ·THE STENOGRAPHER:· Yes, sorry.
   ·8· · · · · · ·MR. MILLER:· Just want to make sure we're
   ·9· · · · actually on the record.
   10· · · · · · ·MR. HOLT:· Are we good to move forward?
   11· · · · · · ·THE WITNESS:· I'm fine.
   12· · · · · · ·MR. HOLT:· Are we good to start?
   13· · · · · · ·THE STENOGRAPHER:· Yes.
   14· ·BY MR. HOLT:
   15· · · · Q.· ·Now, during the break, Dr. Austin, did you
   16· ·speak with anyone aside from your attorney regarding
   17· ·your testimony today?
   18· · · · A.· ·I talked to my attorneys.
   19· · · · Q.· ·Did you speak to anyone besides your
   20· ·attorneys?
   21· · · · A.· ·No.· Just my attorneys.
   22· · · · Q.· ·Did you consult any sources or any
   23· ·materials during the lunch break?
   24· · · · A.· ·Just my report.
   25· · · · Q.· ·Okay.· Awesome.


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   ·1· · · · · · ·Let's jump back in here.
   ·2· · · · · · ·On page 65 of your expert report, this is
   ·3· ·a quote we've already talked about, you state that
   ·4· ·SB 90 is best understood as a backlash to Black and
   ·5· ·Hispanic turnout in 2020.
   ·6· · · · · · ·Is that a correct quote from your -- from
   ·7· ·page 64?
   ·8· · · · A.· ·Yes.
   ·9· · · · Q.· ·You would agree that early and absentee
   10· ·turnout greatly increased across the board in
   11· ·Florida, regardless of race, during the 2020
   12· ·election, correct?
   13· · · · A.· ·I'm mostly just focused on Black and
   14· ·Hispanic turnout.· So according to what I found, for
   15· ·Black and Hispanic turnout, it was significant.
   16· · · · Q.· ·Okay.· If I told you that a statewide
   17· ·increase of 78 percent, from 2016 to 2020, occurred,
   18· ·regardless of race, would that number surprise you?
   19· · · · A.· ·Seventy-eight -- do you mean across the
   20· ·board among all voters in Florida?
   21· · · · Q.· ·Yes.· The number of people who
   22· ·participated in the 2016 election, general election,
   23· ·versus the 2020 general election, via vote-by-mail.
   24· · · · A.· ·Okay.
   25· · · · Q.· ·Would that surprise you?


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   ·1· · · · A.· ·Well, I haven't seen that data, so I don't
   ·2· ·know.· I would have to see what you're talking
   ·3· ·about.· So if you have something you want to share
   ·4· ·on the screen, or -- I don't know -- I don't know
   ·5· ·what the overall percentage was statewide.
   ·6· · · · Q.· ·In the interest of time, let's just assume
   ·7· ·what I'm asking you is true and then if it's not,
   ·8· ·it's not.· I got this from the Secretary of State's
   ·9· ·website tallying their early voting statistics and
   10· ·vote-by-mail statistics which showed a 78 percent
   11· ·increase in vote by mail from 2016 to 2020, and
   12· ·nearly 12 percent increase in early voting from 2016
   13· ·to 2020 across all voters.
   14· · · · A.· ·Okay.
   15· · · · Q.· ·Assume --
   16· · · · A.· ·I would like to see it because I don't
   17· ·know if I should comment on something if I -- if I
   18· ·haven't actually seen it.
   19· · · · Q.· ·Okay.· Well, have you read the complaint
   20· ·in this case, that you're -- have you read the
   21· ·complaint of what you're providing an opinion to
   22· ·support?
   23· · · · A.· ·So have I -- which -- which complaint?
   24· · · · Q.· ·Have you read the complaint filed by the
   25· ·plaintiffs in this case, of which you're supporting


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   ·1· ·via your opinion?
   ·2· · · · A.· ·Yes.
   ·3· · · · Q.· ·Okay.· Throughout the complaint, it talks
   ·4· ·about the general increase of voting and turnout
   ·5· ·from 2016 to 2020.· Is that something you can
   ·6· ·generally agree to, that that happened?
   ·7· · · · A.· ·Well, I -- I'd like to review the -- I
   ·8· ·mean, I've read the complaint, but I don't remember
   ·9· ·exactly the specifics of what you're talking about.
   10· ·So I really would like -- before I comment on
   11· ·something, I'd like to see what you're talking
   12· ·about.· So I would have to look at the complaint
   13· ·again, and then -- and then see exactly what data
   14· ·you're talking about.
   15· · · · · · ·So are you talking about -- you know, if
   16· ·you're saying there's a large -- was a large
   17· ·increase, then that's fine.· But are you talking
   18· ·about -- are you making an argument or do you have
   19· ·any evidence to say that there was a substantial
   20· ·increase in white turnout as well as Black and
   21· ·Hispanic turnout?· Is that what you're trying to
   22· ·say?
   23· · · · Q.· ·No, I'm talking about the general overall
   24· ·turnout.· We'll talk about this more after the next
   25· ·break.· I'll pull up the reports from the Secretary


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   ·1· ·of State and we can --
   ·2· · · · A.· ·That's fine.
   ·3· · · · Q.· ·I'll enter them as exhibits and we can go
   ·4· ·over them that way.
   ·5· · · · · · ·On page 53 of your report, you cut and
   ·6· ·pasted the table from the ACLU that we've already
   ·7· ·discussed --
   ·8· · · · A.· ·Uh-huh.
   ·9· · · · Q.· ·-- from the 2018 election pertaining to
   10· ·absentee ballot rejection rates.· Is that correct?
   11· · · · A.· ·That I uploaded this table?
   12· · · · Q.· ·Yes.· It's -- that it pertains to the 2018
   13· ·data pertaining to absentee ballot rejection rates.
   14· · · · A.· ·Okay.· And you're looking at the table on
   15· ·page 53?
   16· · · · Q.· ·Yes.
   17· · · · A.· ·All right.
   18· · · · Q.· ·Okay.· Now, throughout your report, you
   19· ·state that a massive shift in voting patterns took
   20· ·place in 2020.· And the SB 90 was passed as a result
   21· ·of those.· Is that correct?
   22· · · · A.· ·There was a substantial increase in voting
   23· ·among Black and Hispanic voters.
   24· · · · Q.· ·Okay.· Now, you would agree that it is
   25· ·difficult to use anything pre pandemic to draw


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   ·1· ·inferences regarding the 2020 voting experience, for
   ·2· ·example, 2018 data trying to explain behavior in
   ·3· ·2020 during the pandemic; you would agree that
   ·4· ·that's a difficult analysis?
   ·5· · · · · · ·MR. MILLER:· Objection, form.
   ·6· · · · A.· ·So are you asking me that I would agree
   ·7· ·that it's difficult to make conclusions about things
   ·8· ·that happened before the pandemic, about changes in
   ·9· ·voting before the pandemic?
   10· ·BY MR. HOLT:
   11· · · · Q.· ·To draw conclusions about voting behavior
   12· ·in 2020, using pre-pandemic data from 2018.· You
   13· ·would agree that that is difficult and would
   14· ·likely --
   15· · · · A.· ·Uh-huh.
   16· · · · Q.· ·-- and would likely be inaccurate?
   17· · · · · · ·MR. MILLER:· Objection, form.
   18· · · · A.· ·Well, no, I wouldn't -- I wouldn't say
   19· ·that.· Because, I mean, you can make some
   20· ·assumptions about some changes that resulted from
   21· ·the pandemic, but who's to say that those changes
   22· ·might not -- have already -- you know, if there was
   23· ·an increase in turnout, by mail, or -- there's
   24· ·not -- no evidence to say that even if the pandemic
   25· ·had not occurred, those increases might not have


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   ·1· ·happened anyway.
   ·2· · · · · · ·So I think you can make inferences about
   ·3· ·2020 based on data before the pandemic.
   ·4· ·BY MR. HOLT:
   ·5· · · · Q.· ·We're looking specifically here at
   ·6· ·absentee ballot rejection rates, okay?
   ·7· · · · A.· ·Okay.
   ·8· · · · Q.· ·Did you attempt to locate or use the 2020
   ·9· ·numbers of absentee ballot rejection rates?
   10· · · · A.· ·I attempted to find -- well, not absentee
   11· ·ballot rejection, but I have tables that have
   12· ·information about voting by mail of just -- you
   13· ·know, of the information that I could find, I have
   14· ·it in the report.
   15· · · · Q.· ·Okay.· I'm specifically trying to
   16· ·understand your use of the 2018 data here.
   17· · · · A.· ·Okay.
   18· · · · Q.· ·As opposed to the 2020 data.· Why did you
   19· ·use 2018 data and not 2020 data?
   20· · · · A.· ·Because it was difficult for me to find.
   21· · · · Q.· ·Did you try to look for it?
   22· · · · A.· ·I looked on -- yeah, I did.
   23· · · · Q.· ·Did you just -- I just want to understand,
   24· ·you would agree that you just cut and pasted the
   25· ·table on page 53 of your report from an ACLU report,


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   ·1· ·correct?
   ·2· · · · A.· ·Right.
   ·3· · · · Q.· ·Do you often just cut and paste
   ·4· ·information from external reports without providing
   ·5· ·your own original analysis pertaining to those
   ·6· ·reports?
   ·7· · · · A.· ·No, I usually don't.· But this was, I
   ·8· ·thought, a good table, and it provided some useful
   ·9· ·data.· And I didn't see anything wrong with it.
   10· ·It's not like I plagiarized it because I cited it.
   11· ·So I saw nothing wrong with it, and it was reliable
   12· ·data.
   13· · · · Q.· ·I'm not accusing you of plagiarism.                 I
   14· ·apologize if it came off that way.· I'm trying to
   15· ·simply understand -- and we kind of went through
   16· ·this exercise before -- of relying on another
   17· ·expert's data to reach your own conclusions.
   18· · · · · · ·Is that something that you often -- that
   19· ·you do commonly?
   20· · · · A.· ·Well, I mean, I -- I think any researcher,
   21· ·when you're doing research, and if you're looking at
   22· ·census data -- that's not your data, you didn't
   23· ·collect the census.· But that doesn't mean that you
   24· ·can't use census data.· So I don't think that there
   25· ·is anything problematic about using sources, as long


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   ·1· ·as they're legitimate sources, and as long as you
   ·2· ·cite them.
   ·3· · · · · · ·So -- and then if you look at the overall
   ·4· ·report, the other -- this is the only table that I
   ·5· ·used that was just the one -- as you said, I cut and
   ·6· ·pasted, but all of the other tables are tables that
   ·7· ·I created myself.
   ·8· · · · Q.· ·Okay.· You premised your main finding that
   ·9· ·due to the shifting patterns between 2018 or 2016 to
   10· ·2020, that SB 90 was passed as a result due to the
   11· ·changing voting patterns among Black and Hispanic
   12· ·voters; is that correct?
   13· · · · A.· ·I would say yes.
   14· · · · Q.· ·But yet, you rely on data from 2018,
   15· ·before those changes in behavior took place, to draw
   16· ·conclusions from.· Why is that?
   17· · · · · · ·MR. MILLER:· Objection, form.
   18· · · · A.· ·I relied on data in this table that's on
   19· ·page 53, from an ACLU report from 2020.· And it
   20· ·showed just the rejection rates, the -- you know,
   21· ·the vote-by-mail rejection rates.
   22· · · · · · ·And I thought it was some really
   23· ·compelling data that needed to be included.· So I
   24· ·saw nothing wrong with including this table or
   25· ·including this data, because it showed just the --


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   ·1· ·and then this is not the only table in the report.
   ·2· ·There are others that show the heavy usage of vote
   ·3· ·by mail for Black and Hispanic voters that I created
   ·4· ·myself.· So I saw nothing wrong with including this
   ·5· ·table.
   ·6· · · · · · ·And then also for professors or someone
   ·7· ·who worked at a research university, it's not
   ·8· ·uncommon for people even to reproduce tables and
   ·9· ·information that's listed in other sources.· So this
   10· ·is not uncommon in academia.
   11· ·BY MR. HOLT:
   12· · · · Q.· ·I understand that.
   13· · · · · · ·What I'm trying to get at is the premise
   14· ·of your argument is based upon the dramatic change
   15· ·in voting behaviors from 2018 to 2020, yet you rely
   16· ·on 2018 voter data to support your conclusion for
   17· ·2020 behavior.
   18· · · · · · ·I just -- if the pattern's changed so
   19· ·substantially from 2018 to 2020, why do you rely on
   20· ·2018 data to help prove your point?
   21· · · · A.· ·Well, really, if you just look at the
   22· ·entire --
   23· · · · · · ·MR. MILLER:· Form.· Objection, form.
   24· · · · A.· ·If you look at the entire report, it's
   25· ·talking about just changes in voting behavior since


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   ·1· ·the 1800s.· So I'm not just focusing just on from
   ·2· ·2018 to 2020.
   ·3· ·BY MR. HOLT:
   ·4· · · · Q.· ·Okay.· Let's move on here.
   ·5· · · · A.· ·Okay.
   ·6· · · · Q.· ·That's fine.
   ·7· · · · A.· ·I don't understand what your question is.
   ·8· · · · Q.· ·It's simply your use of 2018 data to
   ·9· ·support a conclusion that SB 90 was racially biased
   10· ·in 2020.
   11· · · · A.· ·Okay.
   12· · · · Q.· ·When --
   13· · · · A.· ·Because --
   14· · · · Q.· ·When you admittedly base your premise of
   15· ·the need -- the passage of SB 90 due to the changing
   16· ·voting behaviors from 2018 to 2020.
   17· · · · A.· ·Right.
   18· · · · Q.· ·So -- anyways --
   19· · · · A.· ·Go ahead.
   20· · · · Q.· ·We can move on.· That's fine.· Unless
   21· ·there's something you'd like to say.
   22· · · · A.· ·No.
   23· · · · Q.· ·Okay.· Looking further at that table that
   24· ·you cited, you would agree that it only includes 11
   25· ·of Florida's 67 counties, correct?


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   ·1· · · · A.· ·Okay.· It does.
   ·2· · · · Q.· ·Why were only -- why were only 11 counties
   ·3· ·included in that -- in your analysis, and not all
   ·4· ·67?
   ·5· · · · A.· ·Well, one of the problems that I ran into
   ·6· ·with making the tables is that even though most of
   ·7· ·the websites include information in some counties,
   ·8· ·they don't really have the racial breakdown.· And
   ·9· ·so, you know, with some of the tables, I included
   10· ·tables in -- in some of the tables I included
   11· ·counties that had the largest Black and Hispanic
   12· ·populations, and in others, there just was not the
   13· ·same racial breakdown in some counties as in others,
   14· ·so that data was hard to find.
   15· · · · Q.· ·Were you aware that in Appendix F, of the
   16· ·ACLU report from which you took the table on page 53
   17· ·of your report from, it has data for all 67 of
   18· ·Florida's counties?
   19· · · · A.· ·Okay.
   20· · · · Q.· ·Were you aware of that?
   21· · · · A.· ·No.· I wasn't aware of that.
   22· · · · Q.· ·So why -- I guess if you -- the reason why
   23· ·you didn't include that data simply was because you
   24· ·were unaware that that data existed; is that
   25· ·correct?


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   ·1· · · · · · ·MR. MILLER:· Objection, form.
   ·2· · · · A.· ·Well, I guess I would say I was unaware
   ·3· ·that it was really necessary to include all 67
   ·4· ·counties.· This is just a snapshot of vote-by-mail
   ·5· ·rejection rates.
   ·6· ·BY MR. HOLT:
   ·7· · · · Q.· ·Okay.· Would you agree that perhaps one of
   ·8· ·the reasons you decided not to include data from all
   ·9· ·67 counties was because it would show the ballot
   10· ·rejection rates were not as severe as you purported
   11· ·to show in your report?
   12· · · · A.· ·No.· Because my report is an honest
   13· ·report, and I was just giving information about the
   14· ·reliance on vote by mail and the impact that SB 90
   15· ·would have on that, in my opinion.
   16· · · · Q.· ·Okay.· What are the harms of selectively
   17· ·choosing a few counties that fit your narrative and
   18· ·passing conclusions based off of those few counties
   19· ·as indicative of statewide behavior?
   20· · · · A.· ·I guess that's what you're accusing me of,
   21· ·it's just selectively choosing certain counties, but
   22· ·I just wonder, have you looked at the entire report?
   23· ·Because if you have, then you would notice in the
   24· ·other tables, that I include information from
   25· ·counties that have the largest Black and Hispanic


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   ·1· ·populations.
   ·2· · · · · · ·And that isn't something that I was doing
   ·3· ·just to have some -- something that was biased to
   ·4· ·support my narrative.· That is something that I was
   ·5· ·using to just show the reality which is that Black
   ·6· ·and Hispanic voters heavily relied on vote-by-mail
   ·7· ·voting in counties with the largest Black and
   ·8· ·Hispanic populations.· So I would think those would
   ·9· ·be the tables that we would focus on rather than
   10· ·this one.
   11· · · · Q.· ·Okay.· Explain to me how this is any
   12· ·different than showing the existence of voter fraud
   13· ·in a few selected counties and then passing that off
   14· ·as a statewide problem.· Why can we not arrive at
   15· ·that same conclusion based off of selective
   16· ·occasions of voter fraud?
   17· · · · · · ·MR. MILLER:· Objection to form.
   18· · · · A.· ·Well, because, I think that the entire
   19· ·report shows a history, a sustained history, of
   20· ·discrimination against Black and Hispanic voters --
   21· ·for Black voters dating back to -- especially for
   22· ·Black men dating back to the late 1860s, when they
   23· ·were supposed to get the right to vote with the
   24· ·15th Amendment.
   25· · · · · · ·For Black women, I guess dating back to


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   ·1· ·the 19th Amendment guaranteed the right for women to
   ·2· ·vote, but Black women couldn't vote freely, at least
   ·3· ·until the 1960s here.· So there's a distinct pattern
   ·4· ·of discrimination against Black and Hispanic voters.
   ·5· · · · · · ·And I'm not just forecast on 2018, 2019,
   ·6· ·2020, I'm talking about what has been a sustained
   ·7· ·history.· And I think I provided a lot of evidence,
   ·8· ·not so much to try to push a certain narrative, but
   ·9· ·just to tell the truth, which is the State of
   10· ·Florida has a history of discriminating, especially
   11· ·against Black voters.
   12· · · · · · ·And if you look at the entirety of the
   13· ·report, and everything that's in it, all the mini
   14· ·sources that I cited, I guess I don't understand why
   15· ·you're just focusing and honing in just on this one
   16· ·table when there's extensive history that proves
   17· ·that there has been discrimination.· Whether we want
   18· ·to admit it or not, that's the reality here in the
   19· ·state of Florida.· And that's why I have an
   20· ·objection to SB 90.
   21· ·BY MR. HOLT:
   22· · · · Q.· ·Okay.· I'm simply just trying to
   23· ·understand why the selective showing of 11 counties
   24· ·of ballot rejection rates is indicative of statewide
   25· ·behavior, that Florida as a whole was discriminating


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   ·1· ·against minority voters based off of these 11
   ·2· ·counties.
   ·3· · · · A.· ·Well, I think just this one table isn't in
   ·4· ·itself -- if you just look at -- if this report only
   ·5· ·consisted of one table, then you could argue that
   ·6· ·I'm maybe only selectively looking at certain
   ·7· ·counties.· But if you look at the other tables that
   ·8· ·I've included, for example, you know, you were
   ·9· ·talking about the 2020 data, if you look at Table 2,
   10· ·which is on page -- begins on page 57 of the report,
   11· ·and it talks about mail and early voting in counties
   12· ·in November 2020 with the largest Black populations,
   13· ·you can see that, clearly, there is a significant
   14· ·percentage of Black voters in this table that relied
   15· ·heavily on voting during the early voting period and
   16· ·voting by mail.
   17· · · · · · ·And then if you look at the next table,
   18· ·Table 3, that begins on page 60, you'll see the same
   19· ·is the case for counties with the largest Hispanic
   20· ·populations.· And that was from November 2020.
   21· · · · · · ·So you were asking me why I was relying on
   22· ·2018 data in this table, but if you look at Tables 2
   23· ·and 3, it has information from November of 2020, and
   24· ·it shows that this was a practice, vote by mail and
   25· ·early voting were practices that Black and Hispanic


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   ·1· ·voters in districts with the largest -- I mean in
   ·2· ·counties with the largest Black and Hispanic
   ·3· ·populations heavily took advantage of.· And now, all
   ·4· ·of a sudden, SB 90 is trying to roll back on vote by
   ·5· ·mail and -- on vote-by-mail procedures.
   ·6· · · · · · ·And so that's the argument that I'm
   ·7· ·making.· So if you just focus on this one table, you
   ·8· ·can reach one conclusion.· But if you look at the
   ·9· ·entirety of the report, in Tables 2 and 3, you'll
   10· ·reach a completely different one.
   11· · · · Q.· ·Do Tables 2 and 3 discuss absentee ballot
   12· ·rejection rates?
   13· · · · A.· ·No, Tables 2 and 3 focus on the point that
   14· ·I'm making throughout the entire -- the main focus
   15· ·of the report, which is that there always usually is
   16· ·some type of backlash whenever Black and Hispanic
   17· ·voters take advantage of something, that usually is
   18· ·even encouraged.
   19· · · · · · ·For example, in Florida, it was encouraged
   20· ·for people to vote by mail and vote during the early
   21· ·voting period.· Then, once Black and Hispanic voters
   22· ·began to heavily utilize those things, all the
   23· ·sudden, now, there's an attempt to sort of curtail
   24· ·that.· And so that's the overall point that I'm
   25· ·making throughout the entire report.


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   ·1· · · · Q.· ·Okay.· Again, I'm particularly interested
   ·2· ·in the ACLU report on page 53 of your report that
   ·3· ·discusses absentee ballot rejection rates.
   ·4· · · · A.· ·Okay.
   ·5· · · · Q.· ·I understand the larger point that you're
   ·6· ·making.· But this is the only table in your report
   ·7· ·that discusses this.
   ·8· · · · A.· ·Okay.
   ·9· · · · Q.· ·Is that correct?
   10· · · · A.· ·Well, I mean, if you want to focus on that
   11· ·table, that's fine.
   12· · · · Q.· ·Do you know Dr. Daniel A. Smith who is the
   13· ·author of the report?
   14· · · · A.· ·Yes.
   15· · · · Q.· ·The ACLU report.
   16· · · · A.· ·Yes.
   17· · · · Q.· ·Okay.· On page 75 of the full ACLU report,
   18· ·Dr. Smith stated that he excluded rates not
   19· ·calculated for categories with fewer than ten
   20· ·rejected ballots, okay?· In other words, he excludes
   21· ·from his analysis any racial group in a county where
   22· ·there are very few rejected ballots.· Okay?
   23· · · · · · ·In your opinion, what would be the effect
   24· ·of ignoring counties that had low absentee ballot
   25· ·rejection rates in this analysis?


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   ·1· · · · A.· ·I mean, I think if you're talking about
   ·2· ·Professor Smith, I really -- and his research, you
   ·3· ·should ask him about his research.· I refer to the
   ·4· ·table but I didn't write his report.· So if you have
   ·5· ·any questions specifically about him and the way
   ·6· ·that he conducted his research, I think you should
   ·7· ·ask him.
   ·8· · · · Q.· ·You chose to include the report in your
   ·9· ·expert report, so --
   10· · · · A.· ·But I didn't write the report.
   11· · · · Q.· ·I'm not asking him --
   12· · · · A.· ·I didn't write it.· He did.
   13· · · · Q.· ·-- I'm asking you.
   14· · · · · · ·But you chose to include it in your expert
   15· ·report, so therefore, I can ask you questions about
   16· ·it.· You would agree with that?
   17· · · · A.· ·You can.· No, it's fine.· You can ask
   18· ·questions about it, but I didn't write his report,
   19· ·so -- but go ahead.
   20· · · · Q.· ·Were you aware that Dr. Smith excluded
   21· ·counties that had low absentee ballot rejection
   22· ·rates from his analysis?
   23· · · · A.· ·Right.· That's what he put in the report.
   24· · · · Q.· ·Were you aware that he had done that?
   25· · · · A.· ·I was aware, because he mentioned it in


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   ·1· ·the report.
   ·2· · · · Q.· ·And yet, you still chose to use that
   ·3· ·analysis in your expert report?
   ·4· · · · A.· ·I still chose to use it in the report
   ·5· ·because, from my understanding of what he was
   ·6· ·looking at, he was trying to find counties that had
   ·7· ·higher rejection rates of Black -- at least that was
   ·8· ·my understanding of -- of Black and Hispanic votes.
   ·9· · · · · · ·And I don't think that he needed -- he
   10· ·felt that he needed to include those other counties,
   11· ·but again, I did not do his research.· So you would
   12· ·have to ask him why he did that.
   13· · · · Q.· ·Okay.· I want to move on to discuss
   14· ·paragraph 91 of your report which starts on page 58.
   15· ·Just let me know when you're there.
   16· · · · A.· ·Okay.
   17· · · · Q.· ·And as you did before, you focus on a very
   18· ·small subset of data and attempt to draw general
   19· ·inferences from it.· What are the dangers of doing
   20· ·that?
   21· · · · · · ·MR. MILLER:· Form.
   22· · · · A.· ·Okay.· So No. 91 on page 58?
   23· ·BY MR. HOLT:
   24· · · · Q.· ·Yes.
   25· · · · A.· ·Okay.


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   ·1· · · · Q.· ·And what are the dangers of focusing on a
   ·2· ·very small subset of data, in this case, a single
   ·3· ·neighborhood in Florida --
   ·4· · · · A.· ·Uh-huh.
   ·5· · · · · · ·MR. MILLER:· Objection to form.
   ·6· ·BY MR. HOLT:
   ·7· · · · Q.· ·-- and drawing general conclusions from
   ·8· ·that data.
   ·9· · · · · · ·MR. MILLER:· Objection.
   10· · · · A.· ·Well, I was very happy to get this
   11· ·information, and I wasn't able to find it for
   12· ·predominantly Black CDPs which stands for
   13· ·census-designated places.
   14· · · · · · ·But I thought this was a really compelling
   15· ·point.· It really supported my point about the --
   16· ·you know, the fact that in predominantly Black
   17· ·communities, there was a heavy focus on voting -- I
   18· ·was going to put together a table, but I couldn't
   19· ·find the data.· But the overwhelming majority of a
   20· ·community that's 99.9 percent Black, 94.6 percent of
   21· ·them are registered, as it says here on page 58.
   22· · · · · · ·And then they also had an extremely high
   23· ·turnout rate, which is 60.7 percent, and then
   24· ·49.9 percent of them voted by mail and 65 percent of
   25· ·them voted in person during the early voting period.


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   ·1· · · · · · ·And so that's -- proves the point that I
   ·2· ·was making, which is that the African American voter
   ·3· ·registration in 2020 was high, that this was one
   ·4· ·example of a community that was overwhelmingly
   ·5· ·Black, almost 100 percent Black, and they had a high
   ·6· ·rate of participation in the early voting period and
   ·7· ·in voting by mail.· So that proved my point.
   ·8· · · · · · ·So you can argue that maybe I could have
   ·9· ·included other places.· If I could have found that
   10· ·data, I would have included it, but I had to write
   11· ·an honest report and this was what I could find.
   12· · · · · · ·But it also proved my point.· So you could
   13· ·argue that I should have included more, but this in
   14· ·itself is making a very strong point.· As I say on
   15· ·page 59, the last sentence of No. 91, this is
   16· ·evidence of Black voter utilization of mail-in early
   17· ·voting procedures in Florida.· That's what my
   18· ·argument was, and I think this proves my point
   19· ·extremely well.
   20· ·BY MR. HOLT:
   21· · · · Q.· ·Okay.· How can any evidence of a single
   22· ·neighborhood in Florida be evidence of anything on a
   23· ·statewide basis?
   24· · · · · · ·MR. MILLER:· Objection, form.
   25· · · · A.· ·Well, I could ask you how can evidence of


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   ·1· ·some elections that took place in 1993 and 1997 be
   ·2· ·evidence that it's necessary in 2021 to come up with
   ·3· ·a sweeping statewide law to impact voter fraud for
   ·4· ·something that happened many, many years ago.
   ·5· ·BY MR. HOLT:
   ·6· · · · Q.· ·You could.· Unfortunately, I'm here asking
   ·7· ·you questions today.
   ·8· · · · A.· ·I mean, I understand.· But I'm just
   ·9· ·saying, I'm just making that parallel.
   10· · · · Q.· ·And I will opine on making that parallel
   11· ·as well.
   12· · · · A.· ·That's fine.
   13· · · · Q.· ·You know where I'm going with this.
   14· · · · A.· ·That's fine with me.
   15· · · · Q.· ·Just explain to me again how evidence of
   16· ·behavior of a single neighborhood allows you to draw
   17· ·the conclusion that this is evidence of Black voter
   18· ·utilization of mail and early voting procedures in
   19· ·Florida.
   20· · · · A.· ·Okay.
   21· · · · Q.· ·I mean, isn't evidence of utilization of
   22· ·voting procedures in that neighborhood and not --
   23· · · · A.· ·In that neighborhood, and also if you look
   24· ·at just the other table that I have here, that I've
   25· ·just referred to, that talks about -- I think was it


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   ·1· ·Table 2, that talks about Black voting in -- not
   ·2· ·just in one neighborhood but in counties with the
   ·3· ·largest Black populations.
   ·4· · · · · · ·And the other table that has counties with
   ·5· ·the largest Hispanic populations, they also had
   ·6· ·sizeable mail --vote-by-mail rates, and also they
   ·7· ·also had sizeable participation during the early
   ·8· ·voting period.· So this is one neighborhood which is
   ·9· ·one example, but combined with the other information
   10· ·that I have, the other original data that I have
   11· ·from the other tables, then I think those things
   12· ·combined prove my point, that African American and
   13· ·Latino voters participated in high numbers in mail
   14· ·voting and also early voting.
   15· · · · Q.· ·Okay.· If you can rely on and draw
   16· ·inferences from a single neighborhood, why can the
   17· ·Legislature not rely on instances of voter fraud in
   18· ·a congressional race, which is a much larger area
   19· ·than a single neighborhood, why is that not
   20· ·indicative of fraud, but use of absentee ballots in
   21· ·a single neighborhood is indicative of use of
   22· ·absentee ballots across the whole state?· Explain
   23· ·that to me.
   24· · · · A.· ·Because of the information that I just
   25· ·showed you in Tables 2 and 3.· I didn't just look at


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   ·1· ·that -- if I had just put that one neighborhood and
   ·2· ·nothing else, then you could make that inference.
   ·3· ·But since I had information from the counties with
   ·4· ·the largest Black and Hispanic populations
   ·5· ·statewide, and I didn't just selectively choose
   ·6· ·some, I chose the ones with the largest percentages
   ·7· ·of Black and Hispanic residents, and in looking at
   ·8· ·those counties, there was a high rate of
   ·9· ·participation in vote by mail and early voting.
   10· · · · · · ·And so all of those things combined
   11· ·together prove that in 2020, November 2020 election,
   12· ·there was a high rate of participation by -- of
   13· ·Black and Hispanic voters in vote by mail and also
   14· ·during the early voting period.
   15· · · · Q.· ·I understand --
   16· · · · A.· ·I didn't just focus on that one
   17· ·neighborhood.· I looked at counties throughout the
   18· ·state of Florida, with the largest Black population
   19· ·and the largest Hispanic populations, as my -- as my
   20· ·report indicates.
   21· · · · Q.· ·I understand that's what you're saying
   22· ·now.· But when you look at your report, in reference
   23· ·to paragraph 91 and the data pertaining to that one
   24· ·small neighborhood, you say, this is evidence of
   25· ·Black voter utilization of mail and early voting


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   ·1· ·procedures in Florida.
   ·2· · · · · · ·You're not referencing any other studies
   ·3· ·or reports.· You're referencing that one
   ·4· ·neighborhood in Florida, correct?
   ·5· · · · A.· ·I'm referencing that one neighborhood, but
   ·6· ·if you look at the entire report, it's -- if you --
   ·7· ·it's combined with the other information that I
   ·8· ·already had presented so I saw no need to repeat it
   ·9· ·again.
   10· · · · Q.· ·Okay.· Now, in paragraph 91, you state
   11· ·that 49.9 percent of this particular neighborhood
   12· ·voted by mail and 65 percent voted early in person,
   13· ·okay?· Now, this leads to a total voter turnout, and
   14· ·this is assuming that no one voted on Election Day,
   15· ·of 114.9 percent.
   16· · · · A.· ·Okay.
   17· · · · Q.· ·Can you explain to me how that is?
   18· · · · A.· ·Let me see.· No, I guess not.· I need
   19· ·to -- to review my numbers.· Right, so --
   20· · · · Q.· ·You would agree -- you would agree that
   21· ·the numbers are mistaken in this part of your
   22· ·report, correct?
   23· · · · A.· ·I would agree that I need to review the
   24· ·numbers, yes.
   25· · · · Q.· ·That they're incorrect, correct?


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   ·1· · · · A.· ·I won't say they're incorrect.· I just
   ·2· ·think that I need to review them to see maybe if
   ·3· ·there's a typo or something.· But I need to review
   ·4· ·the numbers.
   ·5· · · · Q.· ·Okay.· If you're not going to say they're
   ·6· ·incorrect, help me understand how 49.9 percent and
   ·7· ·65 percent, which equals 114.9 percent, could be
   ·8· ·correct.
   ·9· · · · A.· ·Well, it could be that there's a typo.
   10· · · · Q.· ·So the -- so the numbers you provided in
   11· ·your report are incorrect?
   12· · · · · · ·MR. MILLER:· Objection, form.
   13· · · · A.· ·The numbers that I provide -- I won't say
   14· ·in my report but I'll say on page 59, when it comes
   15· ·to turnout, I need to review those numbers.
   16· ·BY MR. HOLT:
   17· · · · Q.· ·So you agree that those numbers are
   18· ·incorrect on page 59?
   19· · · · A.· ·No, they -- they just may have had a typo.
   20· · · · Q.· ·Okay.· The numbers that you typed in on
   21· ·page 59 of your report are incorrect?
   22· · · · A.· ·If that's what you say.
   23· · · · Q.· ·Dr. Austin, I'm asking you.· I'm not
   24· ·trying to trip you up here.· You agree that there is
   25· ·a typo on page 59, that the numbers that are


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   ·1· ·presently there are incorrect?
   ·2· · · · A.· ·I agree that there's a typo on page 59
   ·3· ·possibly.
   ·4· · · · Q.· ·Okay.· Explain to me how there is not a
   ·5· ·typo.· Under what scenario --
   ·6· · · · A.· ·I just said there is one.
   ·7· · · · Q.· ·You said "possibly."
   ·8· · · · A.· ·Right.· I just said that there is a typo
   ·9· ·there possibly, and I need to look at the report
   10· ·again.
   11· · · · Q.· ·Okay.· Under what scenario could there not
   12· ·be a typo, then, if there's only possibly a typo?
   13· · · · A.· ·Under the scenario that when you write a
   14· ·long report, that you're bound to have something in
   15· ·the report that you need to review again.· And
   16· ·that's what I'm saying about this.
   17· · · · Q.· ·So you will agree that the numbers you
   18· ·included on page 59, for whatever reason, are not
   19· ·100 percent accurate?
   20· · · · A.· ·I would say that's the way it looks.
   21· · · · Q.· ·Okay.· I'll ask this as many times as it
   22· ·takes, Dr. Austin.
   23· · · · A.· ·That's fine.
   24· · · · Q.· ·The numbers on page 59 of your report,
   25· ·where you state that 49.9 percent voted by mail and


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   ·1· ·65 voted in person, you did not even take into
   ·2· ·account any same-day-of-election voting.
   ·3· · · · A.· ·Uh-huh.
   ·4· · · · Q.· ·Just early and mail voting accounts for
   ·5· ·nearly 115 percent turnout.
   ·6· · · · A.· ·Okay.
   ·7· · · · Q.· ·How could that possibly be correct?
   ·8· · · · A.· ·Okay.· As I just have already told you,
   ·9· ·that I need to look at the numbers again, because it
   10· ·probably is a typo.
   11· · · · Q.· ·You would agree that there is a typo?
   12· · · · A.· ·There probably is one.
   13· · · · Q.· ·Okay.· What scenario could there not be a
   14· ·typo?
   15· · · · A.· ·Well, I mean, I don't know.· I could -- I
   16· ·just need to go back through the report.
   17· · · · Q.· ·Okay.· You would agree that 49.9 percent
   18· ·plus 65 percent equals more than 100 percent,
   19· ·correct?
   20· · · · A.· ·Yes.
   21· · · · Q.· ·And you agree that you cannot have more
   22· ·than 100 percent voter turnout?
   23· · · · A.· ·Right.
   24· · · · Q.· ·In a legal election, let's put it that
   25· ·way.


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   ·1· · · · A.· ·Right.
   ·2· · · · Q.· ·So either your information here is
   ·3· ·evidence of a severe case of voter fraud in this
   ·4· ·neighborhood, where extra ballots were cast, or you
   ·5· ·have a typo there; will you agree that there is a
   ·6· ·typo and you used incorrect information in your
   ·7· ·report on this page, of page 59?
   ·8· · · · A.· ·I would say that there is a typo on page
   ·9· ·59.
   10· · · · Q.· ·Thank you, Dr. Austin.
   11· · · · · · ·Now, I want to go into -- on page 62 of
   12· ·your report, you start discussing the specific
   13· ·provisions of SB 90.· Just let me know when you're
   14· ·there.
   15· · · · A.· ·Okay.· I'm there.
   16· · · · Q.· ·And so we've already talked about the ID
   17· ·information.· And I'm going to ask just a couple
   18· ·questions about that and then we're going to go
   19· ·through these -- some different provisions of SB 90.
   20· ·And I want to ask you some questions about those,
   21· ·okay?
   22· · · · A.· ·Okay.
   23· · · · Q.· ·So what is your understanding of the
   24· ·provision of SB 90 that requires someone requesting
   25· ·a ballot to provide identifying information on their


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   ·1· ·vote-by-mail application?· What is your
   ·2· ·understanding that that provision does?
   ·3· · · · A.· ·That provision says that before you can --
   ·4· ·in order to request a vote-by-mail ballot, you have
   ·5· ·to provide your -- either as it says here, your
   ·6· ·driver's license number, your state ID number, or
   ·7· ·the last four digits of your Social Security number.
   ·8· · · · Q.· ·Okay.· And what is this understanding
   ·9· ·based on?
   10· · · · A.· ·What is the understanding based on?
   11· · · · Q.· ·Yeah.· Did you review the statute, did you
   12· ·review reports about the statute?· What is -- how
   13· ·did you form that opinion of that provision of
   14· ·SB 90?
   15· · · · A.· ·Because of -- based on what I read.
   16· ·That's what it requires.
   17· · · · Q.· ·You read the statute?
   18· · · · A.· ·No, I -- yeah.· In order -- I read about
   19· ·SB 90, and it requires that you put some type of
   20· ·identification before you can request a vote-by-mail
   21· ·ballot.
   22· · · · Q.· ·And you said you read about SB 90.· What
   23· ·do you mean by --
   24· · · · A.· ·Right.· I read SB 90.· And based on my
   25· ·understanding of it, that's what this is saying.


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   ·1· ·That's what it requires.
   ·2· · · · Q.· ·Okay.· How was this different than what
   ·3· ·was required during the 2020 election?
   ·4· · · · A.· ·My understanding is -- and again, I don't
   ·5· ·remember exactly what I had in the report -- but my
   ·6· ·understanding is that it used to be that you didn't
   ·7· ·have to provide this type of -- these types of
   ·8· ·numbers or this type of identification to request a
   ·9· ·vote-by-mail ballot.· You could just request one.
   10· · · · Q.· ·Okay.· Now in your opinion, does this
   11· ·provision of SB 90 protect a legitimate state
   12· ·interest?
   13· · · · A.· ·I would say no.
   14· · · · Q.· ·Okay.· You would agree that courts have
   15· ·recognized that limiting fraud and elections is a
   16· ·legitimate state interest?
   17· · · · A.· ·It is.
   18· · · · Q.· ·So it's your opinion that this provision
   19· ·of SB 90 does not advance that state interest of
   20· ·limiting fraud?
   21· · · · A.· ·Right.
   22· · · · · · ·THE STENOGRAPHER:· I'm sorry to interrupt.
   23· · · · Is Mr. Holt glitching for anyone?
   24· · · · · · ·MR. MILLER:· Fine with me.
   25· · · · · · ·THE WITNESS:· No.


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   ·1· · · · · · ·THE STENOGRAPHER:· Okay.· I'll keep an eye
   ·2· · · · on it because it never seems to get better, it
   ·3· · · · always seems to get worse.
   ·4· ·BY MR. HOLT:
   ·5· · · · Q.· ·Okay.· And, Dr. Austin, if any of my
   ·6· ·questions are not audible to you, please let me know
   ·7· ·and I'll rephrase them and make sure you understand
   ·8· ·them.
   ·9· · · · A.· ·Okay.
   10· · · · Q.· ·Now, Dr. Austin, what burdens or harms, if
   11· ·any, are allegedly caused by this provision of
   12· ·SB 90?
   13· · · · A.· ·I would say the burden -- and I think the
   14· ·harm is caused by the fact that if you want to get a
   15· ·vote-by-mail ballot, you should be able to just get
   16· ·one.· Because we should have a society in a -- and
   17· ·in our state, we should encourage people, as was
   18· ·done before.
   19· · · · · · ·As I point out in the report, people were
   20· ·encouraged to vote by mail, and we should make these
   21· ·easily accessible, and people should not have to
   22· ·provide identification just to get access to a
   23· ·ballot.
   24· · · · Q.· ·Okay.· Can you quantify (indiscernible) --
   25· · · · · · ·THE WITNESS:· You did break a little bit


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   ·1· · · · there.
   ·2· · · · · · ·THE STENOGRAPHER:· We heard "can you
   ·3· · · · quantify."
   ·4· · · · · · ·THE WITNESS:· Can we take a five-minute
   ·5· · · · break?· I need to send a text to my daughter.
   ·6· · · · · · ·MR. MILLER:· He probably couldn't hear you
   ·7· · · · so you can ask for it when he gets back.
   ·8· · · · · · ·THE WITNESS:· Okay.
   ·9· · · · · · ·MR. HOLT:· Can you guys hear me?
   10· · · · · · ·MR. MILLER:· Loud and clear but while
   11· · · · you --
   12· · · · · · ·MR. HOLT:· I cannot hear you.
   13· · · · · · ·(Recess from 1:44 p.m. to 1:50 p.m.)
   14· · · · · · ·MR. HOLT:· Back on the record?
   15· · · · · · ·THE STENOGRAPHER:· Yes, sir.
   16· ·BY MR. HOLT:
   17· · · · Q.· ·Okay.· Dr. Austin, can you quantify what
   18· ·the burden would be on a Black or Hispanic voter due
   19· ·to the application of the ID information provision
   20· ·of SB 90?
   21· · · · A.· ·You mean can I quantify, meaning, can I
   22· ·predict approximately how many people would be
   23· ·impacted?
   24· · · · Q.· ·Yes.
   25· · · · A.· ·Well, to be honest with you, to answer


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   ·1· ·your question, no.· But it's not about quantifying
   ·2· ·the numbers, it's about the fact that this is a
   ·3· ·discriminatory barrier, in the sense that these
   ·4· ·ballots should be accessible and openly accessible.
   ·5· · · · · · ·I mean, I'm originally from the state of
   ·6· ·Tennessee, and I remember being able to go to
   ·7· ·libraries, to post offices, to be able to register
   ·8· ·to vote in those places, because people really
   ·9· ·wanted to encourage you to vote.· And in Florida, as
   10· ·my report shows, there's a history of wanting people
   11· ·to participate by mail because it avoided a lot of
   12· ·the problems, as I pointed out, long lines, the
   13· ·possibility something could go wrong on
   14· ·Election Day.
   15· · · · · · ·And so that's why vote by mail was
   16· ·convenient, and it also helped to make sure that you
   17· ·would be able to vote.· And if there was a problem,
   18· ·you could correct it, and so it had its advantages.
   19· · · · · · ·But by doing this, you're placing a
   20· ·barrier there for African Americans and Hispanics
   21· ·and for people who want to vote by mail, you're
   22· ·making them identify themselves.· And there are a
   23· ·lot of issues I can even talk about even with that,
   24· ·but you're making it more difficult for them to gain
   25· ·access to these ballots, when really, they should be


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   ·1· ·accessible to anyone who wants them.
   ·2· · · · Q.· ·Are you aware of a large number of
   ·3· ·minority voters, African -- Black or Hispanic that
   ·4· ·do not have a driver's license number, a state ID
   ·5· ·number, or know the last four digits of their Social
   ·6· ·Security number?
   ·7· · · · · · ·MR. MILLER:· Objection, form.
   ·8· · · · A.· ·I think that the -- that there's an issue,
   ·9· ·I think, with some people who are -- well, as far as
   10· ·with driver's licenses, we can't assume that
   11· ·everyone has a driver's license.· Or even we can't
   12· ·assume that everyone has a state ID.
   13· · · · · · ·But that's not even the point.· The point
   14· ·is that you should be able to get a vote-by-mail
   15· ·ballot without having to identify yourself.· And I
   16· ·think regardless of whether it's a large number or
   17· ·small number, it's irrelevant, even if only one
   18· ·person is impacted, that is a problem because we're
   19· ·supposed to have a state that encourages people to
   20· ·vote in the way that they choose to.
   21· · · · · · ·And if they choose to vote by mail, then
   22· ·those ballots should be accessible to them.· They
   23· ·should not have to identify themselves.
   24· ·BY MR. HOLT:
   25· · · · Q.· ·So if we look back at those instances of


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   ·1· ·voter fraud that we discussed earlier, in 1993, in
   ·2· ·1997, and in 2013, I guess 2012, all of those
   ·3· ·instances involved situations where fraudulent
   ·4· ·absentee ballot or vote-by-mail ballot applications
   ·5· ·were submitted on behalf of somebody who is not the
   ·6· ·person who claimed -- they claimed they were,
   ·7· ·correct?
   ·8· · · · A.· ·Correct.
   ·9· · · · Q.· ·Okay.· So in your opinion, would this
   10· ·provision of SB 90 stop something like that from
   11· ·happening again?
   12· · · · A.· ·Well, I would say no.· And the reason I'd
   13· ·say no is because it would stop people from
   14· ·getting -- I guess if you don't have this
   15· ·identification, you wouldn't be able to get the
   16· ·ballot.
   17· · · · · · ·But that still would not -- I mean, as far
   18· ·as fraud, if there's anything fraudulent going on
   19· ·when the ballot is submitted, that's when it would
   20· ·be found.· Not -- you should not stop people from
   21· ·getting a ballot.· I think as far as people casting
   22· ·a vote and it being fraudulent, that's when that
   23· ·fraud will be detected.· But there's no legitimate
   24· ·excuse for stopping someone from getting a
   25· ·vote-by-mail ballot.


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   ·1· · · · Q.· ·Okay.· Can you please tell me any less
   ·2· ·restrictive alternatives that would serve the same
   ·3· ·interest the Legislature intended by this provision
   ·4· ·of SB 90?
   ·5· · · · · · ·MR. MILLER:· Objection, form.
   ·6· · · · A.· ·I think we first need to figure out what
   ·7· ·exactly did the Legislature intend.· Did they intend
   ·8· ·to disenfranchise voters, Black and Hispanic voters?
   ·9· ·That's the first thing that we don't really know the
   10· ·answer to that question.
   11· · · · · · ·And as far as any alternative, I don't
   12· ·have to think of an alternative.· All I know is that
   13· ·as a citizen of the state of Florida, that I -- if I
   14· ·choose, as a registered voter here in the state of
   15· ·Florida, I should be able to gain access to a
   16· ·vote-by-mail ballot without having to produce this
   17· ·information.
   18· ·BY MR. HOLT:
   19· · · · Q.· ·Okay.· So you're unaware of any less
   20· ·restrictive means the Legislature could have used to
   21· ·achieve this same goal of ensuring the person
   22· ·requesting the absentee ballot is who they say they
   23· ·are?
   24· · · · · · ·MR. MILLER:· Objection, form.
   25· · · · A.· ·I'm not a legislator.· So I really


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   ·1· ·don't -- I mean, that's not -- I'm a professor.
   ·2· ·That's not my job, to try to figure out if people
   ·3· ·are who they say they are.· All I know is as a voter
   ·4· ·and as a private citizen, I have a right to vote by
   ·5· ·mail, and I should have access to that ballot
   ·6· ·without having to give my information.
   ·7· ·BY MR. HOLT:
   ·8· · · · Q.· ·Well, you've acknowledged that there is an
   ·9· ·interest in preventing fraud.· You've also
   10· ·acknowledged that -- sorry.· Just completely lost my
   11· ·train of thought.
   12· · · · · · ·You acknowledge that there is an interest
   13· ·in preventing voter fraud, correct?
   14· · · · A.· ·Yes.
   15· · · · Q.· ·Okay.· So if the Legislature's goal was to
   16· ·prevent voter fraud in this scenario, okay, and if
   17· ·the way they did it on SB 90 was discriminatory in
   18· ·your opinion, help me understand a way they could
   19· ·have done it in a non-discriminatory way.
   20· · · · · · ·MR. MILLER:· Objection, form.
   21· · · · A.· ·I guess I'm confused, because I thought we
   22· ·were here to just talk about my report.· And, I
   23· ·mean, it sounds like you're asking me a question as
   24· ·if I'm a legislator and I have to come up with a way
   25· ·to eliminate fraud, and that's not -- I don't see


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   ·1· ·that as being my -- my job.
   ·2· · · · · · ·It's -- as a voter, as a citizen, it's not
   ·3· ·my place to try to tell people how to prevent fraud.
   ·4· ·It's just my -- it's my responsibility, if I choose
   ·5· ·to vote, to go and pick up a ballot and use it.· And
   ·6· ·that's all I'm supposed to do as a person -- as a
   ·7· ·private citizen, not to try to inform people how --
   ·8· ·if there's an alternative way to prevent voter
   ·9· ·fraud.
   10· · · · · · ·I'm not a legislator.· That's not what I'm
   11· ·here -- what I do.· I mean, I just think, according
   12· ·to my report and according to my opinion, by denying
   13· ·people of the ability -- by putting this barrier
   14· ·there, which I refer to this in this provision as a
   15· ·barrier, that that's discriminatory, and I think
   16· ·it's targeted based on the State's history of voting
   17· ·discrimination and voter suppression with the
   18· ·blatant tactics, and the more subtle tactics of
   19· ·recent years, I think this is something that's being
   20· ·done in a way to disadvantage Black and Hispanic
   21· ·voters by denying them, making it harder, placing
   22· ·this obstacle there for them to get these
   23· ·vote-by-mail ballots, when the information that I
   24· ·have shown in the tables proves that in districts --
   25· ·I mean that in counties with large Black and


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   ·1· ·Hispanic populations, they voted by mail in large
   ·2· ·numbers in 2020.
   ·3· · · · · · ·And now that is being taken -- it's
   ·4· ·being -- it's making it harder for them to do that,
   ·5· ·this provision.· And so that's why I think that is
   ·6· ·discriminatory.· And I don't really think it's my
   ·7· ·responsibility to come up with an alternative way to
   ·8· ·combat voting fraud that was never even proven in
   ·9· ·the first place.· I'm just here to tell you that
   10· ·based on what I've studied and based on my opinion,
   11· ·that this is placing a discriminatory barrier there
   12· ·that's making it harder for Black and Hispanic
   13· ·voters to take advantage of vote by -- voting by
   14· ·mail, which is what they did in 2020.
   15· ·BY MR. HOLT:
   16· · · · Q.· ·And I understand your position,
   17· ·Dr. Austin.· But in your expert report, you took the
   18· ·position that while there is a valid state interest
   19· ·to prevent voter fraud, that was not present in this
   20· ·situation with SB 90, I'm simply trying to explore
   21· ·that with you.
   22· · · · A.· ·Okay.
   23· · · · Q.· ·Understand under -- if the Legislature has
   24· ·a valid interest to prevent voter fraud, involving
   25· ·mail-in ballots, how can they go about doing that in


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   ·1· ·a way that is non-discriminatory, in your opinion?
   ·2· ·Is that possible, or is any type of regulation
   ·3· ·regarding -- absent a universal absentee ballot to
   ·4· ·everybody going to be discriminatory?
   ·5· · · · · · ·MR. MILLER:· Objection, form.
   ·6· · · · A.· ·Well, I think I already -- I feel like I'm
   ·7· ·repeating myself, but I think I've already said
   ·8· ·this.· As far as combating voter fraud, the best way
   ·9· ·to do that is to punish people and to deter them by
   10· ·putting punishments there for people who commit
   11· ·voting fraud.· And I don't think that that's what
   12· ·this provision is doing.
   13· · · · · · ·This provision is disadvantaging a lot of
   14· ·people, and it's preventing them from getting a
   15· ·ballot.· And it's -- again, it's hypocrisy in the
   16· ·sense that we value voting, we encourage people to
   17· ·vote, and we encourage people to vote by mail here
   18· ·in Florida.· And yet when Black and Hispanic people
   19· ·started doing it, then, all of a sudden now, it's
   20· ·being said that, oh, you have to produce this
   21· ·information before you vote by mail, before we even
   22· ·give you a ballot.
   23· · · · · · ·And I just don't -- I mean, if you -- of
   24· ·course, you have to identify yourself when you cast
   25· ·the vote.· But that should not prohibit you from


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   ·1· ·getting access to the ballot.· Nothing should
   ·2· ·prohibit that.
   ·3· ·BY MR. HOLT:
   ·4· · · · Q.· ·So explain to me, if this is a
   ·5· ·vote-by-mail ballot, okay, how am I identifying
   ·6· ·myself when I cast the ballot?
   ·7· · · · A.· ·Well, when you cast the ballot, because I
   ·8· ·usually vote by mail -- when you cast the ballot,
   ·9· ·you sign your name and your signature is verified.
   10· ·And so that's how it can be -- your identity can be
   11· ·validated.
   12· · · · Q.· ·So you're more comfortable with a
   13· ·comparison of signatures as opposed to some personal
   14· ·identifier to identify someone, an individual?
   15· · · · · · ·MR. MILLER:· Objection, form.
   16· · · · A.· ·I'm more comfortable with letting people
   17· ·have access to a ballot when they want one.· And
   18· ·then once they cast that ballot, their identity will
   19· ·be verified, when they cast the ballot.
   20· · · · · · ·But not to stop them from getting a
   21· ·ballot.· That, to me, is discriminatory.
   22· ·BY MR. HOLT:
   23· · · · Q.· ·If they didn't vote by mail, how can this
   24· ·voter also vote in person?
   25· · · · A.· ·Yeah, but why should they have to vote in


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   ·1· ·person if they choose to vote by mail before
   ·2· ·Election Day?
   ·3· · · · Q.· ·I was just asking a question.
   ·4· · · · A.· ·I know.· I'm just asking, and I'm just
   ·5· ·saying people should make the choice for themselves
   ·6· ·how they vote.· Or whether they vote.· But it should
   ·7· ·not be -- the State should not deny them an access
   ·8· ·to a ballot, is the point I'm trying to make.
   ·9· · · · Q.· ·Are you familiar with how this provision
   10· ·compares to similar provisions in other states?
   11· · · · A.· ·No, not really.· I'm mostly just focused
   12· ·on Florida for the report.
   13· · · · Q.· ·If I were to tell you that Florida was on
   14· ·the more lenient side when it comes to identifying
   15· ·information that is required to request an
   16· ·absentee -- a vote-by-mail ballot, would that
   17· ·surprise you?
   18· · · · · · ·MR. MILLER:· Objection, form.
   19· · · · A.· ·Would that surprise me?· I don't know if
   20· ·it would or wouldn't.· But that's not the point.
   21· ·The point is that people should not be denied a
   22· ·ballot if they want one.
   23· ·BY MR. HOLT:
   24· · · · Q.· ·So is it your opinion that any State that
   25· ·requires someone to identify themselves in order to


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   ·1· ·request an absentee ballot is doing so under -- for
   ·2· ·discriminatory purpose?
   ·3· · · · · · ·MR. MILLER:· Objection, form.
   ·4· · · · A.· ·Are we here to talk about any state or are
   ·5· ·we here to talk about Florida?
   ·6· ·BY MR. HOLT:
   ·7· · · · Q.· ·I'm just trying to understand your
   ·8· ·opinion, Dr. Austin.
   ·9· · · · A.· ·I'm just trying to understand your
   10· ·question.· Are you asking me about my report on
   11· ·Florida, or are you trying to ask me about any
   12· ·state?· Because in my report, I focused on the state
   13· ·of Florida.
   14· · · · Q.· ·I'm still talking about Florida compared
   15· ·to the general requirements, as the courts have
   16· ·held, the uniform burdens, the normal burdens of
   17· ·voting.
   18· · · · A.· ·Okay.· Well, I mean, if I understand your
   19· ·question correctly, if you're asking me to compare
   20· ·Florida's, you know, restrictions on vote by mail --
   21· ·getting access to vote-by-mail ballots compared to
   22· ·other states.· And you're saying that Florida is
   23· ·not -- are you saying in Florida is more lenient
   24· ·than other states?· Is that what you're saying?
   25· · · · Q.· ·I am.· Yes.


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   ·1· · · · A.· ·Okay.
   ·2· · · · · · ·MR. MILLER:· Objection to form.
   ·3· · · · · · ·(Mr. Faruqui entered meeting.)
   ·4· · · · A.· ·Well, I mean, to me, it makes no sense as
   ·5· ·to whether or not Florida is more lenient or not.
   ·6· · · · · · ·The fact of the matter is if this is a
   ·7· ·discriminatory barrier, it doesn't matter if it's --
   ·8· ·it doesn't matter if Florida isn't as discriminatory
   ·9· ·as other places.· For example, during the Civil
   10· ·Rights movement, Mississippi was thought to be the
   11· ·worst place for a person of color to live.
   12· ·Especially for an African American to live, before
   13· ·the modern Civil Rights era.
   14· · · · · · ·And so you can argue, well, it was much
   15· ·easier to live in Florida because maybe at least
   16· ·some people voted here but nobody voted in
   17· ·Mississippi.· But that still doesn't mean that
   18· ·Florida should be able to discriminate.· Even if it
   19· ·is more lenient here it, is not as severe here and
   20· ·it's probably not as bad as in other states, that's
   21· ·not the point.
   22· · · · · · ·The question is -- the question should be
   23· ·is this a discriminatory barrier.· And so if it's a
   24· ·discriminatory barrier, it doesn't matter if it's
   25· ·not as discriminatory as what takes place in other


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   ·1· ·states.· What matters is that this is a barrier that
   ·2· ·should not be there because discrimination should
   ·3· ·not be there.· Should not be present.
   ·4· · · · · · ·(Marked for Identification is Exhibit 2.)
   ·5· ·BY MR. HOLT:
   ·6· · · · Q.· ·Okay.· I've slid Table 6 into the
   ·7· ·comment -- into the chat box.· Are you able to see
   ·8· ·that, Dr. Austin?
   ·9· · · · A.· ·Okay.· Let me see.· I think I have to save
   10· ·these and then download them.
   11· · · · · · ·Okay.· Yeah, I see it.
   12· · · · Q.· ·Okay.· What is this table titled?
   13· · · · A.· ·Absentee Ballots Application Verification
   14· ·Rules Across the United States.
   15· · · · Q.· ·Okay.
   16· · · · · · ·MR. HOLT:· And I'll state for the record,
   17· · · · this is Table 6 of defendant's expert report
   18· · · · from Dr. Kidd.· Are you able to --
   19· · · · · · ·MR. MILLER:· Broke up.
   20· · · · · · ·THE WITNESS:· You kind of broke up a
   21· · · · little.· Dr. -- what was the person?
   22· ·BY MR. HOLT:
   23· · · · Q.· ·Dr. Kidd.· Quentin Kidd.
   24· · · · A.· ·Okay.· Well, I didn't really look at that
   25· ·one closely, but I did receive a copy of it.


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   ·1· · · · Q.· ·Okay.· You did look at it, correct?
   ·2· · · · · · ·MR. MILLER:· Objection.· Mischaracterizes
   ·3· · · · the witness.
   ·4· · · · A.· ·Yeah.· I wasn't asked to respond to it.
   ·5· ·BY MR. HOLT:
   ·6· · · · Q.· ·Did you look at it?
   ·7· · · · A.· ·I looked at it briefly.
   ·8· · · · Q.· ·Okay.· Well, this is Table 6 to that
   ·9· ·report, and in looking at the category under which
   10· ·Florida is, what is that section there?
   11· · · · A.· ·Information and eligibility checked
   12· ·against voter registration records.
   13· · · · Q.· ·Okay.· And what is the one right beneath
   14· ·that?
   15· · · · A.· ·Signature verification, in addition to
   16· ·checking information and eligibility against voter
   17· ·registration card.
   18· · · · Q.· ·Okay.· And the very last one there?
   19· · · · A.· ·Voters must qualify to vote absentee with
   20· ·an acceptable excuse.
   21· · · · Q.· ·Okay.· Does Florida require an excuse to
   22· ·vote absentee, or I guess to vote by mail?
   23· · · · A.· ·But again, I mean, my question is:· I was
   24· ·not asked to respond to Professor Kidd's report, so
   25· ·I don't understand why you're asking me questions


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   ·1· ·about his report.
   ·2· · · · Q.· ·I'm just asking you a general question
   ·3· ·right now, Dr. Austin.· Does Florida require an
   ·4· ·excuse to vote by mail?
   ·5· · · · · · ·MR. MILLER:· Objection, form.
   ·6· · · · A.· ·I prefer not to talk about his report,
   ·7· ·because I was not asked to respond to it.· And I
   ·8· ·didn't read it in depth.
   ·9· ·BY MR. HOLT:
   10· · · · Q.· ·Dr. Austin, I'm not asking you about
   11· ·Dr. Kidd's report right now.
   12· · · · A.· ·Yes, you have.· You have a table from his
   13· ·report.· This is a table from his report.
   14· · · · Q.· ·You can minimize that table while I ask
   15· ·you this question, because you don't need it --
   16· · · · A.· ·I've already looked at it.
   17· · · · Q.· ·The question -- does Florida require you
   18· ·to have an excuse to request a ballot to vote by
   19· ·mail?· Again, this is not from his report so you're
   20· ·not going to find the answer on his report.
   21· · · · A.· ·So are you saying --
   22· · · · Q.· ·The question about --
   23· · · · A.· ·I don't remember if this was included in
   24· ·his report.· I thought you had said that this was a
   25· ·table from his report.


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   ·1· · · · Q.· ·Just forget that table, Dr. Austin.· I'm
   ·2· ·asking you about --
   ·3· · · · A.· ·I've already looked at it, though.
   ·4· · · · Q.· ·Okay.· I'm asking about Florida's laws
   ·5· ·generally.
   ·6· · · · A.· ·Okay.
   ·7· · · · Q.· ·Okay?· In order to request a ballot to
   ·8· ·vote by mail, does a voter have to give an excuse to
   ·9· ·the State to receive that ballot?
   10· · · · A.· ·I'll just say that I'm not really sure.
   11· · · · Q.· ·Okay.· Now, when the voting rights
   12· ·amendment was amended in 1982 to include Section 2,
   13· ·would you agree that there were very few states that
   14· ·offered any absentee voting by mail at that time in
   15· ·1982?
   16· · · · A.· ·Okay.· So --
   17· · · · · · ·MR. MILLER:· Mr. Holt, you were kind of
   18· · · · glitching again.
   19· · · · · · ·MR. HOLT:· Sorry, can you hear me?
   20· · · · · · ·MR. MILLER:· Must be my end.· Now I can,
   21· · · · yeah.
   22· ·BY MR. HOLT:
   23· · · · Q.· ·Let me ask that question one more time.
   24· · · · A.· ·Okay.
   25· · · · Q.· ·When the voting rights amendment was


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   ·1· ·amended in 1982 to include Section 2, as we know it
   ·2· ·today, would you agree, Dr. Austin, that there were
   ·3· ·very few states that offered any absentee voting by
   ·4· ·mail at that time?
   ·5· · · · A.· ·I would say that you would be correct in
   ·6· ·that.· There were very few states that allowed vote
   ·7· ·by mail.
   ·8· · · · Q.· ·And that there were no states that allowed
   ·9· ·for no-excuse mail-in ballot in 1982, correct?
   10· · · · A.· ·I would have to check my report again, but
   11· ·I don't think I put the year that that first began.
   12· · · · Q.· ·Okay.· Now, let's move on to the
   13· ·requirement of SB 90, that you need to request a
   14· ·ballot every two years.· Okay?
   15· · · · A.· ·Okay.
   16· · · · Q.· ·What is the understanding of that
   17· ·provision, Dr. Austin?
   18· · · · A.· ·My understanding is that it used to be
   19· ·that you could request a mail ballot through the
   20· ·next -- for the next four years.· And now you're
   21· ·having to make more frequent requests, because you
   22· ·now have to make a request every two years rather
   23· ·than every four years.
   24· · · · Q.· ·Okay.
   25· · · · · · ·(An interruption took place.)


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   ·1· · · · · · ·MR. HOLT:· Sorry it wasn't me.· I don't
   ·2· · · · know what that was.
   ·3· · · · · · ·MR. MILLER:· I apologize.· Unfortunately,
   ·4· · · · there's no way for me to turn off my cell phone
   ·5· · · · on my computer, so -- I wish I knew how.· But
   ·6· · · · there's no way, so...
   ·7· · · · · · ·MR. HOLT:· Do you have a Mac?
   ·8· · · · · · ·MR. MILLER:· No, it's a PC and it's --
   ·9· · · · · · ·MR. HOLT:· Okay.
   10· · · · · · ·MR. MILLER:· It's a work thing.· I don't
   11· · · · know -- I don't know how to do it.· So...
   12· · · · · · ·MR. HOLT:· You're fine.
   13· · · · · · ·MR. MILLER:· This is not the first
   14· · · · deposition I've had to deal with this.· I've
   15· · · · asked and no one seems to be able to tell me
   16· · · · how.
   17· · · · · · ·MR. HOLT:· You're fine.
   18· ·BY MR. HOLT:
   19· · · · Q.· ·So, Dr. Austin, help me understand how
   20· ·having to request an absentee -- a vote-by-mail
   21· ·ballot every two years as opposed to four years will
   22· ·disenfranchise a Black or Hispanic voter.
   23· · · · A.· ·Okay.· I think it -- again, it places a
   24· ·barrier there that was not there.· That hasn't been
   25· ·proven to be necessary, is the argument I'm making.


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   ·1· · · · Q.· ·Okay.· Again, more of a policy argument
   ·2· ·that it just wasn't necessary?
   ·3· · · · A.· ·Well, I think it's discriminatory in the
   ·4· ·sense that it wasn't necessary, and it's making it
   ·5· ·so that you have to make these requests more
   ·6· ·frequently.· And again, the emphasis is on putting a
   ·7· ·barrier there and making it difficult for Blacks and
   ·8· ·Hispanics to use something that they were using,
   ·9· ·that they have been using more frequently.
   10· · · · Q.· ·You would agree that regardless of race,
   11· ·whether white, Black, Indian, you're all -- everyone
   12· ·is going to have to request a ballot every two
   13· ·years, correct?
   14· · · · A.· ·I would say to that question, everyone --
   15· ·yes.· But it still is a discriminatory barrier.
   16· · · · Q.· ·So everyone, regardless of race, has the
   17· ·opportunity to request a ballot?
   18· · · · A.· ·Well, I think what you're -- from my
   19· ·reading of your question, what you're failing to
   20· ·acknowledge is that everyone isn't the same.                I
   21· ·mean, everyone isn't treated equally.· And that's
   22· ·not the way it has ever been in the state of Florida
   23· ·or in the United States, and so you could argue,
   24· ·then, well, everyone has to do this, everyone has to
   25· ·follow these provisions.


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   ·1· · · · · · ·And, yes, you're right.· But the problem
   ·2· ·is that, finally, when people of color are making
   ·3· ·progress in doing something that the State has
   ·4· ·encouraged them to do, now, all of a sudden, there's
   ·5· ·a problem.· And now, all of a sudden, they're --
   ·6· ·it's like they're being told one thing one year and
   ·7· ·something completely different the next.
   ·8· · · · · · ·One year, you're being told, okay, we
   ·9· ·encourage you to vote by mail because that way,
   10· ·you'll avoid all these problems.· And then people
   11· ·start doing it, and now it's as if the Legislature
   12· ·is saying, don't vote by mail, you have to give this
   13· ·information before we even give you a ballot.· You
   14· ·have to ask for these ballots more frequently than
   15· ·before.
   16· · · · · · ·And so, again, I think that's
   17· ·discriminatory in the sense that even though
   18· ·everybody has to meet this requirement, it's
   19· ·something that's being done in response to the fact
   20· ·that Black and Hispanic people took advantage of
   21· ·this, and it's a part of a continuing pattern that's
   22· ·been going on in Florida for many years.
   23· · · · · · ·And so I hope that answers your question.
   24· · · · Q.· ·It kind of does.· Let's move on to another
   25· ·question here.


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   ·1· · · · · · ·In
                  In your opinion, what burdens -- again,
   ·2· ·you've kind of already answered this -- but what
   ·3· ·burdens befall a voter having to request a ballot
   ·4· ·every two years as opposed to four years, that fall
   ·5· ·outside of the ordinary burdens of voting?
   ·6· · · · · · ·MR. MILLER:· Objection, form.
   ·7· · · · A.· ·Well, I guess I'm just giving you my
   ·8· ·opinion, and I would say just that -- I mean, it's
   ·9· ·something that you would have to do more frequently,
   10· ·and as a result, you might forget to.· And let's say
   11· ·if you really want to vote by mail or if you're a
   12· ·person who also -- is Black or Hispanic and is also
   13· ·has some type of disability and you want to vote by
   14· ·mail because it's hard for you to go to the polls
   15· ·and you have to do this more frequently, what if you
   16· ·forget?
   17· · · · · · ·Then does that mean you can't vote by
   18· ·mail?· And that might discourage you from voting at
   19· ·all.· So I would think that that's more than just an
   20· ·ordinary burden.
   21· ·BY MR. HOLT:
   22· · · · Q.· ·Any reason that a Black or Hispanic voter
   23· ·would have a higher probability of forgetting to
   24· ·fill out a vote-by-mail request, other than a white
   25· ·person, for example?


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   ·1· · · · A.· ·Well, I will say there's a high
   ·2· ·probability they'll forget, but nevertheless, we can
   ·3· ·talk about all the different things, but it still is
   ·4· ·a barrier that should not be there.· I mean, voting
   ·5· ·should be just a universal right, and there should
   ·6· ·be no barriers there.· And, I mean, when I think
   ·7· ·about the Voting Rights Act of 1965, the purpose of
   ·8· ·it was to remove any type of restrictions.· And it's
   ·9· ·been amended over the years, to make sure that the
   10· ·right to vote was -- has been protected.
   11· · · · · · ·And so we can talk about whether there are
   12· ·differences between Blacks and whites and Hispanics
   13· ·or whatever, but nevertheless, this is something
   14· ·again that has -- put in place that's going to place
   15· ·a barrier there for something that Black and
   16· ·Hispanic people have taken advantage of, and it's
   17· ·going to make it harder for them to do so.
   18· · · · · · ·And so people would argue, well, it's
   19· ·going to do that for white people too.· But if you
   20· ·look at our history, as I pointed out in the report,
   21· ·there was never any concerted effort to stop white
   22· ·people from voting.· But there has been an effort
   23· ·throughout the State's history to stop Black people
   24· ·and Hispanic people from voting.
   25· · · · · · ·So it's hard to say, well, if white


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   ·1· ·people -- if they have to do the same thing, that's
   ·2· ·not really the same, because their experience has --
   ·3· ·is not the same as that of people of color.· So I
   ·4· ·guess -- you know, even though you can argue that,
   ·5· ·well, if this affects them, too, their group has
   ·6· ·never really been the target of just purposeful
   ·7· ·discrimination.· But African Americans and Latinos
   ·8· ·have been.
   ·9· · · · Q.· ·And you believe that SB 90 is purposeful
   10· ·discrimination?
   11· · · · A.· ·I would say that it looks like it is part
   12· ·of a continuing -- of a continuance of backlash.
   13· ·And that's what I've argued throughout the report.
   14· · · · Q.· ·Okay.· Help me quantify the burden that
   15· ·Black and Hispanic voters face by having to request
   16· ·a ballot every two years to be able to vote by mail;
   17· ·how do we quantify that?· How will we determine the
   18· ·level of disenfranchisement, in your opinion?
   19· · · · A.· ·Well, I don't know how we would quantify
   20· ·or predict how many people this would impact, but I
   21· ·mean, I think -- I'd be curious to see if in the --
   22· ·if in the election, if there's a reduced number of
   23· ·people voting by mail.
   24· · · · · · ·And I would predict that there would be.
   25· ·And I think that in a state that's supposed to


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   ·1· ·value, you know, equality when it comes to voting
   ·2· ·and everything else, we don't want to see a
   ·3· ·reduction in the numbers of people voting -- of
   ·4· ·Black and Hispanic people voting by mail.· When
   ·5· ·these numbers had increased and when a substantial
   ·6· ·number of them had done so in November 2020, if by
   ·7· ·November 2020 or in the future, if those numbers are
   ·8· ·reduced, regardless of whether I can quantify it or
   ·9· ·not, that's not a good thing.
   10· · · · · · ·Because, again, you're depriving people of
   11· ·a right to do something, and you're depriving people
   12· ·of a certain right.
   13· · · · Q.· ·Is there a right to vote by mail?
   14· · · · A.· ·There's a right to a free, uninhibited
   15· ·vote regardless of how you choose to do it.
   16· · · · Q.· ·Okay.· Is the State required to provide
   17· ·you with what you feel is the best way to vote?
   18· · · · A.· ·The State is required to not place any
   19· ·barriers there to stop me from voting in the way
   20· ·that I choose to vote.
   21· · · · Q.· ·So outside of a universal vote-by-mail
   22· ·ballot that is hand-delivered to you by the
   23· ·Government and picked up by the Government with no
   24· ·cost to you, what restriction can -- or what type of
   25· ·law regarding the administration of elections can


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   ·1· ·the State provide and account for that in your
   ·2· ·opinion would not be discriminatory?· Because they
   ·3· ·all place some type of burden, do they not.
   ·4· · · · · · ·MR. MILLER:· Objection, form.
   ·5· · · · A.· ·I would say no.· They don't necessarily
   ·6· ·place the -- not the types of burdens that this law
   ·7· ·places.· And there's a difference between having
   ·8· ·just -- as you talked about, just a small -- a small
   ·9· ·burden that everybody deals with and a
   10· ·discriminatory burden.· Those two -- those are
   11· ·totally different things.
   12· ·BY MR. HOLT:
   13· · · · Q.· ·I guess I'm having a hard time
   14· ·understanding of why having to pay for a postage
   15· ·stamp or having to walk half a mile longer would not
   16· ·be discriminatory, but having to fill out a ballot
   17· ·request for every two years as opposed to four is
   18· ·discriminatory.· I just -- I'm having a hard time.
   19· · · · A.· ·Uh-huh.
   20· · · · Q.· ·Comparing -- applying your testimony here.
   21· · · · A.· ·Well --
   22· · · · · · ·MR. MILLER:· Objection to form.
   23· · · · A.· ·Because I think that the problem is that
   24· ·you're comparing a postage stamp and having to walk
   25· ·a certain distance to a polling place to not -- to


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   ·1· ·being denied a ballot.· Those two things aren't the
   ·2· ·same thing.
   ·3· · · · · · ·When you're denied access to a ballot,
   ·4· ·that's discriminatory.· And when you're having to
   ·5· ·have this barrier placed, that -- that you have to
   ·6· ·apply for this ballot every two years when you're
   ·7· ·used to applying every four years, that also is a
   ·8· ·barrier.· Because, keep in mind, some people may not
   ·9· ·even be aware of the change that's taken place.· And
   10· ·you may think that, okay, I just have to apply for
   11· ·this every four years.
   12· · · · · · ·You may not know that this law has made
   13· ·this change and as a result, you may not apply for
   14· ·the ballot in two years, and that means you can't
   15· ·vote by mail.· And what if you have, you know, the
   16· ·type of job that's such that you can't just take off
   17· ·of work?· What if you work during the hours that the
   18· ·polls are open and you can't vote during the early
   19· ·voting period or on Election Day?· So then you've
   20· ·lost your right to vote.
   21· · · · · · ·And that's discrimination.· That's not the
   22· ·same as paying for a postage stamp and having to
   23· ·walk a certain distance to the polls.
   24· ·BY MR. HOLT:
   25· · · · Q.· ·Dr. Austin, there were a lot of "ifs" in


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   ·1· ·that hypothetical that you just stated.· So in your
   ·2· ·opinion, the State is required to take all of those
   ·3· ·"ifs" into consideration and ensure that that
   ·4· ·hypothetical individual is able to vote in the
   ·5· ·manner that they feel is most convenient for them,
   ·6· ·and anything outside of that is discriminatory?
   ·7· · · · · · ·MR. MILLER:· Objection to form.
   ·8· · · · A.· ·No.· I'm saying that as -- if you're a
   ·9· ·member of the legislature, you should want people to
   10· ·vote.· If -- if for no other reason than you want
   11· ·them to vote for you.· But you should want -- if you
   12· ·are a person who has been elected to serve in an
   13· ·office, then you should want to guarantee that
   14· ·people have a right to vote as they see fit.
   15· · · · · · ·And it's hypocrisy for you to on one hand
   16· ·in the legislature say, we want you to vote by mail,
   17· ·we want you to participate and -- you know, by mail,
   18· ·and then to later say, oh, well, we're going to make
   19· ·these changes because of voting fraud that's never
   20· ·really even been proven in recent years, and even
   21· ·before.· You can argue even the things that you
   22· ·mentioned were just isolated incidents, it is
   23· ·unfortunate that they happen, but it still does not
   24· ·justify -- I don't think the legislature has
   25· ·actually justified the need for this law.


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   ·1· · · · · · ·And I think that the disadvantages
   ·2· ·outweigh the advantages.· If even one person or --
   ·3· ·you're asking me to quantify this -- but even if
   ·4· ·it's just a few people who are not voting by mail
   ·5· ·whereas they once preferred to do so, that's sort of
   ·6· ·like stepping back.· It's not going forward, it's
   ·7· ·going back.· Because we want to live in a society
   ·8· ·where we want to continue to encourage people to
   ·9· ·vote and to turn out, and to increase voting, not to
   10· ·decrease it.
   11· · · · · · ·And so that's what -- that's the problem
   12· ·that I have with the two provisions that you just
   13· ·mentioned.
   14· ·BY MR. HOLT:
   15· · · · Q.· ·Can you point to a provision of SB 90 --
   16· ·you used the term that it denies voters the ballot.
   17· ·Can you point to a provision of SB 90 that denies
   18· ·minority voters the ballot?
   19· · · · A.· ·Well, the one that you just mentioned, the
   20· ·one that requires that they provide a driver's
   21· ·license number, state ID number, or the last four
   22· ·digits of their Social Security number to request a
   23· ·vote-by-mail ballot.
   24· · · · · · ·What if someone objects to that, for
   25· ·whatever reason?· Then that person is going to be


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   ·1· ·denied a ballot.
   ·2· · · · Q.· ·That individual should have a Social
   ·3· ·Security number, he can -- individual can go to the
   ·4· ·State and get a free state-issued ID; there is no
   ·5· ·reason why he -- that individual would not be able
   ·6· ·to get one of those required forms, correct?
   ·7· · · · A.· ·But that's not the point, though.· The
   ·8· ·point isn't so much whether or not someone has these
   ·9· ·numbers or these -- the required identifications.
   10· ·The point is that if you want to vote by mail, you
   11· ·should be able to get a ballot.· And you should not
   12· ·be denied that ballot.
   13· · · · · · ·And if it's found that you are someone who
   14· ·should not be voting for whatever reason, then --
   15· ·then that will be determined at some point in the
   16· ·future.· But you should not be denied a ballot.
   17· · · · Q.· ·So if you're a state like New York which
   18· ·requires you to have an excuse to vote by mail,
   19· ·being that I am unable to go to my polling place due
   20· ·to a medical condition or some other manner that
   21· ·takes me away from my polling place on Election Day,
   22· ·and if I don't have an excuse but I want to vote by
   23· ·mail, is that discriminatory?
   24· · · · A.· ·Can you say that again.
   25· · · · · · ·MR. MILLER:· Objection to form.


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·A state like New York or Delaware, that
   ·3· ·only allows for an absentee vote by mail by -- if
   ·4· ·you have an excuse, they don't just give them to
   ·5· ·anyone who wants them, okay?· Are those states
   ·6· ·discriminating against minorities by not having a
   ·7· ·no-excuse absentee ballot?
   ·8· · · · · · ·MR. MILLER:· Objection, form.
   ·9· · · · A.· ·I'd prefer to just talk about Florida than
   10· ·to make comparisons to other states.
   11· ·BY MR. HOLT:
   12· · · · Q.· ·Well, I'm trying to understand under what
   13· ·scenario -- what type of law could Florida pass, in
   14· ·your opinion, that would not be discriminatory while
   15· ·still protecting the integrity of an election?
   16· · · · · · ·MR. MILLER:· Objection, form.
   17· ·BY MR. HOLT:
   18· · · · Q.· ·And I have yet to be able to identify that
   19· ·based on our discussion.
   20· · · · A.· ·Okay.
   21· · · · · · ·MR. MILLER:· Objection to form.
   22· · · · A.· ·Well, I guess, again, I'm not here to tell
   23· ·them how to -- what type of law they need to enact,
   24· ·but I'm just saying this -- we're just here to talk
   25· ·about this law and whether or not they should have


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   ·1· ·enacted this law.· And I argue that they shouldn't
   ·2· ·have, for the reasons that I've already mentioned.
   ·3· ·BY MR. HOLT:
   ·4· · · · Q.· ·You say you're not here to tell them what
   ·5· ·they should or shouldn't do, yet the rationale
   ·6· ·you've given is that you believe it wasn't
   ·7· ·necessary.· Aren't you telling the Legislature what
   ·8· ·you believe they should or shouldn't do by saying
   ·9· ·you don't believe it's necessary?
   10· · · · · · ·MR. MILLER:· Objection, form.
   11· · · · A.· ·I'm telling them that they shouldn't
   12· ·discriminate.
   13· ·BY MR. HOLT:
   14· · · · Q.· ·Do you have any evidence that they have?
   15· · · · A.· ·And that's the sad thing about this, is
   16· ·that we won't be able to see the impact of this law
   17· ·until the next election.· And the frightening thing
   18· ·is that it's going to have a negative impact on
   19· ·Black and Hispanic voters who are going to be
   20· ·disfranchised.
   21· · · · · · ·And that's one of the things, if you are
   22· ·someone who is in -- who has been trusted to be an
   23· ·elected official, you ought not want that to happen.
   24· ·So, I mean, we can argue, well, we really don't have
   25· ·evidence of that now, but why do we want to wait


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   ·1· ·until someone is discriminated against?· Shouldn't
   ·2· ·we get rid of this law or correct this law so that
   ·3· ·that discrimination would not occur?
   ·4· · · · Q.· ·And I would ask the reverse question:· Why
   ·5· ·should we have to wait for an instance of absentee
   ·6· ·or vote-by-mail voter fraud before a legislature can
   ·7· ·take steps to prevent it?
   ·8· · · · · · ·MR. MILLER:· Objection, form.
   ·9· · · · A.· ·Because it's not fair to -- or I think
   10· ·it's not appropriate to put a law in place, because
   11· ·you're predicting that something will happen and you
   12· ·still have yet to produce any evidence of any
   13· ·widespread fraudulent activity in recent years.
   14· ·That's just --
   15· ·BY MR. HOLT:
   16· · · · Q.· ·Let's --
   17· · · · A.· ·That's just like if you say I have a
   18· ·suspicion that this teenage boy is going to grow up
   19· ·to be a criminal, so why don't we just put him in
   20· ·jail now because we predict that based on his
   21· ·behavior, he's going to grow up to be a criminal.
   22· ·You don't do that.
   23· · · · · · ·You wait for something to happen and then
   24· ·you correct the problem.· You can't say you're
   25· ·putting a law in place to try and prevent something


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   ·1· ·from happening when you've shown no evidence that
   ·2· ·the problem even exists in the first place, at least
   ·3· ·in recent years, and on a large statewide scale.
   ·4· · · · Q.· ·Is the 2013 congressional race is not
   ·5· ·large enough and recent enough, in your opinion?
   ·6· · · · A.· ·That was 2013, it's eight years ago.
   ·7· · · · Q.· ·2012 --
   ·8· · · · A.· ·2012?
   ·9· · · · Q.· ·Uh-huh.
   10· · · · A.· ·Can you say that again?
   11· · · · Q.· ·Yeah.· The race was the 2012 race but the
   12· ·criminal convictions were in 2013.
   13· · · · A.· ·Okay.· Well, it was a 2012 race, which was
   14· ·nine years ago, and they're just now addressing it?
   15· · · · Q.· ·But the State's evidence -- you're using
   16· ·the things that happened 100 years ago, when none of
   17· ·these legislators were even alive, as evidence that
   18· ·they're somehow now being discriminatory, but you're
   19· ·saying the Legislature can't use evidence of voter
   20· ·fraud that happened eight years ago as evidence of
   21· ·voter fraud.· How does that work?
   22· · · · A.· ·Okay.· I'd be happy to explain that.
   23· · · · · · ·I'm using information from the 1800s going
   24· ·way back to discrimination to talk about the legacy
   25· ·of that.· And I didn't just talk about what happened


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   ·1· ·then and then start talking about 2020, 2021.                 I
   ·2· ·traced the history since the 1800s to modern day, to
   ·3· ·show that there was continuous pattern of
   ·4· ·discrimination that at first was more blatant and
   ·5· ·legalized, and then in later years, even after the
   ·6· ·Voting Rights Act and even after the changes to the
   ·7· ·Florida Constitution in 1968, and even after the
   ·8· ·changes that had taken place, there still is a
   ·9· ·pattern of when Black people -- when Hispanic people
   10· ·make progress, there still is this pattern of a
   11· ·legislature engaging in a way to pass a law -- and
   12· ·I'm not even saying all of these laws were
   13· ·completely negative.· Because as I pointed out, some
   14· ·of them even had positive aspects to them.
   15· · · · · · ·But nevertheless, some of these laws were
   16· ·put in place as a way to try to stop
   17· ·African Americans and Latinos from continuing to
   18· ·make progress, and this is just a long line of
   19· ·continuance of that.· So it's not like I'm just
   20· ·talking about something that happened in the 1800s
   21· ·before, of course, any of us were born, and the
   22· ·way -- and trying to say that that's the environment
   23· ·now.· It's different environment now.
   24· · · · · · ·And the difference is that it's more
   25· ·subtle now, the type of discrimination, whereas


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   ·1· ·before, people would just come out and say things
   ·2· ·like what I have in the report, like, oh, we don't
   ·3· ·want our constitution to be "N-wordized," you know,
   ·4· ·and people would say that back then.
   ·5· · · · · · ·People now, if they have any sense at
   ·6· ·least, won't say it publicly, but now it's a
   ·7· ·different type of discrimination taking place, at
   ·8· ·least that's my opinion.· And based on the things
   ·9· ·that I've read and the information that I have here,
   10· ·I think that it's purposeful discrimination.· And
   11· ·it's -- it's a long -- it's -- it's just a
   12· ·continuation of a long pattern of behavior.
   13· · · · Q.· ·Okay.· So are you able to -- I'll ask this
   14· ·question one more time -- help me understand if a --
   15· ·the state legislature of Florida wants to be able to
   16· ·identify and confirm the identity of someone voting
   17· ·by mail and requesting a ballot before they send it
   18· ·out to them, can you think of a less restrictive way
   19· ·to do that than what they have done in SB 90?
   20· · · · · · ·MR. MILLER:· Objection, form.
   21· · · · A.· ·I can think of a way of -- I don't know if
   22· ·it's less restrictive, but I can think of a way of
   23· ·doing it which is -- I think I've already answered
   24· ·this, but which is to make their -- make the
   25· ·penalties more severe for people who engage in voter


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   ·1· ·fraud.
   ·2· ·BY MR. HOLT:
   ·3· · · · Q.· ·You are aware that it already is a very
   ·4· ·severe law to violate, correct?
   ·5· · · · A.· ·I'm aware of that.· But they can make it
   ·6· ·even more severe, give people longer prison
   ·7· ·sentences and things of that nature, rather than
   ·8· ·trying to deprive people of vote-by-mail ballots.
   ·9· ·That's not the right thing to do.
   10· · · · Q.· ·So you agree that it's a valid interest,
   11· ·you would just go about it a different way; is that
   12· ·correct?
   13· · · · A.· ·I would say it's a valid interest, if you
   14· ·prove that the voter fraud was there.· And that was
   15· ·not proven here.
   16· · · · Q.· ·If the United States Supreme Court has
   17· ·said there is no requirement to establish the
   18· ·difference of fraud before you can take steps to
   19· ·prevent it --
   20· · · · A.· ·I didn't hear that.
   21· · · · Q.· ·If the United States --
   22· · · · A.· ·Can you say it again?
   23· · · · Q.· ·If the United States Supreme Court has
   24· ·said there is not a requirement to show the
   25· ·existence of voter fraud before a state can take


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   ·1· ·steps to prevent it, how would you respond to that?
   ·2· · · · · · ·MR. MILLER:· Objection, form.
   ·3· · · · A.· ·I'm sorry, can you just read it one more
   ·4· ·time?· I'm sorry.
   ·5· ·BY MR. HOLT:
   ·6· · · · Q.· ·If
                  If the United States Supreme Court, in the
   ·7· ·recent case of Brnovich v. DNC, has said that there
   ·8· ·is no requirement that a state show the existence of
   ·9· ·voter fraud before they can take steps to prevent
   10· ·voter fraud from happening, what do you say to that?
   11· · · · · · ·MR. MILLER:· Objection, form.
   12· · · · A.· ·Well, I'm saying that I know that that's
   13· ·the case out of Arizona.· And I didn't address that
   14· ·in my report, but I would say that that's -- that's
   15· ·not a conclusion I agree with.
   16· ·BY MR. HOLT:
   17· · · · Q.· ·Okay.· Now, I want to talk about drop
   18· ·boxes.
   19· · · · A.· ·Okay.
   20· · · · Q.· ·What is your understanding about what
   21· ·SB 90 does to drop boxes in Florida?
   22· · · · A.· ·It says that they can only be used during
   23· ·early voting hours, unless they're located at the
   24· ·supervisor's office, and they must be physically
   25· ·supervised.· So even that means if there's, like, a


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   ·1· ·camera or some type of video of surveillance, that's
   ·2· ·not allowed.· There has to be actually a person
   ·3· ·there to supervise them.
   ·4· · · · · · ·And then there also is a large fine if
   ·5· ·you -- if there's not a person there supervising
   ·6· ·them during voting hours.
   ·7· · · · Q.· ·How is this different than what happened
   ·8· ·in 2020 election practices?
   ·9· · · · A.· ·I didn't point that out in the report, but
   10· ·I think that -- I can tell you the problem that I
   11· ·have with it, and the reason why I think it's
   12· ·discriminatory.· But I didn't address whether -- how
   13· ·this changed -- how this differed from the way it
   14· ·was before.
   15· · · · · · ·But from --
   16· · · · Q.· ·We'll get -- Doctor, let's get to -- let's
   17· ·go back to the question that I asked here.
   18· · · · A.· ·All right.
   19· · · · Q.· ·If you don't mind.
   20· · · · A.· ·All right.
   21· · · · Q.· ·We'll get to those in just a second.
   22· · · · A.· ·Okay.
   23· · · · Q.· ·So your opinion, though, is that these
   24· ·were passed -- this provision was passed in response
   25· ·to 2020, correct?


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   ·1· · · · A.· ·Right.
   ·2· · · · Q.· ·So help me understand how SB 90's
   ·3· ·provisions pertaining to drop boxes are different.
   ·4· · · · A.· ·Okay.
   ·5· · · · Q.· ·Than 2020.
   ·6· · · · A.· ·Okay.· I hope I'm not wrong, but based on
   ·7· ·what I've read -- and keep in mind, this was a long
   ·8· ·report and had a lot of information.· I hope I'm not
   ·9· ·getting my facts blurred.
   10· · · · · · ·But my understanding is that with the drop
   11· ·boxes, that they could be left open and that they
   12· ·didn't have a set time.· They didn't have to be open
   13· ·during a certain number of hours.· And also, during
   14· ·2020, there was not a requirement that there
   15· ·physically be someone supervising the drop boxes.
   16· ·If there was -- even if there was some video
   17· ·surveillance, that was fine, but you didn't have to
   18· ·have a person that was actually standing there,
   19· ·watching the drop boxes.
   20· · · · Q.· ·Okay.· And you said in your report that
   21· ·the State's supposed interest in this was to prevent
   22· ·voter fraud, and that you disagreed with that; is
   23· ·that correct?
   24· · · · A.· ·Yes.
   25· · · · Q.· ·How -- if the State's goal was to protect


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   ·1· ·the integrity of ballots in drop boxes, how else
   ·2· ·would they be able to do that outside of the
   ·3· ·provisions of SB 90?
   ·4· · · · A.· ·Again, you're asking me how they can --
   ·5· ·they should be able to do this.· It's not my place
   ·6· ·to say how they should be able to do this.· I was
   ·7· ·just looking at what they did and explaining why I
   ·8· ·think it's discriminatory.
   ·9· · · · Q.· ·Is there a requirement that only white
   10· ·voters can use a drop box during certain hours?
   11· · · · A.· ·No.· But that's irrelevant.· The fact of
   12· ·the matter is that this is, again, going to make it
   13· ·harder for someone to drop -- to use the drop boxes
   14· ·if they're not dropping them off during these early
   15· ·voting hours.· And then also it's placing a burden
   16· ·on even the workers, because they have to be there
   17· ·to physically supervise these drop boxes, and if
   18· ·not, they're facing a large fine.
   19· · · · Q.· ·You stated earlier that you were okay
   20· ·increasing the fines and criminal penalties for
   21· ·people who violate voter integrity provisions.· Why
   22· ·do you appear not to be okay with this one?
   23· · · · A.· ·It's not the same thing.· Because you're
   24· ·talking about voter fraud.· Of course, those people
   25· ·should get a large fine, because they have committed


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   ·1· ·a crime.· But I don't call this committing a crime.
   ·2· · · · · · ·If you are someone, and you work at a
   ·3· ·place where a drop box is located, and if you -- if
   ·4· ·you for whatever reason -- what if you have an
   ·5· ·emergency?· And those of us who have children know
   ·6· ·that sometimes, you know, things happen with your
   ·7· ·children.· And what if you have to leave work and
   ·8· ·you're not able to be there.· And if no one is there
   ·9· ·to physically supervise the office and something
   10· ·happens, and someone drops off something, then
   11· ·you're facing this $25,000 fine.
   12· · · · · · ·That's the difference -- that's a big
   13· ·difference between someone who has committed voter
   14· ·fraud.
   15· · · · Q.· ·You are aware that supervises of elections
   16· ·have large staffs available to them to do this for
   17· ·them, it's not one person, correct?
   18· · · · A.· ·I understand that.
   19· · · · · · ·MR. MILLER:· Objection.
   20· · · · A.· ·But I don't care how large your staff is.
   21· ·Sometimes things happen that are beyond your
   22· ·control.
   23· ·BY MR. HOLT:
   24· · · · Q.· ·Okay.· Now, in your opinion, Dr. Austin,
   25· ·what burdens or harms are caused by this drop box


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   ·1· ·provision of SB 90?
   ·2· · · · A.· ·I would say, again, it's targeted -- it's
   ·3· ·targeting people who chose to use these drop
   ·4· ·boxes -- it's, first of all, targeting people who
   ·5· ·voted early.· And as I've shown in my report, in the
   ·6· ·two tables, and as I've mentioned, African Americans
   ·7· ·and Latinos, significant percentages of them, voted
   ·8· ·early.· And so it's making it harder for them to
   ·9· ·vote early.· And it also is making it more difficult
   10· ·for them to use these drop boxes.
   11· · · · · · ·So I would say it's discriminatory because
   12· ·of that.
   13· · · · Q.· ·How do you quantify that burden?
   14· · · · A.· ·I wouldn't quantify it.· I would just say,
   15· ·again, if there's any discriminatory barrier there,
   16· ·that's what we should be concerned with.
   17· · · · · · ·It's not even about the actual numbers,
   18· ·it's about the fact that this is something that's
   19· ·not been proven to be necessary, and that's a
   20· ·discriminatory barrier, because it's, again,
   21· ·focusing on the thing that I focused on in the
   22· ·report, African Americans and Latinos made progress
   23· ·in using drop boxes and voting by mail and voting
   24· ·during early voting periods and voting -- and yet,
   25· ·now this is being put there as a way to make it


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   ·1· ·harder for them to do those things.
   ·2· · · · · · ·So it's not about quantifying it.· It's
   ·3· ·the fact that, again, this is yet another
   ·4· ·discriminatory barrier.
   ·5· · · · Q.· ·Are you aware that Florida is only -- is
   ·6· ·one of only ten states that require the use of drop
   ·7· ·boxes in the United States?
   ·8· · · · A.· ·No, I wasn't aware of that, but it still
   ·9· ·doesn't change my opinion.· Because Florida has drop
   10· ·boxes, and if you're going to have these drop boxes,
   11· ·then you need to -- if you see that something is
   12· ·working, why do you want to change it?· I guess is
   13· ·my question.
   14· · · · Q.· ·Would you agree the Legislature has the
   15· ·ability to make that opinion -- that decision for
   16· ·themselves, of how elections are administered?
   17· · · · A.· ·They have the -- they have the right to
   18· ·make that opinion for themselves, but they need to
   19· ·think about the consequences of their decisions and
   20· ·of their legislation.· And they need to think about
   21· ·the impact of that legislation on the people that
   22· ·they represent.
   23· · · · Q.· ·Can you provide me with any evidence or
   24· ·anything you came across in your research that would
   25· ·show the legislature was acting with discriminatory


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   ·1· ·intent in passing this provision of SB 90?
   ·2· · · · A.· ·I would say that as far as any statements
   ·3· ·that were made, I don't think I refer to anything
   ·4· ·specifically in the report, but I think you can make
   ·5· ·an inference that this was designed to try to make
   ·6· ·it harder for Black and Hispanic voters to vote
   ·7· ·simply because that's what the Legislature has done
   ·8· ·for many years.
   ·9· · · · · · ·And I think also you have to think about
   10· ·in today's society, people are usually not foolish
   11· ·enough to show their prejudices openly.· So we don't
   12· ·really know what their overall intent is.· All I can
   13· ·do is make inference based on -- based on the things
   14· ·that I've read and the information that I've
   15· ·studied.
   16· · · · · · ·But as far as any statements that were
   17· ·made, I don't have evidence of that, because in
   18· ·today's society, people are not open in expressing
   19· ·their biases and prejudices as the way that they
   20· ·were years ago.
   21· · · · Q.· ·Do you think it's fair to make inferences
   22· ·of the current legislative body in Florida based on
   23· ·past legislatures to which they were not a part of?
   24· · · · A.· ·I'll say yes because --
   25· · · · Q.· ·Why is that?


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   ·1· · · · A.· ·Because of the legacy of the past
   ·2· ·legislatures and the impact of their decisions, and
   ·3· ·the fact that in the past, they have made decisions
   ·4· ·that have led to discriminatory impacts on people of
   ·5· ·color.· They have shown a discriminatory intent, and
   ·6· ·sometimes in the past, of course, it's been more
   ·7· ·open.
   ·8· · · · · · ·But I think that, nevertheless, you should
   ·9· ·judge the legislators today on the basis of what
   10· ·they do in the same way that in the past they did
   11· ·things, and in today's society, they might do things
   12· ·differently.· But if there's any evidence of a
   13· ·discriminatory intent, even though they weren't a
   14· ·part of the legislatures in the past, if there's any
   15· ·type of discrimination occurring today, they should
   16· ·be -- they should be held accountable.· And they
   17· ·should be judged on the basis of that.
   18· · · · Q.· ·Okay.· Now, in 1982, you would agree with
   19· ·the statement that very few, if any, states allowed
   20· ·for remote drop boxes to deposit ballots in,
   21· ·correct?
   22· · · · · · ·MR. MILLER:· Objection to form.
   23· · · · A.· ·I would say probably so.
   24· ·BY MR. HOLT:
   25· · · · Q.· ·Because we talked earlier about how very


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   ·1· ·few, if any, states allowed for voting by mail.
   ·2· ·That would go without saying that very few states,
   ·3· ·if any, allowed anyone to deposit those ballots in a
   ·4· ·remote drop box, correct?
   ·5· · · · A.· ·I would say -- I would say correct, but
   ·6· ·also, the fact that the drop boxes are currently
   ·7· ·there shows the progress that people -- that
   ·8· ·legislators were trying to make in trying to
   ·9· ·encourage more people to vote by giving them more
   10· ·options.· So even though of course there weren't as
   11· ·many drop boxes there, if any, in the state of
   12· ·Florida in 1982, nevertheless, the fact that they
   13· ·were put there in later years shows the intention of
   14· ·the Legislature to get people to vote by giving them
   15· ·more options and now those options are being taken
   16· ·away.
   17· · · · Q.· ·What other reasons could the Legislature
   18· ·have had to enact this drop box provision in SB 90,
   19· ·aside from discrimination, as you've already stated?
   20· · · · A.· ·I would say -- well, I mean, I'm not
   21· ·really sure.· I would think that they would -- they
   22· ·might want to remove them if they had any evidence
   23· ·of fraud.· But they -- in Florida, I don't think
   24· ·that if there is any, that it was never indicated.
   25· · · · Q.· ·What if a drop box -- someone dropped a


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   ·1· ·match into a drop box canister and destroyed all the
   ·2· ·ballots in that box; is that fair to the hundreds of
   ·3· ·ballots that were destroyed?
   ·4· · · · A.· ·But has that ever happened?· I mean,
   ·5· ·because if you use that type of logic, then you also
   ·6· ·need to remove blue mailboxes.· Because what if
   ·7· ·someone -- a lot of people use a blue mail box to
   ·8· ·mail letters and someone drops a match it in it,
   ·9· ·sets the mail on fire, is that a reason to remove
   10· ·the mailbox?
   11· · · · Q.· ·Perhaps it's a reason to monitor the
   12· ·mailboxes to ensure no one drops matches in them,
   13· ·not remove them.· Florida has not removed the drop
   14· ·boxes.
   15· · · · A.· ·Okay.
   16· · · · Q.· ·They're just monitoring them.
   17· · · · A.· ·Would you need to monitor a mailbox by
   18· ·having a person standing next to it?· Why can't you
   19· ·just have a video camera there?· Because in this
   20· ·provision, relying on remote video surveillance
   21· ·isn't allowed.· So is somebody supposed to just
   22· ·stand next to a mailbox 24 hours a day?
   23· · · · Q.· ·Would you be okay with this provision if
   24· ·it were, if it allowed for video surveillance?
   25· · · · A.· ·I'm just looking at what it says.· It says


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   ·1· ·that -- I mean that it doesn't allow remote video
   ·2· ·surveillance.· That it has to be a person physically
   ·3· ·watching these drop boxes.
   ·4· · · · Q.· ·I understand.· But if it did allow for
   ·5· ·remote video surveillance, would that still be
   ·6· ·discriminatory?
   ·7· · · · A.· ·But it doesn't, though.· I'm only talking
   ·8· ·about what the words -- what the language of the
   ·9· ·provision says.· Not necessarily if it did or if it
   10· ·didn't do this or that, I'm just looking at the
   11· ·language as it -- as it -- clearly as it is in the
   12· ·provision.
   13· · · · Q.· ·Help me understand any least
   14· ·restrictive -- less restrictive alternatives that
   15· ·the State could have enacted if it wanted to ensure
   16· ·drop boxes were secure and safe.
   17· · · · A.· ·Can you repeat that again?
   18· · · · Q.· ·Help me understand if you are aware of any
   19· ·less restrictive alternatives the State could have
   20· ·enacted if its goal was to secure and protect drop
   21· ·boxes throughout Florida.
   22· · · · A.· ·Well, I don't know of any, because I'm not
   23· ·trying to know of any.· I'm just saying -- I'm just
   24· ·looking at this provision and looking at what it
   25· ·does.


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   ·1· · · · Q.· ·Okay.· Aside from depositing a ballot in a
   ·2· ·drop box, how else can a Florida voter cast a
   ·3· ·ballot?
   ·4· · · · A.· ·Well, of course you can -- you can put it
   ·5· ·in the drop box.· You can mail it in.· You can vote
   ·6· ·at the polls.
   ·7· · · · Q.· ·You could go early, the week before the
   ·8· ·election; you could vote on Election Day, correct?
   ·9· · · · A.· ·Yeah.· And this is a law that's trying to
   10· ·make it difficult to do many of those things.
   11· · · · Q.· ·Okay.
   12· · · · · · ·MR. HOLT:· Are we needing a break here?
   13· · · · I've got two more sections to go through,
   14· · · · probably about another hour.
   15· · · · · · ·THE WITNESS:· Yeah, I need to check on my
   16· · · · kids.
   17· · · · · · ·MR. FARUQUI:· Mary, I'm just letting you
   18· · · · know, I substituted in for Mr. Chorba on behalf
   19· · · · of the OAG.
   20· · · · · · ·THE STENOGRAPHER:· Got it.
   21· · · · · · ·(Recess from 2:54 p.m. to 3:01 p.m.)
   22· ·BY MR. HOLT:
   23· · · · Q.· ·Okay.· Dr. Austin, just a few more things
   24· ·on drop boxes.
   25· · · · A.· ·Okay.


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   ·1· · · · Q.· ·You had discussed about comparing drop
   ·2· ·boxes to the blue mailboxes, remember that?
   ·3· · · · A.· ·Uh-huh.
   ·4· · · · Q.· ·Before our break?
   ·5· · · · A.· ·Okay.
   ·6· · · · Q.· ·You would you agree that the state of
   ·7· ·Florida does not monitor or establish blue United
   ·8· ·States Postal Service boxes, correct?
   ·9· · · · A.· ·I would agree that Florida doesn't.
   10· · · · Q.· ·The state of Florida is not responsible
   11· ·for the placement or monitoring of United States
   12· ·Postal Service depositories?
   13· · · · A.· ·I don't -- I really never even -- never
   14· ·really thought about it.· So...
   15· · · · Q.· ·What is the full name of the agency of the
   16· ·USPS?
   17· · · · A.· ·United States Postal Service.
   18· · · · Q.· ·So you would agree that it's the United
   19· ·States or the Federal Government that monitors and
   20· ·establishes blue mailboxes, not the state of
   21· ·Florida, correct?
   22· · · · A.· ·I really don't know who monitors them.· So
   23· ·I assume -- I don't really know.
   24· · · · Q.· ·Well, you used them as an example in
   25· ·comparing them to drop boxes.· I'm simply trying to


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   ·1· ·establish that those are very different things.
   ·2· · · · A.· ·Okay.
   ·3· · · · Q.· ·And that the State, the state of Florida,
   ·4· ·is responsible for monitoring drop boxes, the
   ·5· ·Federal Government is responsible for monitoring
   ·6· ·mail boxes; you would agree with that statement?
   ·7· · · · A.· ·I would assume.
   ·8· · · · Q.· ·Correct?
   ·9· · · · A.· ·I would assume.· I don't really know who
   10· ·monitors mailboxes.
   11· · · · Q.· ·Okay.· And then you also -- in your
   12· ·opinion, is a ballot that is deposited in a drop box
   13· ·more valuable than, let's say, a credit card
   14· ·solicitation deposited in the mailbox?
   15· · · · · · ·MR. MILLER:· Objection, form.
   16· · · · A.· ·I would say that a ballot is very
   17· ·valuable.· And I would say also that if you think
   18· ·about what's in the mailboxes, it's not just credit
   19· ·card solicitations, it's a lot of really important
   20· ·information.· But I would say, yes, ballots are very
   21· ·important.
   22· ·BY MR. HOLT:
   23· · · · Q.· ·And you would agree that the State has a
   24· ·priority to ensure that those ballots stay safe and
   25· ·secure, correct?


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   ·1· · · · A.· ·I would say yes, within reason.
   ·2· · · · Q.· ·It's in nobody's interest if, No. 1, a
   ·3· ·bucket of fraudulent ballots were dumped in a drop
   ·4· ·box, or, two, somehow a drop box was stolen or
   ·5· ·destroyed, correct?
   ·6· · · · A.· ·If that has happened, I would say that
   ·7· ·would be something that would really be very
   ·8· ·serious.
   ·9· · · · Q.· ·Do you believe it's worthwhile to pass
   10· ·measures to stop that from happening in the future,
   11· ·or to wait 'til it happens to try to then have to
   12· ·stop it?
   13· · · · A.· ·I would say it's important to make sure
   14· ·the drop boxes are supervised within reason.· And I
   15· ·just -- again, I don't see why this provision is
   16· ·really necessary, other than to make things harder
   17· ·for people to vote.· But it is -- I guess it's -- it
   18· ·is important to monitor drop boxes within reason.
   19· · · · Q.· ·What is a less restrictive means that you
   20· ·would view as nondiscriminatory to do this?
   21· · · · A.· ·Well, again, I'm not really sure because
   22· ·I'm not -- that's not my charge, to try and come up
   23· ·with that.· I think that the way --
   24· · · · Q.· ·Would you agree that --
   25· · · · A.· ·I would say that the way the drop boxes


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   ·1· ·were used before here in Florida, I don't feel that
   ·2· ·there was anything wrong with the way they were
   ·3· ·being administered before, because I didn't hear
   ·4· ·about, you know, the rumors about fraudulent ballots
   ·5· ·that were made in other places.· Even in those
   ·6· ·places, it was never really ever proven there was
   ·7· ·any widespread fraud, but I don't remember hearing
   ·8· ·about those types of things happening here in
   ·9· ·Florida.
   10· · · · · · ·All I know is that here in Florida, is
   11· ·that once -- from what I saw and from what my
   12· ·research has shown, once Black and Hispanic people
   13· ·started using these things, all of a sudden there
   14· ·was a problem.· I think just the way that these drop
   15· ·boxes and all the other things that we've talked
   16· ·about, the way that it was working before seemed to
   17· ·be working fine.· And I just don't see that there
   18· ·was a need to try to safeguard about what could
   19· ·happen in the future, because we didn't have any
   20· ·evidence that there was a problem.
   21· · · · · · ·It just seemed like as soon as
   22· ·African Americans and Latinos started taking
   23· ·advantage of these things, all of a sudden, the
   24· ·change needed to be made.· And that's just the part
   25· ·that I just don't get.


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   ·1· · · · Q.· ·Okay.· You would agree that as we
   ·2· ·discussed previously, that after most elections, the
   ·3· ·state legislature has enacted some election
   ·4· ·provisions in response to things that happened in
   ·5· ·the previous election, correct?
   ·6· · · · A.· ·Yes.· So they claimed, in response to
   ·7· ·problems.· But also because they were making changes
   ·8· ·as soon as people of color started taking advantage
   ·9· ·of something, all of a sudden it needs to be
   10· ·changed.· So to me, that seems to be the real
   11· ·motivation for the legislation that's taken place.
   12· · · · Q.· ·Okay.· Would you agree that 2020 saw a
   13· ·large increase in the use of drop boxes than
   14· ·previous years?
   15· · · · A.· ·Well, I didn't include that in my report,
   16· ·as far as whether people voted early or voted by
   17· ·mail by using drop boxes, so I really -- I can't
   18· ·tell if that's true or not.
   19· · · · Q.· ·Well, you've arrived at the opinion that
   20· ·SB 90's supposed restriction of drop boxes is
   21· ·discriminatory, so you, therefore, had to have
   22· ·understood the use it was used prior to SB 90.
   23· · · · A.· ·Uh-huh.· Well, I think it's discriminatory
   24· ·because, again, it's making it harder for people to
   25· ·vote in a way that was convenient before.· But I


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   ·1· ·didn't actually count the number -- I couldn't find
   ·2· ·any data that showed the number of people that
   ·3· ·actually used a drop box when they voted.
   ·4· · · · Q.· ·So as we discussed earlier, you're not
   ·5· ·able to quantify how this will disenfranchise any
   ·6· ·voters?
   ·7· · · · A.· ·And as I said before, it's not about
   ·8· ·whether I can quantify it, it's about the fact that
   ·9· ·these are discriminatory barriers that should not be
   10· ·there, in a state that says that it believes in --
   11· ·it doesn't believe in voter suppression, it believes
   12· ·in equality, it believes in one man, one vote,
   13· ·believes in allowing people to have as many ways as
   14· ·possible to vote, to making that process as
   15· ·convenient as possible.
   16· · · · · · ·I think that this isn't necessary, and as
   17· ·a result of them placing these barriers there, I
   18· ·think it's discriminatory.
   19· · · · Q.· ·Okay.· Let's move on to the disclaimers
   20· ·that third-party voter registration organizations
   21· ·are required to provide under SB 90.
   22· · · · A.· ·Okay.
   23· · · · Q.· ·Okay?· What is your understanding of this
   24· ·provision?
   25· · · · A.· ·Uh-huh.


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   ·1· · · · · · ·My understanding is that nonprofit
   ·2· ·organizations that are trying to register voters
   ·3· ·that have voter -- registration applications that
   ·4· ·are trying to get people to fill those applications
   ·5· ·out and to turn those applications in, that they now
   ·6· ·have -- this is mandatory, that they have to give a
   ·7· ·warning to these voters who are attempting to
   ·8· ·register, and they have to tell them that there's a
   ·9· ·chance that your application may not arrive in time
   10· ·for you to vote.
   11· · · · · · ·And then also, they have to deliver the
   12· ·completed registrations to the voter's county within
   13· ·14 days.
   14· · · · Q.· ·Explain to me how this provision
   15· ·disenfranchises voters.
   16· · · · A.· ·It disenfranchises them by -- I think it
   17· ·discourages them from filling out an application
   18· ·with these individuals.· Because if you're saying to
   19· ·people that we have to -- we may not be able to turn
   20· ·your application in on time, which means that you
   21· ·won't be registered, which means that you won't be
   22· ·able to participate in the upcoming election, that's
   23· ·going to discourage someone from giving them the
   24· ·application.
   25· · · · · · ·And so, again, that's placing a barrier


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   ·1· ·there that's going to -- we're supposed to encourage
   ·2· ·people to register to vote because that's what we
   ·3· ·want.· We want as many people as possible to vote.
   ·4· ·But this is going to mean that a person might be
   ·5· ·hesitant of filling out an application and giving it
   ·6· ·to a representative from this organization if they
   ·7· ·don't think it's going to arrive on time.
   ·8· · · · · · ·So, again, it's --
   ·9· · · · Q.· ·You are --
   10· · · · A.· ·-- discouraging them from registering to
   11· ·vote.
   12· · · · Q.· ·If you were contacted on the street by a
   13· ·third-party voter -- voter registration
   14· ·organization, wouldn't you want to know that there's
   15· ·a possibility that your ballot will not arrive
   16· ·before Election Day?
   17· · · · A.· ·Well, I think that you already would
   18· ·probably know that, but that, again, would
   19· ·discourage you from wanting to fill the application
   20· ·out with these organizations.· And these are
   21· ·organizations that really are serving a real
   22· ·important role in trying to register as many people
   23· ·as possible.· And many of them are really seeking to
   24· ·register minority voters.
   25· · · · · · ·And so it's going to mean that if it's an


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   ·1· ·organization that primarily is trying to register
   ·2· ·Black voters and Latino voters, that it's going to
   ·3· ·make it so that Black and Latino people who are
   ·4· ·willing -- who are wanting to register may not fill
   ·5· ·out their application because they'll feel that, I
   ·6· ·shouldn't waste my time with this because this
   ·7· ·person already told me it may not arrive on time,
   ·8· ·which means it probably won't arrive on time.· Which
   ·9· ·means I won't be able to vote, so why even bother.
   10· · · · · · ·And that's not something that we want to
   11· ·do, especially with young Black and Latino voters,
   12· ·potential voters.· We want to try to encourage these
   13· ·people to vote.
   14· · · · · · ·And this, again, is something that just --
   15· ·it's not necessary.· I mean, there was a significant
   16· ·number of young Black and Latino voters voting in
   17· ·the last election, and so this is something, again,
   18· ·I think was put in place because of that.· I think
   19· ·once young Black and Latino voters feel they don't
   20· ·fit the stereotype of being people that don't want
   21· ·to vote, they actually did register.· They actually
   22· ·did turn out and vote which was a good thing.
   23· ·Regardless of who they voted for, it was a good
   24· ·thing.
   25· · · · · · ·And now there's this mandatory disclaimer


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   ·1· ·warning to make it harder for these organizations to
   ·2· ·do their job which is registering people to vote.
   ·3· ·Again, I think it's discriminatory.· It's placing an
   ·4· ·unnecessary barrier there.
   ·5· · · · Q.· ·Okay.· If the State wanted to ensure that
   ·6· ·you as a voter knew what your rights were, and that
   ·7· ·there was a possibility that your ballot might not
   ·8· ·arrive on time and that you had other alternatives
   ·9· ·to request a ballot as opposed to going through the
   10· ·voter registration organization, is that not a valid
   11· ·state interest in trying to ensure a voter
   12· ·understands its rights and where they can register
   13· ·to vote?
   14· · · · A.· ·But again, is that what the legislature is
   15· ·trying to do?· Are they trying to get people to
   16· ·understand that, or are they trying to discourage
   17· ·making it harder for these organizations to register
   18· ·Black and Latino voters?
   19· · · · · · ·And I would say that, again, this fits
   20· ·into the pattern that I talked about throughout the
   21· ·entire report, of -- of people putting this there
   22· ·and making it harder for these organizations to
   23· ·register Black and Hispanic people.
   24· · · · Q.· ·Okay.· I understand that.· But my question
   25· ·was:· You would agree that that is a legitimate


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   ·1· ·state interest?
   ·2· · · · A.· ·As far as --
   ·3· · · · Q.· ·To notify voters of their rights
   ·4· ·pertaining to voter registration.
   ·5· · · · · · ·MR. MILLER:· Objection.
   ·6· ·BY MR. HOLT:
   ·7· · · · Q.· ·That is a valid state interest?
   ·8· · · · · · ·MR. MILLER:· Objection, form.
   ·9· · · · A.· ·Is it a valid state interest to make sure
   10· ·that people get this warning?· Is that what you're
   11· ·asking?
   12· ·BY MR. HOLT:
   13· · · · Q.· ·To ensure that potential voters understand
   14· ·their options and their rights as it pertains to
   15· ·voter registration.· Is that a valid state interest?
   16· · · · A.· ·Is that what this is doing, though?· Of
   17· ·course you're --
   18· · · · Q.· ·I'm not asking you what it's doing.· I'm
   19· ·asking if it's a valid state interest.
   20· · · · A.· ·Well, I'm not -- I'm talking about what
   21· ·the language says here, with this disclaimer
   22· ·warning.
   23· · · · · · ·But is it a valid state interest to inform
   24· ·people about the -- you know, the risk that they
   25· ·take when they fill out these applications, that


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   ·1· ·they may not arrive on time, is one question.· But
   ·2· ·is it a valid state interest to make it harder for
   ·3· ·nonprofit organizations to register Black and
   ·4· ·Hispanic voters?· It all depends on what the
   ·5· ·intention of the legislature was.
   ·6· · · · · · ·And if you're --
   ·7· · · · Q.· ·Do you have any --
   ·8· · · · A.· ·If it's --
   ·9· · · · Q.· ·Do you have any --
   10· · · · A.· ·If it's a case --
   11· · · · · · ·MR. MILLER:· Wait --
   12· · · · A.· ·If this is a case in which they -- the
   13· ·legislature is making it harder for these
   14· ·organizations to get people to fill out these
   15· ·applications, to register Black and Hispanic voters,
   16· ·that's not a legitimate state interest.· So it all
   17· ·just depends on what their intention is.
   18· ·BY MR. HOLT:
   19· · · · Q.· ·Do you have any evidence or indication
   20· ·outside of past legislatures as to what the intent
   21· ·of this SB 90 legislature was?
   22· · · · A.· ·I think, again, my report is arguing that
   23· ·when people who are African American and Latino take
   24· ·advantage of something that at one time was
   25· ·encouraged, all of a sudden, the rules change.· And


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   ·1· ·all of a sudden, this is something that was
   ·2· ·working -- because, you know, throughout history, we
   ·3· ·have said that we want everyone to register to vote,
   ·4· ·to participate in voting.· We talked about in
   ·5· ·Florida no-excuse voting and making all these
   ·6· ·options available so that people would have no
   ·7· ·excuse for not voting in some type of way.
   ·8· · · · · · ·We wanted organizations to be able to
   ·9· ·register people from marginalized communities, from
   10· ·African American and Latino communities, and that's
   11· ·what they did.· And it worked successfully and
   12· ·people voted.· And now we're saying, no, we want to
   13· ·change this around to make it better.· Well, why was
   14· ·there a need to make it better?· It seemed to be
   15· ·working just fine.
   16· · · · Q.· ·Okay.· And this is despite the examples
   17· ·that we discussed in Miami and Miami-Dade County in
   18· ·1993 and 1997, the congressional race in 2012, where
   19· ·there was rampant fraud associated with, No. 1,
   20· ·voter registration forms.
   21· · · · A.· ·Uh-huh.
   22· · · · Q.· ·And, two, mail ballots.
   23· · · · · · ·There is -- there is ample evidence of
   24· ·this happening multiple times.· You would agree that
   25· ·that might have been what the Legislature was trying


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   ·1· ·to do here, that there's a possibility the
   ·2· ·Legislature was trying to actually prevent that
   ·3· ·fraud from happening again?
   ·4· · · · · · ·MR. MILLER:· Objection, form.
   ·5· · · · A.· ·I don't think so.· Because, again, those
   ·6· ·are problems that happened in the past, and
   ·7· ·different laws were passed, and efforts were made to
   ·8· ·correct those problems.· And so, again, this was not
   ·9· ·necessary.
   10· · · · · · ·The provisions that I pointed out in SB 90
   11· ·are just making it more difficult for people of
   12· ·color to vote.· Placing barriers there that should
   13· ·not be there.· There's no rationale for the
   14· ·provisions I think that I've included in the report.
   15· ·BY MR. HOLT:
   16· · · · Q.· ·So the Legislature, in your opinion,
   17· ·should only be reactive as opposed to proactive in
   18· ·preventing voter fraud; is that what I'm hearing?
   19· · · · · · ·MR. MILLER:· Objection, form.
   20· · · · A.· ·I'll just say the legislature should not
   21· ·discriminate.
   22· ·BY MR. HOLT:
   23· · · · Q.· ·You and I both agree with that.· I don't
   24· ·think that's a controversial statement.· But I'm
   25· ·simply asking if you believe the legislature should


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   ·1· ·be proactive or reactive when addressing voter
   ·2· ·fraud.
   ·3· · · · · · ·MR. MILLER:· Objection, form.
   ·4· · · · A.· ·Well, I'm not saying that.· I just think
   ·5· ·that the legislature should encourage all people and
   ·6· ·remove barriers so that all people can take
   ·7· ·advantage of voting procedures that they encourage.
   ·8· ·BY MR. HOLT:
   ·9· · · · Q.· ·Okay.· I'll ask the question one more
   10· ·time.
   11· · · · · · ·Do you think a legislature, the Florida
   12· ·Legislature, should be proactive in attempting to
   13· ·prevent voter fraud, or they should only be reactive
   14· ·once fraud has taken place?
   15· · · · · · ·MR. MILLER:· Objection, form.
   16· · · · A.· ·Well, now, that's a hard question to
   17· ·answer, but I would say -- I would have to give it
   18· ·more thought.· But I would say it just makes more
   19· ·sense to be reactive when you see that there is a --
   20· ·when there is a problem there.
   21· ·BY MR. HOLT:
   22· · · · Q.· ·Okay.· Now, please help me quantify the
   23· ·burden on minority voters that comes from
   24· ·third-party voter registration organizations having
   25· ·to provide this disclaimer.· How do we quantify this


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   ·1· ·burden?
        burden?
   ·2· · · · A.· ·Well, I mean, it would be difficult -- it
   ·3· ·would be difficult to quantify.· I think you would
   ·4· ·have to ask the organizations how many people they
   ·5· ·registered and what they think the impact of this
   ·6· ·provision would be.· It would be hard for me to
   ·7· ·quantify because I'm not a part of any of these
   ·8· ·organizations.
   ·9· · · · Q.· ·Are you aware of a provision in SB 90 that
   10· ·outlines how these third-party organizations have to
   11· ·provide this disclaimer?
   12· · · · A.· ·I'm mostly just focused on the provisions
   13· ·that I -- that I found the most objectionable in the
   14· ·report because, keep in mind, you know, the SB 90
   15· ·was 48 pages, and although I read it, I focused just
   16· ·on -- on these provisions, so I really only want to
   17· ·speak to the provisions that I've included.
   18· · · · Q.· ·Okay.· I mean, only speaking about these
   19· ·third-party voter registration organizations and the
   20· ·disclaimer requirement, is there a provision in that
   21· ·part of SB 90 that outlines how the disclaimers have
   22· ·to be provided?
   23· · · · A.· ·Well, to be honest with you, I'm not
   24· ·really aware of that.
   25· · · · Q.· ·Okay.· Now, can you think of any lesser


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   ·1· ·restrictive alternatives that would accomplish the
   ·2· ·Legislature's goal here of ensuring that voters
   ·3· ·understood their rights pertaining to absentee
   ·4· ·ballots?
   ·5· · · · A.· ·I think that voters already understand
   ·6· ·their rights pertaining to absentee ballots, and
   ·7· ·that it's not necessary to have this mandatory
   ·8· ·disclaimer warning, because I think the only purpose
   ·9· ·of the warning is to -- again, to make it more
   10· ·difficult for organizations that have a proven track
   11· ·record of registering Black and Hispanic voters, to
   12· ·make it hard for them to continue to do that, so I
   13· ·don't think it was necessary for the Legislature to
   14· ·do anything.
   15· · · · Q.· ·So if a voter already understood all of
   16· ·this stuff, why would a third-party voter
   17· ·registration organization telling them that -- these
   18· ·things they already understood, discourage them from
   19· ·filling out the application?
   20· · · · A.· ·Well, because -- I guess based on what I
   21· ·even see on campus during -- before elections, when
   22· ·I see a lot of student organizations trying to
   23· ·register people to vote and get people to fill out
   24· ·voter registration applications.
   25· · · · · · ·You know, you have a huge campus of 50,000


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   ·1· ·students and you got people who are rushing to get
   ·2· ·to class and get to different places, and you're a
   ·3· ·member of these organizations and you're trying to
   ·4· ·get someone to fill out a voter registration
   ·5· ·application, and you have to speak quickly because
   ·6· ·if you don't, they'll walk right past you.· I mean,
   ·7· ·I'm assuming, because I -- you know, I didn't
   ·8· ·really -- I'm not a part of any of these
   ·9· ·organizations so I wouldn't know, but I would assume
   10· ·that.
   11· · · · · · ·So if you are getting someone to try to
   12· ·fill out an application and you have this mandatory
   13· ·disclaimer that you have to tell them about, and I'm
   14· ·assuming you probably have to read some type of
   15· ·statement, the average student, from what I see on
   16· ·campus, are going to walk right past you.· So that's
   17· ·going to be one student or one person that might
   18· ·have registered to vote that might choose not to
   19· ·because you were so busy trying to explain a
   20· ·disclaimer that they probably already are aware of,
   21· ·that you aren't able to actually get them to fill
   22· ·out the form.
   23· · · · · · ·So that's just one example of how it might
   24· ·be a barrier.
   25· · · · Q.· ·Are you aware of any provision of SB 90


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   ·1· ·that prohibits voter registration organizations from
   ·2· ·providing this disclaimers in writing as opposed to
   ·3· ·discussing it verbally?
   ·4· · · · A.· ·No, I'm not aware of it.· All I know is
   ·5· ·that --
   ·6· · · · Q.· ·Are you aware of -- sorry.· Go ahead.
   ·7· · · · A.· ·I know that it just says that there's a
   ·8· ·mandatory disclaimer warning.· But I didn't know
   ·9· ·exactly the extent of how it's supposed to be
   10· ·provided.
   11· · · · Q.· ·Is there anything that would prohibit
   12· ·these third-party organizations from having a poster
   13· ·that has the disclaimer that is behind a table where
   14· ·they're registering voters?· Are you aware of any
   15· ·provision that prohibits that?
   16· · · · A.· ·I'm not aware of a provision that
   17· ·prohibits it.· But again, that still is going to
   18· ·take time that -- so you're trying to get someone to
   19· ·fill out an application, and if you're on a campus
   20· ·or somewhere, or even if not on a campus, anywhere,
   21· ·someone is rushing to get somewhere, they're not --
   22· ·they have to stop to read the sign.· And it's,
   23· ·again, unnecessary.
   24· · · · Q.· ·Okay.· So if I'm understanding your
   25· ·opinion correctly, it's the extra time involved with


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   ·1· ·giving the disclaimer that leads to the potential
   ·2· ·disenfranchisement of someone not registering to
   ·3· ·vote?
   ·4· · · · · · ·MR. MILLER:· Objection, form.
   ·5· · · · A.· ·No, it's not the extra time, it's just the
   ·6· ·fact that these provisions aren't necessary, and
   ·7· ·they're making these -- giving -- these
   ·8· ·organizations are going to have a harder time
   ·9· ·registering people to vote.· And they've proven
   10· ·their effectiveness in registering Black and
   11· ·Hispanic voters in this last election cycle, and now
   12· ·this is something that's going to make it harder for
   13· ·them to register people.· And that's the point I'm
   14· ·trying to make.
   15· ·BY MR. HOLT:
   16· · · · Q.· ·Now, regarding the 1997 Miami mayoral
   17· ·election, you said yourself that it was these
   18· ·third-party voter registration organizations, I
   19· ·think over 50 individuals were found guilty of voter
   20· ·fraud associated with these type of absentee ballot
   21· ·requests.· You mentioned that earlier.· Do you
   22· ·remember that?
   23· · · · A.· ·I don't remember saying that it was 50
   24· ·people involved.· I remember you telling me about --
   25· ·specifically about what happened.· But I don't


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   ·1· ·remember saying that.
   ·2· · · · Q.· ·You stated that it was the third-party
   ·3· ·voter registration organizations.· You had a name
   ·4· ·for them, the Boleteros?
   ·5· · · · A.· ·Oh, yeah.
   ·6· · · · Q.· ·Something like that.
   ·7· · · · A.· ·Okay.
   ·8· · · · Q.· ·Do you remember saying that?
   ·9· · · · A.· ·I remember mentioning the Boleteros but I
   10· ·don't remember saying a number of how many of them
   11· ·there were.
   12· · · · Q.· ·So do you believe the State should monitor
   13· ·or register or govern these third-party
   14· ·organizations in any way in how they go about their
   15· ·business?
   16· · · · · · ·MR. MILLER:· Objection, form.
   17· · · · A.· ·Well, I think -- to be honest with you, I
   18· ·think these organizations already were doing an
   19· ·effective job.· And there was no need for additional
   20· ·monitoring.
   21· ·BY MR. HOLT:
   22· · · · Q.· ·Okay.· Can you think of any lesser
   23· ·restrictive alternatives that would allow the State
   24· ·to achieve their goals that they were seeking with
   25· ·this provision of SB 90.


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   ·1· · · · A.· ·So are you asking me -- you said any less
   ·2· ·restrictive goals or tactics?
   ·3· · · · Q.· ·Alternatives.
   ·4· · · · A.· ·Oh, alternatives.· Okay.
   ·5· · · · Q.· ·Uh-huh.
   ·6· · · · A.· ·Well, I would say the alternative would be
   ·7· ·to just leave things as they were, and to not have
   ·8· ·put this provision or any of these provisions there
   ·9· ·in the first place.· It seemed to be working just
   10· ·fine.
   11· · · · Q.· ·So you would agree there are no lesser
   12· ·restrictive alternatives, aside from leaving it the
   13· ·same and not changing, from what you just stated?
   14· · · · A.· ·Yes.
   15· · · · · · ·MR. MILLER:· Objection to form.
   16· · · · A.· ·I would say that.
   17· ·BY MR. HOLT:
   18· · · · Q.· ·Okay.· Now, aside from submitting a
   19· ·registration application through one of these
   20· ·third-party organizations, how else can a voter
   21· ·submit an application to vote?
   22· · · · A.· ·Besides submitting through the
   23· ·organization, how else can someone register to vote?
   24· · · · Q.· ·Yes.
   25· · · · A.· ·Submit -- okay.


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   ·1· · · · · · ·Well, there are -- you know, you can fill
   ·2· ·out -- there are other ways of doing it.· I mean,
   ·3· ·there are other ways of registering to vote.· You
   ·4· ·don't have to vote through an organization and fill
   ·5· ·out an application through an organization.· But,
   ·6· ·again, I don't think that's the point.· The point is
   ·7· ·that if these organizations are registering voters,
   ·8· ·and if they're succeeding in registering Black and
   ·9· ·Hispanic voters, then we should just leave them
   10· ·alone, unless we have some evidence that they've
   11· ·done something wrong.· And I didn't -- I just don't
   12· ·see the evidence.
   13· · · · Q.· ·Okay.· So we should wait for a problem to
   14· ·happen, again, like 1997, before taking proactive
   15· ·steps to potentially stop that?
   16· · · · A.· ·I would say we should wait until we see
   17· ·some evidence, until there's a problem.· And there
   18· ·isn't any evidence, to my knowledge.
   19· · · · Q.· ·What if the third-party voter registration
   20· ·organization doesn't timely deliver the ballots, the
   21· ·applications, to the regular -- the office they need
   22· ·to be delivered to, is that a problem?
   23· · · · A.· ·If it happens, it would be.· But has it
   24· ·happened?· And I don't think that it has.
   25· · · · Q.· ·What it has happened?· Would that change


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   ·1· ·your opinion about this?
   ·2· · · · A.· ·It might, but then again, it might not.                 I
   ·3· ·mean, I'd have to know if it has happened.
   ·4· · · · Q.· ·Let's assume that it has happened; would
   ·5· ·you feel that this would be justified?
   ·6· · · · A.· ·If it had happened, possibly on a large
   ·7· ·scale in which you had a lot of organizations that
   ·8· ·were collecting applications and just not turning
   ·9· ·them in on time.· If this was a -- a widespread
   10· ·problem on the part of a lot of organizations, then
   11· ·something like this might be necessary.
   12· · · · Q.· ·Help me understand what a large scale
   13· ·would be.· What if ten voters were unable to vote.
   14· ·Is that a large enough scale?
   15· · · · A.· ·Well, again, I don't want to quantify the
   16· ·numbers because, I mean, I think what I've said
   17· ·before, it's not how many people were disadvantaged,
   18· ·it's the fact that there's a discriminatory barrier.
   19· · · · · · ·So to answer your question, even if it's
   20· ·just ten people, that would be problematic.· But I
   21· ·don't know if that would justify a provision like
   22· ·this.· I just think there should not be
   23· ·discriminatory barriers there, that make it more
   24· ·difficult for people of color to vote.
   25· · · · Q.· ·Okay.· You said repeatedly that you


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   ·1· ·believe that if there was widespread evidence, you
   ·2· ·would feel these were justified and necessary, is
   ·3· ·the word that you used; is that correct?
   ·4· · · · A.· ·Uh-huh.· I would say yes.
   ·5· · · · Q.· ·Now -- and that's why I asked that
   ·6· ·question, of trying to understand what you mean by
   ·7· ·widespread sufficient to make it necessary.
   ·8· · · · A.· ·Uh-huh.
   ·9· · · · Q.· ·And every time I ask you that question,
   10· ·you refuse to answer it.
   11· · · · A.· ·Okay.
   12· · · · Q.· ·So how many ballot applications, in your
   13· ·mind, would have to not -- have been returned in
   14· ·order for you to view a provision that requires
   15· ·these types of notices?
   16· · · · A.· ·Okay.
   17· · · · Q.· ·To be -- to have this provision be
   18· ·necessary, in your opinion, you said maybe ten,
   19· ·maybe not.· What if we're doing it with 20 voters?
   20· · · · A.· ·Okay.
   21· · · · · · ·MR. MILLER:· Objection.
   22· ·BY MR. HOLT:
   23· · · · Q.· ·Is that enough?
   24· · · · · · ·MR. MILLER:· Objection, form.· Please
   25· · · · don't mischaracterize the witness's testimony.


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   ·1· · · · And please don't put words in her mouth.
   ·2· · · · · · ·MR. HOLT:· You can object to form.· I will
   ·3· · · · deal with that later.
   ·4· ·BY MR. HOLT:
   ·5· · · · Q.· ·So help me understand what you mean by
   ·6· ·necessary.· What would make it necessary, using your
   ·7· ·words?
   ·8· · · · A.· ·Well, I mean, to be honest with you, I
   ·9· ·can't really explain what would make it necessary.
   10· ·I just am saying in my report, that there is a long
   11· ·history of discrimination and that there have
   12· ·been -- there's been backlash.
   13· · · · · · ·And it seems that whatever -- people who
   14· ·are Black and people who are Hispanic, when they
   15· ·take advantage of something, of things that are
   16· ·encouraged, like the things that we had mentioned
   17· ·today, and when Black and Hispanic people started to
   18· ·do it, all of a sudden, oh, there's a problem, we
   19· ·need to change it, we need to change the rules.
   20· · · · · · ·But there was never any evidence that it
   21· ·wasn't working.· It was working for their benefit.
   22· ·It was working in their favor, and all of a sudden,
   23· ·now there has to be a need to change it.· And that's
   24· ·just -- that's the issue.
   25· · · · · · ·So as far as quantifying things and coming


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   ·1· ·up with alternatives and what we can do -- or rather
   ·2· ·than this, I just think that as someone who teaches
   ·3· ·courses about discrimination, to someone who's
   ·4· ·studied discrimination, I just think that it's
   ·5· ·just -- we just should not have those discriminatory
   ·6· ·barriers there, period.
   ·7· · · · Q.· ·Okay.· Do you still stand by your
   ·8· ·testimony regarding this provision and the other
   ·9· ·provisions, that if there were examples of
   10· ·widespread voter fraud on a statewide basis, that
   11· ·these provisions of SB 90 would be necessary?
   12· · · · · · ·MR. MILLER:· Objection, form.
   13· · · · A.· ·I think that's what some people believe.
   14· ·I think that when they look at SB 90, it's not
   15· ·necessary, simply because we've heard so many
   16· ·allegations of voter fraud in the 2020 election, but
   17· ·we didn't hear those allegations here.
   18· · · · · · ·So that's why SB 90 is viewed with
   19· ·somewhat suspicion, because even though it said
   20· ·there was voter fraud in Georgia and other places,
   21· ·we didn't have those allegations here.· Our state
   22· ·was the state that was sort of the model for other
   23· ·states as to how an election should be run.· And
   24· ·now, this has been put in place, and it's viewed
   25· ·with suspicion and rightfully so.


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·Okay.· Do you understand what I mean by --
   ·3· ·when I use the term line warming as it pertains to
   ·4· ·SB 90?
   ·5· · · · A.· ·No.
   ·6· · · · Q.· ·You mention the rules surrounding the
   ·7· ·150-foot voter solicitation zone.
   ·8· · · · A.· ·Okay.
   ·9· · · · Q.· ·Do you see that part in your report?
   10· · · · A.· ·Okay.· Right.
   11· · · · Q.· ·It's commonly referred to as line warming.
   12· · · · A.· ·Okay.
   13· · · · Q.· ·What is your understanding of the voter
   14· ·solicitation provision of SB 90?
   15· · · · A.· ·Okay.· Well, one of the things I want to
   16· ·point out is that whenever -- you know, as someone
   17· ·who has written several books and written articles,
   18· ·no matter how much you proofread something, you're
   19· ·always going to overlook something.
   20· · · · · · ·And so in this provision, this last part
   21· ·on page 63, in that last bullet point, the third
   22· ·one, where it says "and it extends the
   23· ·no-solicitation zone to the 150 feet around drop
   24· ·boxes" shouldn't have been there, that that was a
   25· ·mistake.· So I realized it after we had already


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   ·1· ·finished it, after I had already finished it.
   ·2· ·But -- so that part should not be there.
   ·3· · · · · · ·So the way that I understand it is that it
   ·4· ·defines solicitation -- yeah, defines solicitation
   ·5· ·in the way that I have here, engaging in any
   ·6· ·activity with the intent to influence or the effect
   ·7· ·of influencing a voter.
   ·8· · · · Q.· ·I appreciate you pointing that out
   ·9· ·regarding drop boxes.· So it is not your opinion
   10· ·that this no-solicitation zone applied to drop
   11· ·boxes, correct?
   12· · · · A.· ·Right.· I shouldn't have put that there.
   13· ·It did -- it had the definition of solicitation,
   14· ·so...
   15· · · · Q.· ·Okay.· So how was this provision in SB 90
   16· ·different from how it applied to the 2020 election?
   17· · · · A.· ·Well, I think that with solicitation,
   18· ·there have always been rules prohibiting people from
   19· ·trying to influence voters at polling places or
   20· ·trying to influence voters.
   21· · · · · · ·But I think that the problem is with the
   22· ·way we interpret solicitation, is that in some cases
   23· ·people who are campaign workers are there, and
   24· ·they're not soliciting voters.· I mean, if you go to
   25· ·any polling place during early voting or on


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   ·1· ·Election Day, you're going to see people standing
   ·2· ·with signs and you're going to see people there
   ·3· ·with -- supporting their candidate, and that type of
   ·4· ·thing trying -- but I think with this, it's trying
   ·5· ·to lead to the impression that some of these
   ·6· ·campaign workers and organizations are doing
   ·7· ·something that's inappropriate as far as trying to
   ·8· ·encourage people to vote in a certain way.
   ·9· · · · · · ·But that's not -- I don't think that's
   10· ·really what they're doing.· In many cases, they're
   11· ·not trying to influence voters on Election Day.                   I
   12· ·think -- and so, really, as far as this definition
   13· ·of solicitation, again, I don't think it was
   14· ·necessary.· Because I don't think that anything
   15· ·inappropriate was going on.
   16· · · · Q.· ·Do you believe that campaigns and
   17· ·organizations should be able to solicit votes within
   18· ·150 feet of a ballot box?
   19· · · · A.· ·Well, I mean, how -- I mean, I don't know
   20· ·exactly how far 150 feet is, offhand, so... I don't
   21· ·know how far a distance that is.
   22· · · · Q.· ·And the joke is I'm a lawyer, not a
   23· ·mathematician, so 150 feet is 150 feet.· So my
   24· ·calculation here would be, you know, there's three
   25· ·feet in a yard.· So football field, you know, as you


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   ·1· ·look at that calculation there, so 150 divided by 3
   ·2· ·would be approximately 50 yards.· So half a football
   ·3· ·field.
   ·4· · · · A.· ·Okay.
   ·5· · · · Q.· ·Do you agree with that math?· I just kind
   ·6· ·of did it on the fly.· Approximately half a football
   ·7· ·field?
   ·8· · · · A.· ·Yeah.· Okay.
   ·9· · · · Q.· ·Do you believe that campaigns should be
   10· ·able to approach people in line and solicit their
   11· ·votes within half a football field?
   12· · · · A.· ·I don't think they should be able to
   13· ·solicit people.· But again, I don't think that that
   14· ·was something that was happening.
   15· · · · · · ·I mean, I guess, again, produce the
   16· ·evidence that this was something that was actually
   17· ·happening.· I mean, I don't think that campaign
   18· ·workers were going up to people as they're standing
   19· ·in line to vote and talking to them.· Because we
   20· ·know that that's not appropriate.
   21· · · · · · ·So, again, I don't see that this
   22· ·definition was necessary.· Because it's not telling
   23· ·people something they don't already know.· You know
   24· ·that you can't go to someone who's standing in line
   25· ·to vote to try to tell them how to vote.· So this


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   ·1· ·was not necessary.
   ·2· · · · Q.· ·So if you believe -- you know, outside of
   ·3· ·your objection regarding the necessity of the
   ·4· ·provision, if you believe that this type of behavior
   ·5· ·should be prohibited, how will it discriminate
   ·6· ·voters from voting by prohibiting behavior that you
   ·7· ·believe should be prohibited, if that makes sense?
   ·8· · · · · · ·MR. MILLER:· Objection.
   ·9· · · · A.· ·Well, I think that -- well, I mean, I
   10· ·think just with this provision, just combined with
   11· ·the others, that there just was not shown to be a
   12· ·need for this one, just like there was not a need
   13· ·for any of the others.
   14· ·BY MR. HOLT:
   15· · · · Q.· ·So if I understand what you're saying
   16· ·correctly, and correct me if I don't, you don't --
   17· ·your qualms with the line warming provision, no
   18· ·solicitation provision, is not with the requirement
   19· ·that someone cannot solicit, it's with the implicit
   20· ·guilt that parties were soliciting and the need it
   21· ·or it?
   22· · · · A.· ·Uh-huh.
   23· · · · Q.· ·And you feel that that was incorrect.
   24· ·That there's some finger-pointing going on.· Is that
   25· ·what your problem is?


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   ·1· · · · A.· ·Right.· I think that that was something
   ·2· ·that just wasn't necessary.· It wasn't necessary to
   ·3· ·define solicitation.· Because people already know
   ·4· ·about what you -- you can and can't do, when someone
   ·5· ·is waiting to vote.
   ·6· · · · Q.· ·Okay.· Now, again, so help me understand,
   ·7· ·just for purposes of this analysis and your opinion
   ·8· ·here, do you believe there is any burden on a voter
   ·9· ·by this provision of SB 90?
   10· · · · A.· ·Well, I think that -- well, I think it's a
   11· ·broad definition.· Because if you're someone and
   12· ·you're trying to get someone to vote, I think the
   13· ·way it's worded, where it says that you can't engage
   14· ·in any activity with the intent or effect of
   15· ·influencing a voter, I think I have a problem with
   16· ·the language.
   17· · · · Q.· ·What problem do you have with the
   18· ·language?
   19· · · · A.· ·Well, the problem I have is that the
   20· ·language is so broad, that, what if you are not
   21· ·trying to tell someone how to vote, if you're just
   22· ·saying to them to vote.
   23· · · · · · ·I think some people could even encourage
   24· ·this language in this definition as saying that you
   25· ·can't tell people go vote.· And I don't see anything


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   ·1· ·wrong with that.· I think if you're telling people
   ·2· ·"vote for my candidate," that's different than just
   ·3· ·saying to someone "go and vote."· So I think the
   ·4· ·language is too broad and it can be interpreted in
   ·5· ·such a way that someone could be punished for just
   ·6· ·telling someone to vote.
   ·7· · · · Q.· ·Do you believe someone from a campaign
   ·8· ·should be able to go up to someone in line within
   ·9· ·150 feet of a polling location and tell them to go
   10· ·vote?
   11· · · · A.· ·Well, keep in mind that, you know, as far
   12· ·as this part about the 150 feet, that that was
   13· ·something that I admitted that I shouldn't have put
   14· ·in there.
   15· · · · Q.· ·Well, the 150 feet is there in regards to
   16· ·polling locations.
   17· · · · A.· ·Okay.
   18· · · · Q.· ·It doesn't apply to drop boxes.
   19· · · · A.· ·Okay.
   20· · · · Q.· ·Well, I think it does, but the 150 feet is
   21· ·there where there is not a uniform universal
   22· ·prohibition on campaigning, it's a universal -- it's
   23· ·a prohibition on soliciting votes within 150 feet of
   24· ·a voting location.
   25· · · · A.· ·Uh-huh.


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   ·1· · · · Q.· ·Do you understand that?
   ·2· · · · A.· ·Well, I mean, if it's 150 feet, and if
   ·3· ·that's about half the size of a football field, I
   ·4· ·would think that that's not too close.· I mean, that
   ·5· ·seems to be quite a distance away.
   ·6· · · · Q.· ·Okay.· So do you believe there is a burden
   ·7· ·placed on a voter by someone not being able to
   ·8· ·solicit their vote within 150 feet of the polling
   ·9· ·location?
   10· · · · · · ·MR. MILLER:· Objection to form.
   11· · · · A.· ·Well, I really don't know.· I guess I'd
   12· ·have to give that one more thought.
   13· ·BY MR. HOLT:
   14· · · · Q.· ·So it probably goes without saying that
   15· ·you wouldn't be able to quantify what that burden
   16· ·is, correct?
   17· · · · A.· ·No.
   18· · · · Q.· ·Okay.· And can you -- if the State's goal
   19· ·is to stop this type of behavior from happening, can
   20· ·you think of any lesser restrictive ways that the
   21· ·State could have done that?
   22· · · · A.· ·You mean just in respect to this
   23· ·provision?
   24· · · · Q.· ·Yeah, regarding the 150 feet
   25· ·no-solicitation zone.· Is there a less restrictive


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   ·1· ·way the State could have done that?
   ·2· · · · A.· ·I would say the State could have just left
   ·3· ·things as they were before.
   ·4· · · · Q.· ·Okay.· So if I understand that correctly,
   ·5· ·if the State was wanting to make some adjustments
   ·6· ·and further enhance the protections of voters in
   ·7· ·line, you're saying that there is no less
   ·8· ·restrictive means to do that, aside from just
   ·9· ·leaving it as it was?
   10· · · · A.· ·I think that the State -- I don't think
   11· ·that was the goal of the State, was just to enhance
   12· ·the voters' right to not be solicited, I just think
   13· ·that this was just something that the Legislature
   14· ·included this provision and included this broad
   15· ·definition of solicitation simply because it was
   16· ·trying to, again, discourage organizations from
   17· ·mobilizing people and encouraging people to vote.
   18· · · · Q.· ·But you said yourself just a few minutes
   19· ·ago that you didn't believe that people should be
   20· ·approached by organizations and campaigns while
   21· ·they're in line to vote.
   22· · · · · · ·MR. MILLER:· Objection.
   23· ·BY MR. HOLT:
   24· · · · Q.· ·Correct?
   25· · · · · · ·MR. MILLER:· Objection, form.


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   ·1· · · · A.· ·I think I was saying that people should
   ·2· ·not be approached about the candidate.· But the way
   ·3· ·that this language is -- that -- the broadness of
   ·4· ·the language is saying that a campaign worker can't
   ·5· ·even tell you to vote.· And if that would be the
   ·6· ·case, then I would have a problem with it.
   ·7· · · · · · ·Because if you're saying, okay, vote for
   ·8· ·my candidate for this position, that's one thing.
   ·9· ·But if you're saying, okay, go ahead and vote, I
   10· ·can't see what's wrong with that.
   11· · · · · · ·MR. HOLT:· Okay.· I think that's all that
   12· · · · I have.· Does anyone else have any questions
   13· · · · for Dr. Austin?
   14· · · · · · ·MR. MILLER:· I have some redirect if no
   15· · · · one else has any questions.· Does anyone else
   16· · · · have any -- any other defendants have any
   17· · · · questions for Dr. Austin?· Speak now or forever
   18· · · · hold your peace.· All right.· I will take the
   19· · · · witness, then.
   20· · · · · · ·Go off the record for a couple of minutes
   21· · · · so that I can get my notes in order and make
   22· · · · this go a little quicker.· Is that okay,
   23· · · · Mr. Holt?
   24· · · · · · ·MR. HOLT:· Yeah, that's fine with me.
   25


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   ·1· · · · · · · · · · CROSS-EXAMINATION
   ·2· ·BY MR. MILLER:
   ·3· · · · Q.· ·Okay.· So, Dr. Austin, earlier in your
   ·4· ·deposition, Mr. Holt asked you some questions about
   ·5· ·the table from the ACLU report that you had
   ·6· ·reproduced on page 53 of your report.
   ·7· · · · A.· ·Okay.
   ·8· · · · Q.· ·Do you remember that?
   ·9· · · · A.· ·Uh-huh.
   10· · · · Q.· ·And that was in paragraph 85 of your
   11· ·report.· Do you see that?
   12· · · · A.· ·Okay.· Yeah, I have it.
   13· · · · Q.· ·You have your report there, right?
   14· · · · A.· ·Right.
   15· · · · Q.· ·Okay.· So in paragraph 85 of your report,
   16· ·when you're talking about this table, you note that
   17· ·this litigation took place in the context of
   18· ·significant racial disparities and signature
   19· ·matching rejections as Black and Hispanic voters had
   20· ·considerably higher ballot rejections than did white
   21· ·voters as the following data from the 2018 election
   22· ·in Florida demonstrates.
   23· · · · · · ·Do you see that?
   24· · · · A.· ·Okay.· I see it.
   25· · · · Q.· ·So when you were -- in your report, is it


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   ·1· ·fair to say that you inserted this table in there to
   ·2· ·talk about -- to provide some context about the
   ·3· ·litigation that you had been discussing a few
   ·4· ·paragraphs earlier; is that right?
   ·5· · · · A.· ·Right.
   ·6· · · · Q.· ·Right.
   ·7· · · · · · ·So if we go to paragraph 81, for example,
   ·8· ·in your report.
   ·9· · · · A.· ·Okay.
   10· · · · Q.· ·And here, you're talking about a lawsuit
   11· ·called Democratic Executive Committee of Florida vs.
   12· ·Detzner, do you see that?
   13· · · · A.· ·Okay.· I see it.
   14· · · · Q.· ·And if you continue through your report,
   15· ·I'm not going to read your report into the record,
   16· ·but you're talking about a litigation that was
   17· ·brought against the then Secretary of State
   18· ·regarding its signature matching practices, right?
   19· · · · A.· ·Right.
   20· · · · Q.· ·And in -- you have some of the quotes from
   21· ·the district court's opinion, do you see that?
   22· · · · A.· ·Uh-huh.
   23· · · · Q.· ·And in that case, the Court found that
   24· ·there were some legal issues with the manner in
   25· ·which Florida had been handling signature matching,


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   ·1· ·right?
   ·2· · · · A.· ·Right.
   ·3· · · · Q.· ·Right?
   ·4· · · · · · ·And so when Mr. Holt was asking you
   ·5· ·earlier today about your use of 2018 data as applied
   ·6· ·to 2020, the reality is, is that you were using the
   ·7· ·2018 data to put context around litigation that the
   ·8· ·State lost regarding some of its voting practices;
   ·9· ·isn't that right?
   10· · · · A.· ·Right.
   11· · · · Q.· ·Thank you.
   12· · · · · · ·Now I want to ask you about some of that
   13· ·data.
   14· · · · A.· ·Okay.
   15· · · · · · ·MR. MILLER:· And I've put in the chat a
   16· · · · document which is the document where this table
   17· · · · came from.· It should be Tab 1 and it's --
   18· · · · unfortunately it's got lots of color in it so
   19· · · · it's a large file but I'd like to have everyone
   20· · · · download that and I guess we can mark it as
   21· · · · Exhibit 3.
   22· · · · · · ·THE WITNESS:· I see 2.
   23· · · · · · ·(Marked for Identification is Exhibit 3.)
   24· ·BY MR. MILLER:
   25· · · · Q.· ·So why don't you turn to page 20 of the


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   ·1· ·PDF.· And this is the page that you found the table
   ·2· ·that you inserted in into your report, right?
   ·3· · · · A.· ·Right.
   ·4· · · · Q.· ·If you go -- and I don't want you to take
   ·5· ·my word for it, but if you go several -- two pages
   ·6· ·before that.
   ·7· · · · A.· ·Uh-huh.
   ·8· · · · Q.· ·There's a heading that says Analysis of
   ·9· ·Vote-By-Mail Ballots in the 2018 General Election.
   10· ·Do you see that?
   11· · · · A.· ·Okay.· I do.
   12· · · · Q.· ·So the table that you reproduced in your
   13· ·report, from page 20 of the ACLU report, is part of
   14· ·Dr. Smith's and Ms. Baringer's portion of this
   15· ·paper, correct.
   16· · · · A.· ·It is.
   17· · · · Q.· ·So if Mr. Holt or any of his colleagues
   18· ·wanted to better understand the data that's in this
   19· ·table, they could have asked Dr. Smith, who is also
   20· ·an expert in this case, right?
   21· · · · A.· ·Right.
   22· · · · Q.· ·Right.
   23· · · · · · ·So later on in the report, I think we see
   24· ·the full paper where this data is excised from.
   25· · · · A.· ·Okay.


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   ·1· · · · Q.· ·And it's on page 49.
   ·2· · · · A.· ·Okay.
   ·3· · · · Q.· ·I believe it's page 49.· I will confirm
   ·4· ·that, though.· Yes, page 49 of the PDF file.
   ·5· · · · · · ·Do you see that?
   ·6· · · · A.· ·Right.· I see it.
   ·7· · · · Q.· ·Same authors.
   ·8· · · · A.· ·Right.
   ·9· · · · Q.· ·And if you go to -- two pages into this
   10· ·report, think it's two pages in, it's on page 52 of
   11· ·the report.
   12· · · · A.· ·Okay.
   13· · · · Q.· ·If you go to the first -- the second full
   14· ·paragraph where the data that's -- you know, the
   15· ·basis for the table that you put into your report
   16· ·from the ACLU.
   17· · · · A.· ·Uh-huh.
   18· · · · Q.· ·Dr. Smith and his colleague state in this
   19· ·report "Drawing on data from publicly available
   20· ·files, we document the rejection rates of VBM
   21· ·ballots in the 2018 general election as well as the
   22· ·cure rates across counties."
   23· · · · · · ·Do you see that?
   24· · · · A.· ·I see it.
   25· · · · Q.· ·If Mr. Holt or his colleagues wanted to


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   ·1· ·better understand what his publicly available data
   ·2· ·was, they could have asked Mr. Smith; is that right?
   ·3· · · · A.· ·Yes, they could have.
   ·4· · · · Q.· ·Now, let's go back to the table in your
   ·5· ·report.
   ·6· · · · A.· ·Okay.
   ·7· · · · Q.· ·And again, it's on page 53 of your report.
   ·8· · · · A.· ·Okay.· I see it.
   ·9· · · · Q.· ·And Mr. Holt was asking you about census
   10· ·data versus other kinds of data when he was
   11· ·questioning you earlier today.
   12· · · · · · ·Does the United States Census Bureau
   13· ·collect data regarding rejected -- let me start
   14· ·again.
   15· · · · · · ·Does the United States Census Bureau
   16· ·collect data regarding rejection of mail ballots in
   17· ·various counties in Florida?
   18· · · · A.· ·No, not that I know of.
   19· · · · Q.· ·And -- but it's true that the -- that --
   20· ·well, let me ask you this.
   21· · · · · · ·And Mr. Holt was asking you a whole series
   22· ·of questions earlier today about how on census
   23· ·forms, folks filling out their census form, you
   24· ·know, every ten years, they can check a race, one in
   25· ·which you could be Black, and you can also check an


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   ·1· ·ethnicity which might be some form of -- of Latino
   ·2· ·or other, right?
   ·3· · · · A.· ·Right.
   ·4· · · · Q.· ·Okay.· Is that the way the -- let me --
   ·5· ·I'm going to put another document into the chat.                  I
   ·6· ·figured it out once.
   ·7· · · · · · ·MR. MILLER:· So I put a new file into the
   ·8· · · · chat.· It's labeled as Tab 2.
   ·9· · · · · · ·THE WITNESS:· Okay.
   10· · · · · · ·MR. MILLER:· And I'd like to have this
   11· · · · marked as Exhibit 4 in this deposition.
   12· · · · · · ·(Marked for Identification is Exhibit 4.)
   13· ·BY MR. MILLER:
   14· · · · Q.· ·Let me know when you've had a chance to
   15· ·pull that.
   16· · · · A.· ·I see it.
   17· · · · Q.· ·So a Florida voter registration form, what
   18· ·happens to be -- if you look on the top left hand
   19· ·corner it says effective 2013.· Do you see that?
   20· · · · A.· ·Uh-huh.· I see it.
   21· · · · Q.· ·We pulled this from the Florida Secretary
   22· ·of State's website.
   23· · · · · · ·And if you go down to the actual form that
   24· ·voters fill out, towards the bottom, voters who are
   25· ·filling out -- when registering to vote in Florida,


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   ·1· ·in the middle there, it says "race, ethnicity, check
   ·2· ·only one."
   ·3· · · · · · ·Do you see that?
   ·4· · · · A.· ·I see it.
   ·5· · · · Q.· ·And one of the choices is "Black, not of
   ·6· ·Hispanic origin"; do you see that?
   ·7· · · · A.· ·I see it.
   ·8· · · · Q.· ·And one of the choices is "Hispanic."· Do
   ·9· ·you see that?
   10· · · · A.· ·Yes.
   11· · · · Q.· ·Another one is "white not of Hispanic
   12· ·origin"; do you see that?
   13· · · · A.· ·Yes.
   14· · · · Q.· ·Is a person who's registering to vote in
   15· ·the state of Florida allowed to check both the
   16· ·"Black" and "Hispanic" boxes here?
   17· · · · A.· ·No, you can only check one.
   18· · · · Q.· ·So Dr. Smith's data that you reproduced in
   19· ·your report on page 53, that separates out Hispanic
   20· ·voters and Black voters.· It's extremely likely, is
   21· ·it not, that there's been no overlap between the
   22· ·Black voter data and the Hispanic voters?
   23· · · · · · ·MR. HOLT:· Objection to form.
   24· · · · · · ·MR. MILLER:· Let me -- I'm going to start
   25· · · · again.


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   ·1· ·BY MR. MILLER:
   ·2· · · · Q.· ·In the table that you produced on page 53
   ·3· ·of your report, that calls out vote-by-mail
   ·4· ·rejection rates for Black, Hispanic, and white
   ·5· ·voters.
   ·6· · · · A.· ·Uh-huh.
   ·7· · · · Q.· ·Right?· There can't really be any overlap
   ·8· ·between the persons who had their ballots rejected,
   ·9· ·right, because the person who filled out their voter
   10· ·registration form was only able to check one box,
   11· ·right?
   12· · · · A.· ·Right.
   13· · · · Q.· ·So Mr. Holt's discussion this morning
   14· ·talking about -- well, let me ask you this.· And I
   15· ·think you alluded to this in your testimony earlier.
   16· · · · · · ·But -- so Mr. Holt's questioning earlier
   17· ·today regarding mixing and matching of data, for
   18· ·lack of a better word, what do you have to say about
   19· ·that?
   20· · · · A.· ·I think that it didn't happen because, as
   21· ·you just pointed out on the census form, you can't
   22· ·check both Black and Hispanic.· You're considered to
   23· ·be one or the other.· And so the possibility of
   24· ·overlap is -- it's just not -- it doesn't -- it
   25· ·probably just does not happen.


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   ·1· · · · · · ·MR. MILLER:· I have no further questions.
   ·2· · · · · · ·MR. HOLT:· I just have some brief I guess
   ·3· · · · cross, just to finish up a few of those things
   ·4· · · · that were just asked.
   ·5· · · · · · · · · ·REDIRECT EXAMINATION
   ·6· ·BY MR. HOLT:
   ·7· · · · Q.· ·On page 50 of your report regarding the
   ·8· ·Detzner case, where Mr. Miller just referenced that
   ·9· ·the case involved signature matching, correct?
   10· · · · A.· ·Right.
   11· · · · Q.· ·Could you read -- actually, I'll just --
   12· ·how did the Court view signature matching in that
   13· ·case?
   14· · · · A.· ·Do you mean what was the ruling?
   15· · · · Q.· ·Yeah.· You would agree that the Court
   16· ·struck down Florida's practice of signature
   17· ·matching, correct?
   18· · · · A.· ·Right.
   19· · · · Q.· ·Yet, earlier, when we were discussing the
   20· ·requirements of SB 90 to require some type of
   21· ·identifying information, your testimony was, and I'm
   22· ·paraphrasing, why do we need that information when
   23· ·you can just verify signatures, correct?· Do you
   24· ·remember saying that?
   25· · · · A.· ·I do, something to that effect.


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   ·1· · · · Q.· ·So do you believe -- you cite this case to
   ·2· ·support your proposition, but yet, you say that you
   ·3· ·would rather have signature matching, which the
   ·4· ·Court has said is unreliable and questionable.
   ·5· · · · · · ·Do you still stand by your earlier
   ·6· ·statement, that you would rather have signature
   ·7· ·matching confirming identity than personal
   ·8· ·identifiers, such as driver's license, last four
   ·9· ·digits of Social Security number, or Florida state
   10· ·identification card?
   11· · · · · · ·MR. MILLER:· Objection to form.
   12· · · · A.· ·Yes, I still do stand by my statement,
   13· ·that signature -- despite the ruling here, signature
   14· ·matching, nevertheless, I think, is a good way to
   15· ·identify someone.· And despite the problems that
   16· ·were identified in this case.
   17· · · · · · ·And the reason is because there -- as I
   18· ·pointed out in my testimony today, there always is
   19· ·evidence of some type of fraudulent activity, but in
   20· ·this case, when it was found there was a problem
   21· ·with the signatures, that problem was discovered and
   22· ·was corrected.· And so if by chance there is a
   23· ·problem in the future, that problem would also be
   24· ·identified and corrected.
   25


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·Okay.· Thank you.
   ·3· · · · · · ·Now, just with the voter registration form
   ·4· ·that was just provided -- I think it was marked as
   ·5· ·Exhibit 4; is that correct?
   ·6· · · · A.· ·Are you asking me?
   ·7· · · · · · ·MR. HOLT:· No, Mary, was that correct?
   ·8· · · · · · ·THE STENOGRAPHER:· Yes.
   ·9· ·BY MR. HOLT:
   10· · · · Q.· ·You're aware that this -- Dr. Austin, you
   11· ·had made a reference that you could only check one
   12· ·box on the census form; you're aware this is a voter
   13· ·registration form, correct?
   14· · · · A.· ·So are we talking about the Tab 2?
   15· · · · Q.· ·Yes.
   16· · · · A.· ·Okay.· Can you say your question again?
   17· · · · Q.· ·You had answered that you can only check
   18· ·one box on a census form.
   19· · · · A.· ·Uh-huh.
   20· · · · Q.· ·You're aware that Tab 2, what's marked as
   21· ·Exhibit 4, is not a census form.· This is a Florida
   22· ·voter registration form, which is different than a
   23· ·census form, correct?
   24· · · · · · ·MR. MILLER:· Objection, form.
   25· · · · A.· ·I would say yes.· But in looking at the


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   ·1· ·table that's on page 53, that's from Dan Smith, his
   ·2· ·ACLU report from 2020, that -- and from what I can
   ·3· ·remember from that report, it classified people by
   ·4· ·race on the basis of what they checked on their
   ·5· ·voter registration form.
   ·6· · · · · · ·And so I think the point that I was making
   ·7· ·is that you can only check one box on this form, so
   ·8· ·the possibility of a person who is Black and
   ·9· ·Hispanic having an overlap is -- it didn't happen.
   10· ·Very unlikely that it did.
   11· ·BY MR. HOLT:
   12· · · · Q.· ·I believe your earlier testimony to me was
   13· ·you did not know how Dr. Smith classified race,
   14· ·where he got his data from.· That's what you had
   15· ·told me?
   16· · · · · · ·MR. MILLER:· Yeah, if you're going to --
   17· · · · you're going to have to pull the testimony up.
   18· · · · That's not fair.· Objection, form.
   19· · · · A.· ·Yeah, I would rather pull the testimony up
   20· ·and...
   21· · · · · · ·MR. HOLT:· Okay.· Mary, are you able to
   22· · · · pull that testimony up regarding Dr. Smith's
   23· · · · ACLU report, when I asked her where he got --
   24· · · · if she knew where he got his data from?
   25· · · · · · ·(Discussion off the record.)


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   ·1· ·BY MR. HOLT:
   ·2· · · · Q.· ·Now, just real quick, Dr. Austin, you had
   ·3· ·said that the primary source of race data in America
   ·4· ·is the United States Census, correct?
   ·5· · · · A.· ·I believe so.
   ·6· · · · Q.· ·And that's primarily the data that you
   ·7· ·relied on in forming your opinions in your report?
   ·8· · · · · · ·MR. MILLER:· Objection to form.
   ·9· · · · A.· ·I would say -- I would say that I did use
   10· ·a lot of census data.
   11· ·BY MR. HOLT:
   12· · · · Q.· ·Okay.· I mean, I would note opposing
   13· ·counsel referenced my earlier testimony in your
   14· ·responses without any objection, to which you had no
   15· ·trouble recalling from several hours ago.· I'm not
   16· ·asking any controversial questions here.
   17· · · · · · ·And you are aware, based on Exhibit 1 that
   18· ·we looked at from the census website, is that the
   19· ·census does view race and ethnicity as different
   20· ·categories, correct?
   21· · · · A.· ·Right.
   22· · · · Q.· ·On the census form and census race data,
   23· ·you can check two boxes, you can be Black and
   24· ·Hispanic, correct?
   25· · · · A.· ·Well, I would need to look at the census


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   ·1· ·form again, but I would assume yes.· But I would
   ·2· ·need to look at the form again.
   ·3· · · · Q.· ·Okay.
   ·4· · · · · · ·MR. HOLT:· Nothing further.
   ·5· · · · · · ·MR. MILLER:· Nothing further from me.· So
   ·6· · · · I think that means that we are finished.
   ·7· · · · · · ·THE STENOGRAPHER:· Mr. Holt, would you
   ·8· · · · like to order the transcript?
   ·9· · · · · · ·MR. HOLT:· Yes, please.· Three-day
   10· · · · expedite.
   11· · · · · · ·THE STENOGRAPHER:· Okay.· And, Mr. Miller,
   12· · · · would you like to order a copy?
   13· · · · · · ·MR. MILLER:· Yes, please.· And I'd like a
   14· · · · rough.
   15· · · · · · ·THE STENOGRAPHER:· Same time?
   16· · · · · · ·MR. MILLER:· Yes.
   17· · · · · · ·THE STENOGRAPHER:· Okay.· Mr. Holt, would
   18· · · · you like a rough as well?
   19· · · · · · ·MR. HOLT:· Please.
   20· · · · · · ·THE STENOGRAPHER:· No problem.
   21· · · · · · ·(Examination was concluded at 4:16 p.m.)
   22
   23
   24
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   ·1· · · · · · · · · ·CERTIFICATE OF OATH

   ·2

   ·3· ·STATE OF FLORIDA

   ·4· ·COUNTY OF ALACHUA

   ·5

   ·6· · · · · · ·I, MARYKAY HORVATH, RMR, CRR, FPR, Notary

   ·7· · · · Public, State of Florida, certify that SHARON

   ·8· · · · AUSTIN, PhD, remotely appeared before me on

   ·9· · · · October 27th, 2021, and was duly sworn.

   10

   11· · · · · · ·Signed this 27th day of October 2021.

   12

   13

   14

   15·   ·   ·   ·   ·   ·_____________________________________
   · ·   ·   ·   ·   ·   · MARYKAY HORVATH, RMR, CRR, FPR
   16·   ·   ·   ·   ·   · Notary Public, State of Florida
   · ·   ·   ·   ·   ·   · My Commission No. GG 222824
   17·   ·   ·   ·   ·   · Expires: 5/29/2022

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   · · · · · · · · · ·CERTIFICATE OF REPORTER
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   ·4· ·STATE OF FLORIDA

   ·5· ·COUNTY OF ALACHUA

   ·6

   ·7· · · · · · · ·I, MARYKAY HORVATH, RMR, CRR, FPR, do

   ·8· · · hereby certify that I was authorized to and did

   ·9· · · stenographically report the foregoing deposition

   10· · · via web conference of SHARON AUSTIN, PhD; that a

   11· · · review of the transcript was not requested; and

   12· · · that the transcript is a true record of my

   13· · · stenographic notes.

   14· · · · · · · ·I FURTHER CERTIFY that I am not a

   15· · · relative, employee, attorney, or counsel of any

   16· · · of the parties, nor am I a relative or employee

   17· · · of any of the parties' attorney or counsel

   18· · · connected with the action, nor am I financially

   19· · · interested in the action.

   20· · · · · · · ·Dated this 30th day of October 2021.

   21

   22

   23· · · · · · _____________________________________
   · · · · · · · MARYKAY HORVATH, RMR, CRR, FPR
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  Race                                                                                                             1
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  Sources: U.S. Census Bureau, Population Estimates Program (PEP). Updated annually. Population and Housing
  Unit Estimates

  U.S. Census Bureau, American Community Survey (ACS). Updated annually. American Community Survey

  About

  The Race estimates of the population are produced for the United States, states, and counties by the Population
  Esimates Program and the race estimates of the population are produced for Puerto Rico, muncipios (county-
  equivalents for Puerto Rico), places, zona urbanas and comunidades (place-equivalents for Puerto Rico), and
  minor civil divisions by the American Community Survey.

  The U.S. Census Bureau collects race data in accordance with guidelines provided by the U.S. Office of
  Management and Budget (OMB), and these data are based on self-identification. The racial categories included
  in the census questionnaire generally reflect a social definition of race recognized in this country and not an
  attempt to define race biologically, anthropologically, or genetically. In addition, it is recognized that the
  categories of the race item include racial and national origin or sociocultural groups. People may choose to report
  more than one race to indicate their racial mixture, such as "American Indian" and "White." People who identify
  their origin as Hispanic, Latino, or Spanish may be of any race.

  OMB requires that race data be collectd for a minimum of five groups: White, Black or African American,
  American Indian or Alaska Native, Asian, and Native Hawaiian or Other Pacific Islander. OMB permits the
  Census Bureau to also use a sixth category - Some Other Race. Respondents may report more than one race.

  The concept of race is separate from the concept of Hispanic origin. Percentages for the various race
  categories add to 100 percent, and should not be combined with the percent Hispanic.

  Definition

  White. A person having origins in any of the original peoples of Europe, the Middle East, or North Africa. It
  includes people who indicate their race as "White" or report entries such as Irish, German, Italian, Lebanese,
  Arab, Moroccan, or Caucasian.

  Black or African American. A person having origins in any of the Black racial groups of Africa. It includes
  people who indicate their race as "Black or African American," or report entries such as African American,
  Kenyan, Nigerian, or Haitian.

  American Indian and Alaska Native. A person having origins in any of the original peoples of North and
  South America (including Central America) and who maintains tribal affiliation or community attachment. This
  category includes people who indicate their race as "American Indian or Alaska Native" or report entries such as
  Navajo, Blackfeet, Inupiat, Yup'ik, or Central American Indian groups or South American Indian groups.

  Asian. A person having origins in any of the original peoples of the Far East, Southeast Asia, or the Indian
  subcontinent including, for example, Cambodia, China, India, Japan, Korea, Malaysia, Pakistan, the Philippine
  Islands, Thailand, and Vietnam. This includes people who reported detailed Asian responses such as: "Asian
  Indian," "Chinese," "Filipino," "Korean," "Japanese," "Vietnamese," and "Other Asian" or provide other detailed
  Asian responses.

  Native Hawaiian and Other Pacific Islander. A person having origins in any of the original peoples of Hawaii,
  Guam, Samoa, or other Pacific Islands. It includes people who reported their race as "Fijian," "Guamanian or
  Chamorro," "Marshallese," "Native Hawaiian," "Samoan," "Tongan," and "Other Pacific Islander" or provide
  other detailed Pacific Islander responses.
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  Two or more races. People may choose to provide two or more races either by checking two or more race
  response check boxes, by providing multiple responses, or by some combination of check boxes and other
  responses. For data product purposes, "Two or More Races" refers to combinations of two or more of the
  following race categories: "White," "Black or African American," American Indian or Alaska Native," "Asian,"
  Native Hawaiian or Other Pacific Islander," or "Some Other Race"

  Data users should be aware of methodology differences that may exist between different data sources.

  Methodology for U.S. and Puerto Rico




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 A53>A4B
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                                        )A;@A?9F )GFL9F9 *=O&=JK=Q ,=FFKQDN9FA9 .@G<=
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                                        %KD9F<
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                                        D9:9E9 JC9FK9K GFF=;LA;ML  =D9O9J= 
 ,>C5AB<DBC@D1;96HC>E>C5
                                        %F<A9F9 '=FLM;CQ (GMAKA9F9 )9KK9;@MK=LLK 
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                                        )AKKAKKAHHA )AKKGMJA *=O$9EHK@AJ= *=O4GJC 
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Let Florida Vote:
Coronavirus is only the newest barrier
to voting in Florida

Covid-19 has heightened awareness about the importance of easy, equitable
voting access. While many of the struggles facing election administrators during
this public health crisis seem unprecedented, they each represent an opportunity
to reﬁne local policies and practices to ensure every Floridian has the opportunity
to vote – and to have that vote count.




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Executive Summary




                                 As Floridians, like the rest of the world, navigate living and working
                                 during a pandemic, a risk to our democracy has emerged – how will we
                                 vote?

                                 In answering this dilemma, it is useful to ask, how have we voted? The
                                 reality is that voting access in Florida has long been inconsistent and
                                 inequitable. How easy it is to vote, and have your vote counted, has de-
                                 pended on your age, your race, where you live and how much free time
                                 you have. These factors will be exacerbated by the current public health
                                 crisis.

                                 These inequities are not consistent with our core values, or with protec-
                                 tion of the fundamental right to vote; every eligible American should
                                 have access to the ballot. Many of the solutions to improve voting access
                                 are not only possible in the current crisis – they are necessary.

                                 As such, this report offers insight for supervisors of election and their
                                 staff as they navigate administering elections in a public health crisis.
                                 It highlights where others can assist. For voters who want to push their
                                 ORFDOHOHFWLRQRIÀFLDOVWRGRWKHULJKWWKLQJJXLGHVDQGRQHSDJHVXPPD-
                                 ries are included. An appendix is available for those looking for a deeper
                                 understanding of these issues.

                                 This report presents background information and policy recommen-
                                 dations for establishing four pillars of equitable voting access: reliable

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                                 & fair vote by mail, early voting access, equity in polling locations and
                                 access for all. Fair and reliable vote by mail and early voting policies,
                                 especially critical to voting access during this pandemic, are key to en-
                                 suring equal access to the ballot box even in the best of times.

                                 Reliable & Fair Vote by Mail
                                 Analysis from the 2016 and 2018 elections illustrates that voting by
                                 mail in Florida is neither reliable, nor fair. Tens of thousands of vot-
                                 ers see their vote-by-mail ballots rejected each election because, in a
                                 lay person’s opinion, they failed to replicate a signature they signed
                                 on a digital signature pad at the DMV years, even decades, ago. The
                                 Legislature attempted to improve this by allowing voters to “cure”
                                 UHMHFWHGEDOORWVE\DIÀGDYLW<HWLQWKHrejection rate of vote-
                                 by-mail ballots increased.

                                 Moreover, the risk of having a vote-by-mail ballot rejected is not equal.
                                 Whether a vote counts varies by age, race and county. Black voters,
                                 who are already more wary of voting by mail, see their mailed ballots
                                 UHMHFWHGWZLFHDVRIWHQDVWKHLUZKLWHQHLJKERUV<RXQJYRWHUVEHWZHHQ
                                 18 and 21 years old, saw their mailed ballots rejected 2.5 times as often
                                 as other voters. Even uniformed service members stationed away from
                                 home, who have additional legal protections, saw their mailed ballots
                                 rejected more than three times as often as others voting by mail. While
                                 these disparities continued from 2016 to 2018, rejection rates in-
                                 creased for every demographic.

                                 This is not acceptable. It is likely that vote by mail will be integral to
                                 elections until the risk of coronavirus subsides.

                                 7KHVWDWHPXVWSURYLGHVLJQDWXUHPDWFKLQJVRIWZDUHDVDÀUVWVWHSLQ
                                 signature matching analysis to reduce the number of false rejections.
                                 Every supervisor of elections must prioritize effectively administering
                                 vote-by-mail in a reliable and fair manner by taking the following steps:

                                   »     Invest in robust voter education programs to educate voters on vote
                                         by mail and signature requirements and to remind voters to mail
                                         their ballot.
                                   »     Provide prepaid postage vote-by-mail envelopes.
                                   »     Provide robust vote-by-mail ballot tracking to alert voters by email
                                         and/or text message when their ballot is received and when their
                                         attention is needed.
                                   »     Ensure a multi-step signature review process to minimize false
                                         rejections.
                                   »     3URYLGHUREXVWQRWLÀFDWLRQZKHQEDOORWVDUHUHMHFWHGDQGDOORZIRU
                                         remote signature curing.



6. Let Florida Vote: Executive Summary
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                                 Early Voting Access
                                 Vote by mail is not enough. Some voters cannot vote by mail; based on
                                 past performance, some cannot trust that their vote would be counted.
                                 For these reasons, early voting will continue to be necessary to ensure
                                 voters can cast their ballots without enduring crowds, long lines, and
                                 VFKHGXOHFRQÁLFWVHVSHFLDOO\ZLWKLQFUHDVHGFDUHJLYHUGXWLHV

                                 Counties vary dramatically in their approach to early voting. Under
                                 normal circumstances, this may make sense due to local demand, but it
                                 does not in the current public health crisis. Local supervisors of election
                                 must ensure that every Floridian who needs to vote in person can do so
                                 safely by taking the following steps:

                                    »    Make early voting available for the entire period allowed by Florida
                                         law at as many locations as can be staffed to reduce the potential
                                         for crowds. Early voting should be available at enough locations,
                                         for long enough, that the county has no more than 300 voters per
                                         hour of early voting.
                                    »    Ensure every early voting location has equitable hours.
                                    »    Follow the practices employed in grocery stores during this crisis:
                                         use plexiglass barriers to separate poll workers and voters, sanitize
                                         voting booths and check-in stations between voters, and provide
                                         masks and gloves for poll workers.
                                    »    Ensure SOE staff is accessible to voters by phone whenever early
                                         voting is open.

                                 We can do this. The federal government has already given the state ad-
                                 ditional funding to administer elections safely during this time. Other
                                 states have already been conducting universal vote-by-mail elections
                                 with minimal rejections, while also offering accessible in-person voting.
                                 Florida counties and other states are already preparing to print vote-
                                 by-mail ballots for every registered voter and/or to hold extended early
                                 voting periods.

                                 This pandemic is only highlighting the disparities in voter access in
                                 our state. Florida’s election bureaucracies effectively block too many
                                 Floridians from voting. Voting is a fundamental right that we fought
                                 hard to secure for everyone. It should not be this hard. Florida poli-
                                 cymakers are faced with a choice: take this opportunity to dismantle
                                 barriers to voting or do nothing and continue to be seen as a weak link
                                 in our democracy.




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Considerations in Assessing
Local Election Administration




                                   While state and federal law govern elections generally, many decisions
                                   happen at the local level. In Florida, these decisions largely lie with
                                   each county’s supervisor of elections. Florida is a very diverse state,
                                   with stark differences in population, demographics, and resources.
                                   These differences should be considered in assessing local election
                                   administration.

                                   County Size
                                   Past research has illustrated how differences in jurisdiction size can
                                   LQÁXHQFHKRZHOHFWLRQRIÀFLDOVDGPLQLVWHUHOHFWLRQV1 Voters in larger
                                   jurisdictions are more likely to cast provisional ballots and vote by mail
                                   than those in smaller jurisdictions. Likewise, larger jurisdictions have
                                   more issues managing poll workers.

                                   %HFDXVHRIWKHVHGHPDQGVDQGLQFUHDVHGUHVRXUFHVHOHFWLRQRIÀFLDOVLQ
                                   larger jurisdictions are generally more open to innovations that reduce
                                   election day voting, such as early voting and vote-by-mail, than their
                                   counterparts in smaller jurisdictions.

                                   Florida’s diverse counties vary from small, rural communities to major
                                   metropolitan areas. The Florida State Association of Supervisors of
                                   1   David C. Kimball & Brady Baybeck, Are All Jurisdictions Equal? Size Disparity in Election
                                       Administration, 12 (2) Election Law Journal 130 (2013).


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                                   Elections divides itself into three categories, as illustrated in the table
                                   below, that can be useful in comparing local election administration
                                   performance and are used throughout this report. Most of Florida’s
                                   counties, 32, are categorized as ‘Small,’ yet the majority of Florida’s
                                   voters, 83%, live in ‘Large’ counties with more than 200,000 registered
                                   voters.

                                                          Registered Voters             Counties             Percent of Voters
                                   Small                  Less than 75,000              32                   5%
                                   Mid-Size/Rural         Between 75,000 and 200,000    12                   11%
                                   Large                  More than 200,000             12                   83%


                                       Supervisor of Elections – The Most Important
                                       /RFDO2IÀFLDO<RX1HHGWR.QRZ
                                       In Florida, each of our 67 counties has its own supervisor of elec-
                                       tions (SOE) and that individual has a wide degree of discretion
                                       on issues governing elections and access to the polls. SOE’s are
                                       responsible for conducting fair, honest and accurate elections and
                                       to assist Florida citizens to become better informed about voting
                                       and be prepared to participate in the electoral process. The pub-
                                       OLFRIÀFHRI6XSHUYLVRURI(OHFWLRQVKROGVVLJQLÀFDQWSRZHUDQG
                                       YDVWLQÁXHQFHLQWKHLUMXULVGLFWLRQVRYHUWKHFRQGXFWRIYRWLQJ
                                       Supervisors make decisions daily about who gets to vote and par-
                                       ticipate in our civic life that impact thousands of individuals. In a
                                       real sense, these powers and responsibilities far exceed even the
                                       SRZHURIOHJLVODWRUVDQGRWKHUORFDORIÀFLDOVEHFDXVHRIWKHLULPPH-
                                       diate impact on all the residents of their respective counties.


                                   Hurricane Recovery & Vote Centers
                                   In addition to the differences between small and large counties, some
                                   panhandle counties continue to struggle with the aftermath of 2018’s
                                   Hurricane Michael. Gulf and Bay counties, for example, continue to
                                   rely on Super Voting Sites and face unique challenges in election ad-
                                   ministration.2 The performance of these counties can help inform voting
                                   during other crises, such as the COVID-19 crisis.

                                   Any voter in the county can vote at a Super Voting Site, often called
                                   ‘Vote Centers.’ While such centers could expand voting access, there
                                   is potential for abuse. An example is Bay County, where the site in a
                                   predominately Black community was open for fewer early voting hours.
                                   2   Executive Order No. 19-262 (Nov. 25, 2019), available at KWWSVZZZÁJRYFRPZSFRQWHQW
                                       uploads/2019/11/EO-19-262.pdf




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                                   Read All Voting is Local’s Report, ´9RWH&HQWHUV3RWHQWLDO%HQHÀWVIRU
                                   Voters, but Standards and Protections Must be in Place” to learn more.

                                   SOE Voting Method Preferences
                                   Counties tend to prioritize vote by mail or early voting – as participa-
                                   tion in early voting increases, participation in vote by mail decreases,
                                   and vice versa. While the effect was not strong, for the 2018 General
                                   Election, as the portion of voters voting in person on election day in a
                                   county increased, overall turnout decreased. To ensure voting access for
                                   all, counties should continue to increase early and vote-by-mail access.

                                                    County               Early Voting   Vote by Mail   Election Day
                                                    Polk                 22.0%          32.4%          45.6%
                                                    Marion               27.8%          32.4%          44.7%
                                                    Palm Beach           29.3%          26.3%          44.4%
                                                    Leon                 39.8%          19.4%          40.9%
                                                    Duval                43.1%          16.9%          40.0%
                                                    Pinellas             12.5%          54.9%          32.5%
                                                    Broward              41.8%          26.7%          31.5%
                                                    Collier              32.1%          37.9%          29.9%
                                   Large            Lee                  23.1%          50.9%          26.0%
                                                    Alachua              35.2%          27.1%          37.7%
                                                    Hernando             21.0%          41.5%          37.4%
                                                    St. Johns            41.8%          22.7%          35.6%
                                                    Flagler              43.0%          27.4%          29.5%
                                   Mid-Size         Bay                  62.6%          18.4%          18.9%
                                                    Glades               16.9%          23.8%          59.3%
                                                    Levy                 20.0%          31.7%          48.3%
                                                    Monroe               26.6%          35.7%          37.7%
                                                    Jackson              52.8%          21.9%          25.4%
                                    Small           Gulf                 56.1%          20.4%          23.4%


                                    A stark example of this is Pinellas County, with 54.9% of votes sent
                                    by mail and only 12.5% cast early. This is due to policies and practices
                                    in the county. While early voting is available for 12 hours a day for the
                                    HQWLUHSHULRGRIHDUO\YRWLQJWKHUHDUHRQO\ÀYHHDUO\YRWLQJVLWHV²RQH
                                    for every 133,366 voters, more than 3.5 times as dense as the state av-
                                    erage of one per 36,180. Conversely, Pinellas County is a model for vote
                                    by mail (VBM) election administration. Pinellas County only rejected


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                                   0.12 percent of VBM ballots, a tenth of the state average rejection rate
                                   of 1.2 percent. Pinellas County’s ballot curing processes allowed ini-
                                   tially rejected VBM ballots to be remedied in time to be counted. See the
                                   discussion of vote by mail on page 14 to learn more.

                                   Meanwhile, election day voting dominated in only four small counties:
                                   Glades, Gilchrist, Holmes and Lafayette. Of large counties, Polk
                                   (45.6%), Marion (44.7%) and Palm Beach (44.4%) saw the highest
                                   proportions of people voting in person on election day.




                                   How People Vote
                                   The demographics of voters voting early, by mail and in person vary. In
                                   the 2018 General Election:

                                      »   White voters, especially white women, were the most likely to vote
                                          by mail – 34% of white voters voted by mail, compared to 22% of
                                          Black voters and 31% of Hispanic voters.
                                      »   Voting by mail begins to increase around age 50, with voters 65
                                          years old or older the most likely to vote by mail – 46% voted by
                                          mail, compared to 21% of those younger than 44.
                                      »   Black voters were the most likely to vote early – 45% of Black vot-
                                          ers cast their ballot early, compared to 31% of white voters and 32%
                                          of Hispanic voters.
                                      »   3DUWLFLSDWLQJLQHDUO\YRWLQJGLGQRWKDYHDVVLJQLÀFDQWDUHOD-
                                          tionship with age, but voters between the ages of 45 and 64 were
                                          slightly more likely vote early at 36%, compared to 30% of older
                                          voters and 31-32% of younger voters.
                                      »   Hispanic voters were slightly more likely to vote at the polls on
                                          Election Day, 37% voted on Election Day, compared to 33% of Black
                                          voters and 35% of white voters.
                                      »   Voting at the polls on Election Day gradually becomes less likely
                                          as voters age – 48% of voters between 18 and 29 years old, and 47%
                                          of those between 30 and 44, voted at the polls, while only 24% of
                                          voters 65 and older did so.




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Barriers to Voting




                                     Many of the trends in how people vote may be explained by predictable
                                     barriers to voting. Removing these barriers increases participation.
                                     Maintaining them amounts to voter suppression. More than half of
                                     those surveyed by the U.S. Census after the 2018 Election cited barriers
                                     that could be addressed through early voting and vote-by-mail (VBM)
                                     SROLFLHVVXFKDVVFKHGXOHFRQÁLFWV  LOOQHVVHVRUGLVDELOLW\  
                                     out-of-town travel (9%) and transportation issues (3%).3

                                     Indeed, 29% of VBM voters reported doing so because it was more
                                     FRQYHQLHQW2WKHUVFLWHGWUDYHOFRQÁLFWV  RUSK\VLFDOGLVDELOLWLHV
                                     (18%).4

                                     Waiting To Vote
                                     When they can get to the polls, wait times exceeding 30 minutes are the
                                     most common obstacle voters report, as reported by the 2016 Survey of
                                     the Performance of American Elections (SPAE), a nationwide survey.5
                                     Similarly, 11% of early voters cited long waits. Wait times are not uni-
                                     versal – 42% of white voters reported no wait at all in 2016, compared to
                                     only 26% of Black and 29% of Hispanic voters. This unequal treatment
                                     3     U.S. Census. Voting and Registration in the Election of November 2018, Table 10 (Apr. 2019),
                                           available at https://www.census.gov/topics/public-sector/voting/data/tables.html
                                     4     Id.
                                     5     Charles Stewart, 2016 Survey of the Performance of American Elections, Harvard Dataverse,
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                                     and heavy cost to vote has been associated with reduced voter participa-
                                     tion in future elections.6

                                     9RWHU&RQÀGHQFH
                                     &RQÀGHQFHWKDWWKHLUYRWHZLOOFRXQWLVYLWDOWRHQVXULQJFRQWLQXHGYRWHU
                                     participation. The way a voter casts their vote has been correlated with
                                     WKHLUFRQÀGHQFHZLWKYRWHE\PDLOYRWHUVKDYLQJORZHUOHYHOVRIFRQÀ-
                                     dence than their in-person voting peers.7 The use of web-based ballot
                                     tracking tools, like those used in Pinellas County, can help boost
                                     FRQÀGHQFH

                                     7KHUHLVDOVRDGLVSDULW\LQFRQÀGHQFHUDWHVE\YRWHUV·UDFHDQGSROLWLFDO
                                     party. While 70% of white voters responding to the SPAE reported being
                                     YHU\FRQÀGHQWWKDWWKHLUYRWHZDVFRXQWHGLQRI%ODFNYRWHUV
                                     KDGWKDWVDPHFRQÀGHQFHFifteen percent of Black voters were not
                                     FRQÀGHQWWKDWWKHLUYRWHFRXQWHGFRPSDUHGWRRQO\RIZKLWH
                                     voters.$VWRSROLWLFDOSDUW\YRWHUVWHQGWREHPRUHFRQÀGHQWWKHLUYRWH
                                     counted when their party’s candidate wins.

                                     7KHÀQGLQJVRIDQDO\VHVRIDQGYRWHE\PDLOUHMHFWLRQUDWHV
                                     illustrates that the fears of those voting by mail and voting while Black
                                     DUHMXVWLÀHG8

                                     6     David Cottrell, Michael C. Herron, and Daniel A. Smith. Forthcoming. Voting Lines, Equal
                                           Treatment, and Early Voting Check-in Times in Florida6WDWH3ROLWLFVDQG3ROLF\4XDUWHUO\
                                     7     SPAE, supra n. 4 at 28.
                                     8     Dr. Daniel A. Smith & Anna Baringer, Analysis of Vote-By-Mail Ballots in the 2018 General
                                           Election, University of Florida (2020), discussed infra at 10.


13. Let Florida Vote: Barriers to Voting
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Fair & Inclusive
Vote by Mail




“The whole
signature thing
needs to be
totally reeval-
uated. There
should not be all
these untrained                      Overview
people—and                           Nearly a third of Floridians cast their ballots by mail instead of voting
you probably                         at the polls on Election Day. Any registered voter in Florida can vote by
won’t get trained                    mail by requesting a vote by mail (VBM) ballot online and returning it
                                     by 7:00 pm on Election Day. In order to be counted, the voter’s signature
people there,                        RQWKH9%0EDOORWPXVWPDWFKWKHLUVLJQDWXUHRQÀOH2IWHQWKHVLJQD-
because trained                      WXUHWKH62(RIÀFHKDVRQÀOHLVWKHYRWHU·VVLJQDWXUHIURPWKH'09
persons know                         Such signatures are generally created using a digital signature pad and
                                     may be decades old. Handwriting changes over the years, as can names
you don’t
                                     in the case of marriages or divorces.
compare one
signature to                         Unfortunately, Florida rejects an excessive number of VBM ballots.
                                     Rejection rates increased in the 2018 General Election, despite the
another signa-                       introduction of opportunities to cure rejected ballots. More than one out
ture.”                               of every 100 VBM ballots was ultimately rejected – 32,176 ballots went
                                     uncounted. To put this into perspective, Florida’s 2018 Gubernatorial
                                     race was decided by 32,463 votes.
-Patricia Fisher,
%RDUG&HUWLÀHG                      Rejection rates also vary by jurisdiction, age and race. New legal
                                     UHTXLUHPHQWVWKDWSURKLELWUHMHFWHG9%0EDOORWVZLWKRXWÀQGLQJDVLJ-
Forensic
                                     nature mismatch beyond a reasonable doubt should improve this, local
Document                             supervisors of election must fully implement the law and local proce-
Examiner                             dures to ensure every vote counts. See Analysis of Vote-by-Mail Ballots
                                     in the 2018 General Election at page 18 to learn more.


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                                          FAIR & INCLUSIVE VOTE BY MAIL



                                         LEGAL REQUIREMENTS
                                            »   Any registered voter can vote by mail.
                                            »   Voters must request VBM ballots at least 10 days before the
                                                election.
                                            »   Supervisors of election must mail VBM ballots between 40
                                                and 33 days before the election, or within 2 business days of
                                                receiving the request if received later.
                                            »   $YRWHUDQGDQ\RQHWKH\GHVLJQDWHE\ÀOOLQJRXWDIRUPDYDLO-
                                                DEOHRQOLQHPD\SLFNXSWKHLU9%0EDOORWDWWKH62(·VRIÀFH
                                                No doctor’s note or other documentation can be required. On
                                                Election Day, a designee can pick up the voter’s VBM ballot
                                                only if there is an emergency.
                                            »   VBM ballots must be received by the SOE by 7 pm on Election
                                                Day.
                                            »   VBM drop boxes must be placed at early voting sites and the
                                                VXSHUYLVRURIHOHFWLRQV·RIÀFH V DQGFDQEHSODFHGDQ\ZKHUH
                                                eligible to be used for early voting, so long as they are staffed
                                                by SOE staff or law enforcement.
                                            »   There are special protections for military and overseas voters.

                                         Signature curing
                                            »   Supervisors of election must match the voter’s signature on
                                                the VBM ballot to their signature on record.
                                            »   VBM voters can update their signature on record until their
                                                VBM ballot is received.
                                            »   VBM Ballots can only be rejected for signature mismatch if
                                                WKH&DQYDVVLQJ%RDUGÀQGVWKDWWKH9%0VLJQDWXUHGRHVQRW
                                                match the signature of record beyond a reasonable doubt.
                                            »   The SOE must notify a voter that their VBM ballot has been
                                                rejected as soon as practicable by either email, text message
                                                RUWHOHSKRQHLQDGGLWLRQWRÀUVWFODVVPDLO
                                            »   Voters have until 5 pm the second day after the election to
                                                VXEPLW,'DQGDVLJQDWXUHFXUHDIÀGDYLW




15. Let Florida Vote: Fair & Inclusive Vote by Mail
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                                     Considerations
                                       »   Handwriting analysis is a profession, not a seminar. Professional
                                           analysts examine multiple handwriting samples made at similar
                                           WLPHVXQGHUVLPLODUFLUFXPVWDQFHV<HWLQ)ORULGDHOHFWLRQRIÀFLDOV
                                           are trained in seminars to compare a signature on a ballot to a sin-
                                           gle signature made years ago, often on a digital signature pad. This
                                           LQWURGXFHVDVLJQLÀFDQWULVNWKDWOHJLWLPDWHYRWHVZLOOEHUHMHFWHG
                                           Every effort must be made to ensure only those signatures that do
                                           not match beyond a reasonable doubt are rejected.
                                       »   Signature matching can only be as good as a county’s cure process.
                                           Voters must be given a full and fair opportunity to correct signa-
                                           ture mismatches in a timely manner. This requires adequate, swift
                                           notice by phone, email and/or text, so voters may exercise their
                                           ULJKWWRFRUUHFWWKHLUVLJQDWXUHRQÀOH
                                       »   All VBM ballots can be tracked online through local SOE websites,
                                           but they vary in capabilities.
                                       »   Vote by mail may not be accessible for all, so in-person voting, voter
                                           support, and drop-off facilities must be offered.
                                       »   Mandating voting by mail has been shown to decrease the odds of
                                           an individual voting by 13%, with larger impacts on Hispanic vot-
                                           ers, possibly due to language barriers.9
                                       »   Mandating voting by mail seems to advantage resource rich voters
                                           – those who are older, more educated, and more interested. 10
                                       »   Resources: What is the election administration budget? Is it being
                                           VXIÀFLHQWO\SULRULWL]HG"

                                     Recommendations
                                       »   (VWDEOLVKDPXOWLVWHSVLJQDWXUHYHULÀFDWLRQSURFHVVLQFRUSRUDW-
                                           LQJVLJQDWXUHYHULÀFDWLRQVRIWZDUHWRUHGXFHWKHRSSRUWXQLW\IRU
                                           unnecessary rejections.
                                       »   Provide voter education on the vote by mail process and signa-
                                           ture matching requirements and invite voters to update their
                                           signatures.
                                       »   Provide postage paid VBM envelopes. At least nine counties do.




                                      (OL]DEHWK%HUJPDQ 3KLOLS$<DWHVChanging Election Methods: How Does Mandated Vote-
                                        By-Mail Affect Individual Registrants? ELECTION LAW JOURNAL, Vol. 10, N. 2 (2011).
                                     10 Adam J. Berinsky, Nancy Burns, & Michael W. Traugott, Who Votes By Mail? A Dynamic
                                        Model of the Individual-level Consequences of Voting-By-Mail Systems, Public Opinion
                                        4XDUWHUO\²  See also, Nathan W. Monroe and Dari E. Sylvester, Who
                                        Converts to Vote-By-Mail? Evidence from a Field Experiment, ELECTION LAW JOURNAL,
                                        Vol. 10, N. 1, (2011).


16. Let Florida Vote: Fair & Inclusive Vote by Mail
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                                       »   Send communications, such as reminders to return VBM ballots,
                                           by text or postcard, which has been found to increase turnout by as
                                           much as four percentage points.11
                                       »   Expand VBM ballot tracking to incorporate text and email
                                           QRWLÀFDWLRQ
                                       »   Allow signature mismatches to be cured remotely.
                                       »   Create a uniform, simple VBM return envelope in consultation
                                           with other supervisors of elections.
                                       »   Ensure all voter instructions are written at the seventh-grade
                                           level.
                                       »   Provide language assistance hotlines.
                                       »   Record why a VBM or provisional ballot was rejected.

                                     Lessons From All-Mail Voting States
                                     Five states conduct all elections entirely by mail: Colorado, Hawaii,
                                     Oregon, Washington and Utah. Others, such as California, Nebraska
                                     and North Dakota, allow counties to offer all vote-by-mail elections.
                                     Some best practices that have emerged include:

                                       »   Provide both vote by mail and in-person voting.
                                       »   Universal distribution of VBM ballots (Colorado, Washington,
                                           some California counties)
                                       »   Prepaid postage on VBM ballots (16 states currently require local
                                           HOHFWLRQRIÀFLDOVWRSURYLGHUHWXUQSRVWDJH 
                                       »   Provide language assistance hotlines.
                                       »   (VWDEOLVKDPXOWLVWHSVLJQDWXUHYHULÀFDWLRQSURFHVVLQFRUSRUDW-
                                           LQJVLJQDWXUHYHULÀFDWLRQVRIWZDUHWRUHGXFHWKHRSSRUWXQLW\IRU
                                           unnecessary rejections.

                                     6LJQDWXUH9HULÀFDWLRQ
                                     One promising development is the use of signature matching software
                                     LQWKHVLJQDWXUHYHULÀFDWLRQSURFHVV+DQGZULWLQJDQDO\VLVH[SHUWV
                                     agree that comparing only two signatures is prone to mistake as so
                                     many variables impact our handwriting at any given moment. Mistakes
                                     are even more likely when the analysis is done with little training. With
                                     the addition of signature matching software, multiple signatures can be
                                     compared at once, leading to more accurate results. This also reduces
                                     WKHQXPEHURIVLJQDWXUHVSHRSOHQHHGWRH[DPLQHWRWKRVHÁDJJHGE\
                                     the software, which frees up resources to better train, or contract with
                                     trained, handwriting analysts.

                                     'HQYHUXVHVWKLVDSSURDFKÀUVWUXQQLQJPDLOHGEDOORWVWKURXJK
                                     11 %HUJPDQ <DWHVsupra n. 12 at 122-123.


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                                     VLJQDWXUHYHULÀFDWLRQVRIWZDUHWKDWDXWRPDWLFDOO\PDWFKHVEHWZHHQ
                                     to 45 percent of the signatures with existing records. A team of biparti-
                                     VDQHOHFWLRQMXGJHVWUDLQHGLQVLJQDWXUHYHULÀFDWLRQWKHQH[DPLQHVWKH
                                     UHPDLQGHU,IDPLVPDWFKLVVXVSHFWHGWKHEDOORWLVÁDJJHGIRUH[DPLQD-
                                     tion by a second team. If the human reviewers agree that the signature
                                     GRHVQ·WPDWFKWKHYRWHULVQRWLÀHGE\HPDLORUWH[WLPPHGLDWHO\7KH
                                     voter is also mailed a notice. Only 0.8 percent of Denver voters had a
                                     signature discrepancy that wasn’t resolved, compared to Florida’s 1.2%
                                     rejection rate.

                                     Analysis Of Vote-By-Mail Ballots in the 2018
                                     General Election
                                     Dr. Daniel A. Smith & Anna Baringer
                                     University of Florida

                                     This is a summary.
                                     The full report is avail-
                                     able at ZZZDFOXÁ
                                     org/publications/
                                     OHWÁRULGDYRWH

                                     Nearly one third of
                                     Floridians vote by mail.
                                     These voters are more
                                     likely to not have their
                                     vote count than those
                                     who vote in person.
                                     Despite implementing
                                     reforms to allow voters
                                     the opportunity to ad-
                                     dress any issues with
                                     their vote-by-mail (VBM)
                                     ballot,12 the state rejected a higher percentage of VBM ballots in 2018
                                     than in prior years. Ultimately, more than 32,000 voters mailed in their
                                     ballot in 2018, only to have their votes thrown out.

                                     Demographics of Rejection
                                     VBM rejection rates varied considerably by age and race. Voters who
                                     are older and white were more than twice as likely to have their VBM
                                     ballots counted than younger voters or those of color. Such disparities
                                     increased in 2018.

                                       »   The youngest cohort, 18 to 21 year olds, saw 5.4% of their VBM
                                           ballots rejected.


                                     12 See ch. 2017-45, L.O.F., 2017 HB 105.


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                                       »   $PRQJWKHÀUVWWLPHYRWHUVZKRGHFLGHGWRYRWHE\PDLO
                                           4,137 (3.1%) did not have their vote counted.
                                       »   Although 18 to 29 year olds comprised only 2.1% of all those who
                                           voted by mail, they accounted for 9.2% of those whose VBM ballot
                                           was rejected.
                                       »   The 2018 VBM rejection rates varied from a low of 0.6% of ballots
                                           from those 65-104 years of age to 5.4% of ballots from 18-21 year
                                           olds.
                                       »   Rejection rates increased for every age cohort in 2018.
                                       »   Rejection rates varied by race, with 0.9% of VBM ballots cast by
                                           white voters rejected and 2% of ballots from voters of color rejected.
                                       »   Although voters of color cast less than 28% of VBM ballots, they
                                           accounted for 47% of rejected VBM ballots.

                                     Voting Access by Geography
                                     The rejection rates of VBM ballots cast in the 2018 general election, as
                                     in the 2016 and 2012 general elections, varied considerably across the
                                     state’s 67 counties.

                                     Three counties, Baker,
                                     Hamilton and Jefferson,
                                     rejected no VBM ballots.
                                     Ten counties rejected more
                                     than 2% of the VBM ballots          Percent Rejected
                                     they received: Alachua (736
                                     rejected ballots), Bay (373),             <0.5%
                                     Broward (5,471), Miami-                   0.5%-1%
                                     Dade (6,404), Gulf (40),                  1%-1.5%
                                     Madison (33), Monroe
                                     (357), Seminole (1,217),                  1.5%-2%
                                     and Volusia (1,960).                      2%-2.5%
                                                                           2.5-3%
                                     Voters of color were more
                                     likely to have their VBM              >3%
                                     ballot rejected in nearly
                                     every county, but the size
                                     of that disparity varied. Collier County had the highest disparity
                                     between the VBM rejection rates of Black and white voters, with white
                                     VBM ballots more than six times as likely to be counted, while Marion
                                     County Hispanic voters saw their ballots rejected more than four times
                                     as often as their white neighbors.




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                                                                   Vote by Mail Ballot Rejection Rates

                                                County      Black Voters   Hispanic Voters White Voters   Overall Rate   Rejected Votes
                                                Volusia     4.4%           5.0%           2.0%            2.4%           1,960
                                                Lee         2.1%           1.7%           0.7%            0.8%           1,262
                                                Collier     3.9%           1.4%           0.6%            0.7%           428
                                                Manatee     1.4%           1.4%           0.5%            0.9%           386
                                     Large      Pasco       1.0%           1.3%           0.4%            0.5%           365
                                                Alachua     3.0%           4.3%           1.8%            2.3%           736
                                                Bay         4.6%           4.9%           2.8%            3.0%           373
                                     Mid-Size Flagler       2.7%           3.5%           1.4%            1.7%           246
                                                Hernando    0.9%           1.0%           0.3%            0.4%           140
                                                Highlands   2.3%           1.2%           0.5%            0.7%           79
                                     Small      Madison     4.6%           0              1.9%            2.7%           33


                                     <RXQJHUYRWHUVLQQHDUO\HYHU\FRXQW\ZHUHPRUHOLNHO\WRKDYH
                                     their VBM ballot rejected. Despite a statewide rejection rate of more
                                     than 5% for younger voters, every 18 to 21 year old voting by mail in
                                     Baker, DeSoto, Gadsden, Glades, Hamilton, Hardee, Jackson,
                                     Jefferson, Marion, 1DVVDX, Suwannee, and Union counties had
                                     their vote counted



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                                     Highest rejection rates for 18 to 21 year olds voting by mail:

                                       »   Broward County rejected more than 11% – more than 500 ballots
                                           rejected.
                                       »   Miami-Dade County rejected more than 9% - nearly 600 ballots
                                           rejected.
                                       »   Alachua County rejected 8%, more than three times higher than
                                           the county’s overall VBM rejection rate of 2.3%.
                                     In 43 counties, 18 to 21 year olds were more than 2.5 times as likely to
                                     have their VBM ballot rejected as others.

                                     Rejection of Uniformed and Overseas Civilians
                                     The age and race disparities extend to VBM ballots returned by active
                                     duty service members, their families, and civilians living overseas, who
                                     enjoy ballot protections under the Uniformed and Overseas Civilian
                                     Absentee Voting Act of 1986 (UOCAVA). This law requires states to
                                     allow such voters to vote absentee.


                                       In the 2018 General Election, 59,478 UOCAVA voters
                                       returned their ballot; nearly 2,000 did not have their
                                       vote counted.

                                     This is especially troubling as nearly half of registered UOCAVA vot-
                                     ers held legal residence in Florida, California and Washington. Florida
                                     has the most UOCAVA voters, 146,343, with 65.6% uniformed service
                                     members.13

                                     Ballot Delivery Timing and Rejection Rates
                                     Under federal law, states must mail ballots to UOCAVA voters no later
                                     than 45 days before a federal election.14 Under Florida law, supervi-
                                     sors of elections (SOEs) must send a ballot within two business days of
                                     receiving a request.15

                                     Despite these deadlines, it appears only 63.2% of UOCAVA voters who
                                     requested absentee ballots had their ballots delivered before September
                                     22, 2018, 45 days before Election Day. While voters generally have to re-
                                     turn their VBM ballot by Election Day to be counted, federal law allows
                                     UOCAVA up to 10 days after the election for their ballot to be received
                                     by the SOE. In the 2018 General Election, rejection rates for returned
                                     82&$9$EDOORWVÁXFWXDWHGEHWZHHQDQGSHUFHQWGHOLYHUHGIHZHU
                                     than 10 days before the election.
                                     13 U.S. Election Assistance Commission, Election Administration and Voting Survey, 2018
                                        Comprehensive Report (2018 EAVS Report), p. 86 (2019).
                                     14 Military and Overseas Voter Empowerment Act (Move)
                                     15 Fla. Stat. s. 101.62(4)(b).


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                                     Given the extra layer of federal VBM protections, it is surprising that
                                     UOCAVA ballots were rejected at more than double the rate than gen-
                                     eral VBM ballots

                                     Best Practices: Curing Rejected VBM Ballots
                                     Pinellas County, under Supervisor of Elections Deborah Clark, has led
                                     WKHZD\RQSURFHVVLQJ9%0EDOORWV7KHGHWDLOHGUHFRUGVWKDWKHURIÀFH
                                     provided on the VBM ballots it received in the 2018 general election, in-
                                     FOXGLQJ9%0EDOORWVKHUVWDIILQLWLDOO\ÁDJJHGDVKDYLQJDPLVPDWFKHG
                                     YRWHU·VFHUWLÀFDWHRQWKHHQYHORSHDVZHOODVPLVPDWFKHG9%0EDOORWV
                                     that were successfully cured by voters, offers a window into the “best
                                     practices” that other SOEs could follow to help remedy problematic
                                     VBM ballots.

                                     Pinellas County ultimately rejected only 288 of slightly more than
                                     241,000 VBM ballots – that’s 0.12 percent – a tenth of the statewide
                                     average rejection rate.

                                     ,QLWLDOO\URXJKO\9%0EDOORWVZHUHÁDJJHGE\VWDIIIRUVLJQDWXUH
                                     mismatches. Of those, the Pinellas County Canvassing Board accepted
                                     338 VBM ballots (56.5%) without requiring voter action. Of the remain-
                                     ing ballots, 200 voters (33.4%) successfully cured their signatures by
                                     VXEPLWWLQJSURSHU,'DQGDVLJQHGDIÀGDYLW2QO\RIWKH9%0EDOORWV
                                     (10%) were ultimately rejected for signature mismatch.

                                     An additional 340 voters returned their VBM ballot with no signature
                                     DWDOO2IWKHVH  FXUHGWKHEDOORWZLWKDVLJQHGDIÀGDYLW

                                     Even with this multi-step signature matching and curing process,
                                     voters of color saw their VBM ballots ultimately rejected dispropor-
                                     WLRQDWHO\:KLOHRIZKLWHYRWHUVZKRVHEDOORWKDGEHHQÁDJJHG
                                     XOWLPDWHO\FXUHGWKHGHÀFLHQF\DQGKDGWKHLUYRWHFRXQWHGRQO\
                                     30.7% of Black voters and 30.5% of Hispanic voters cured their ballot.
                                     Similarly, cure rates varied depending on age, with voters age 45 or
                                     older more likely to cure their ballot.

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Early Voting
Access




                                   Overview
                                   Nearly a third of Floridians cast their ballot early – before Election Day,
                                   at an early voting location rather than their assigned precinct voting
                                   site. This is higher than the national average of 22% and also increased
                                   more than 10 percentage points since the 2014 elections.

                                   Each supervisor of election decides what early voting will look like in
                                   their county. Florida law requires a minimum of 8 hours a day for 8
                                   days, but county Supervisors of Elections can offer it for up to 14 days
                                   and some offer up to 12 hours per day. Longer hours and more days give
                                   voters more opportunities to cast their ballot while juggling their other
                                   responsibilities.


                                      Early voting gives responsible Americans across the
                                      country the ability to have their voice heard, even if
                                      they can’t make it to the polls on Election Day.

                                   Supervisors of Election also get to choose how many early voting lo-
                                   cations will be offered and where they will be in the county. There are
                                   state limits here too: they have to have at least as many locations as
                                   there were in the 2012 General Election, early voting has to be offered


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                                   DWWKHLURIÀFHDQGWKH\KDYHWRXVHRQHRIDOLVWRIVSHFLÀHGORFDWLRQ
                                   types, mostly public buildings. They each get one ‘wildcard’ location as
                                   well, in case a public building is not available. A restricted number of
                                   locations can lead to longer waits and travel times. Fewer locations also
                                   make choosing locations that are equally accessible by all of the county’s
                                   YRWHUVPRUHLPSRUWDQW²DQGPRUHGLIÀFXOW



                                            EARLY VOTING ACCESS



                                        LEGAL REQUIREMENTS
                                            »   Must be offered at Supervisor of Election’s main or branch
                                                RIÀFH
                                            »   Must be offered from 10 days before election through 3 days
                                                before election for 8 hours each day. May be offered from the
                                                15th day before election though the 2nd day before election.
                                            »   May also be offered at a city hall, permanent public library
                                                facility, fairground, civic center, courthouse, county commis-
                                                sion building, stadium, convention center, government-owned
                                                senior center, or government-owned community center.
                                            »   May be offered at a wildcard location in an area that doesn’t
                                                have any of the required building types. Such wildcard loca-
                                                tions must be geographically located to allow equal access and
                                                SURYLGHVXIÀFLHQWQRQSHUPLWWHGSDUNLQJ
                                            »   Must be designated no later than 30th day before election


                                   Considerations
                                      »     Demand: How do early voting options and turnout compare to sim-
                                            ilar counties? What are wait times? Early voting has been growing
                                            in popularity, so if participation hasn’t increased locally, ask why?
                                      »     Resources: What is the election administration budget? Is it being
                                            VXIÀFLHQWO\SULRULWL]HG"

                                   Recommendations
                                      »     Make early voting available for the entire period allowed by Florida
                                            law at as many locations as can be staffed to reduce the potential
                                            for crowds. Early voting should be available at enough locations, for
                                            long enough, that the county has no more than 300 voters per hour
                                            of early voting.
                                      »     Ensure early voting locations are accessible to all.



24. Let Florida Vote: Early Voting Access
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                                            –   Black voters are most likely to vote early (45% did so in the 2018
                                                General Election), as are voters between 45 and 64 years old
                                                (36% in 2018 General). Neighborhoods and business districts
                                                UHÁHFWLQJWKHVHGHPRJUDSKLFVVKRXOGKDYHHDUO\YRWLQJVLWHVWR
                                                ensure access.
                                            –   Use college campuses are early voting sites to promote youth
                                                participation.
                                      »     Prioritize keeping early voting open through the Sunday before the
                                            election.
                                      »     Ensure SOE staff is accessible to voters on the weekends during
                                            HDUO\YRWLQJSHULRGHLWKHULQWKHRIÀFHRUE\SKRQH




                                   Early Voting Access in the 2018 General Election
                                   The more election administrators can remove barriers and reduce the
                                   cost of voting, the more people can and will vote. Local SOEs vary in
                                   their approaches to early voting, with some prioritizing more locations,
                                   while others offer longer early voting periods or hours.

                                   In the 2018 General Election, there were 367 early voting locations –
                                   an average of one for every 36,180 registered voters. Early voting was
                                   available for a total of 44,560 hours in the state – compared to the num-
                                   ber of registered voters in Florida, that is 298 registered voters per hour
                                   of early voting. This varied substantially across the state. The availabil-
                                   LW\RIHDUO\YRWLQJZDVVLJQLÀFDQWO\FRUUHODWHGZLWKWKHSHUFHQWDJHRI
                                   voters casting their ballots early: as the number of registered voters
                                   SHUKRXURIHDUO\YRWLQJLQWKHFRXQW\LQFUHDVHGWKHSHUFHQWDJH
                                   of voters casting their ballots early decreased. This was especially
                                   true in larger counties.

                                   Among larger counties, Escambia County offered early voting at nine
                                   locations for 13 days for a total of 1,170 hours – 182 registered voters
                                   SHUKRXURIDYDLODEOHHDUO\YRWLQJ<HWPinellas County offered early


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                                   YRWLQJDWRQO\ÀYHORFDWLRQVIRUWKHIXOOGD\VRIHDUO\YRWLQJIRUDWRWDO
                                   of 840 hours – expecting to serve 794 registered voters for each hour
                                   of available early voting. The average number of registered voters per
                                   early voting hour in large counties was 372.

                                   Mid-size counties averaged 267 registered voters per early voting hour,
                                   with the most early voting availability in Sumter County, which
                                   offered six locations for 12 days for a total of 648 hours – 149 registered
                                   voters per hour. Hernando and Citrus counties, on the other hand,
                                   offered early voting at a rate of 380 registered voters per hour.

                                   Taylor        Madison                             Pinellas     Orange
                                   12,142        11,840     Registered Voters        666,876      798,373
                                   1             4          Early Voting Locations   5            16
                                   13            8          Early Voting Days        14           14
                                   156           266        Total Hours              840          2,240
                                   28.5%         42.9%      Percent Early Votes      12.5%        37.1%
                                   65.8%         67.3%      Turnout                  65.9%        60%


                                   Among their like-sized peer counties, two stand out in their approach
                                   to early voting. Madison County offered the highest density of early
                                   voting locations with its four early voting locations, one for each 2,960
                                   registered voters. But it only offered early voting during the mandatory
                                   period and for limited hours. Pinellas County, on the other hand,
                                   RIIHUHGÀYHHDUO\YRWLQJORFDWLRQVIRUDSRSXODWLRQPRUHWKDQWLPHVDV
                                   large – meaning there is one early voting location in Pinellas County for
                                   every 133,366 registered voters. But its early voting locations were open
                                   from 7 am to 7 pm daily for the entire two-week period of early voting.
                                   The result is only 12.5% of those who voted in Pinellas County voted
                                   early. It is important to note that Pinellas County has emphasized vote-
                                   by-mail, with 50.4% of its 2018 General Election voters voting by mail.

                                   Ultimately, what matters is that enough early voting is available that
                                   voters can vote without missing work or incurring unnecessary child-
                                   care expenses. The fact that Black voters are the one demographic most
                                   likely to vote early makes limiting early voting availability especially
                                   troubling. Our state, and nation, has a record of disenfranchising our
                                   Black neighbors that it has yet to remedy. Expansive early voting is a
                                   relatively small step that would effectively ensure our democracy bene-
                                   ÀWVIURPSDUWLFLSDWLRQRIDOORXUFLWL]HQV




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                                    Where Early Voting is Held
                                    (YHU\6XSHUYLVRURI(OHFWLRQV·PDLQRIÀFHPXVWKRVWHDUO\YRWLQJ(YHU\
                                    county must also offer early voting at least as many locations as it did in
                                    the 2012 General Election.

                                    In 2018, most of the state’s 367 early voting locations were public librar-
                                    ies (145), followed by community centers (69), civic centers (21), city
                                    halls (15) and county commission buildings (13). In addition, 17 wild-
                                    card locations were used: (4) churches, (2) universities, a country club
                                    in St. Johns County, a Madison CountyÀUHGHSDUWPHQWDUHFHSWLRQ
                                    hall in Lake County, a skating rink in Pasco County, and a museum
                                    in Polk County.




27. Let Florida Vote: Early Voting Access
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Equity in Polling
Places




                                     Overview
                                     While Florida law sets some limits and requirements, supervisors of
                                     HOHFWLRQVXOWLPDWHO\GHFLGHZKHUHYRWLQJKDSSHQVDQGKDYHJUHDWLQÁX-
                                     ence on how many precincts a county has.

                                     Supervisors of elections’ decisions about where polling places are lo-
                                     cated and the number of precincts and polling places impact how many
                                     people, and who, votes on Election Day. Research has shown that voters
                                     are less likely to vote the further they must travel to their polling place,
                                     with estimates of 2%-5% reductions in turnout for every quarter mile
                                     increase. Factoring in other costs results in even higher rates of voter
                                     suppression.16

                                     Reducing the number of polling locations likewise has been shown to
                                     UHGXFHWXUQRXWZLWKRQHVWXG\ÀQGLQJDFRQVROLGDWLRQUHVXOWHGLQD
                                     reduction.17 What sort of location is used for voting also matters. Voting
                                     LQFKXUFKHVKDVEHHQVKRZQWRLQÁXHQFHYRWHUFKRLFHRQVDPHVH[PDU-
                                     riage, anti-abortion and other referenda on social issues18, while voting
                                     in schools seems to be related to increased support for school funding
                                     measures.19

                                     16 Enrico Cantoni, A Precinct Too Far: Turnout and Voting Costs, AMERICAN ECONOMIC
                                        JOURNAL: APPLIED ECONOMICS, 12 (1): 61-85 (2020). See also John Gibson, et al, Time to
                                        Vote?, Public Choice, Vol. 156, No. 3/4 (2013).
                                     17 Henry E. Brady & John E. McNulty, Turning Out to Vote: The Costs of Finding and Getting to
                                        the Polling Place, THE AMERICAN POLITICAL SCIENCE REVIEW 105:115-134 (2011).
                                     18 Jordan P. LaBouff, Wade C. Rowatt, Megan K. Johnson, & Callie Finkle, Differences in
                                        Attitudes towards Outgroups in Religious and Non-Religious Contexts in a Multi-National
                                        Sample: A Situational Context Priming Study, INTERNATIONAL JOURNAL FOR THE
                                        36<&+2/2*<2)5(/,*,21  36<&+2/2*<2)5(/,*,21  
                                     19 Jonah Berger, Marc Meredith & S. Christian Wheeler, Contextual priming: Where people vote
                                        affects how they votes, PNAS 105(26):8846-8849 (2008).


28. Let Florida Vote: Equity in Polling Places
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                                           EQUITY IN POLLING PLACES



                                         LEGAL REQUIREMENTS
                                         Polling Places
                                            »    Public, tax-supported buildings must be available for use as
                                                 polling places at request of supervisor of elections.
                                            »    Can only be moved more than 30 days before election.
                                            »    Must be within, or contiguous to, precinct.
                                            »    If a polling place is moved, notice must be mailed to each
                                                 voter at least 14 days before the election. Public notice in the
                                                 newspaper and on the supervisor of election website must be
                                                 posted between 30 days and 7 days before the election.

                                         Precincts
                                            »    Board of county commissioners decides, upon recommenda-
                                                 tion and approval of local supervisor of elections.
                                            »    Must be contiguous and compact.
                                            »    Cannot be changed without consent of supervisor of elections
                                                 and a majority of county commissioners.



                                     Recommendations
                                       »   Equitably balance the number of eligible voters in each precinct.
                                       »   Make sure there is an equitable number of voting machines and
                                           booths in each polling place.
                                       »   Make any decision to move or close a polling location transparently,
                                           with public notice and invitation for public comment.
                                       »   Prioritize the use of sites authorized for early voting.
                                       »   Choose centrally located polling places.
                                       »   &KRRVHSROOLQJSODFHVWKDWDUHHDV\WRÀQGDQGJHWLQDQGRXWRI
                                           quickly.
                                       »   Review wait times to identify overburdened or under-resourced
                                           precinct and polling locations.
                                       »   Replace polling places that require passing through gates and/or
                                           heightened security protocols not expected with voting.
                                       »   Prohibit polling places from posting propaganda near voting areas.



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                                     Polling Place Equity in the 2018 General Election

                                     Where We Vote
                                     In the 2018 General Election, most polling locations, 59%, were pri-
                                     vate buildings. More than a third were religious buildings. Only 41% of
                                     polling locations were public, with small counties using public buildings
                                     45% of the time.

                                     Ultimately, 40% of Florida voters
                                     are assigned to vote in religious
                                     buildings, with another 22% as-
                                     signed to other private buildings.
                                     Voters must feel welcome and
                                     comfortable voting in these facili-       37%                 39%
                                     ties. Local supervisors of elections    Religious            Public
                                     must ensure that polling locations
                                     allow unencumbered public access
                                     and do not display propaganda in
                                     SROOLQJURRPVWKDWFRXOGLQÁXHQFH                  25%
                                     or offend voters. They must also                   Private
                                     ensure public funds are not wasted
                                     on private facilities when public
                                     buildings are made available for
                                     voting by Florida law.

                                     Ten large counties used religious sites for more than half their polling
                                     locations, with Lee, Leon and Polk counties relying on them most
                                     heavily. By contrast, only four large counties used public buildings
                                     for more than half their polling locations: Osceola, Miami-Dade,
                                     Broward and Palm Beach. Pasco County was the only large county
                                     that used private buildings more often than both religious and public
                                     buildings, while only 10% of Miami-Dade’s polling locations were pri-
                                     vate, non-religious buildings.

                                     Of the mid-size and rural counties, Okaloosa, Hernando and Santa
                                     Rosa counties relied heavily on religious locations. Sumter, Flagler
                                     and Charlotte counties used mostly public buildings.

                                     Nearly half of the state’s small counties used public buildings for polling
                                     locations at least half of the time. Notably, Bradford County was the
                                     only county in the state that did not use a public building as a polling
                                     location – 10 of its 14 polling locations were religious buildings.

                                     Election administrators should examine local voter turnout trends and
                                     voter feedback to ensure the locations used for voting are accessible by
                                     all.




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                                     Precinct Density
                                     3UHYLRXVUHVHDUFKKDVLGHQWLÀHGGLVSDULWLHVLQWKHWLPHYRWHUVZDLWWR
                                     vote. One reason for longer waits can be that the precinct is too large
                                     – too many people are assigned to the same polling location. Such
                                     crowded facilities effectively suppress voting by increasing the cost of
                                     voting in the form of lost time, lost wages, and increased caregiver ex-
                                     penses. During the current pandemic, such crowds will further suppress
                                     voting as people weigh the risk of infection.

                                     An average of 2,258 active registered voters were assigned to precincts
                                     in Florida during the 2018 General Election, with an average 500 votes
                                     cast at each precinct. Multiple precincts are sometimes assigned to the
                                     same polling place. Large counties assigned an average 2,232 registered
                                     people per polling location, while precincts in small counties averaged
                                     1,467 active registered voters. Mid-size counties averaged the largest
                                     precinct size at 3,138.

                                       »   In large counties, average precinct size varied from 1,182 regis-
                                           tered voters per precinct in Palm Beach County to 3,796 per
                                           precinct in Seminole County.
                                       »   In mid-size and rural counties, average precinct size varied from
                                           2,082 per precinct in Charlotte County to 4,183 in Hernando
                                           County.
                                       »   Small counties had the greatest variety, with a low of an average
                                           522 registered voters per precinct in Glades County to a high of
                                           4,453 per precinct in 1DVVDX&RXQW\.


31. Let Florida Vote: Equity in Polling Places
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                                     The highest number of people assigned to a single polling place was
                                     the mid-sized Indian River County, where 13,415 registered voters
                                     were assigned to vote at the Intergeneration Recreation Center in Vero
                                     Beach. Ultimately, 3,139 voted on election day in the precinct, six times
                                     the state average. Within counties, there was much variety in precinct
                                     size.

                                                 Average Precinct in County           Largest Precincts
                                                                Registered Election                                    Registered Election
                                                 County         Voters     Day Voters Location                         Voters     Day Voters
                                                 Pasco          3,200      796        Heritage Springs Clubhouse       8,974      2,385
                                                 Sarasota       3,216      725        Sarasota Baptist Church          8,200      2,186
                                                 Brevard        2,593      686        Moose Lodge #2073                6,671      2,106
                                                 Escambia       2,696      719        Beulah Free Will Baptist Chrch 6,869        2,099
                                     Large       Brevard        2,593      686        Veterans Memorial Complex        10,436     2,077
                                                 Indian River   3,151      705        Intergenerational Rec. Center    13,415     3,139
                                                 St. Johns      4,068      1,017      St. Francis in the Field         10,411     2,728
                                     Mid-size Santa Rosa        3,228      825        St. Sylvester’s Catholic Chrch   11,096     2,349
                                                 Walton         2,393      648        Good News U.M.C.                 8,433      2,190
                                                 Walton         2,393      648        Faith Assembly Church            9,679      2,021
                                     Small       Highlands      2,371      631        Bible Fellowship Church          5,655      1,453




                                     Statewide, the impact of the precinct size on overall turnout in the
                                     2018 General Election negligible, but precinct size did appear to have
                                     DVLJQLÀFDQWLPSDFWLQVRPHFRXQWLHV$VLPSOHOLQHDUUHJUHVVLRQZDV
                                     calculated, by county, to predict turnout based on the number of reg-
                                     istered voters assigned to a precinct. For example, in Lee County, a


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                                     VLJQLÀFDQWUHODWLRQVKLS S FRXOGH[SODLQDERXWRIWKHYDUL-
                                     ation in turnout (r2=.100), with larger precincts having lower turnout
                                     rates. However, in several smaller counties, the reverse was often true,
                                     with larger precincts having higher turnout rates.

                                                               Impact of Precinct Size on Turnout
                                                   County             Pearson Coefﬁcient P-value    R2
                                                   Lee                -.317              <.001      .100
                                                   Lake               -.297              .002       .088
                                     Large         Orange             -.160              .012       .026
                                                   Alachua            -.312              .012       .097
                                                   Charlotte          .271               .027       .073
                                     Mid-size      Sumter             .484               .012       .235
                                                   Lafayette          .935               .019       .874
                                                   Madison            -.842              .001       .709
                                     Small         Franklin           -.821              .012       .674




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Ensure Access for All




                                    Ballot Design
                                    Several times over the last two decades, Florida has been in the
                                    headlines for ballot designs that thwarted voters’ intent in close
                                    elections. While the Legislature has passed laws introducing some
                                    parameters and litigation has provided more, supervisors of elections
                                    should collaborate on basic, uniform design guidelines that are tested to
                                    ensure broad understandability.

                                    Recommendations
                                       »      Conduct focus groups to test ballot design and voter education ma-
                                              terials to ensure they are understandable to diverse voters.
                                       »      Instructions should be printed across the top.
                                       »      $OOFDQGLGDWHVIRUWKHVDPHRIÀFHVKRXOGEHOLVWHGRQWKHVDPHSDJH
                                              and in the same column.
                                       »      Ensure sample ballots match actual ballots.
                                       »      Avoid all capital letters, centered text, small font sizes,
                                       »      Use sans-serif fonts, such as Arial, Helvetica, or Clearview ADA,
                                              and stick to one font.
                                       »      Write materials at the seventh grade level.
                                       »      Allow nonpartisan organizations to review ballots before printing.


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                                    Accessibility
                                    2QHLQÀYHYRWHUVKDVDGLVDELOLW\7RHQVXUHWKH\FDQYRWH)HGHUDODQG
                                    state laws require voter registration and voting be accessible for people
                                    with disabilities:

                                       »      A voter can have anyone, other than the voter’s employer or union,
                                              help them vote. The Supervisor of Elections must also provide staff
                                              to help. Getting help at the polls does require an extra form, but
                                              VWDIIFDQDVVLVWÀOOLQJRXWWKHQHFHVVDU\SDSHUZRUN
                                       »      Every polling location has to have a touch screen or other accessible
                                              device for marking ballots.
                                       »      When voting by mail, a voter can have anyone, aside from their
                                              employer or union, help them complete the ballot.
                                       »      Supervisors of Elections must offer supervised voting at assisted
                                              living facilities for groups of more than four at the request of the
                                              facility’s administrator and can do so without a request.
                                       »      Polling places must be accessible. The federal VOTE program pro-
                                              vides grants to counties to help make polling places accessible.

                                    Breaking Language Barriers
                                    Federal law requires all election material available in English also
                                    be available in Spanish throughout Florida. Several counties are also
                                    subject to the requirement for locally produced materials – according to
                                    a recent court case, 32 of Florida’s counties must do so.20

                                    The Florida Department of State is adopting rules requiring Spanish-
                                    language ballots and materials in every county. The ballot must also be
                                    available in other languages, as required by federal law or court order.
                                    Supervisors of election have discretion to offer other translations.21

                                    Recommendations
                                       »      6WDIIRIÀFHVDQGRUSROOLQJORFDWLRQVZLWKELOLQJXDOVWDIIRU
                                              volunteers.
                                       »      Provide language assistance hotlines.
                                       »      Provide signage, materials and forms in Spanish and other fre-
                                              quently spoken languages in the community.
                                       »      Work with community groups to ensure appropriate language voter
                                              education is available.




                                    20 Rivera Madera v. Lee, 1:18-CV-152-MW/GRJ, 2019 WL 2077037 (N.D. Fla. May 10, 2019).
                                    21 See Rules 1S-2.032 and 1S-2.034 F.A.C., available at ZZZÁUXOHVRUJ.


35. Let Florida Vote: Ensure Access for All
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                                    Voting From Jail
                                    Each election, there are a number of Floridians eligible to vote who
                                    DUHFRQÀQHGWRMDLO'XULQJWKH1RYHPEHU*HQHUDO(OHFWLRQPRUH
                                    than 55,000 people were in Florida jails. Only 22% were in jail due to
                                    felony convictions.22 More than half were awaiting trial – innocent until
                                    proven guilty. In some counties, more than 90% of their jail population
                                    was awaiting trial.

                                    These Floridians are eligible to register to vote by mail but going
                                    WKURXJKWKDWSURFHVVFDQEHGLIÀFXOW23

                                    Recommendations
                                       »      Visit the county jail regularly to ensure open communication and
                                              ease administration with jail administration.
                                       »      Visit the jail to pick up VBM ballots.
                                       »      Negotiate processes and policies with jail administrators to ensure
                                              voting access.
                                       »      Provide educational materials, signage, necessary forms, and
                                              postage-paid return envelopes for ballots including at an Election
                                              Information Kiosk within the jail.

                                    Potential Allies & Resources

                                        Voting in Jail: An Organizer’s                    The ACLU of Ohio has pub-
                                        Toolkit                                           lished a toolkit to use in regis-
                                        www.acluohio.org/jailvoting                       tration drives and advocacy.


                                    22 Fla. Dept. of Corrections, Florida County Detention Facilities Average Inmate Population,
                                       November 2018.
                                    23 Fla. Op. Atty. Gen., 075-187, July 3, 1975. See also O’Brien v. Skinner, 414 U.S. 524 (1974).


36. Let Florida Vote: Ensure Access for All
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                                    Voting While Homeless
                                    On an average day in January 2019, 28,591 Floridians were experi-
                                    HQFLQJKRPHOHVVQHVV0DQ\DUHHOLJLEOHWRYRWHEXWIDFHVLJQLÀFDQW
                                    barriers. They may not have an address and assume that they cannot
                                    vote or register without one. They may not have access to transporta-
                                    tion to their polling place.

                                    Recommendations
                                       »      Develop relationships with homeless shelters and service providers
                                              to ensure those experiencing homelessness have access to voter
                                              education and necessary forms.
                                       »      Ensure early voting and polling locations are placed in communi-
                                              ties accessible to those experiencing homelessness who may not
                                              have personal transportation.
                                       »      Provide postage-paid return envelopes for vote-by-mail ballots and/
                                              or pick up ballots from shelters.
                                       »      3URYLGHIRUPVÁ\HUVVLJQDJHDQGJXLGHVIRUGLVWULEXWLRQ

                                    Potential Allies & Resources

                                        National Coalition for the          You Don’t Need a Home to Vote
                                        Homeless                            Campaign
                                        www.nationalhomeless.org            promotes voter access for low
                                                                            income and homeless persons. It
                                                                            publishes resources to use in regis-
                                                                            tration drives and advocacy.




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Recent Developments in
Election Administration Law




                                   Election Calendar
                                   In 2018, the Florida Legislature pushed the primary election date back
                                   by one week to allow more time for election preparations. Primary
                                   elections are now held 11 weeks before general elections.24 Other dates,
                                   like qualifying periods and vote-by mail deadlines, have also changed.

                                   Ballot Design
                                   The U.S. District Court of the Northern District of Florida ruled a
                                   ODZUHTXLULQJFDQGLGDWHVIURPWKH*RYHUQRU·VSDUW\EHOLVWHGÀUVWRQ
                                   the ballot is unconstitutional.25 It is unclear how local supervisors of
                                   election will implement this. Some have suggested rotating the party
                                   order, while others have suggested listing candidates in alphabetical
                                   order.

                                   In 2018, the Florida Legislature passed a law requiring ballot instruc-
                                   tions be either centered across the top or in the leftmost column of the
                                   ballot and that all vote targets be ovals.26

                                   24 Fla. Stat. § 100.061.
                                   25 Jacobson v. Lee&90:&$6:/ 1')OD1RY  ÀQGLQJ)OD
                                      Stat. § 101.151(2)(a) unconstitutionally burdened First and Fourteenth Amendment rights).
                                   26 Fla. Stat. § 101.151.


39. Let Florida Vote: Recent Developments in Election Administration Law
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                                   Foreign Languages
                                   The Florida Department of State is adopting rules requiring Spanish-
                                   language ballots and materials in every county following a court ruling
                                   requiring local supervisors of elections in 32 counties to produce local
                                   election materials in Spanish. 27 The ballot must also be available in
                                   other languages, as required by federal law or court order. Supervisors
                                   of elections have discretion to offer other translations.28

                                   Vote By Mail
                                   In 2018, the Florida Legislature revised vote by mail by:

                                     »   Increasing the time available for processing VBM ballots from 15
                                         days to 22 days before the election.
                                     »   Requiring drop boxes for VBM ballots at early voting sites and SOE
                                         PDLQDQGEUDQFKRIÀFHVDQGUHTXLULQJ9%0LQVWUXFWLRQVLQFOXGH
                                         drop-off locations.
                                     »   $OORZLQJYRWHUVWRXSGDWHWKHLUVLJQDWXUHRQÀOHXQWLOD9%0EDOORW
                                         is received.
                                   6LJQLÀFDQWFKDQJHVZHUHPDGHWRWKHVLJQDWXUHPDWFKDQGFXUHSURFHVV
                                   for both VBM and provisional ballots:

                                     »   VBM and provisional ballots may only be rejected if the Canvassing
                                         %RDUGÀQGVWKDWWKH9%0VLJQDWXUHGRHVQRWPDWFKWKHVLJQDWXUH
                                         of record beyond a reasonable doubt.
                                     »   The SOE must notify the voter as soon as practicablHE\ÀUVW
                                         class mail and by either email, text message or telephone.
                                     »   To have their vote counted, a voter whose ballot has been rejected
                                         IRUVLJQDWXUHPLVPDWFKPXVWVXEPLWLGHQWLÀFDWLRQDQGDFXUHDIÀ-
                                         GDYLWE\SPWKHVHFRQGGD\DIWHUWKHHOHFWLRQ.
                                   See discussion of vote by mail at page 14 for more on current timelines
                                   and requirements.

                                   Early Voting On Campuses
                                   In April 2020, the State agreed to fully allow early voting on university
                                   campuses under a settlement in a lawsuit brought by the League of
                                   Women Voters.29 Secretary of State Laurel M. Lee advised supervisors
                                   of elections that Florida law should be read to allow placing early voting
                                   sites on college campuses “consistent with the purpose of each county
                                   having a network … of early voting sites placed … to provide all voters
                                   … an equal opportunity to cast a ballot.”30

                                   27 Rivera Madera v. Lee, 1:18-CV-152-MW/GRJ, 2019 WL 2077037 (N.D. Fla. May 10, 2019).
                                   28 See5XOHV6DQG6)$&DYDLODEOHDWZZZÁUXOHVRUJ
                                   29 Scott Powers, Early-voting lawsuit settled; elections supervisors can set-up early voting on
                                      college campuses, Florida Politics (April 3, 2020).
                                   30 Fla. Secretary of State Laurel M Lee, Directive 2020-01 (April 2, 2020).


40. Let Florida Vote: Recent Developments in Election Administration Law
     Case
     Case4:21-cv-00187-MW-MAF
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                                   Voting Technology
                                   In 2018, the Florida Legislature required all votes be tabulated based
                                   RQDQHOHFWURQLFVFDQRIDYRWHUYHULÀDEOHSDSHUEDOORW%HFDXVHDOOYRW-
                                   ing equipment will need to meet the same accessibility requirements,
                                   voters with and without disabilities will now be using the same sys-
                                   tems. Four counties, Glades, Jefferson, Miami-Dade and Palm Beach,
                                   were the only counties not already using compliant systems, and they
                                   have since adopted compliant systems.31




41. Let Florida Vote: Recent Developments in Election Administration Law
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LOCAL VOTING RIGHTS ADVOCACY 101
WHY LOCAL
While national, or even state, voting rights issues get a lot of news coverage, many important decisions im-
SDFWLQJ\RXUULJKWWRYRWHKDSSHQULJKWLQ\RXUFRPPXQLW\<RXU6XSHUYLVRURI(OHFWLRQVZKRLVDQHOHFWHG
RIÀFLDOGHFLGHVZKHUH\RXZLOOYRWHZKHQ\RXFDQYRWHHDUO\ZKRZLOOKHOS\RXRQHOHFWLRQGD\DQGKRZ
they will be trained, how your signature on your vote-by-mail ballot will be validated and just how much as-
sistance you will able to get navigating the voting process. For some populations, such as the elderly, those
with disabilities, college students and others who move often, those without a permanent address or those
held in jail, these decisions can result in insurmountable obstacles.

WHERE TO START
:KLOHPDQ\VSHFLÀFVZLOOGHSHQGRQWKHSUDFWLFHVDQGSROLWLFDOFOLPDWHLQ\RXUFRXQW\WKLVURDGPDSFDQ
shed some light on your path.

  Step 1. Research.
  Use this report and other resources understand voting access and identify the issues most important to you and
  your community. Take some time to research how the issue plays out in your community and understand local
  relationships and stakeholders. Visit the Florida Department of State’s Division of Elections website, https://dos.
  P\ÁRULGDFRPHOHFWLRQVWRÀQG\RXUORFDOVXSHUYLVRURIHOHFWLRQDQGWKHLUZHEVLWHZKLFKVKRXOGEHDJRRGVWDUWLQJ
  place for your research.

  Step 2. Gather allies.
  It is important to build a coalition of allies who can meet regularly to plan your voting access advocacy campaign.
  Identify organizations working on civil rights, elections and similar issues, in your community, many of whom are
  LGHQWLÀHGLQWKLVUHSRUW5HDFKRXWWRWKHPDQGRWKHUV\PSDWKHWLFRUJDQL]DWLRQVWKDWFRXOGKHOS%HVXUHWRLQFOXGH
  IDLWKOHDGHUVEXVLQHVVOHDGHUVWKRVHZLWKSROLWLFDOFRQQHFWLRQVRULQÁXHQFHDQGWKRVHLPSDFWHGE\H[LVWLQJEDUUL-
  ers to voting in your working group.

  Step 3. Prioritize and plan.
  Within your working group, agree on a goal, strategy, and roles. What policy do you want adopted locally? Who is
  LPSDFWHGE\WKLVSROLF\":KRZRXOGRSSRVHDFKDQJH":KDWLQÁXHQFHGRSHRSOHLQ\RXUJURXSRUWKHLUDFTXDLQ-
  tances, have with key policymakers and stakeholders?

  Step 4. Develop your message.
  Once your goal and path are set, develop a set of talking points to clearly convey your message to leaders, commu-
  nity members, and media. Partner organizations can help. Let these talking points guide your policy conversations
  to keep you focused on your goal.

  Step 5. Build local relationships.
  6FKHGXOHDPHHWLQJZLWK\RXU6XSHUYLVRURI(OHFWLRQVWRVKDUH\RXUFRQFHUQVDQGDVNIRUWKHVSHFLÀFSROLF\
  FKDQJH V %HFROODERUDWLYHEXWÀUP&RPHZLWKVROXWLRQVEXWEHRSHQWRWKHLUH[SHULHQFH<RXFDQDOVRKRVWDSXE-
  lic forum, especially during election season, and ask the supervisor of elections, and any candidates, to attend. Be
  VXUHWRLQYLWHORFDOVWDNHKROGHUVHOHFWHGRIÀFLDOVFRPPXQLW\OHDGHUVDQGPHGLD3UHSDUHTXHVWLRQVDKHDGRIWLPH
  to highlight the importance of your policy goal. After each meeting or forum, regroup with your working group to
  plan the next round of advocacy.

  Step 6. Get your message out.
  Letters to the Editor, Editorials, news interviews and public forums are all great ways to engage and inform the
  public to grow support for your campaign.



     42. Let Florida Vote: Local Voting Rights Advocacy 101
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ENSURE VOTES ARE COUNTED


Florida law requires votes be counted unless canvassing
                                                                         2020 KEY DATES
boards are convinced beyond a reasonable doubt that the
                                                                         PRIMARY
VBM signature does not match the signature of record.
                                                                         JULY 19
Very few ballots should be rejected under this standard.                 LAST DAY TO MOVE POLLING
                                                                         LOCATION
Handwriting analysis is a profession, not a workshop.
                                                                         GENERAL

                                                                         OCTOBER 4
Best Practices                                                           LAST DAY TO MOVE POLLING
                                                                         LOCATION DAY TO REQUEST VBM
                                                                         BALLOT
Increase vote-by-mail participation
                                                                         AUGUST 20
 »   Include prepaid postage for VBM.                                    DEADLINE TO CURE SIGNATURE
 »   Launch a public education campaign to educate voters on VBM         MISMATCHES OR PROVISIONAL
                                                                         BALLOTS
     requirements.
 »   Offer a voter assistance hotline.                                   GENERAL
 »   3LFNXS9%0EDOORWVDWSRVWRIÀFHRQHOHFWLRQGD\                  SEPTEMBER 19
 »   Send reminders to those who have requested VBM ballots.
                                                                         UOCAVA BALLOTS SENT

 »   Offer online VBM tracking tools that incorporate text or email      SEPTEMBER 24 – OCTOBER 1
     QRWLÀFDWLRQV                                                       VBM BALLOTS SENT

Reduce unnecessary rejections                                            OCTOBER 12
                                                                         VBM CANVASSING BEGINS
 »   Incorporate computer-based signature matching software to re-
     duce unnecessary rejections.                                        OCTOBER 24
                                                                         LAST DAY TO REQUEST VBM
 »   States that widely use vote-by-mail rely on computer-based signa-   BALLOT
     ture matching and have very low reject rates.
                                                                         NOVEMBER 5
 »   +DYHDVHFRQGUHYLHZRI9%0EDOORWVWKDWKDYHEHHQÁDJJHGIRU      DEADLINE TO CURE SIGNATURE
     signature mismatch to correct false rejections.                     MISMATCHES OR PROVISIONAL
                                                                         BALLOTS




     43. Let Florida Vote: Ensure Votes Are Counted
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Why?
»   5HMHFWHG9%0EDOORWVKXUWXVDOO9RWHUFRQÀGHQFHLVYLWDOWRFRQWLQXHGFLYLFHQJDJHPHQWDQGYRWHUV
    ZKRFKRRVHWRYRWHE\PDLODOUHDG\KDYHOHVVFRQÀGHQFHWKDWWKHLUYRWHFRXQWHG+DYLQJWKHLUEDOORW
    UHMHFWHGFRQÀUPVWKHLUIHDUV
»   Improves voting access for seniors, some disabled voters, and those with hectic schedules that make
    YRWLQJLQSHUVRQGLIÀFXOW
    –   RI)ORULGLDQVZKRGLGQ·WYRWHFLWHGVFKHGXOHFRQÁLFWVDVWKHPDLQUHDVRQWKH\GLGQ·WYRWHLQ
    –   10% were out of town on election day.
»   5HGXFHVVWUDLQRQ(OHFWLRQ'D\UHVRXUFHVUHVXOWLQJLQVKRUWHUOLQHVDQGHDVLQJVWUHVVRQHOHFWLRQRIÀ-
    cials, volunteers and voters.



                                                    But What About...


                                                                                             
                       No budget for that                                         Personal Responsibility
    Similar counties are ﬁnding a way to make this work. Vote-     Voting is a constitutional right, not a privilege. The State
    by-mail relieves pressure on polling places on Election Day,   should do everything possible to make sure anyone who
    reducing the need for additional polling locations. Have       wants to vote, can vote, and can vote without paying the cost
    you asked the commission for more funding? What can the        of missed work or additional childcare expenses.
    community do to help?




     44. Let Florida Vote: Ensure Votes Are Counted
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EXPAND EARLY VOTING



Best Practices                                                         2020 KEY DATES
 »   Ensure early voting locations are accessible to all.              PRIMARY
     –   Prioritize communities where voters are most likely to vote   JULY 19
         early, such as Black neighborhoods and business districts.    DEADLINE FOR SOE TO
     –   Use college campuses are early voting sites to promote        DESIGNATE EARLY VOTING SITES
         youth participation.
                                                                       AUGUST 3
 »   Offer enough early voting locations to prevent long wait times    OPTIONAL EARLY VOTING PERIOD
     and offer non-business hours.                                     BEGINS
 »   Prioritize keeping early voting open through the Sunday be-       AUGUST 8 -AUGUST 15
     fore the election.                                                MANDATORY EARLY VOTING
     –   Weekend voting has the highest use per hour, with Sunday
                                                                       PERIOD
         being the highest.                                            AUGUST 16
 »   Ensure SOE staff is accessible to voters on the weekends          OPTIONAL EARLY VOTING PERIOD
     GXULQJHDUO\YRWLQJSHULRGHLWKHULQWKHRIÀFHRUE\SKRQH      GENERAL

                                                                       OCTOBER 4
                                                                       DEADLINE FOR SOE TO
                                                                       DESIGNATE EARLY VOTING SITES
Early voting gives responsible                                         OCTOBER 19
Americans across the country the                                       OPTIONAL EARLY VOTING PERIOD
                                                                       BEGINS
ability to have their voice heard, even                                OCTOBER 24 -OCTOBER 31
if they can’t make it to the polls on                                  MANDATORY EARLY VOTING
                                                                       PERIOD
Election Day.                                                          NOVEMBER 1
                                                                       OPTIONAL EARLY VOTING PERIOD




     45. Let Florida Vote: Expand Early Voting
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Why?
»   Our democracy is stronger when every eligible voter can cast a vote.
»   (DUO\YRWLQJPDNHVYRWLQJPRUHDFFHVVLEOHIRUSHRSOHIRUZKRPYRWLQJRQHOHFWLRQGD\LVGLIÀFXOW
    –   RI)ORULGLDQVZKRGLGQ·WYRWHFLWHGVFKHGXOHFRQÁLFWVDVWKHPDLQUHDVRQWKH\GLGQ·WYRWHLQ
    –   10% were out of town on election day.
»   (DUO\YRWLQJUHOLHYHVORQJOLQHVRQ(OHFWLRQ'D\HDVLQJVWUHVVRQHOHFWLRQRIÀFLDOVYROXQWHHUVDQG
    voters.
»   Reduces the need for provisional ballots as voters can vote at any early voting location.
»   Early voting is increasing in popularity



                                                   But What About...


                                                                                                           
    Staff needs a break                    No budget for that            Sunday voting is                Personal
                                                                          anti-religious               Responsibility
    Other counties and busi-              Similar counties are
    nesses have learned to                ﬁnding a way to make         Many churches have led       Voting is a constitutional
    stagger workers in shifts             this work. Early voting      the charge to increase       right, not a privilege. The
    so enough are available               relieves pressure on poll-   access to the polls, orga-   State should do every-
    to cover new hours.                   ing places on Election       nizing Souls to the Polls    thing possible to make
                                          Day, reducing the need       activities to encourage      sure anyone who wants
                                          for additional polling lo-   civic engagement.            to vote, can vote, and
                                          cations. Have you asked      Jewish and Seventh-          can vote without paying
                                          the commission for more      day Adventist voters         the cost of missed work
                                          funding? What can the        celebrate the sabbath on     or additional childcare
                                          community do to help?        Saturday.                    expenses.




     46. Let Florida Vote: Expand Early Voting
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ENSURE EQUAL ACCESS TO POLLS



Best Practices                                                                 2020 KEY DATES
                                                                               PRIMARY
»   Ensure a transparent, highly publicized, decision to close or              JULY 19
    move any polling place.                                                    LAST DAY TO MOVE POLLING
»   Prioritize the use of sites authorized for early voting.                   LOCATION

»   &KRRVHSROOLQJSODFHVWKDWDUHHDV\WRÀQGDQGJHWLQDQGRXW             GENERAL
    of quickly.
                                                                               OCTOBER 4
»   Replace polling places that require passing through gates and/             LAST DAY TO MOVE POLLING
    or heightened security protocols not expected with voting.                 LOCATION
»   Review wait times to identify overburdened or under-re-
    sourced precinct and polling locations.
»   Ensure precincts have similar voting populations and polling
    places are centrally located.
»   Prohibit polling places from posting propaganda near the
    voting area.


Why?                                                      But What About...
»   Our democracy is stronger when every eligible
    voter can cast a vote.
»   Every voter should have an equal opportunity                                 Similar counties are ﬁnding a way
    to vote.                                                                     to make this work. Early voting
»   Black voters, low-income voters and those liv-
    ing in more densely populated areas are more
                                                                                relieves pressure on polling places
                                                                                 on Election Day, reducing the need
    likely to wait, and wait longer, to vote.                  No budget for     for additional polling locations.
                                                                   that          Have you asked the commission
                                                                                 for more funding? What can the
                                                                                 community do to help?



    47. Let Florida Vote: Ensure Equal Access to Polls
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Appendix




48. Let Florida Vote:
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           Case
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          9RWHE\0DLO%DOORWVLQWKH*HQHUDO(OHFWLRQ




         ACLUFlorida:ReportonVote-by-MailBallotsinthe2018
         GeneralElection
         Dr.DanielA.Smith&AnnaBaringer

         UniversityofFlorida


         Summary
         This report examines the rates of rejected vote-by-mail (VBM) ballots cast in Florida’s 2018
         GeneralElection. ItprovidesstatewideVBMrejectionratescastbyagecohorts,racialandethnic
         groups,overseas(militaryandcivilian)voters,domesticmilitaryvoters,andfirst-timevoters.It
         comparestheseratesacrossFlorida’s67counties. Wefindthatyoungervoters,first-timevoters,
         andvotersfrom racial and ethnic minorities are much more likely to cast VBM ballots that are
         rejected by county Canvassing Boards. A high rate of overseas voters also have their VBM
         ballots rejected,particularly military voters stationed overseas, but also those stationed in the
         U.S. There existssubstantialvariationacrossthestate’s67countiesintherejectionratesofVBM
         ballots, indicating a non-uniformity in the way VBM ballots are verified by SOEs and county
         CanvassingBoards.ThereportalsofindscontinuedproblemswiththeprocessingofVBMballots
         initially deemed invalid by SOEs due to a mismatched or missing signature on voter’s
         certificateonthereturnenvelope,buthighlightsthebestpracticesemployedbyPinellasCounty
         toallowvoterstocuretheseballotsthatareinitially"rejectedasillegal."

         PrincipalFindings

             • In the 2018 general election, as in past elections, Florida voters were much more likely to
               have their vote tabulated and validated if they cast their ballot in person at an Early Voting
               site or at their assigned Election Day precinct than if they cast a mail ballot (commonly
               referred to as “Vote by Mail” (VBM) ballot or absentee ballot);

             • Younger, ﬁrst-time, and racial and ethnic minority voters, as well as overseas and military
               voters, who cast VBM ballots are all at least twice as likely as older and white voters to have
               their VBM ballot rejected in the 2018 general election;

             • Despite changes in the ability of voters to ’cure’ their rejected VBM ballots, the likelihood
               of younger and minority voters casting a mail ballot that was rejected increased in 2018
               compared to 2016, while the rejection rate of VBM ballots cast by white voters decreased
               from 2016;

             • There is continued variation in the rejection rates of VBM ballots cast across the state’s 67
               counties.




49 Let Florida Vote         Dr. Daniel A. Smith & Anna Baringer, ACLU Florida: Report on Vote-by-Mail Ballots in the 2018 General Election
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         Policy Recommendations

         To ensure that all eligible voters have an equal access to the voting process and to have their VBM
         ballot processed, tabulated, and accepted as valid:

             • There should be greater statewide uniformity and simplicity in the design of return VBM
               envelopes;

             • There should be greater uniformity in the procedures and training of Supervisors of Elec-
               tions (SOEs), their staff, and Canvassing Boards when processing, validating and, if neces-
               sary, allowing voters to cure their rejected VBM ballots;

             • The Florida Secretary of State should provide a memorandum to SOEs with standardized
               procedures that county election ofﬁcials must follow when notifying voters of a rejected
               VBM ballot and the cure process for missing and mismatched signatures;

             • The Florida statewide voter history ﬁle (the FVRS database) should include information
               about why a voter’s mail ballot was rejected, including whether it was rejected because it
               lacked a signature or the voter’s signature was mismatched, and if the voter attempted to
               cure the VBM ballot if it was ﬂagged as invalid, and if that cure was successful;

             • The Florida Division of Elections should provide “best practices” guidelines, drawing on the
               procedures of counties with the lowest rejection and highest cure rates of VBM ballots.




50 Let Florida Vote       Dr. Daniel A. Smith & Anna Baringer, ACLU Florida: Report on Vote-by-Mail Ballots in the 2018 General Election
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         Voting by Mail in the Sunshine State

         Vote-by-mail (VBM) ballots, also known as mail ballots and absentee ballots, have become a staple
         of Florida elections. Over 2.67 million Floridians, or 31.9% of all ballots cast in the 2018 general
         election, were VBM ballots. Yet, when compared to the rejection rates of ballots cast early in-
         person and on Election Day, voters who vote by mail in the Sunshine State are disproportionately
         more likely to have their ballot rejected by a county Canvassing Board. As this report documents,
         there is considerable heterogeneity in the rejection rate of VBM ballots in Florida, not only across
         the state’s 67 counties, but equally importantly, within a counties across age groups, across racial
         and ethnic groups, among military and civilian overseas voters, and among ﬁrst-time voters.

             Compared to previous general elections, the statewide rejection rate of VBM ballots cast in
         Florida in 2018 was even higher than in the 2012 and 2016 presidential elections. In both the 2012
         and 2016 presidential elections, the VBM rejection rate was roughly the same—1 percent of all
         VBM ballots cast were rejected. Despite changes in Florida law allowing voters to have more op-
         portunities to “cure” their VBM ballots if they have a problem with the signature on the return
         envelope, the overall statewide rejection rate of the 2.67 million VBM ballots cast in the 2018 gen-
         eral election was 1.2 percent. This rejection rate excludes mail ballots that were received by local
         election ofﬁcials after the 7:00pm Election Day cutoff time that domestic VBM ballots must arrive
         in the Supervisor’s ofﬁce.

            Notwithstanding opportunities for voters to “cure” a missing or mismatched signature on a
         VBM return envelope in the 2018 general election, more than 1/100 VBM ballots cast in the 2018
         contest were ultimately rejected by local elections ofﬁcials, amounting to some 32,176 ballots that
         did not count in the election. Recall that incumbent U.S. Senator Bill Nelson lost to challenger,
         then Governor Rick Scott, by roughly 10,000 votes in the 2018 U.S. Senate race.

            As in previous general elections the rejection rate of mail ballots differs considerably across
         age cohorts and racial and ethnic groups, as well as for military and civilian voters overseas and
         ﬁrst-time voters. The rejection rate of VBM ballots also differs substantially across the state’s 67
         counties. Younger voters, ﬁrst-time voters, as well as racial and ethnic minorities in Florida, are
         disproportionately more likely to cast VBM ballots that are “rejected as illegal” by county Can-
         vassing Boards—but the rates are considerably higher in some counties than in others.

             In addition, there is considerable variation from county to county in the process of allowing
         voters to correct rejected VBM ballots with a“Vote-by-Mail Ballot Cure” Afﬁdavit. Without ques-
         tion, voters casting a VBM ballot that has a signature issue should be held accountable for their
         rejected VBM ballot. Voters who cast ballots by mail assume responsibility to follow instructions
         when ﬁlling out their ballots and returning their envelopes, just as county ofﬁcials assume respon-
         sibility to make sure every valid VBM ballot is counted. Eligible voters should be responsible to
         make sure they cast a valid ballot, taking care to update their signature on ﬁle with their local
         election ofﬁcial and to follow instructions on how to complete the voter’s certiﬁcate on the return
         envelope to avoid mistakes that might spoil their ballot. At the same time, county election ofﬁ-
         cials who are entrusted with processing and validating VBM ballots have considerable discretion
         in processing and validating absentee ballots. As such, local election ofﬁcials, need to be held ac-
         countable for ensuring that all voters have equal access to cast a mail ballot, have that mail ballot
         tabulated fairly, and foster a transparent process to make sure the validation (and possible curing)
         of mail ballots is fairly administered for all eligible voters.



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             When signiﬁcant variation occurs across counties in the rate of rejected VBM ballots, especially
         among different groups of voters (for example, within categories of age, race/ethnicity, military,
         and overseas), it is important to investigate whether all county election ofﬁcials are providing
         clear instructions on how to return a VBM ballot, and to ensure that VBM return envelopes are
         easy to complete. SOEs should also provide the necessary time and equal opportunity for voters
         to cure their VBM ballot if their signature on the return VBM envelope is missing or appears to be
         mismatched.

             In this report, drawing on data from publicly available ﬁles, we document the rejection rates
         of VBM ballots in the 2018 general election, as well as the cure rates across counties.


         Why Might Rejection Rates of VBM Ballots Differ?

         Why might validation rates of VBM ballots differ across age cohorts and racial/ethnic groups? It
         is a given that some voters will fail to follow instructions when ﬁlling out their ballot and return
         envelope. When mailing back their VBM ballots, some voters may fail to sign their name on the
         back of the ofﬁcial mailing envelope as it appears in the county’s ofﬁcial voter registry. Absentee
         voters may disregard an afﬁdavit or date that is required, or simply sign the return envelope in-
         correctly. Some VBM voters may neglect to sign the vote by mail ballot envelope at all.

             It is certainly possible that the differential rates of rejected VBM ballots cast across demo-
         graphic groups may be related to how SOEs process mail ballots, or how the state’s 67 county
         canvassing boards interpret the voter’s certiﬁcate signature and other information on VBM return
         envelopes. Regardless of whether the cause of rejected VBM ballots is voter error or less than ad-
         equate procedures established by local election administrators, in theory, the rate of rejected VBM
         ballots across demographic groups (e.g., age cohorts and racial/ethnic minorities, or ﬁrst-time
         voters) should not differ substantially across counties. Even if there are correlations with age and
         race and ethnicity (such as education) that might lead to higher rates of rejected VBM ballots for
         some demographic groups, VBM rejection rates across demographic groups should be consistent
         across counties; that is, if equal standards are being applied by SOEs, their staff, and Canvassing
         Boards.

             Furthermore, there should be comparable VBM cure rates across counties of ballots cast across
         age cohorts, racial and ethnic groups, and other groups of voters who have their VBM ballot ini-
         tially rejected by a SOE or a Canvassing Board. In the 2018 general election, voters who neglected
         to sign the voter’s certiﬁcate on the VBM envelope, or who signed the voter’s certiﬁcate on the
         envelope but their signature did not match their signature in the registration books, all had an
         opportunity to cure their invalid ballot. Yet the rejection rates of VBM ballots were worse in 2018
         than in 2016 or 2012.




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         Rates of Rejected VBM Ballots Cast in the 2018 General Election by Age Cohort

         In the 2018 general election, a total of nearly 2.6 million Florida voters cast valid and invalid bal-
         lots. As Table 1 shows, however, compared to the 2012 and 2016 presidential elections (as shown
         in Table 2 and Table 3), a higher percentage of VBM ballots were rejected in the 2018 midterm
         election, despite the ability of voters to “cure” their VBM ballot if it was initially ﬂagged as invalid
         by a county SOE. Based on calculations derived from statewide voter ﬁles following each election,
         in the 2012 and 2016 presidential elections, 1 percent of all VBM ballots were rejected by county
         Canvassing Boards. In 2018, the rate increased to 1.2 percent. More than 32,400 VBM ballots were
         rejected in 2018—more than in either of the previous two presidential elections, when roughly
         27,700 (2016) and 23,900 (2012) VBM ballots were rejected, respectively.

             The rejection rates of VBM ballots in all three general elections vary considerably across six age
         cohorts (18-21, 22-25, 26-29, 30-44, 45-64, 65-105), but in all three elections, younger voters were
         disproportionately more likely to have their mailed ballot rejected. In the 2018 general election, as
         Table 1 shows, the rate of rejected VBM ballots cast by the youngest cohort, 18-21 year-olds, was
         5.4 percent, more than eight-times greater than that of the oldest cohort. Although 18-29 year-olds
         comprised only 2.1 percent of all voters who cast a VBM ballot in Florida in 2018, they accounted
         for 9.2 percent of all rejected VBM ballots in the midterm election.

             It should be noted that the rejection rate among the state’s youngest voters (18-21 year-olds)
         in the 2018 election was even higher than in the 2012 or 2016 elections, where 4.2 and 4.0 percent
         of ballots were not counted, respectively. Even amongst the oldest cohort, rejection was higher in
         2018 at 0.64% of ballots "rejected as illegal," compared to only the 0.5 percent rejected in the 2016
         and 2012 elections.

             Among the approximately 133,000 ﬁrst-time voters, 4,137 did not have their ballots counted, a
         rejection rate of 3.1 percent. First time voters accounted for 4.98 percent of the electorate in 2018,
         yet they accounted for 12.7 percent of the rejected ballots.




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                                                        Table 1
                                  Vote-by-Mail Ballots and Age, 2018 General Election


                      Age      Accepted VBM         Rejected VBM         Total VBM       VBM Rejection Rate
                      18-21            52,597                2,978           55,575                     5.4
                      22-25            63,794                2,727           66,521                     4.1
                      26-29            70,736                2,494           73,230                     3.4
                      30-44           313,441                6,708          320,149                     2.1
                      45-64           850,765                9,249          860,014                     1.1
                      65-104        1,288,220                8,277        1,296,497                     0.6
                      Total         2,639,553               32,433        2,671,986                     1.2




                                                        Table 2
                                  Vote-by-Mail Ballots and Age, 2016 General Election

                      Age      Accepted VBM         Rejected VBM         Total VBM       VBM Rejection Rate
                      18-21            71,374                2,984           74,358                     4.0
                      22-25            82,667                2,980           85,647                     3.5
                      26-29            93,736                2,883           96,619                     2.8
                      30-44           312,904                5,030          317,934                     1.7
                      45-64           793,996                5,897          799,893                     0.8
                      65-104        1,015,405                5,088        1,020,493                     0.5
                      Total         2,713,053               27,707        2,740,760                     1.0




                                                        Table 3
                                  Vote-by-Mail Ballots and Age, 2012 General Election

                      Age      Accepted VBM         Rejected VBM         Total VBM       VBM Rejection Rate
                      18-21            67,491                2,941           70,432                     4.2
                      22-25            57,903                2,094           59,997                     3.5
                      26-29            93,736                2,883           96,619                     3.0
                      30-44           312,904                5,030          317,934                     1.6
                      45-64           793,996                5,897          799,893                     0.7
                      65-104        1,015,405                5,088        1,020,493                     0.5
                      Total         2,341,435               23,933        2,365,368                     1.0




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         Rejected VBM Ballots by Racial and Ethnic Groups

         The differential patterns of rejected VBM ballots by age groups are as glaring as the rates of re-
         jected mail ballots cast by racial and ethnic minorities. In the 2018 general election, roughly 0.9
         percent of all VBM ballots cast by white voters were “rejected as illegal” by local Canvassing
         Boards. In contrast, 1.96 percent of VBM ballots cast by Black voters did not count; 2.05 percent
         of VBM ballots cast by Hispanics were rejected; and 2.06 percent of VBM ballots cast by voters of
         other racial or ethnic identities were "rejected as illegal."

             In the 2018 election, the more than 240,000 Black voters who voted with mail ballots accounted
         for nearly 9.0 percent of all VBM ballots cast, but they made up 14.5 percent of all the VBM bal-
         lots that were rejected. Over 356,000 Hispanics cast absentee mail ballots in the election, roughly
         13.4 percent of all VBM ballots cast statewide, but Hispanic mail ballot voters accounted for 22.6
         percent of all the VBM ballots that were not counted. Voters of other racial and ethnic groups
         accounted for only 5.6 percent of all absentee mail ballots cast in the election, but they cast 9.4
         percent of all the rejected ballots. In contrast, in the 2018 general election, white voters cast nearly
         1.9 million VBM ballots, 72.1 percent of all absentee mail ballots; yet, they were responsible for
         only 53.5 percent of those that were rejected by county canvassing boards.

             Relatively speaking, VBM ballots cast by Black, Hispanic, and other racial and ethnic minori-
         ties were more than twice as likely to be rejected as VBM ballots cast by white absentee mail voters
         in 2018. As Table 4 and Table 6 display, the rejection rates of VBM ballots cast by racial and ethnic
         minorities cast in the 2018 general election were even higher than in the 2016 and 2012 General
         Elections.




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                                                      Table 4
                          Vote-by-Mail Ballots by Race and Ethnicity, 2018 General Election

                 Race/Ethnicity   Accepted VBM           Rejected VBM        Total VBM        VBM Rejection Rate
                 Black                   235,541                  4,713         240,254                      1.9
                 Hispanic                349,592                  7,325         356,917                      2.1
                 White                 1,909,279                 17,340       1,926,619                      0.9
                 Other                   145,141                  3,055         148,196                      2.1
                 Total                 2,639,553                 32,433       2,671,986                      1.2




                                                      Table 5
                          Vote-by-Mail Ballots by Race and Ethnicity, 2016 General Election

                 Race/Ethnicity   Accepted VBM           Rejected VBM        Total VBM        VBM Rejection Rate
                 Black                   240,094                  4,683         244,777                      1.9
                 Hispanic                375,345                  6,696         382,041                      1.8
                 White                 1,950,770                 13,558       1,964,328                      0.7
                 Other                   146,844                  2,770         149,614                      1.8
                 Total                 2,713,053                 27,707       2,740,760                      1.0




                                                      Table 6
                          Vote-by-Mail Ballots by Race and Ethnicity, 2012 General Election

                 Race/Ethnicity   Accepted VBM           Rejected VBM        Total VBM        VBM Rejection Rate
                 Black                   219,325                  3,358         222,683                      1.5
                 Hispanic                250,750                  3,310         254,060                      1.3
                 White                 1,761,034                 15,204       1,776,238                      0.9
                 Other                   110,326                  2,061         112,387                      1.8
                 Total                 2,341,435                 23,933       2,365,368                      1.0




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         Rejected VBM Ballots by County

         The rejection rates of VBM ballots cast in the 2018 general election, as in the 2016 and 2012 gen-
         eral elections, varied considerably across the state’s 67 counties. There are several possibilities
         for variable rejection rates of absentee ballots across local election administration jurisdictions.
         First, the design of the mail ballots themselves, or their return envelopes (including their physical
         layout and instructions), differ across counties. Second, Supervisors of Elections, their staff, and
         county Canvassing Boards may have different processes in place when processing and validating
         the VBM ballots they receive. Third, it is possible that voters across counties differ in their capacity
         to properly ﬁll out and return their VBM ballots.

             As noted above, in the 2018 general election, 1.21 percent of the more than 2.6 million VBM
         ballots cast—the votes of over 32,000 Floridians—were rejected as illegal. However, the percent-
         age of rejected VBM ballots across the 67 counties ranges from three counties with no rejected
         VBM ballots (Baker, Hamilton, and, Jefferson), to 10 counties that rejected more than 2 percent
         of all VBM ballots (Alachua, Bay, Broward, Miami-Dade, Gulf, Madison, Marion, Seminole, and
         Volusia). Figure 6 displays the percent of rejected VBM ballots in the 2018 general election across
         counties, with the inset map of Florida showing the geographic distribution of these rejected VBM
         ballots.




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                                                                 Figure 1
                                                VBM Ballot Rejection Rate by County (2018)

                            Gulf
                             Bay
                       Broward
                       Madison
                        Monroe
                         Volusia
                  Miami−Dade
                       Alachua
                           Lake
                      Seminole
                      Lafayette
                      Columbia
                      Okaloosa
                   Santa Rosa
                         Walton
                   Washington
                       St. Lucie
                         Flagler
                     Escambia
                       Calhoun
                  Palm Beach
                       Gilchrist
                          Duval
                           Dixie
                  Okeechobee
                        Wakulla
                        Orange
                        Putnam
                            Levy
                       Osceola
                          Citrus
                  Hillsborough
         County




                      Gadsden
                             Lee
                        Hendry
                        Brevard
                          Collier
                          Taylor
                         Liberty
                         Sumter
                     Highlands
                        Franklin
                            Clay
                       Bradford
                       Manatee
                  Indian River
                          Pasco                                                                           Percent Rejected
                        Holmes
                      Charlotte                                                                                <0.5%
                         Glades                                                                                0.5%−1%
                            Polk
                     Hernando                                                                                  1%−1.5%
                      St. Johns
                        Hardee                                                                                 1.5%−2%
                           Leon                                                                                2%−2.5%
                          Martin
                    Suwannee                                                                                   2.5%−3%
                         Marion
                       Jackson                                                                                 >3%
                      Sarasota
                        Nassau
                        Pinellas
                          Union
                        DeSoto
                      Jefferson
                      Hamilton
                          Baker
                                    0                         1                          2                           3
                                                              Percent VBM Ballots Rejected



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         County Rejected VBM Ballot Rates by Racial and Ethnic Groups

         As the previous section reveals, there is considerable variation in the rejection rates of VBM ballots
         across the state 67 counties. When it comes to the casting of invalid VBM ballots, however, there is
         arguably even greater variation within counties when we break down rejected VBM ballots along
         racial and ethnic groups. Although only 0.9 percent of all VBM ballots cast by white voters were
         rejected in the 2018 election, 1.96 percent of VBM ballots cast by Black voters were rejected, and
         2.05 percent of VBM ballots cast by Hispanic voters were rejected. Figure 2 reports the percent-
         age of VBM ballots cast by Black voters that were rejected in the 2018 general election and Figure
         3 reports the same for rejected VBM ballots cast by Hispanics in the mid-term election in those
         counties that had at least 10 rejected VBM ballots cast by Black and Hispanic voters, respectively.

             Across that state’s 67 counties, the VBM ballot rejection rates for Black voters range from highs
         of 4.6 percent in Bay and Madison counties, to 2.1 percent in Palm Beach county, to a low of 0.2
         percent in Pinellas County, as shown in Figure 2. There was a similar wide range across the coun-
         ties of rejected VBM rates for Hispanics casting a mail ballot, as depicted in Figure 3. In Volusia
         County, 5 percent of VBM ballots cast by Hispanic voters were rejected, followed by Bay County
         at 4.9 percent. Among the other counties that had at least 10 rejected VBM ballots cast by Hispanic
         voters, Pinellas again had the lowest rejection VBM ballot rate, just 0.2 percent.

             In order to more easily visualize the sizeable disparity in the rates of rejected VBM ballots cast
         by Black and Hispanic voters across Florida’s counties, Figure 4 and Figure 5 display the percent-
         age of rejected VBM ballots cast by Black and Hispanic voters in a county, respectively, compared
         to the percentage of rejected VBM ballots cast by White voters in the county. In both plots, if the
         VBM ballot rejection rates were the same for White and Black (or Hispanic) voters, all the counties
         would fall along the diagonal 45 degree dashed lines. In both plots, the horizontal (x-axis) is the
         rejection rate of VBM ballots (from 0 percent to 5 percent) cast by White voters in a county. Along
         the vertical (y-axis) is the rejection rate of VBM ballots cast by Black voters (Figure 4) or Hispanic
         voters (Figure 5) in each county, respectively.

             It is clear from both plots that the nearly every county falls above the 45 degree line, indicating
         that the VBM rejection rates for racial and ethnic minorities greatly exceeds that of White voters
         across Florida’s counties. Among counties with at least 10 rejected VBM ballots cast by Black vot-
         ers, the VBM rejection rate for Black voters ranges from a high of 4.6 percent in Bay County, to 2.9
         percent in Miami-Dade County and 1.8 percent in Duval County, to a low of 0.2 percent in Pinellas
         County. There is a similar range of county rejection rates for Hispanic mail ballot voters, as shown
         in Figure 3. In Volusia County, for example, 5.0 percent of VBM ballots cast by Hispanic voters
         were rejected, followed by Bay County at 4.9 percent. Among the other counties that had at least
         10 rejected VBM ballots cast by Hispanic voters, Pinellas again had the lowest rejection rate—only
         0.2 percent of VBM ballots were rejected.

             The persistent variance in the rate of rejected absentee mail ballots across Florida’s 67 counties
         suggests at a minimum that the VBM ballot envelope design, the civic education efforts by SOEs,
         or evaluation standards used by county SOEs and their Canvassing Boards are not uniform across
         the state.




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                                                                  Figure 2
                                             VBM Rejection Rate of Black Voters by County (2018)
                       Madison
                            Bay
                        Volusia
                         Collier
                           Lake
                      Columbia
                      Seminole
                       Alachua
                  Miami−Dade
                       Broward
                         Flagler
                      Okaloosa
                  Santa Rosa
                     Highlands
                     Escambia
         County




                  Palm Beach
                            Lee
                       St. Lucie
                          Duval
                       Osceola
                        Orange
                       Manatee
                  Hillsborough
                        Brevard
                      Gadsden
                          Pasco
                     Hernando
                            Clay
                            Polk
                         Marion
                           Leon
                        Pinellas
                                   0                        2                        4                         6
                                                           Percent VBM Ballots Rejected
         Note: Excludes counties with less than 10 rejected VBM ballots cast by Black voters.

                                                                  Figure 3
                                           VBM Rejection Rate of Hispanic Voters by County (2018)
                        Volusia
                            Bay
                           Lake
                       Alachua
                  Santa Rosa
                         Flagler
                      Okaloosa
                       Broward
                      Seminole
                       St. Lucie
                  Miami−Dade
                        Monroe
                     Escambia
         County




                  Palm Beach
                            Lee
                        Orange
                        Brevard
                          Duval
                       Osceola
                       Manatee
                         Collier
                          Pasco
                      Charlotte
                  Hillsborough
                            Clay
                     Hernando
                            Polk
                         Marion
                        Pinellas
                                   0                        2                        4                         6
                                                           Percent VBM Ballots Rejected
         Note: Excludes counties with less than 10 rejected VBM ballots cast by Hispanic voters.




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                                                      Figure 4
                  Percent of Rejected VBM Ballots Cast by White and Black Voters, by County (2018)

                                                         5

                                                                                        Madison
                                                                                                              Bay
                                                                                                 Volusia
                                                         4           Collier


                                                                                                Lake
                               Black Rejection Rate


                                                                               Columbia
                                                                                                Seminole
                                                         3
                                                                                               Alachua
                                                                               Flagler
                                                             Highlands
                                                                           Lee
                                                         2
                                                                 Osceola



                                                         1




                                                                                  Note: d
                                                                                        dot size proportional
                                                                                                   o          tto total rejected
                                                                                                                           e     VBM
                                                                                                                                   M ballots cast
                                                                                                                                              as by Black
                                                                                                                                                        k Voters
                                                         0

                                                             0               1                    2                    3                    4                      5
                                                                                           White Rejection Rate
                            Note: Excludes counties with less than 10 rejected VBM ballots cast by Black voters.

                                                      Figure 5
                Percent of Rejected VBM Ballots Cast by White and Hispanic Voters, by County (2018)

                                                         5                                                         Bay


                                                                                                Lake

                                                                                   Alachua
                                                         4
                                                                                         Santa Rosa
                               Hispanic Rejection Rate




                                                                            Flagler
                                                                                          Okaloosa
                                                         3                                 Seminole


                                                                                 St. Lucie


                                                         2




                                                         1




                                                                               Note: dot s
                                                                               N         size proportional
                                                                                                   r       to total
                                                                                                               o rejected
                                                                                                                       e VBM ballots
                                                                                                                               l     cast b
                                                                                                                                          by Hispanic
                                                                                                                                                    c voters
                                                         0

                                                             0               1                    2                    3                    4                      5
                                                                                           White Rejection Rate
                           Note: Excludes counties with less than 10 rejected VBM ballots cast by Hispanic voters.


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         County Rejected VBM Ballot Rates by Age

         Similar patterns of VBM rejection rates exist across counties in the when broken down by age co-
         horts. Although the statewide VBM rejection rate among 18-21 year-olds was over 5 percent in the
         2018 general election—–ﬁve times the statewide rate of all rejected mail ballots cast—–in a dozen
         mainly smaller counties (Baker, DeSoto, Gadsden, Glades, Hamilton, Hardee, Jackson, Jefferson,
         Marion, Nassau, Suwannee, and Union) every VBM ballot cast by a voter in the youngest age
         cohort was accepted as valid.

             In stark contrast, in Broward County, over 11 percent of VBM ballots cast by the youngest co-
         hort of voters in the 2018 election were rejected as invalid by the Canvassing Board, amounting
         to more than 500 mail ballots that did not count in the election. In Miami-Dade County, over 9
         percent of ballots cast by 18-21 year-olds, nearly 600 mail ballots, were rejected. Alachua County,
         home to Florida’s ﬂagship university, had VBM rejection rates of about 8 percent for the 18-21 age
         cohort, more than 3 times higher than the county’s overall rejection rate of 2.3 percent. However,
         43 other counties had even higher ratios of the youngest cohort rejection rate to the overall VBM
         rejection rate, including Liberty, Hendry, Indian River, and Highlands counties.

              Figure 6 provides a breakdown of rejected VBM ballots across the ﬁve age categories. Again,
         it is important to put the raw number of rejected VBM ballots across the 67 counties in perspec-
         tive. Overall in 2018, voters in the three youngest age cohorts accounted for a fraction of all the
         absentee ballots cast in the state. Of the more than 2.6 million VBM ballots cast statewide, voters
         in the three youngest age cohorts cast only 2.1 percent of all VBM ballots; yet, they accounted for
         9.2 percent of all rejected VBM ballots cast statewide. In several counties, the proportion of all
         rejected VBM ballots was even higher for these youngest voters.

             To better visualize the difference in the rejection rates of VBM ballots cast by younger and older
         voters, Figure 7 plots VBM ballot rejection rates by those under and over the age of 30 in a 45 de-
         gree plot. If VBM ballot rejection rates were equal for voters under 30 years old and 30 years-old
         and older, all 67 counties would align along the 45 degree dashed line in Figure 6. Along the hor-
         izontal (x-axis) is the rejection rate of VBM ballots (from 0 percent to 12.5 percent) cast by voters
         30 and older in each county. Along the vertical (y-axis) is the rejection rate for the same range of
         VBM ballots cast by voters younger than 30 years old in each county. If absentee ballot rejection
         rates were the same in a county, all 67 counties would fall along the diagonal 45 degree.

             As Figure 7 displays, however, there is an obvious pattern: younger voters in nearly every
         county have a considerably higher likelihood of having their VBM ballot rejected by a county’s
         SOE and Canvassing Board in the 2018 general election than those 30 and older. In several coun-
         ties, the VBM rejection rate of young voters is more than three times as great compared to older
         voters. In Broward County, for example, roughly 7 percent of mail ballots cast by voters under 30
         were rejected, compared to less than 2.5 percent of those cast by voters 30 and over. The disparity
         is even higher in Lafayette, Monroe, Santa Rosa, Volusia, and Walton counties.




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                                                                    Figure 6
                                                   VBM Rejection Rate by County, by Age (2018)

                       Alachua
                          Baker
                             Bay
                       Bradford
                        Brevard
                       Broward
                       Calhoun
                      Charlotte
                          Citrus
                            Clay
                          Collier
                      Columbia
                        DeSoto
                           Dixie
                          Duval
                     Escambia
                         Flagler
                        Franklin
                      Gadsden
                       Gilchrist
                         Glades
                            Gulf
                      Hamilton
                        Hardee
                        Hendry
                     Hernando
                     Highlands
                  Hillsborough
                        Holmes                                                                                      Age Group
                  Indian River
                                                                                                                         18−21
                       Jackson
                      Jefferson                                                                                          22−25
         County




                      Lafayette
                           Lake                                                                                          26−29
                             Lee
                           Leon                                                                                          30−44
                            Levy                                                                                         45−64
                         Liberty
                       Madison                                                                                           65−104
                       Manatee
                         Marion
                          Martin
                  Miami−Dade
                        Monroe
                        Nassau
                      Okaloosa
                  Okeechobee
                        Orange
                       Osceola
                  Palm Beach
                          Pasco
                        Pinellas
                            Polk
                        Putnam
                   Santa Rosa
                      Sarasota
                      Seminole
                      St. Johns
                       St. Lucie
                         Sumter
                    Suwannee
                          Taylor
                          Union
                         Volusia
                        Wakulla
                         Walton
                   Washington
                                    0                     2000                  4000                  6000
                                                       Number of VBM Ballots Rejected



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                                                                                     Figure 7
                                                                    VBM Rejection Rates by County, by Age (2018)




                                               Lafayette



                                   10
                                                                   Monroe


                                                     Walton
                                                                       Volusia
          Age <30 Rejection Rate




                                                             Santa Rosa
                                        Liberty
                                                                       Broward
                                                  Flagler
                                                            Lake
                                        Okeechobee



                                         Highlands
                                    5




                                                                                                  Note: dot size
                                                                                                              z proportional to total rejected
                                                                                                                                           t VBM ballots cast by voters
                                                                                                                                                                     r <30
                                    0


                                           0                                          5                                                10
                                                                                    Age 30+ Rejection Rate




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         Rejected VBM Ballots for Uniformed and Overseas Civilians

         The differential patterns of rejected VBM ballots are perhaps the most blatant when it comes to
         mail ballots cast by civilian overseas and military personnel. The Uniformed and Overseas Civil-
         ian Absentee Voting Act (UOCAVA) of 1986 provides ballot protections for civilian overseas, mem-
         bers of the uniformed service in active duty, and their dependents, allowing them to cast absentee
         ballots. According to Federal Voting Assistance Program, if active service members live outside
         their voting jurisdictions, they can vote absentee in all federal elections. In 2009, Congress passed
         the Military and Overseas Voter Empowerment Act (MOVE) to additionally require election of-
         ﬁces to mail ballot to UOCAVA voters no later than 45 days before each federal election. Florida
         Statute 101.62 (4)(b) mandates that each SOE mail VBM ballots to voters who have requested a
         ballot within two business days of receiving the request. Given the laws governing absentee bal-
         lot mailing, we can safely assume that UOCAVA voters who submitted an absentee ballot request
         before the 47th day prior to an election should be sent a ballot 45 days before the election.

             Using VBM data uploaded by SOEs on November 21, 2018, it appears that only 63.2 percent of
         UOCAVA voters with absentee ballot requests actually had their ballots delivered before Septem-
         ber 22, 2018, 45 days before Election Day. Unlike other citizens who vote by mail, under federal
         law, UOCAVA voters are permitted up to 10 days after the election to have their VBM ballot re-
         ceived and processed by a local election ofﬁce. As shown in Figure 8, between 3 and 12 percent
         of UOCAVA VBM ballots SOEs delivered 10 or fewer days before election day were rejected. As
         would be expected, UOCAVA ballot rejection rates are lower the further out from Election Day
         they were delivered to voters.

              Given the various protections in place for overseas and uniformed personnel under UOCAVA,
         it is especially surprising that mail ballots returned by these voters are rejected at a rate higher
         than for voters overall in Florida. Roughly 3.2 percent of mail ballots cast by military and overseas
         voters–those covered under UOCAVA–were rejected by county Canvassing Boards, compared to
         1.2 percent of mail ballots cast in 2018. The ballot rejection rate is higher regardless of civilian
         or military status. All overseas voters, civilian and uniformed, had 1.7 percent of their ballot re-
         jected. This rejection rate is consistent whether or not the voter is a uniformed personnel or simply
         an overseas civilian.

             Domestic military voters, however, have the highest rate of rejection of VBM ballots. As Table
         7 shows, at 4.2 percent, the rejection rate in the 2018 election for VBM ballots cast by domestic
         military voters was higher than any rejection rate broken down by race or ethnicity. It is possible
         that some of these voters are not covered under UOCAVA, which only applies to voters who are
         members of the uniformed services on active duty, and because of their membership in the service,
         are absent from their voting jurisdiction. Even if the voters marked as members of the military are
         not in active service and therefore not protected under UOCAVA, this group’s abnormally high
         ballot rejection rate is cause for concern.




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                                                                 Figure 8
                                                 UOCAVA VBM Rejection by Ballot Delivery (2018)




                             9
          Percent Rejected




                             6




                             3




                             0

                                  0                              20                                40                                60
                                                        Number of Days Delievered Before Election


                                                                   Table 7
                                         Military/Overseas Vote-by-Mail Rejection, 2018 General Election

                             Group                   Accepted VBM          Rejected VBM         Total VBM       VBM Rejection Rate
                             All Overseas            22,015                378                  22,393                1.7
                             Military Overseas       3,443                 61                   3,504                 1.7
                             Civilian Overseas       18,572                317                  18,889                1.7
                             Domestic Military       35,540                1,545                37,085                4.2
                             Military or Overseas    57,555                1,923                59,478                3.2




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         Curing Rejected “Missing” and “Mismatched” VBM Ballots

         Although its offers information on voters casting VBM ballots deemed by county canvassing
         boards to be rejected as illegal, Florida’s statewide voter ﬁle and vote history ﬁles do not detail why
         a VBM ballot is rejected. The data provided to the public from the FVRS does not provide any in-
         formation about whether a VBM ballot was returned with no signature or a mismatched signature,
         or whether a voter casting a problematic VBM ballot tried-—and was eventually successful–at cur-
         ing a VBM ballot initially ﬂagged as invalid.

             In order to get a sense of how well the VBM cure process works, it is important to examine the
         procedures SOEs put in place in the 2016 general election to handle VBM ballots with mismatched
         signatures. Unfortunately, there is no standalone record on how each of the 67 SOEs attempted
         to contact voters who cast VBM ballots prior to Election Day that were initially ﬂagged as having
         a missing or mismatched signature on the envelope. Furthermore, there is no statewide database
         on how many voters who cast VBM ballots that had signature problems were actually contacted
         by SOEs, much less how many of these mail voters replied with an afﬁdavit and proof of identi-
         ﬁcation to cure their ballot. There is also no statewide database on the number of absentee mail
         voters who had their absentee ballot ﬂagged for a signature problem who successfully cured their
         VBM ballot.

             Due to the lack of a statewide protocols for cataloguing the processing of rejected VBM ballots
         in Florida, it is extremely difﬁcult to obtain, much less systematically assess, how many voters
         cast VBM ballots that were initially ﬂagged as having a missing or mismatched signature were
         ultimately rejected in the 2018 General Election, much less how many voters casting VBM ballots
         were able to cure their initially rejected VBM ballot. Despite public records requests, only 21 of the
         state’s 67 SOEs responded to requests for data on the number of rejected and cured VBM ballots
         cast in the 2018 general election and the number of successful afﬁdavits to cure a problematice
         VBM. It should be noted, too, that the data that were provided by the 21 counties had signiﬁcantly
         varying details.

             The analysis that follows examines the cure rates of VBM ballots initially rejected due to mis-
         matched signatures in Pinellas County. Pinellas County, under Supervisor of Elections Deborah
         Clark, has led the way on processing VBM ballots. The detailed records that her ofﬁce provided
         on the VBM ballots it received in the 2018 general election, including VBM ballots her staff initially
         ﬂagged as having a mismatched voter’s certiﬁcate on the envelope, as well as mismatched VBM
         ballots that were successfully cured by voters, offers a window into the “best practices” that other
         SOEs could follow to help remedy problematic VBM ballots.


         Curing Vote-by-Mail Ballots: Best Practices of Pinellas County

         Pinellas County, led by SOE Deborah Clark, is the state’s undisputed leader in voting by mail.
         Of those Pinellas County voters whose age on Election Day (according to the statewide voter ﬁle)
         was between 18 and 104 years old, slightly more than 241,000 voters cast VBM ballots in 2018. The
         county’s Canvassing Board rejected only 288 of all VBM ballots, just 0.12 percent of the total, which
         was by far the lowest rejection rate of all counties with medium or large populations. Besides a
         simple VBM return envelope design, one of the reasons for Pinellas County’s low rejection rate
         was the high cure rate of VBM ballots with signatures that were initially ﬂagged as mismatched.



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             Ms. Clark’s ofﬁce initially identiﬁed roughly 600 VBM ballots that had signatures that ap-
         peared not to match those on ﬁle. Of those, 200 voters (33.4 percent) successfully cured their
         signatures by submitting proper ID and a signed afﬁdavit. In addition, the county Canvassing
         Board accepted 338 VBM ballots (56.5 percent) that had initially questionable signatures without
         requiring the voter to submit an afﬁdavit. The Canvassing Board rejected 60 of the VBM ballots
         initially screened by staff to have a mismatched signature (10.0 percent).

             In the county, 340 voters returned a VBM ballot with no signature at all, as initially screened by
         staff. 178, or 52.3 percent of these, cured their ballot via an afﬁdavit. It appears that the Canvassing
         Board accepted 35 VBM ballots (10.3 percent) that initially had no signature, although there is no
         record that it required the voters to submit an afﬁdavit. The Pinellas County Canvassing Board
         rejected only 36.7 percent, or 128 ballots, of the VBM ballots initially screened by staff that had no
         signature on the return envelope.

             The likelihood of having a ballot cured does depend on race. As Table 8 shows, White voters
         returned afﬁdavits and had their vote-by-mail ballots accepted 44.6 percent of the time; in con-
         trast, only 30.7 percent and 30.5 percent of Black and Hispanic voters, respectively, had their VBM
         ballots validated after initially being ﬂagged. The cure rate is the lowest for people identifying
         with another race or ethnicity, at only 24.1 percent. Table 9 provides the breakdown of cure rate
         by age cohorts in Pinellas County.

            Figure 9 reveals the relationship between the date on which the Pinellas County election ofﬁce
         mails an afﬁdavit to a voter with a problematic VBM ballot, and the number of afﬁdavits returned.
         When afﬁdavits are mailed further from the election, more are returned than not. When an afﬁ-
         davit is mailed out closer than a week to the election, more are not returned. The rate of afﬁdavits
         being returned but not accepted again is very small, regardless of time of mailing.


         Conclusion

         In Florida, when it comes to voting a VBM ballot, voters–particularly those younger and those
         persons of color–have a much greater likelihood of having their absentee ballot rejected compared
         with older voters or White voters. Overseas and military voters are also more prone to having
         their VBM ballot rejected. If the rejection rates of VBM ballots were consistent across the state’s
         67 counties, one might chalk these disparities in VBM rejection rates up to the failings of younger
         voters and people of color to cast their absentee ballot properly. But the great disparities across
         the counties suggests that the onus of responsibility for absentee ballots to be validated in the
         Sunshine State also falls on county Supervisors of Elections and county Canvassing Boards.

            It is well past time for uniform standards to be put into place in Florida, not only for the return
         envelope design of VBM ballots, but also for the processing of VBM ballots by SOEs and their staff,
         and the validating of signatures by the 67 Canvassing Boards. The cure process for VBM ballots
         with problematic signatures is now in place, but the standards by which counties are to issue and
         verify afﬁdavits remains much to be desired.




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                                                                    Figure 9
                                                         VBM Afﬁdavit Status, Pinellas (2018)



                              40


                                   Affidavit Returned, Accepted

                              30
                                                                                                   No Affidavit Returned
          Number of Ballots




                              20




                              10




                               0          Affidavit Returned, Rejected
                              10 18

                              10 18

                              10 18

                              10 18

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                                /2

                                /2

                                /3

                                /3
                              10




                                                                       Date Affidavit Mailed

                                                                     Table 8
                                         Pinellas Vote-by-Mail Ballot Cures by Race and Ethnicity (2018)

                                                 Age            Number Flagged          Cured      Cure Rate
                                                 Black          31                      101        30.69
                                                 Hispanic       18                      59         30.51
                                                 White          312                     699        44.64
                                                 Other          21                      87         24.14
                                                 Total          946                     382        40.38

                                                                      Table 9
                                                  Pinellas Vote-by-Mail Ballot Cures by Age (2018)

                                                   Age        Number Flagged           Cured      Cure Rate
                                                   18-21      21                       66         31.82
                                                   22-25      14                       78         17.95
                                                   26-29      25                       69         36.23
                                                   30-44      63                       188        33.51
                                                   45-64      137                      286        47.90
                                                   65-104     122                      259        47.10
                                                   Total      946                      382        40.38



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Appendix C: Voting Methods by County




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      75 Let Florida Vote                                                                     County Vote-By-Mail Age Disparities
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   76 Let Florida Vote                                  County Vote-By-Mail Age Disparities
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       77 Let Florida Vote                                                                            County Vote-By-Mail Racial Disparities
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   78 Let Florida Vote                                 County Vote-By-Mail Racial Disparities
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   79 Let Florida Vote                                        County Early Voting Access
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  80 Let Florida Vote                                        County Early Voting Access
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   81 Let Florida Vote                                    County Polling Place Accessibility
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   82 Let Florida Vote                                    County Polling Place Accessibility
             Florida Voter Registration Application                                                             Información en español: Sirvase llamar a la oficina del supervisor de
             Part 1 – Instructions (DS-DE 39, R1S-2.040, F.A.C.)(eff. 10/2013)                                  elecciones de su condado si le interesa obtener este formulario en español.

 To Register in Florida, you must be:                                  Where to Register: You can register to vote by completing this application and delivering it in person or by mail to
 x a U.S. citizen,                                                     any supervisor of elections’ office, office that issues driver’s licenses, or voter registration agency (public assistance
 x a Florida resident,                                                 office, center for independent living, office serving persons with disabilities, public library, or armed forces recruitment
                                                                       office) or the Division of Elections. Mailing addresses are on page 2 of this form.
 x at least 18 years old (you may pre-register at 16 or 17,
   but cannot vote until you are 18).                                  Deadline to Register: The deadline to register to vote is 29 days before any election. You can update your
                                                                       registration record at any time, but for a Primary Election, party changes must be completed 29 days before that
 If you have been convicted of a felony, or if a court has
                                                                       election. You will be contacted if your new application is incomplete, denied or a duplicate of an existing registration.
 found you to be mentally incapacitated as to your right to
                                                                       Your Voter Information Card will be mailed to you once you are registered.
 vote, you cannot register until your right to vote is restored.
                                                                       Identification (ID) Requirements: New applicants must provide a current and valid Florida driver’s license number
  If you do not meet any ONE of these requirements, you                (FL DL#) or Florida identification card number (FL ID#). If you do not have a FL DL# or FL ID#, then you must provide
 are not eligible to register.                                         the last four digits of your Social Security number (SSN). If you do not have any of these numbers, check “None.” If
                                                                                                                                                                                                      Case




                          Questions?                                   you leave the field and box blank, your new registration may be denied. See section 97.053(6), Fla.Stat.
 Contact the Supervisor of Elections in your county:                   Special ID requirements: If you are registering by mail, have never voted in Florida, and have never been issued one
 GRVP\IORULGDFRPHOHFWLRQVFRQWDFWVVXSHUYLVRURIHOHFWLRQV          of the ID numbers above, include one of the following with your application, or at a later time before you vote: 1) A
                                                                       copy of an ID that shows your name and photo (acceptable IDs--U.S. Passport, debit or credit card, military ID,
 Visit the Florida Division of Elections’ website at:                  student ID, retirement center ID, neighborhood association ID, or public assistance ID); or 2) A copy of an ID that
 GRVP\IORULGDFRPHOHFWLRQV                                           shows your name and current residence address (acceptable documents--utility bill, bank statement, government
                                                                       check, paycheck, or other government document).
 CRIMINAL OFFENSE: It is a 3rd degree felony to submit                 The special ID is not required if you are 65 or older, have a temporary or permanent physical disability, are a member
 false information. Maximum penalties are $5,000 and/or 5
                                                                       of the active uniformed services or merchant marine who is absent from the county for active duty, or a spouse or
 years in prison.                                                      dependent thereof, or are currently living outside the U.S. but otherwise eligible to vote in Florida.
 PUBLIC RECORD: Once filed, all information including your
                                                                       Political Party Affiliation: Florida is a closed primary election state. In primary elections, registered voters can only
 phone number and email address as provided become
                                                                       vote for their registered party’s candidates in a partisan race on the ballot. In a primary election, all registered voters,
 public record except for the following which can only be
                                                                       regardless of party affiliation, can vote on any issue, nonpartisan race, and race where a candidate faces no
 used for voter registration purposes: your FL DL#, FL ID#,
                                                                       opposition in the General Election. If you do not indicate your party affiliation, you will be registered with no party
 SSN, where you registered to vote, and whether you
                                                                       affiliation. For a list of political parties, visit the Division of Elections’ website at: GRVP\IORULGDFRPHOHFWLRQV
 declined to register or to update your voter registration
 record at a voter registration agency. Your signature can be          Race/Ethnicity: It is optional to list your race or ethnicity.
 viewed but not copied. (Section 97.0585, Fla. Stat.)                  Boxes: Please check boxes ( ) where applicable.

               Numbered rows 1 through 7 and 12 must be completed for a new registration.
                                                                                                                                                                                                      Case4:21-cv-00187-MW-MAF




               Florida Voter Registration Application                                                            The downloadable/printable online form is available at:
               Part 2 – Form (DS-DE #39, R1S-2.040, F.A.C.)(eff. 10/2013)                                         UHJLVWHUWRYRWHIORULGDJRY

This is:       New Registration            Record Update/Change (e.g., Address, Party Affiliation, Name, Signature)                           Request to Replace Voter Information Card
                                                                                                                                    OFFICIAL USE ONLY
  1        Are you a citizen of the United States of America?                                 YES                    NO

  2            I affirm that I am not a convicted felon, or if I am, my right to vote has been restored.
                                                                                                                                                                                                           1:21-cv-00184-MW-GRJ Document




                I affirm that I have not been adjudicated mentally incapacitated with respect to voting
  3             or, if I have, my right to vote has been restored.

  4        Date of Birth            (MM-DD-YYYY)                          -                     -                                   FVRS No:
                                                                                                                                                                                                                                Document 283-9




                                                                                                                                    If no FL       Last 4 digits of Social
           Florida Driver License (FL DL) or Florida identification (FL ID) Card Number                                                                                                  I have
                                                                                                                                    DL or FL       Security Number
  5                                                                                                                                 ID, then                                         NONE of
                                                                                                                                    provide                                          these
                                       -                           -                      -                            -
                                                                                                                                                                                                                                         61-6 Filed




                                                                                                                                                                                     numbers.
           Last Name                                                                  First Name                                        Middle Name                  Name Suffix
  6                                                                                                                                                                  (Jr., Sr., I, II, etc.):
           Address Where You Live (legal residence-no P.O. Box)                       Apt/Lot/Unit       City                                        County                   Zip Code
  7
           Mailing Address (if different from above address)                          Apt/Lot/Unit       City                                        State or Country         Zip Code
                                                                                                                                                                                                                                               Filed01/14/22




  8
           Address Where You Were Last Registered to Vote                             Apt/Lot/Unit       City                                        State                    Zip Code
  9
           Former Name (if name is changed)                                           Gender             State or Country of Birth                   Telephone No. (optional)
 10                                                                                       M         F                                                (     )
                                                                                                                                                                                                                                                     11/12/21 Page




              Email me SAMPLE BALLOTS if option is available in my county.
 11        (See Public Record Notice above) My email address is:
                                                                                                                                                                                                                                                              Page377




 Party Affiliation                                 Race/Ethnicity (Check only one)                  (Check only one if applicable)
                                                                                                                                                                                        I will
 (Check only one. If left blank, you will               American Indian/Alaskan Native
                                                                                                                                                                                                                                                                   377of




                                                                                                        I am an active duty Uniformed Services or Merchant                           need
 be registered without party affiliation)               Asian/Pacific Islander                           Marine member                                                               assistance
    Florida Democratic Party                            Black, not of Hispanic Origin                                                                                                with voting.
                                                                                                        I am a spouse or a dependent of an active duty uniformed
    Republican Party of Florida
                                                                                                                                                                                                                                                                       of378




                                                        Hispanic                                         services or merchant marine member
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    No party affiliation                                                                                                                                                                 I am
                                                        White, not of Hispanic Origin                   I am a U.S. citizen residing outside the U.S.
    Minor party (print party name):                                                                                                                                                  interested in
                                                        Multi-racial                                                                                                                 becoming a
 ______________________                                 Other:________________                                                                                                       poll worker.
           Oath: I do solemnly swear (or affirm) that I will protect                                                                                                                 Date
           and defend the Constitution of the United States and          SIGN/
           the Constitution of the State of Florida, that I am           MARK
                                                                                                                                                   SHARON AUSTIN
 12        qualified to register as an elector under the                 HERE                                                                         10/27/21
           Constitution and laws of the State of Florida, and that
           all information provided in this application is true.                                                                                             4
                                                                                                                                                   MaryKay Horvath CRR, RMR
           Case
Address yourCase   4:21-cv-00187-MW-MAF
                    1:21-cv-00184-MW-GRJ
               envelope  to   Flagler-Supervisor ofDocument
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                                                                                             Pasco-Supervisor
                              PO Box 901                     PO Box 457                      PO Box 300
your County Supervisor of     Bunnell FL 32110-0901          Tavares FL 32778 -0457          Dade City FL 33526-0300
Elections. (Rev 0ϵͬϭϰ/2020)   Phone: 386-313-4170            Phone: 352-343-9734             Phone: 800-851-8754
Alachua-Supervisor of Elections     Franklin-Supervisor of Elections       Lee-Supervisor of Elections          Pinellas-Supervisor of Elections
515 N Main St Ste 300               47 Ave F                               PO Box 2545                          13001 Starkey Rd
Gainesville FL 32601-3348           Apalachicola FL 32320-1723             Fort Myers FL 33902-2545             Largo FL 33773-1416
Phone: 352-374-5252                 Phone: 850-653-9520                    Phone: 239-533-8683                  Phone: 727-464-8683
Baker-Supervisor of Elections       Gadsden-Supervisor of Elections        Leon-Supervisor of Elections         Polk-Supervisor of Elections
PO Box 505                          PO Box 186                             PO Box 7357                          PO Box 1460
Macclenny FL 32063-0505             Quincy FL 32353-0186                   Tallahassee FL 32314-7357            Bartow FL 33831-1460
Phone: 904-259-6339                 Phone: 850-627-9910                    Phone: 850-606-8683                  Phone: 863-534-5888
Bay-Supervisor of Elections         Gilchrist-Supervisor of Elections      Levy-Supervisor of Elections         Putnam-Supervisor of Elections
830 W 11th St                       112 S Main St Rm 128                   421 S Court St                       2509 Crill Ave Ste 900
Panama City FL 32401-2336           Trenton FL 32693-3260                  Bronson FL 32621-6520                Palatka FL 32177-4267
Phone: 850-784-6100                 Phone: 352-463-3194                    Phone: 352-486-5163                  Phone: 386-329-0224
Bradford-Supervisor of Elections    Glades-Supervisor of Elections         Liberty-Supervisor of Elections      Santa Rosa-Supervisor of Elections
PO Box 58                           PO Box 668                             PO Box 597                           6495 Caroline St Ste F
Starke FL 32091-0058                Moore Haven FL 33471-0668              Bristol FL 32321-0597                Milton FL 32570-4592
Phone: 904-966-6266                 Phone: 863-946-6005                    Phone: 850-643-5226                  Phone: 850-983-1900
Brevard-Supervisor of Elections     Gulf-Supervisor of Elections           Madison-Supervisor of Elections      Sarasota-Supervisor of Elections
PO Box 410819                       401 Long Ave                           239 SW Pinckney St                   PO Box 4194
Melbourne FL 32941-0819             Port St Joe FL 32456-1707              Madison FL 32340-2470                Sarasota FL 34230-4194
Phone: 321-633-2124                 Phone: 850-229-6117                    Phone: 850-973-6507                  Phone: 941-861-8600
Broward-Supervisor of Elections     Hamilton-Supervisor of Elections       Manatee-Supervisor of Elections      Seminole-Supervisor of Elections
PO Box 029001                       1153 US Hwy 41 NW Ste 1                PO Box 1000                          PO Box 1479
Ft Lauderdale FL 33302-9001         Jasper FL 32052-5899                   Bradenton FL 34206-1000              Sanford FL 32772-1479
Phone: 954-357-7050                 Phone: 386-792-1426                    Phone: 941-741-3823                  Phone: 407-585-8683
Calhoun-Supervisor of Elections     Hardee-Supervisor of Elections         Marion-Supervisor of Elections       St. Johns-Supervisor of Elections
20859 Central Ave E Rm 117          311 N 6th Ave                          PO Box 289                           4455 Ave A Ste 101
Blountstown FL 32424-2266           Wauchula FL 33873-2319                 Ocala FL 34478-0289                  St Augustine FL 32095-5200
Phone: 850-674-8568                 Phone: 863-773-6061                    Phone: 352-620-3290                  Phone: 904-823-2238
Charlotte-Supervisor of Elections   Hendry-Supervisor of Elections         Martin-Supervisor of Elections       St. Lucie-Supervisor of Elections
226 Taylor St Unit 120              PO Box 174                             PO Box 1257                          4132 Okeechobee Rd
Punta Gorda FL 33950-4458           LaBelle FL 33975-0174                  Stuart FL 34995-1257                 Ft Pierce FL 34947-5412
Phone: 941-833-5400                 Phone: 863-675-5230                    Phone: 772-288-5637                  Phone: 772-462-1500
Citrus-Supervisor of Elections      Hernando-Supervisor of Elections       Miami-Dade-Supervisor of Elections   Sumter-Supervisor of Elections
PO Box 1870                         20 N Main St Rm 165                    PO Box 521550                        7375 Powell Rd Ste 125
Lecanto FL 34460-1870               Brooksville FL 34601-2850              Miami FL 33152-1550                  Wildwood FL 34785-4228
Phone: 352-564-7120                 Phone: 352-754-4125                    Phone: 305-499-8363                  Phone: 352-569-1540
Clay-Supervisor of Elections        Highlands-Supervisor of Elections      Monroe-Supervisor of Elections       Suwanee-Supervisor of Elections
PO Box 337                          PO Box 3448                            530 Whitehead St # 101               302 Pine Ave SW
Green Cove Springs FL 32043-0337    Sebring FL 33871-3448                  Key West FL 33040-6577               Live Oak FL 32064-2315
Phone: 904-269-6350                 Phone: 863-402-6655                    Phone: 305-292-3416                  Phone: 386-362-2616
Collier-Supervisor of Elections     Hillsborough-Supervisor of Elections   Nassau-Supervisor of Elections       Taylor-Supervisor of Elections
3750 Enterprise Ave                 2514 N Falkenburg Rd                   96135 Nassau Pl Ste 3                PO Box 1060
Naples FL 34104-3659                Tampa FL 33619-0917                    Yulee FL 32097-8699                  Perry FL 32348-1060
Phone: 239-252-8683                 Phone: 813-744-5900                    Phone: 904-491-7500                  Phone: 850-838-3515
Columbia-Supervisor of Elections    Holmes-Supervisor of Elections         Okaloosa-Supervisor of Elections     Union-Supervisor of Elections
971 W Duval St Ste 102              201 N Oklahoma St Ste 102              302 N Wilson St Ste 102              175 W Main St
Lake City FL 32055-3709             Bonifay FL 32425-2243                  Crestview FL 32536-3474              Lake Butler FL 32054-1639
Phone: 386-758-1026                 Phone: 850-547-1107                    Phone: 850-689-5600                  Phone: 386-496-2236
Desoto-Supervisor of Elections      Indian River-Supervisor of Elections   Okeechobee-Supervisor of Elections   Volusia-Supervisor of Elections
PO Box 89                           4375 43rd Ave                          304 NW 2nd St Rm 144                 1750 South Woodland Blvd
Arcadia FL 34265-0089               Vero Beach FL 32967-1024               Okeechobee FL 34972-4146             DeLand FL 32720-7915
Phone: 863-993-4871                 Phone: 772-226-                    Phone: 863-763-4014                  Phone: 386-736-5930
Dixie-Supervisor of Elections       Jackson-Supervisor of Elections        Orange-Supervisor of Elections       Wakulla-Supervisor of Elections
PO Box 2057                         PO Box 6046                            PO Box 562001                        PO Box 305
Cross City FL 32628-2057            Marianna FL 32447-6046                 Orlando FL 32856-2001                Crawfordville FL 32326-0305
Phone: 352-498-1216                 Phone: 850-482-9652                    Phone: 407-836-2070                  Phone: 850-926-7575
Duval-Supervisor of Elections       Jefferson-Supervisor of Elections      Osceola-Supervisor of Elections      Walton-Supervisor of Elections
105 E Monroe St                     380 W Dogwood St                       2509 E Irlo Bronson Memorial Hwy     571 US Hwy 90 E
Jacksonville FL 32202-3213          Monticello FL 32344-1470               Kissimmee FL 34744-4909              DeFuniak Springs FL 32433-1374
Phone: 904-630-1414                 Phone: 850-997-3348                    Phone: 407-742-6000                  Phone: 850-892-8112
Escambia-Supervisor of Elections    Lafayette-Supervisor of Elections      Palm Beach-Supervisor of Elections   Washington-Supervisor of Elections
PO Box 12601                        PO Box 76                              PO Box 22309                         1331 South Blvd Ste 900
Pensacola FL 32591-2601             Mayo FL 32066-0076                     West Palm Beach FL 33416-2309        Chipley FL 32428-2233
Phone: 850-595-3900                 Phone: 386-294-1261                    Phone: 561-656-6200                  Phone: 850-638-6230
